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 6

 7

 8                       UNITED STATES DISTRICT COURT
 9        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
10

11 LISA LIBERI, PHILIP J. BERG,             )   Case No. 8:11-CV-00485-AG (AJW)
   ESQUIRE, THE LAW OFFICES OF              )   Hon. Andrew Guilford
12 PHILIP J. BERG, LISA M. OSTELLA          )   Courtroom 10D
   and GO EXCEL GLOBAL,                     )
13                                          )   NOTICE OF MOTION AND
            Plaintiffs,                     )   MOTION BY DEFENDANT, ORLY
14                                          )   TAITZ, FOR AWARD OF
                   vs.                      )   ATTORNEYS’ FEES AND COSTS
15                                          )   AGAINST PLAINTIFF, LISA
     ORLY TAITZ, a/k/a DR. ORLY TAITZ, )        OSTELLA, PURSUANT TO CAL.
16   a/k/a LAW OFFICES OF ORLY TAITZ; )         CODE OF CIVIL PROCEDURE
     a/k/a WWW.ORLYTAITZESQ.COM )               SECTION 425.16(c) ;
17   a/k/a WWW.REPUBX.COM a/k/a             )   MEMORANDUM OF POINTS AND
     ORLY TAITZ, INC. and DEFEND OUR )          AUTHORITIES; SUPPORTING
18   FREEDOMS FOUNDATIONS, INC., et )           DECLARATION
     al.; and DOES 1 through 200 Inclusive, )
19                                          )   [Filed with Motions to Dismiss and to
            Defendants.                     )   Strike]
20                                          )
                                            )   Date:                October 17, 2016
21                                          )   Time:                10:00 a.m.
                                            )   Courtroom:           10D
22                                          )
                                            )   Date Action Filed:               May 4,
23                                          )                             2009
                                            )   Trial Date:               None
24                                          )
     _______________________________________)
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       DEFENDANT ORLY TAITZ’S MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS (CAL.
                             CODE CIV. PROC. SECTION 425.16(c))
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 1   TO THE COURT, ALL PARTIES, AND/OR THEIR ATTORNEYS OF
 2   RECORD:
 3         PLEASE TAKE NOTICE that on October 17, 2016 at 10:00 a.m. or as soon
 4   as the matter may be heard in Courtroom 10D of the above-entitled Court, located at
 5   411 West Fourth Street, Santa Ana, California 92701-4516, Defendant, ORLY TAITZ
 6   (“Taitz”), will and hereby does move for an order pursuant to Cal. Code Civ. Proc.
 7   section 425.16(c) (“Anti-SLAPP statute”) for an award of attorneys’ fees and costs of
 8   $286,852.22 against Plaintiff, LISA OSTELLA (“Ostella”). This amount consists of
 9   attorney's fees of $282,321.50 plus costs of $4,530.72.
10         This motion is made following the conference of counsel for Plaintiffs Liberi,
11   Ostella and Go Excel Global pursuant to L.R. 7-3 which took place on July 6, 2016.
12   Taitz’s counsel attempted to confer with Plaintiff Philip Berg via email and telephone,
13   but Mr. Berg did not respond to these efforts. This motion is also made pursuant to the
14   Court’s granting of leave to Taitz to file it (Dkt. Nos. 632 and 679).
15         This Motion will be based upon this Notice, the attached Memorandum of Points
16   and Authorities in support thereof, the concurrently-filed Declaration of Jeffrey P.
17   Cunningham, Esq. and the attorneys’ fees and costs billing statements attached thereto,
18   Taitz and related Defendants’ concurrently-filed Motions to dismiss and to strike
19   (which are incorporated herein by this reference as though fully set forth), and all
20   other tangible and/or testimonial evidence provided at the hearing on this matter.
21

22   DATED: September 12, 2016              SCHUMANN | ROSENBERG
23

24                                    By:   /s/ - Jeffrey P. Cunningham
                                            ______________________
                                            Kim Schumann, Esq.
25                                          Jeffrey P. Cunningham, Esq.
                                            Attorneys for Defendant,
26                                          ORLY TAITZ
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28                                             ii
       DEFENDANT ORLY TAITZ’S MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS (CAL.
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          DEFENDANT ORLY TAITZ’S MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS (CAL.
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12 782, 109 S.Ct. 1486, 103 L.Ed.2d 866 (1989)).. . . . . . . . . . . . . . . . . . . . . . . . . . . 4,5

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15   637 F.3d 937, 938 (9th Cir. 2011). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
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24   Lin v. City of Pleasanton
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26   163 Cal.App.4th 550, 564 (2008). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
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        DEFENDANT ORLY TAITZ’S MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS (CAL.
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 3   141 Cal.App.4th 15, 20 (2006). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
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12
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28                                                               v
        DEFENDANT ORLY TAITZ’S MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS (CAL.
                              CODE CIV. PROC. SECTION 425.16(c))
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.      INTRODUCTION
 3           Plaintiffs, Ostella, LISA LIBERI (“Liberi”), PHILIP J. BERG, ESQUIRE,
 4   THE LAW OFFICES OF PHILIP J. BERG, and GO EXCEL GLOBAL
 5   (collectively “Plaintiffs”), filed this action in May 2009 in the United States District
 6   Court for the Eastern District of Pennsylvania.
 7           In March 2011, the case was severed, with one portion being transferred to
 8   this Court.
 9           The case has been vigorously litigated, including the prosecution of three
10   appeals (two by Taitz and Defendant, DEFEND OUR FREEDOMS
11   FOUNDATIONS (“DOFF”), and one by Plaintiffs).
12           In May 2013, Taitz filed her anti-SLAPP motion to strike Plaintiffs’ First
13   Amended Complaint (“FAC”) (Dkt. No 618). The District Court denied Taitz’s
14   motion. In July 2013, Taitz appealed from the order denying her motion (Case No.
15   13-56253).
16           In April 2016, the Court of Appeals issued its Memorandum (Dkt. No. 676)
17   in Case No. 13-56253 [consolidated with Case No. 13-56250, an appeal by DOFF],
18   finding that “Appellants’ speech at issue concerns matters of public importance,
19   [and thus] the first prong of California anti-SLAPP is satisfied.” (Memorandum, pg.
20   5.)
21           [Taitz and co-Defendants, DEFEND OUR FREEDOMS FOUNDATIONS,
22   ORLY TAITZ, INC., and LAW OFFICES OF ORLY TAITZ, in connection with
23   their concurrently-filed Motions to dismiss and to strike, seek judicial notice
24   pursuant to Fed. R. Evid. 201 of the Court of Appeals’ Memorandum - Request for
25   Judicial Notice Item 2.]
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          DEFENDANT ORLY TAITZ’S MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS (CAL.
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 1         The Court of Appeals also reversed the District Court’s order, finding that
 2   Liberi and Ostella did not meet their burden under California’s anti-SLAPP statute,
 3   and dismissing certain claims of the FAC as follows:
 4         1.     Dismissing the Fifth Claim for Relief, for Violation of the California
 5                Information Privacy Act § 1798.53, brought by Liberi and Ostella;
 6         2.     Dismissing the Tenth Claim for Relief, for Malicious Prosecution,
 7                brought by Liberi; and
 8         3.     Dismissing the Eleventh Claim for Relief, for Abuse of Process,
 9                brought by Liberi. (Memorandum, pgs. 6-7.)
10         On September 9, 2016, Liberi dismissed her claims against Taitz and related
11   Defendants with prejudice.
12         Taitz is thus the prevailing party in her appeal as against Liberi and Ostella,
13   and is therefore entitled to a mandatory award of attorneys’ fees and costs pursuant
14   to Cal. Code Civ. Proc. section 425.16(c) against Ostella.
15   II.   LEGAL ARGUMENT AND AUTHORITY
16         A.     Cal. Code Civ. Proc. section 425.16(c) Mandates an Award of
17                Reasonable Attorneys’ Fees and Costs to Parties Subjected to
18                Strategic Lawsuits Against Public Participation
19         Cal. Code Civ. Proc. section 425.16(c)(1) provides in relevant part: “Except
20   as provided in paragraph (2), in any action subject to subdivision (b), a prevailing
21   defendant on a special motion to strike shall be entitled to recover his or her
22   attorney's fees and costs.” [Section 425.16(c)(2) is inapplicable where it applies
23   only to an action “brought pursuant to Section 6259, 11130, 11130.3, 54960, or
24   54960.1 of the Government Code.”]
25         The fee-shifting provision of California's anti-SLAPP statute is broadly
26   construed so as to effectuate legislative purpose of reimbursing a prevailing
27   defendant. Graham-Sult v. Clainos, 756 F.3d 724, 752 (9th Cir. 2014). State law
28                                              2
       DEFENDANT ORLY TAITZ’S MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS (CAL.
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 1   governs attorney's fees awards based on state fee-shifting laws, like California's
 2   anti-SLAPP statute. Northon v. Rule, 637 F.3d 937, 938 (9th Cir.2011).
 3         The anti-SLAPP statute is “intended to compensate a defendant for the
 4   expense of responding to a SLAPP suit. To this end, the provision is broadly
 5   construed so as to effectuate the legislative purpose of reimbursing the prevailing
 6   defendant for expenses incurred in extracting herself from a baseless lawsuit.”
 7   Wanland v. Law Offices of Mastagni, Holstedt & Chiurazzi, 141 Cal.App.4th 15, 20
 8   (2006). Thus, fees and costs awarded are not limited to those incurred specifically
 9   in prosecution of an anti-SLAPP motion. Ibid. Graham-Sult, 756 F.3d at 752.
10         A defendant is entitled to attorney’s fees and costs for appealing a trial court
11   order denying his or her anti-SLAPP motion. White v. Lieberman, 103 Cal.App.4th
12   210, 220 (2002).
13         Here - as applicable to Ostella - Taitz prevailed on her anti-SLAPP motion as
14   to the Fifth Claim for Relief of the FAC, and is thus entitled to an award of her
15   reasonable attorneys’ fees and costs against Ostella under Cal. Code of Civil
16   Procedure section 425.16(c)(1).
17         B.     Cal. Code Civ. Proc. Section 425.16(c) Mandates an Award of
18                Reasonable Attorneys’ Fees and Costs Where Defendant’s Motion
19                is Granted as to Some But Not All of Plaintiff’s Claims
20         The Legislature requires that Cal. Code Civ. Proc. section 425.16 be
21   "construed broadly." Evans v. Unkow, 38 Cal.App 4th 1490, 1500 (1995).
22         An award of attorneys’ fees and costs is proper even if the anti-SLAPP
23   motion is granted as to only some of a plaintiff's claims. ComputerXpress, Inc. v.
24   Jackson, 93 Cal.App.4th 993, 1020 (2001). Coltrain v. Shewalter, 66 Cal.App.4th
25   94, 108 (1998).
26         The concept of what renders a litigant a prevailing party is to be broadly
27   construed. Lin v. City of Pleasanton, 176 Cal.App.4th 408, 425-26 (2009) (“The
28                                             3
       DEFENDANT ORLY TAITZ’S MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS (CAL.
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 1   term ‘prevailing party’ must be ‘interpreted broadly to favor an award of attorney
 2   fees to a partially successful defendant.’”)
 3         The attorney fees provision of the California’s anti-SLAPP) statute is broadly
 4   construed; an award is proper even if the anti-SLAPP motion is granted as to only
 5   some of a plaintiff's claims. New.Net, Inc. v. Lavasoft, 356 F.Supp.2d 1090, 1115
 6   (C.D.Cal.2004).
 7         Here, Taitz prevailed on some but not all of the claims of the FAC -
 8   specifically, on the Fifth Claim for Relief by Ostella and Liberi, and the Tenth and
 9   Eleventh Claims for Relief by Liberi.
10         Taitz is thus entitled to an award of attorneys’ fees and costs from Ostella.
11   New.Net, Inc., 356 F.Supp.2d at 1115. ComputerXpress, Inc., 93 Cal.App.4th at
12   1020. Lin, 176 Cal.App.4th at 425-26.
13         C.     Taitz is Entitled to an Award of Her Reasonable Attorney’s Fees
14                and Costs of $286,852.22 Against Ostella Pursuant to Cal. Code
15                Civ. Proc. Section 425.16(c)
16         As stated, Plaintiffs filed this “SLAPP” case seven years ago in 2009. It has
17   been vigorously litigated including in three appeals. This includes Taitz’s and
18   DOFF’s appeals resulting in the Court of Appeals’ subject decision, in which Taitz
19   was the prevailing party as against Ostella and Liberi.
20         "An award of fees may include not only the fees incurred with respect to the
21   underlying claim, but also the fees incurred in enforcing the right to mandatory fees
22   under section 425.16." Ketchum v. Moses, 24 Cal.4th 1122, 1132 (2001).
23         The appropriate number of hours include all time ‘reasonably expended in
24   pursuit of the ultimate result achieved....” Hensley v. Eckerhart (1983) 461 U.S.
25   424, 431, 103 S.Ct. 1933, 76 L.Ed.2d 40 (1983) (abrogated on other grounds by
26   Tex. State Teachers Ass'n. v. Garland Indep. Sch. Dist., 489 U.S. 782, 109 S.Ct.
27   1486, 103 L.Ed.2d 866 (1989)).
28                                              4
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  1         “The most useful starting point for determining the amount of a reasonable
  2   fee is the number of hours reasonably expended on the litigation multiplied by a
  3   reasonable hourly rate.” Hensley, 461 U.S. at 433. “In determining a reasonable
  4   hourly rate, the district court should be guided by the rate prevailing in the
  5   community for similar work performed by attorneys of comparable skill,
  6   experience, and reputation.” Chalmers v. City of Los Angeles, 796 F.2d 1205, 1210-
  7   11 (9th Cir. 1986). “Generally, the relevant community is the forum in which the
  8   district court sits.” Barjon v. Dalton, 132 F.3d 496, 500 (9th Cir. 1997) (citing
  9   Davis v. Mason County, 927 F.2d 1473, 1488 (9th Cir. 1991)).
 10          “The party opposing the fee application has a burden of rebuttal that requires
 11   submission of evidence to the district court challenging the accuracy and
 12   reasonableness of the hours charged or the facts asserted by the prevailing party in
 13   its submitted affidavits.” Gates v. Deukmejian, 987 F.2d 1392, 1397-98 (9th Cir.
 14   1993). Premier Medical Management Systems, Inc. v. California Ins. Guarantee
 15   Assn., 163 Cal.App.4th 550, 564 (2008).
 16         As the Supreme Court of California has explained, "...fees recoverable ...
 17   ordinarily include compensation for all hours reasonably spent, including those
 18   necessary to establish and defend the fee claim." Serrano v. Unruh, 32 Cal.3d 621,
 19   639 (1982).
 20         The award of attorneys’ fees and costs sought by Taitz is reasonable given
 21   the realities of this case - she was dragged into litigation on the East Coast (the
 22   District Court in Pennsylvania) in 2009, successfully moved to have the portion of
 23   the case involving her and related Defendants transferred to the Central District of
 24   California, successfully defended against Plaintiffs’ appeal to the Third Circuit
 25   Court of Appeals, and after two attempts to obtain relief under California’s anti-
 26   SLAPP statute, was ultimately granted such relief by the Ninth Circuit Court of
 27   Appeals. It found that “Appellants’ speech at issue concerns matters of public
 28                                              5
        DEFENDANT ORLY TAITZ’S MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS (CAL.
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  1   importance, [and thus] the first prong of California anti-SLAPP is satisfied” and
  2   that Liberi and Ostella failed to meet their burdens as to the Fifth, Tenth and
  3   Eleventh Claims for Relief.
  4          As shown in the attached declaration and the attorneys’ fees and costs
  5   billings attached to it, the amount sought herein is reasonable and should be
  6   awarded to Taitz and against Ostella.
  7   III.   CONCLUSION
  8          For the reasons stated herein, Taitz respectfully submits that an award of
  9   attorneys’ fees and costs as prayed should be made against Ostella.
 10

 11   DATED: September 12, 2016               SCHUMANN | ROSENBERG
 12

 13                                    By:    /s/ - Jeffrey P. Cunningham
                                              ______________________
                                              Kim Schumann, Esq.
 14                                           Jeffrey P. Cunningham, Esq.
                                              Attorneys for Defendant,
 15                                           ORLY TAITZ
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        DEFENDANT ORLY TAITZ’S MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS (CAL.
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  1                DECLARATION OF JEFFREY P. CUNNINGHAM, ESQ.
  2           I, Jeffrey P. Cunningham, declare as follows:
  3           1.    I am an attorney duly licensed to practice law in all courts of the State
  4   of California and the United States District Court for the Central District of
  5   California, and am a Partner in Schumann | Rosenberg, attorneys of record for
  6   Defendant, ORLY TAITZ (“Taitz”). I make this declaration based on my personal
  7   knowledge of the facts stated herein. I gained my personal knowledge of the facts
  8   stated herein by virtue of my participation in the events described herein, my review
  9   of the documents described herein, or some combination of the foregoing as
 10   identified herein. If called to testify to the facts stated herein, I could and would do
 11   so competently and truthfully.
 12           2.    I am a 1990 graduate of the University of Southern California Law
 13   School. I was admitted to the California Bar in December 1990. I was admitted to
 14   practice in the Ninth Circuit in December 1990. I have practiced law on a full time
 15   basis continuously since December 1990.
 16           3.    Kim Schumann, Esq. is a Partner of Schumann | Rosenberg. He is a
 17   1994 graduate of the Western State University College of Law. He was admitted to
 18   the California Bar in June 1994. He was admitted to practice in the Ninth Circuit in
 19   December 1994. Mr. Schumann has practiced law on a full time basis continuously
 20   since June 1994.
 21           4.    Our office began representing Taitz in the case captioned above in
 22   June 2011. We have represented her continuously in this case since June 2011.
 23           5.    I have reviewed and am thus familiar with all attorneys’ fees and costs
 24   billings issued by our office in this case. Attached hereto as “Exhibit A” are true
 25   copies of our billings for attorneys’ fees and costs in this case, through August
 26   2016.
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 28                                               7
        DEFENDANT ORLY TAITZ’S MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS (CAL.
                              CODE CIV. PROC. SECTION 425.16(c))
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                                 #:17133


  1         6.      As reflected in those billings, our office charged attorneys’ fees from
  2   June 2011 through July 2014 in this case at the rate of $170.00 per hour. From
  3   August 2014 to the present, our office has charged attorneys’ fees at the rate of
  4   $185.00 per hour in this case. These rates are modest and well below the market
  5   rates in Orange County, California, for attorneys with twenty or more years of
  6   experience.
  7         7.      As also reflected in those billings, our office has charged for services
  8   performed by paralegals in this case at the rate of $95.00 per hour. This rate is
  9   modest and well below the market rates in Orange County, California, for
 10   comparable paralegals.
 11         8.      Those billings reflect that Taitz was charged attorneys’ fees through
 12   August 2016 of $272,905.00. They also reflect that Taitz incurred costs through
 13   August 2016 of $4,530.72.
 14         9.      Taitz will be charged attorneys’ fees at the rate of $185.00 per hour, for
 15   work performed in September 2016 up to the date of this declaration, including as
 16   to the concurrently-filed motions to dismiss, to strike and the herein motion,
 17   totaling $9,416.50 (50.9 hours times $185.00/hour). This includes 12.9 hours
 18   devoted to drafting the within motion.
 19         I hereby declare under penalty of perjury under the laws of the United States
 20   of America that the above is true and correct.
 21         Executed on September 12, 2016, in Costa Mesa, California.
 22

 23                                                        /s/ - Jeffrey P. Cunningham
                                                     By: ________________________
 24                                                        Jeffrey P. Cunningham
 25

 26

 27

 28                                              8
        DEFENDANT ORLY TAITZ’S MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS (CAL.
                              CODE CIV. PROC. SECTION 425.16(c))
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                                   “Exhibit A”
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                                     #:17135


Schumann | Rosenberg
Attorneys at Law
3100 Bristol Street, Suite 100
Costa Mesa, CA 92626
Tax ID No.: XX-XXXXXXX
(714)-850-0210


Invoice submitted to:
Laurie Johnson
Chubb Group of Insurance Companies
555 S. Flower St., 5th Floor
Los Angeles, CA 90071



September 09, 2016
In Reference To:Liberi vs. Taitz
                Our File No.: CH-078
                Your File No.: 047511021455
                Insured: Orly Taitz and Yosef Taitz
                Claimant: Liberi
                S | R Federal Tax Id No.: XX-XXXXXXX


             Professional Services

                                                                                           Hrs/Rate     Amount

 6/24/2011 - PC        Review potential new federal Chubb case from Orly Taitz                0.80      136.00
                       regarding defamation lawsuit; identify media coverage of lawsuit.    170.00/hr

             - PC      Review new federal case from Orly Taitz regarding defamation           0.70      119.00
                       lawsuit;                                                             170.00/hr


   7/5/2011 - PC       Review federal case docket (approximately 200 line items) and          1.50      255.00
                       case procedural history in preparation of meeting with new           170.00/hr
                       clients.

   7/6/2011 - KS       Telephone calls with new client regarding attack on pleadings.         0.80      136.00
                                                                                            170.00/hr

             - JC      Meeting with clients O. and Y. Taitz in Liberi v. Taitz case.          3.00      510.00
                                                                                            170.00/hr

             - KS      Joint meeting with clients.                                            3.00      510.00
                                                                                            170.00/hr

             - PC      Meeting with potential new clients Orly Taitz and husband Yosef        3.00      510.00
                       Taitz,                                                               170.00/hr
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Laurie Johnson                                                                                       Page      2

                                                                                        Hrs/Rate        Amount

  7/7/2011 - KS   Meeting with clients.                                                    1.40    NO CHARGE
                                                                                         170.00/hr

           - PC   Begin review of case file, including review of relevant legal            1.00         170.00
                  documents identified by client: Complaint, Anti-SLAPP Motions,         170.00/hr
                  Motion for Leave to File Amended Complaint.

           - JC   Lengthy meeting with clients                                             1.40         238.00
                                                                                         170.00/hr


           - PC   Begin review of Plaintiff's 180-page First Amended Complaint.            1.20         204.00
                                                                                         170.00/hr

           - PC   Draft analysis on response deadlines for client Orly Taitz, and for      0.80         136.00
                  Orly's related entities; as well as analysis of response deadline      170.00/hr
                  for Yosef Taitz and related entities.

           - PC   Review correspondence from client regarding status and                   0.20             34.00
                  strategy of anti-SLAPP motion.                                         170.00/hr

           - PC   Review Anti-SLAPP motion draft to First Amended Complaint                0.50             85.00
                  drafted by Taitz's prior counsel.                                      170.00/hr

           - PC   Review Declaration of Orly Taitz supporting Anti-SLAPP motion            0.50             85.00
                  draft to First Amended Complaint drafted by Taitz's prior counsel.     170.00/hr

           - PC   Further detailed review and analysis of 180-page first amended           3.20         544.00
                  Complaint in preparation                                               170.00/hr


           - PC   Review Stipulation to Dismiss Yosef Taitz in preparation for             0.40             68.00
                  drafting meet and confer regarding dismissal of Yosef.                 170.00/hr

           - PC   Analyze Court's Order Granting Leave to Amend                            1.20         204.00
                                                                                         170.00/hr


           - PC   Analyze prior Court's Order on request for Preliminary Injunction.       1.00         170.00
                                                                                         170.00/hr

           - JC   Begin review of voluminous file materials in Liberi v. Taitz case,       3.60         612.00
                  including clients' SLAPP motions,                                      170.00/hr


                             Begin research regarding preparation of various
                  motions for clients, including to dismiss and to strike amended
                  complaint.

           - KS   Telephone call with carrier regarding future handling.                   0.20             34.00
                                                                                         170.00/hr
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Laurie Johnson                                                                                      Page      3

                                                                                       Hrs/Rate        Amount

  7/7/2011 - KS   Multiple correspondence with client regarding case handling.            0.80         136.00
                                                                                        170.00/hr

  7/8/2011 - PC   Review and analyze draft Motion to Stay Proceedings pending             1.70         289.00
                  appeal on behalf of Orly Taitz pursuant to carrier authority by       170.00/hr
                  Laurie Johnson.

           - PC   Conference with counsel                                                 0.70         119.00
                                                                                        170.00/hr
                  pursuant to carrier authority by Laurie Johnson.

           - PC   Review news articles submitted by client regarding case and             1.00         170.00
                  facts regarding Plaintiffs and Plaintiffs' legal strategy.            170.00/hr

           -


           - JC   Begin analysis of potential motions to quash service and to             0.70         119.00
                  dismiss for defendants, Law Offices of O. Taitz and Orly Taitz,       170.00/hr
                  Inc.

           - PC   Review draft 12(b)(6) motion drafted by prior attorneys for client      1.60         272.00
                  pursuant to carrier authority from Laurie Johnson.                    170.00/hr

           - JC   Begin review of clients' motion to stay case pending appeal.            0.60         102.00
                                                                                        170.00/hr

           - PC   Review documents for use in judicial notice in support of Motion        2.00         340.00
                  to Dismiss, bankruptcy records and criminal records of Plaintiff      170.00/hr
                  Liberi. Pursuant to authority granted by carrier, Laurie Johnson.

           - PC   Begin drafting Motion to Dismiss on behalf of Orly Taitz; draft         1.70         289.00
                  and revise Introduction section, and create outline of legal          170.00/hr
                  arguments. Pursuant to authority granted by carrier, Laurie
                  Johnson.

           -


           - PC   Conferencing with client regarding case status, motion status,          1.00         170.00
                  and case strategy.                                                    170.00/hr

           - PC   Conference with client regarding substitution, status of case.          0.50             85.00
                                                                                        170.00/hr

           - KS   Preparation of correspondence to client regarding update.               0.20             34.00
                                                                                        170.00/hr

           - KS   Correspondence with client regarding court order.                       0.30             51.00
                                                                                        170.00/hr
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Laurie Johnson                                                                                       Page      4

                                                                                        Hrs/Rate        Amount

  7/8/2011 - KS     Correspondence with client regarding stay of proceedings.              0.20             34.00
                                                                                         170.00/hr

           - KS     Conference regarding future handling.                                  0.40             68.00
                                                                                         170.00/hr

 7/10/2011 - KS     Conference regarding Law & Motion filings.                             0.60         102.00
                                                                                         170.00/hr

           - JC     Begin analysis of issues regarding                                     1.30         221.00
                                                                                         170.00/hr




           - PC     Continue drafting Motion to Dismiss on behalf of Orly Taitz as to      5.00         850.00
                    each of 11 causes of action and approximately 600 allegations.       170.00/hr
                    Pursuant to authority granted by carrier, Laurie Johnson.

 7/11/2011 - MLC Prepare Notice of Association of Counsel Pending Approval of              0.10              9.50
                 Substitution of Attorney, for filing and service.                        95.00/hr

           - MLC Telephone call with counsel for Defendant, Intellius, Inc.,               0.10              9.50
                 regarding information on case.                                           95.00/hr

           - MLC Begin initial revisions of 12(b)(6) Motion to Dismiss pursuant to         0.40             38.00
                 carrier authority from Laurie Johnson.                                   95.00/hr

           - KM     Review and analyze of California and Federal decisional                1.10         187.00
                    authority regarding                                                  170.00/hr

                                                            Pursuant to authority
                    granted by carrier, Laurie Johnson.

           - MLC Prepare Table of Contents and Table of Authorities for                    1.70         161.50
                 Defendant's Motion to Dismiss Plaintiffs' First Amended                  95.00/hr
                 Complaint Pursuant to FRCP 12(b)(6). Pursuant to authority
                 granted by carrier, Laurie Johnson.

           - MLC Further review and revise Defendant's Motion to Dismiss                   0.70             66.50
                 Plaintiff's First Amended Complaint Pursuant to FRCP 12(b)(6),           95.00/hr
                 for filing and service. Pursuant to authority granted by carrier,
                 Laurie Johnson.

           - JC     Continue analysis of issues regarding                                  0.70         119.00
                                                                                         170.00/hr




           - AP     Begin drafting memorandum regarding                                    1.80         171.00
                                                                                          95.00/hr
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Laurie Johnson                                                                                     Page      5

                                                                                      Hrs/Rate        Amount

 7/11/2011 - PC   Submit draft of 12(6)(6) motion to dismiss to client for review,       1.20         204.00
                  conference regarding the same pursuant to carrier authority from     170.00/hr
                  Laurie Johnson.

           - PC   Revisions and addition of new legal arguments into Motion to           3.30         561.00
                  Dismiss pursuant to client revisions; finalization of Motion for     170.00/hr
                  filing pursuant to carrier authority from Laurie Johnson.

           - PC   Review and analyze client's Motion to dismiss pursuant to              1.40         238.00
                  12(b)(6) on behalf of "Defend Our Freedoms Foundation"               170.00/hr
                  pursuant to carrier authority from Laurie Johnson.

           - PC   Review and analyze client's Motion to dismiss pursuant to              1.20         204.00
                  12(b)(1) - lack of jurisdiction - on behalf of "Defend Our           170.00/hr
                  Freedoms Foundation" pursuant to carrier authority from Laurie
                  Johnson.

           - PC   Draft and file Notice of Association of Counsel on behalf of Orly      0.70         119.00
                  Taitz with Federal Court.                                            170.00/hr

           - KS   Conference regarding upcoming Law & Motion                             0.80         136.00
                                                                                       170.00/hr

 7/12/2011 - JC   Begin review and analysis of file materials and online materials       0.50             85.00
                  of Ninth Circuit Court of Appeals regarding pending appeal by        170.00/hr
                  insured from denial of anti-SLAPP motion to strike.

           - JC   Begin preparation of mediation statement to Court of Appeals           0.70         119.00
                  regarding appeal from denial of insured's anti-SLAPP motion as       170.00/hr
                  to complaint. Multiple correspondence with client regarding
                  preparation of statement.

           - PC   Draft and file Joinder in Defend Our Freedom Foundation's              0.80         136.00
                  Motions to dismiss pursuant to 12(b)(1) and 12(b)(6). Pursuant       170.00/hr
                  to authority granted by carrier, Laurie Johnson.

           - KS   Conference regarding response by Mr. Taitz.                            0.40             68.00
                                                                                       170.00/hr

           - AP   Continue drafting memorandum                                           2.80         266.00
                                                                                        95.00/hr

           - KS   Preparation of correspondence to carrier regarding future              0.20             34.00
                  handling.                                                            170.00/hr

           - PC   Continued conferencing with Client throughout the day via              1.00         170.00
                  telephone regarding case strategy and factual allegations made       170.00/hr
                  by Plaintiffs, defense of same.
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Laurie Johnson                                                                                      Page   6

                                                                                       Hrs/Rate        Amount

 7/12/2011 -




           - PC   Review and analyze client's original answer and motion to               2.30         391.00
                  dismiss filed at the outset of this matter in 2009.                   170.00/hr

           - PC   Survey of answers and motion to dismiss filed at the outset of          1.00    NO CHARGE
                  this matter in 2009 by the Sankey defendants to original              170.00/hr
                  complaint.

           - PC   Begin review of Plaintiff's original 150-page Complaint, filed in       1.00         170.00
                  Pennsylvania federal court, and compare to operative FAC.             170.00/hr

 7/13/2011 - PC   Continue review and comparison of Plaintiff's original 150-page         2.50         425.00
                  Complaint, filed in Pennsylvania federal court, to operative FAC.     170.00/hr

           - KS   Correspondence from carrier regarding waiver and First                  0.60         102.00
                  Amended Complaint.                                                    170.00/hr

           - PC   Review record and proceedings so far in Appeal to client's              0.80         136.00
                  original Motion to Dismiss under anti-SLAPP. (Appeal authorized       170.00/hr
                  by CHUBB.)

           - PC   Review client's anti-SLAPP motion as part of analysis necessary         2.20         374.00
                  for pending appeal. (Appeal authorized by CHUBB.)                     170.00/hr

           -




           - PC   Review Plaintiff's opposition to anti-SLAPP motion as part of           1.80         306.00
                  analysis necessary for pending appeal. (Appeal authorized by          170.00/hr
                  CHUBB.)

           - PC   Begin review of Court's order denying anti-SLAPP motion as part         1.00         170.00
                  of analysis necessary for pending appeal. (Appeal authorized by       170.00/hr
                  CHUBB.)

           - KM   Analysis of issues regarding 12(b)(6) Motion to dismiss and             0.80         136.00
                  potential legal theories to properly attack Plaintiff's Complaint.    170.00/hr

           -



           - KS   Conference regarding interlocutory appeal.                              0.90         153.00
                                                                                        170.00/hr
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Laurie Johnson                                                                                     Page      7

                                                                                      Hrs/Rate        Amount

 7/13/2011 - KS     Correspondence with carrier regarding authority for appeal.          0.20             34.00
                                                                                       170.00/hr

           - MLC Receipt and review of all file materials for future handling,           3.10         294.50
                 including prior pleadings, client correspondence, and carrier          95.00/hr
                 correspondence for hard copy and online file set up.

           - KS     Correspondence with carrier regarding authority for Appeal.          0.20             34.00
                                                                                       170.00/hr

           - KS     Conference regarding                                                 1.20         204.00
                                                                                       170.00/hr

 7/14/2011 - JC     Begin analysis of legal issues and requirements regarding            0.90         153.00
                    appeal by insured, O. Taitz from denial of anti-SLAPP motion to    170.00/hr
                    strike as to complaint, and begin review of voluminous file
                    materials regarding preparation of record of appeal, and toward
                    preparation of insured's opening brief and related documents.

           -



           - JC     Continue evaluation of complex legal issues                          0.90         153.00
                                                                                       170.00/hr


           -



           -



           -



           - JC     Continue preparation of mediation questionnaire in appeal from       0.70         119.00
                    denial of anti-SLAPP motion to strike regarding complaint.         170.00/hr

           - KS     Conference regarding 12e Motion.                                     0.30             51.00
                                                                                       170.00/hr

           -



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Laurie Johnson                                                                                     Page      8

                                                                                      Hrs/Rate        Amount

 7/14/2011 - JC    Begin evaluation of complex legal issues regarding potential          0.80         136.00
                   disqualification of plaintiffs' counsel, toward preparation of      170.00/hr
                   potential motion to disqualify.

           -



           - AP    Research whether federal courts can apply California Civil            0.60             57.00
                   Procedure Section 1030, or something similar, in diversity           95.00/hr
                   jurisdiction cases.

           - PC    Draft Mediation Questionnaire responses as required under 9th         2.00         340.00
                   Circuit scheduling order, including case summary and mediation      170.00/hr
                   summary. (Appeal authorized by CHUBB.)

           - KM    Review and analyze of Local Rules and Court's specific rules          0.60         102.00
                   regarding motion filing, discovery, etc.                            170.00/hr

           - KS    Conference regarding authority for Law & Motion.                      0.40             68.00
                                                                                       170.00/hr

           - CAB Review and analyze copy of correspondence to clients from               0.10              9.50
                 Chubb received today for handling regarding retaining                  95.00/hr
                 Schumann, Rallo & Rosenberg

 7/15/2011 - JC    Begin evaluation of statute of limitations defenses regarding         0.80         136.00
                   amended complaint, toward preparation of motions to dismiss         170.00/hr
                   and strike for insureds.

           - JC    Begin evaluation of legal issues regarding consolidation or           0.70         119.00
                   joinder of insureds' appeals from denial of "anti-SLAPP" motion     170.00/hr
                   to strike regarding complaint.

           -




           - DL    Begin evaluation of legal issues regarding standing requirements      0.80             76.00
                   of fictitious business entities toward motions to strike.            95.00/hr

           - AP    Continue review of whether federal courts                             3.10         294.50
                                                                                        95.00/hr

           - KS    Authority from carrier.                                               0.10             17.00
                                                                                       170.00/hr
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Laurie Johnson                                                                                     Page      9

                                                                                      Hrs/Rate        Amount

 7/15/2011 - JC   Begin meet and confer and preparation of lengthy related               1.10         187.00
                  correspondence regarding motions to dismiss and strike               170.00/hr
                  amended complaint by defendants, Law Offices of Orly Taitz and
                  Orly Taitz, Inc.

           - AP   Draft memorandum                                                       2.80         266.00
                                                                                        95.00/hr

           - AP   Review whether and                                                     0.80             76.00
                                                                                        95.00/hr


           - DW   Finalize correspondence to opposing counsel regarding meet             0.10              9.50
                  and confer                                                            95.00/hr

           -



           - PC   Review response from Plaintiffs regarding dismissal of Taitz.          0.50             85.00
                                                                                       170.00/hr

           -


           - JC   Multiple correspondence with insureds toward preparation of            1.60         272.00
                  several motions to dismiss, to strike and for more definite          170.00/hr
                  statement as to amended complaint, including toward gathering
                  necessary information and evidence to prepare motions.

           - KS   Conference with carrier regarding status and future handling.          0.60         102.00
                                                                                       170.00/hr

           - KS   Correspondence with carrier regarding representation of client.        0.40             68.00
                                                                                       170.00/hr

           - JC   Begin evaluation of complex legal issues regarding potential           1.40         238.00
                  motions for a more definite statement by insureds as to              170.00/hr
                  amended complaint.

           - JC   Continue evaluation of complex legal issues regarding legal            0.90         153.00
                  standing of various plaintiffs and defendants, toward preparation    170.00/hr
                  of motions to dismiss and to strike for insureds.

 7/16/2011 -



 7/17/2011 - JC   Begin review and analysis of claims of plaintiff, Go Excel Global      0.80         136.00
                  towards preparation of insured's motions to strike and to dismiss    170.00/hr
                  Go Excel Global's claims.
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Laurie Johnson                                                                                        Page     10

                                                                                         Hrs/Rate        Amount

 7/17/2011 - JC     Begin review and analysis of claims of plaintiff, Law Offices of        0.90         153.00
                    Philip Berg, towards preparation of insured's motions to strike       170.00/hr
                    and to dismiss Go Excel Global's claims.

           - KS     Conference regarding client's requests related to court transcript      0.40             68.00
                    and appeal.                                                           170.00/hr

 7/18/2011 -


           -


           - MLC Correspondence to District Court clerk regarding required docket           0.10              9.50
                 fee.                                                                      95.00/hr

           -




           - PC     Conference with Jim McCabe, counsel representing defendant              0.30             51.00
                    Lexis / Reed Elsevier, regarding case status.                         170.00/hr

           - AP     Review New Jersey law regarding whether dissolved                       4.30         408.50
                    corporations / corporations not in good standing have capacity to      95.00/hr
                    bring suit.

           - AP     Draft memorandum regarding whether dissolved corporations /             0.60             57.00
                    corporations not in good standing have the capacity to sue under       95.00/hr
                    New Jersey law.

           - JC     Correspondence with carrier regarding preparation of record on          0.20             34.00
                    appeal regarding appeal by insured, O. Taitz from denial of           170.00/hr
                    anti-SLAPP motion to strike.

           - JC     Review and analysis of various correspondence between                   0.40             68.00
                    insureds and plaintiffs toward evaluation of plaintiffs' amended      170.00/hr
                    complaint.

           - PC     Review documents and court orders from prior case involving             0.80         136.00
                    same clients and same Plaintiffs regarding sanctions of Berg,         170.00/hr
                    counsel for Plaintiffs, as submitted by client.

           - PC     Review email communications between Orly Taitz and Plaintiffs           0.30             51.00
                    prior to lawsuit filing, provided by client.                          170.00/hr

           -
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Laurie Johnson                                                                                      Page     11

                                                                                       Hrs/Rate        Amount

 7/18/2011 -



           -




           - PC   Review Plaintiffs' original motion for leave to file FAC.               1.80         306.00
                                                                                        170.00/hr

           - PC   Begin review of Plaintiffs' supplement to motion for leave to file      1.50         255.00
                  FAC (approximately 800 pages and 300 exhibits).                       170.00/hr

           - PC   Review client's opposition to motion for leave to file FAC.             1.20         204.00
                                                                                        170.00/hr

           - PC   Review Court's Order granting Plaintiff's motion for leave to file      1.00         170.00
                  FAC.                                                                  170.00/hr

           - KS   Conference regarding plaintiffs' failure to seek court approval         0.30             51.00
                  before filing.                                                        170.00/hr

           -


           - PC   Draft and file substantive letter request to Judge (pursuant to         1.60         272.00
                  court order) seeking leave to filed Motion for Reconsideration on     170.00/hr
                  Motion for leave to file FAC.

 7/19/2011 - PC   Draft declarations and exhibits supporting Motion to Dismiss            0.70         119.00
                  pursuant to carrier authority from Laurie Johnson.                    170.00/hr

           - PC   Draft Request for Judicial Notice and exhibits supporting Motion        0.40             68.00
                  to Dismiss pursuant to carrier authority from Laurie Johnson.         170.00/hr

           - KS   Analyze possible undertaking by plaintiffs.                             0.60         102.00
                                                                                        170.00/hr

           - KS   Telephone call with client regarding Law & Motion status.               0.10             17.00
                                                                                        170.00/hr

           - KS   Correspondence with carrier regarding authority.                        0.10             17.00
                                                                                        170.00/hr

           -



           - KS   Telephone call from client regarding 12(b)(6) and 12(b)(1)              0.20             34.00
                  Motions.                                                              170.00/hr
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Laurie Johnson                                                                                    Page     12

                                                                                     Hrs/Rate        Amount

 7/19/2011 - KS   Conference regarding finalizing Motions and regarding client's        0.40             68.00
                  concerns.                                                           170.00/hr

           - JC   Multiple correspondence with opposing counsel and other               0.50             85.00
                  defense counsel regarding plaintiffs' request to consolidate        170.00/hr
                  hearings on several motions to dismiss and strike amended
                  complaint.

           - JC   Continue evaluation of legal issues regarding corporate standing      0.70         119.00
                  of plaintiff, Go Excel Global, toward preparation of motions to     170.00/hr
                  strike and dismiss amended complaint pursuant to carrier
                  authority from Laurie Johnson.

           - JC   Begin preparation of motion by defendant, Law Offices of O.           1.30         221.00
                  Taitz, to dismiss amended complaint toward defense of insured,      170.00/hr
                  O. Taitz pursuant to carrier authority from Laurie Johnson.

           -




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Laurie Johnson                                                                                      Page     13

                                                                                       Hrs/Rate        Amount

 7/19/2011 - JC     Multiple telephone conference and correspondence with insured,        0.60         102.00
                    O. Taitz regarding her and Defend Our Freedom Foundation's          170.00/hr
                    appeals from denial of anti-SLAPP motions and consolidation of
                    appeals.

           -



           - MLC Review and revise Notice of Motion and Motion of Defendant,              0.20             19.00
                 "Law Offices of Orly Taitz", to Dismiss Plaintiff's First Amended       95.00/hr
                 Complaint Pursuant to FRCP 12(b)(6), for filing and service
                 pursuant to carrier authority from Laurie Johnson.

           - JC     Multiple telephone conference and correspondence with                 0.40             68.00
                    insureds regarding preparation of motions to dismiss and to         170.00/hr
                    strike amended complaint.

           -


           - MLC Review and revise [Proposed] Order Granting Defendants, Orly             0.10              9.50
                 Taitz's and "Law Offices of Orly Taitz"'s Motion to Dismiss             95.00/hr
                 Pursuant to FRCP 12(b)(6), for filing and service pursuant to
                 carrier authority from Laurie Johnson.

           - AP     Continue to review New Jersey law regarding whether a                 2.80         266.00
                    dissolved corporation can bring suit.                                95.00/hr

           - AP     Revise memorandum regarding whether dissolved corporation             0.90             85.50
                    can bring suit under New Jersey law.                                 95.00/hr

           - AP     Review possible causes of action                                      1.30         123.50
                                                                                         95.00/hr


           -


           - PC     Continued conferencing with client regarding status of motion,        0.70         119.00
                    case status.                                                        170.00/hr

           - PC     Continue review of Plaintiffs' supplement to motion for leave to      2.00         340.00
                    file FAC (approximately 800 pages and 300 exhibits).                170.00/hr

           - KS     Telephone call from client regarding Appeal.                          0.10             17.00
                                                                                        170.00/hr

           - KS     Conference regarding Appeal.                                          0.40             68.00
                                                                                        170.00/hr
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                                                                                       Hrs/Rate        Amount

 7/19/2011




             -


 7/20/2011 - KS                                                                           0.20             34.00
                                                                                        170.00/hr

             - KS   Authority from carrier.                                               0.10             17.00
                                                                                        170.00/hr

             - KS   Meeting regarding conference with client, conflict of interest        0.60         102.00
                    claim by opposing counsel, etc.                                     170.00/hr

             - KS   Authority from carrier.                                               0.10             17.00
                                                                                        170.00/hr

             - KS   Preparation of correspondence to client regarding plaintiffs new      0.10             17.00
                    claims and regarding our request for sanctions.                     170.00/hr

             -




                                              .

             - JC   Review court of appeal 7/18/11 notice in appeal by insured, O.        0.40             68.00
                    Taitz from denial of "anti-SLAPP" motion to strike complaint.       170.00/hr

             - PC   Review Motions to Dismiss filed by the Hale Defendants in the         1.90         323.00
                    Texas federal companion case, as submitted for review by client.    170.00/hr

             - PC   Review Motions to Dismiss filed by the Hale Defendants in the         1.90         323.00
                    Texas federal companion case, as submitted for review by client.    170.00/hr

             - PC   Review Plaintiff's opposition to Orly's Motion to Stay Case           2.50         425.00
                    pending appeal in preparation of drafting Reply brief.              170.00/hr
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                                                                                             Hrs/Rate        Amount

 7/20/2011 - PC     Create outline for Reply Brief in support of Motion to Stay case            1.00         170.00
                    pending appeal.                                                           170.00/hr

           - PC     Review Plaintiff's request to file motions to dismiss filings, force        1.30         221.00
                    withdrawal of law firm.                                                   170.00/hr

           - PC     Conference with client regarding Plaintiff's request to file motions        0.30             51.00
                    to dismiss filings, force withdrawal of law firm.                         170.00/hr

           - PC     Begin drafting Initial Opinion Letter, drafting of initial outline and      1.80         306.00
                    begin introductory statements.                                            170.00/hr

 7/21/2011 - KS     Conference regarding Motion for Sanctions and Appeal.                       0.60         102.00
                                                                                              170.00/hr

           - KS     Conference with carrier regarding status.                                   0.10             17.00
                                                                                              170.00/hr

           - KM     Review and analysis of file materials to determine relevant facts           0.90         153.00
                    regarding 12b(6) and 12(f) reply in anticipation of arguments in          170.00/hr
                    Plaintiff's Opposition.

           - JC     Continue evaluation of legal issues and authorities for motion to           0.80         136.00
                    consolidate pending appeals regarding denial of defendants'               170.00/hr
                    "anti-SLAPP" motion to strike, toward preparation of such motion.

           - MLC Prepare Mediation Questionnaire for Orly Tatiz Appeal (Case No.                0.20             19.00
                 11-56164), for filing and service.                                            95.00/hr

           - JC     Continue preparation of mediation questionnaire of insured O.               0.40             68.00
                    Taitz in appeal of denial of her "anti-SLAPP" motion to strike.           170.00/hr

           - MLC Review and revise Orly Taitz's Mediation Questionnaire, for filing             0.10              9.50
                 and service.                                                                  95.00/hr

           - PC     Continue drafting Initial Opinion Letter.                                   1.50         255.00
                                                                                              170.00/hr

           - PC     Draft and filed supplemental Mediation Questionnaire, including             1.40         238.00
                    Proof of Service and list of counsel representing parties.                170.00/hr

           - PC     Review prior requests by Plaintiffs seeking three separate TRO's            1.50         255.00
                    against Orly Taitz.                                                       170.00/hr

 7/22/2011 - PC     Continued conferencing with Orly Taitz regarding court order as             1.00         170.00
                    to Defend Our Freedoms Foundation, Law Offices of Orly Taitz,             170.00/hr
                    and Orly Taitz, Inc., filing of Motions to Dismiss.

           - JC     Multiple telephone conferences and correspondence with all                  1.90         323.00
                    insureds regarding court declining to consider several motions to         170.00/hr
                    dismiss and strike by insureds, and development of strategy
                    toward motion for reconsideration.
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                                                                                      Hrs/Rate        Amount

 7/22/2011 -
                                                            ursuant to Court Order.

           - KS   Telephone calls with carrier regarding future handling.                0.40             68.00
                                                                                       170.00/hr

           - KS   Telephone call with client regarding future handling and               0.40             68.00
                  regarding client's personal counsel.                                 170.00/hr

           - JC   Continue preparation of reply Memorandum of Points and                 0.90         153.00
                  Authorities regarding defendants' motion to stay case pending        170.00/hr
                  appeal.

           -


           - PC   Continue drafting Reply Brief in support of Motion to Stay             2.60         442.00
                  proceedings.                                                         170.00/hr

           - PC   Draft Corrected                                                        1.00         170.00
                                                                                       170.00/hr

           - PC   Draft declaration                                                      0.80         136.00
                                                                                       170.00/hr

           - PC   Continued conferencing                                                 1.00         170.00
                                                                                       170.00/hr


 7/23/2011 - JC   Multiple correspondence with clients regarding preparation of          0.50             85.00
                  motions to dismiss and for judgment on pleadings, and handling       170.00/hr
                  of pending appeals and related motion for stay pending appeals.

           - PC   Finalize drafting Reply Brief in support of Motion to Stay             2.50         425.00
                  proceedings and submit to client for review.                         170.00/hr

           - JC   Continue analysis of legal authorities cited by plaintiffs in          2.20         374.00
                  opposition to insured's motion to stay pending appeal, and           170.00/hr
                  preparation of reply Memorandum of Points and Authorities and
                  supporting documents regarding such opposition.

           - KS   Receipt and review of correspondence from carrier regarding            0.20             34.00
                  representation by other counsel.                                     170.00/hr

           - KS   Conference regarding strict local rules and Court's decision to        0.50             85.00
                  require Law & Motion.                                                170.00/hr

 7/24/2011 - PC   Review client Orly Taitz's draft Reply Brief from defendant            0.90         153.00
                  DOFF, suggested revisions to Reply Brief to Motion to Stay           170.00/hr
                  Case.
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                                                                                        Hrs/Rate        Amount

 7/24/2011 - JC   Continue review and analysis of complex legal authorities cited          1.40         238.00
                  by plaintiffs in opposition to clients' motion to stay case pending    170.00/hr
                  appeal, toward preparation of reply Memorandum of Points and
                  Authorities supporting motion.

           - JC   Continue preparation of reply Memorandum of Points and                   1.20         204.00
                  Authorities regarding opposition to clients' motion to stay case       170.00/hr
                  pending appeal from denial of anti-SLAPP motion to strike
                  complaint.

           - PC   Review client Orly Taitz's draft Reply Brief from defendant              0.90         153.00
                  DOFF, suggested revisions to Reply Brief to Motion to Stay             170.00/hr
                  Case.

 7/25/2011 - KS   Conference regarding filings.                                            0.40             68.00
                                                                                         170.00/hr

           - PC   Review client's Reply on behalf of Defend Our Freedoms                   1.50         255.00
                  Foundation to Motion to Stay Proceedings on pending appeal.            170.00/hr

           - PC   Finalize and file Reply on behalf of Orly Taitz's to Motion to Stay      1.20         204.00
                  Proceedings on pending appeal.                                         170.00/hr

           - PC   Review Plaintiff's request to judge regarding Corrected Motion           1.50         255.00
                  filing and request to enter default against certain of Defendants.     170.00/hr

           - KS   Telephone call with carrier regarding handling of opposition for         0.20             34.00
                  Law Offices of Orly Taitz.                                             170.00/hr

           - KS   Correspondence with carrier regarding dismissal of Law Offices           0.10             17.00
                  of Orly Taitz.                                                         170.00/hr

           - JC   Begin review and analysis of proposed reply Memorandum of                0.90         153.00
                  Points and Authorities for co-defendant, Defend Our Freedoms           170.00/hr
                  Foundations, joining in reply Memorandum of Points and
                  Authorities of insured, O. Taitz, regarding her motion to stay
                  case pending appeal.

           - PC   Meeting with Orly Taitz regarding Motion to Stay Proceedings             2.20         374.00
                  and response to 12(b)(6) motion.                                       170.00/hr

           - JC   Continue preparation of reply Memorandum of Points and                   2.10         357.00
                  Authorities regarding opposition to clients' motion to stay case       170.00/hr
                  pending appeal from denial of anti-SLAPP motion to strike
                  complaint.

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                                                                                           Hrs/Rate        Amount

 7/25/2011 - MLC Finalize Reply Brief by Orly Taitz, in Support of Motion to Stay             0.30             28.50
                 Proceedings Pending Appeal, for filing and service.                         95.00/hr

           - PC      Review Plaintiffs Memorandum of Points and Authorities in                1.50         255.00
                     opposition to Motion to Dismiss in preparation of drafting Reply       170.00/hr
                     Brief.

           - PC      Review Declaration of Andrew Lincoln submitted by Plaintiffs in          0.90         153.00
                     support of opposition to Motion to Dismiss.                            170.00/hr

           - JC      Continue review and analysis of complex legal authorities cited          1.30         221.00
                     by plaintiffs in opposition to clients' motion to stay case pending    170.00/hr
                     appeal, toward preparation of reply Memorandum of Points and
                     Authorities supporting motion.

           - JC      Multiple correspondence with insureds toward preparation of              0.50             85.00
                     reply Memorandum of Points and Authorities regarding their             170.00/hr
                     motion to stay case pending appeal.

           - PC      Review 20 page Declaration of Lisa Ostella submitted by                  1.80         306.00
                     Plaintiffs in support of opposition to Motion to Dismiss, and          170.00/hr
                     exhibits attached therein.

           - PC      Begin review 24 page Declaration of Lisa Liberi submitted by             2.00         340.00
                     Plaintiffs in support of opposition to Motion to Dismiss, including    170.00/hr
                     review of 26 exhibits (270 pages) attached therein.

           - JC      Review and analysis of opposing counsel's 7/25/11                        0.40             68.00
                     correspondence to court regarding striking insured O. Taitz's          170.00/hr
                     motion for stay pending appeal, and insured's responsive letter,
                     toward preparation of insured's reply Memorandum of Points and
                     Authorities regarding such motion.

           -



           - KS      Prepare for meeting with clients.                                        1.40         238.00
                                                                                            170.00/hr

           - KS      Telephone call with client regarding future handling.                    0.40             68.00
                                                                                            170.00/hr

           - KS      Evening meeting with clients.                                            1.10         187.00
                                                                                            170.00/hr

           - KS      Finalize update to carrier regarding future handling.                    0.20             34.00
                                                                                            170.00/hr

 7/26/2011 - PC      Conference with Plaintiffs' counsel regarding dismissal of               0.50             85.00
                     extraneous defendants; submit stipulation for signature.               170.00/hr
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                                                                                          Hrs/Rate        Amount

 7/26/2011 - KS   Finalize update regarding Law Offices of Orly Taitz.                       0.60         102.00
                                                                                           170.00/hr

           - PC   Draft letter request to Judge, pursuant to Court Order, seeking            0.70         119.00
                  leave to file Stipulated Dismissal of defendants, pursuant to            170.00/hr
                  Plaintiff's request.

           -



           - JC   Begin review and evaluation of court's 7/21/11 order on plaintiffs'        0.50             85.00
                  request for disqualification of SRR as defendant Y. Taitz's              170.00/hr
                  counsel, defendant Oracle's request to file motion to dismiss,
                  and insured, O. Taitz's and defendant Defend Our Freedoms'
                  request for reconsideration of granting of plaintiffs' motion to file
                  amended complaint.

           - KS   Correspondence from client regarding opposing counsel's                    0.10             17.00
                  stipulation.                                                             170.00/hr

           - JC   Begin evaluation of issues and legal authorities cited in plaintiffs'      0.60         102.00
                  opposition to insured, O. Taitz's motion to dismiss amended              170.00/hr
                  complaint, toward preparation of reply Memorandum of Points
                  and Authorities.

           - JC   Begin evaluation of legal issues regarding potential conversion            0.40             68.00
                  by court of insured, O. Taitz's motion to dismiss amended                170.00/hr
                  complaint to motion for summary judgment, and begin
                  development of arguments against conversion, toward
                  preparation of reply Memorandum of Points and Authorities.

           - PC   Continue review of case file in preparing Initial Letter and               2.00         340.00
                  litigation plan, review Court's Order denying TRO's filed by             170.00/hr
                  Plaintiffs.

           - PC   Continue review of documents submitted by Plaintiffs as part of            3.60         612.00
                  proposed First Amended Complaint (approximately 300 exhibits)            170.00/hr
                  in continuing case analysis.

           - JC   Continue evaluation of legal issues regarding dismissal of                 0.30             51.00
                  non-existent entity, defendant Law Offices of O. Taitz, including        170.00/hr
                  regarding proposed stipulation and order dismissing defendant.

           - PC   Continue review of Plaintiffs Memorandum of Points and                     1.80         306.00
                  Authorities in opposition to Motion to Dismiss in preparation of         170.00/hr
                  drafting Reply Brief.

           - KS   Correspondence with client regarding opposing counsel's                    0.10             17.00
                  agreement.                                                               170.00/hr
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                                                                                        Hrs/Rate        Amount

 7/26/2011 - MLC Review 9th Circuit Court of Appeals rules regarding designating           0.90             85.50
                 the record on appeal.                                                    95.00/hr

           - KS     Correspondence from carrier regarding waiver.                          0.10             17.00
                                                                                         170.00/hr

           - PC     Begin review of 3rd Circuit appeal documents regarding Petition        1.50         255.00
                    by client on Motion to Dismiss under 12(b)(1), including 3rd         170.00/hr
                    Circuit court opinion.

           -



           - JC     Multiple correspondence with opposing counsel regarding                0.30             51.00
                    preparation of stipulation to dismiss defendant Law Offices of O.    170.00/hr
                    Taitz.

           - JC     Begin review of voluminous file materials regarding preparation        0.80         136.00
                    of record on appeal in appeal by insured, O. Taitz from denial of    170.00/hr
                    anti-SLAPP motion to strike as to complaint.

           - KS     Receipt of large claims file material; begin analysis thereof.         1.80         306.00
                                                                                         170.00/hr

           - KS     Correspondence with client regarding filing of stipulation to          0.20             34.00
                    dismiss Law Offices of Orly Tatiz.                                   170.00/hr

           - KS     Conference regarding future handling after yesterday's meetings        0.80         136.00
                    with clients and clients new directions.                             170.00/hr

           - KS     Correspondence with carrier regarding Law Offices of Orly Taitz.       0.20             34.00
                                                                                         170.00/hr

 7/27/2011 - JC     Begin preparation of opening brief of insured, O. Taitz in appeal      0.50             85.00
                    from denial of her anti-SLAPP motion to strike complaint.            170.00/hr

           - AP     Review Exhibits used in Plaintiff's First Amended Complaint, and       6.30         598.50
                    prepare spreadsheet with pertinent data including exhibit             95.00/hr
                    number, docket number, date, description and other relevant
                    information.

           - KS     Receipt and review of filing from Defend Our Freedoms                  0.20             34.00
                    Foundation regarding stipulation.                                    170.00/hr

           - PC     Review three separate Answers filed by Sankey Defendants               2.50         425.00
                    (Sankey Investigations, Neil Sankey, Todd Sankey).                   170.00/hr

           - JC     Continue review of voluminous file materials regarding insured,        1.40         238.00
                    O. Taitz's anti-SLAPP motion to strike, toward preparation of        170.00/hr
                    record on appeal in appeal from order denying motion.
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                                                                                       Hrs/Rate        Amount

 7/27/2011 -


           - PC   Conference with client regarding changes to draft of answer to          0.40             68.00
                  FAC.                                                                  170.00/hr

           - PC   Continue drafting reply brief in support of Orly's 12(b)(6) Motion      1.60         272.00
                  to dismiss.                                                           170.00/hr

           -



           - JC   Begin review and analysis of insured, O. Taitz's anti-SLAPP             1.60         272.00
                  motion to strike and voluminous supporting documents, toward          170.00/hr
                  preparation of insured's opening brief in appeal from denial of
                  motion.

           - JC   Multiple correspondence with insureds regarding preparation of          0.40             68.00
                  stipulation to dismiss defendant, Law Offices of Orly Taitz, and      170.00/hr
                  submittal of required request for leave to enter dismissal.

           - JC   Begin review and analysis of voluminous pleadings of plaintiff, P.      0.80         136.00
                  Berg, in several prior freedom of speech cases, toward potential      170.00/hr
                  inclusion of such materials in record on appeal supporting
                  insured, O. Taitz's appeal from denial of her anti-SLAPP motion
                  to strike complaint.

           - JC   Receipt and review of notices of various electronic filings,            0.50             85.00
                  including regarding answer and initial discovery, by Sankey           170.00/hr
                  Defendants.

           -




           - PC   Begin drafting Objection to Declaration of Liberi in support of         1.20         204.00
                  Plaintiff's opposition to 12(b)(6) motion pursuant to carrier         170.00/hr
                  authority from Laurie Johnson.

           - PC   Begin drafting Objection to Declaration of Ostella in support of        1.00         170.00
                  Plaintiff's opposition to 12(b)(6) motion pursuant to carrier         170.00/hr
                  authority from Laurie Johnson.

           - PC   Begin drafting Objection to Declaration of Lincoln in support of        1.00         170.00
                  Plaintiff's opposition to 12(b)(6) motion pursuant to carrier         170.00/hr
                  authority from Laurie Johnson.

           - PC   Continue drafting Initial Letter, detailed factual background to        1.50         255.00
                  litigation section.                                                   170.00/hr
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                                                                                      Hrs/Rate        Amount

 7/28/2011 - KS   Correspondence with client regarding opposing counsel's offer to       0.10             17.00
                  dismiss.                                                             170.00/hr

           - JC   Review multiple correspondence from defendants, Defend Our             0.40             68.00
                  Freedom Foundation and Orly Taitz, Inc. to court, regarding          170.00/hr
                  leave to file motions to dismiss.

           - AP   Review exhibits used in Plaintiff's Opposition to Motion to            1.60         152.00
                  Dismiss, and prepare spreadsheet with pertinent data including        95.00/hr
                  exhibit number, docket number, date, description and other
                  relevant information.

           - PC   Begin review of                                                        0.50             85.00
                                                                                       170.00/hr

           - PC   Review and analyze                                                     0.70         119.00
                                                   .                                   170.00/hr

           - AP   Review exhibits used in Defendant's Anti-SLAPP motion, and             0.80             76.00
                  prepare spreadsheet with pertinent data including exhibit             95.00/hr
                  number, docket number, date, description and other relevant
                  information.

           - PC   Begin review of cases                                                  1.60         272.00
                                                                                       170.00/hr

           - AP   Continue reviewing exhibits used in Plaintiff's First Amended          2.60         247.00
                  Complaint, preparing a spreadsheet with pertinent data including      95.00/hr
                  exhibit number, docket number, date, description and other
                  relevant information.

           - PC   Begin review of cases                                                  1.80         306.00
                                                                                       170.00/hr


           - PC   Continue initial draft of Reply Brief in Support of Motion to          2.00         340.00
                  Dismiss.                                                             170.00/hr

           - JC   Continue evaluation of legal issues and requirements regarding         0.80         136.00
                  preparation of motion to consolidate appeals of insured, O. Taitz    170.00/hr
                  and defendant, Defend Our Freedoms Foundation, from denial
                  of anti-SLAPP motion to strike complaint.

           - JC   Receipt and review order extending time for various defendants         0.20             34.00
                  to respond to amended complaint.                                     170.00/hr

           - KS   Correspondence with client regarding Motion to Dismiss.                0.30             51.00
                                                                                       170.00/hr

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                                                                                           Hrs/Rate        Amount

                    incorporation of insured's proposed revisions to factual denials of
                    numerous allegations.

 7/28/2011 - KS     Conference regarding court ruling and handling based on                   0.40             68.00
                    authority.                                                              170.00/hr

           - KS     Correspondence with client regarding handling of Motion to                0.20             34.00
                    Dismiss.                                                                170.00/hr

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           - JC     Begin review and analysis of court's 7/28/11 order allowing               0.30             51.00
                    insured, Y. Taitz to file motions to dismiss and to strike amended      170.00/hr
                    complaint, and denying insured, O. Taitz's requests to file such
                    motions.

           - JC     Multiple correspondence with insured, Y. Taitz regarding court's          0.30             51.00
                    7/28/11 order allowing insured to file motions to dismiss and to        170.00/hr
                    strike amended complaint, and denying insured, O. Taitz's
                    requests to file such motions.

           - PC     Begin review of                                                           0.60         102.00
                                                                                            170.00/hr

           - PC     Review Court Order granting leave to file 12(b)(6) and 12(f)              1.80         306.00
                    motions, denying Plaintiff's requests, also denying Orly's              170.00/hr
                    requests on behalf of clients she represents (DOFF, LOOT).

           - PC     Continue review and analysis of                                           2.00         340.00
                                                                                            170.00/hr
                                                                    .

 7/29/2011 - JC     Multiple correspondence with insureds regarding preparation for           0.40             68.00
                    upcoming hearing on various motions to dismiss, and insured, O.         170.00/hr
                    Taitz's request to Court for clarification of order denying leave to
                    file additional dispositive motions.

           - JC     Continue evaluation of legal issues and requirements regarding            0.30             51.00
                    preparation of motion to consolidate appeals of insured, O. Taitz       170.00/hr
                    and defendant, Defend Our Freedoms Foundation, from denial
                    of anti-SLAPP motion to strike complaint.

           - MLC Review and revise Orly Taitz's Motion to Consolidate Appeals,                0.40             38.00
                 pursuant to Jeff Cunningham's request.                                      95.00/hr
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                                                                                       Hrs/Rate        Amount

 7/29/2011 - PC   Review Defendant Intelius's request to file Motion to Dismiss.          0.20             34.00
                                                                                        170.00/hr

           -




           - JC   Begin preparation of motion to consolidate appeals of insured, O.       2.20         374.00
                  Taitz and defendant, Defend Our Freedoms Foundation, from             170.00/hr
                  denial of anti-SLAPP motion to strike complaint.

           - PC   Continue drafting Objection to Declaration of Liberi in support of      0.50             85.00
                  Plaintiff's opposition to 12(b)(6) motion pursuant to carrier         170.00/hr
                  authority from Laurie Johnson.

           - PC   Continue drafting Objection to Declaration of Lincoln in support        1.00         170.00
                  of Plaintiff's opposition to 12(b)(6) motion pursuant to carrier      170.00/hr
                  authority from Laurie Johnson.

           - PC   Continued to detailed review of correspondence between client           2.50         425.00
                  and Plaintiffs regarding allegations in FAC, approximately 100        170.00/hr
                  pages and part of 800 pages of exhibits submitted as part of
                  Proposed FAC.

  8/1/2011 - JC   Continue evaluation of complex legal authorities regarding              0.80         136.00
                  insured, O. Taitz's anti-SLAPP motion to strike, toward               170.00/hr
                  preparation of her opening brief in appeal from denial of
                  anti-SLAPP motion to strike.

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Laurie Johnson                                                                                    Page     25

                                                                                     Hrs/Rate        Amount

  8/1/2011 - MH     Begin fact investigation and analysis of                            2.20         374.00
                                                                                      170.00/hr



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           - PC     Finalize reply brief regarding motion to dismiss                    2.50         425.00
                                                                                      170.00/hr

           - PC     Continue drafting objections to declarations in opposition to       0.50             85.00
                    motion to dismiss pursuant to carrier authority from Laurie       170.00/hr
                    Johnson.

           - PC     Continue comparison between plaintiffs original complaint with      2.00         340.00
                    the FAC                                                           170.00/hr

           - PC     Finalize letter request to judge re stipulated dismissal of         0.20             34.00
                    defendants                                                        170.00/hr

           -


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           - MLC Review and revise Defendant Orly Taitz's Reply Brief in Support        0.20             19.00
                 of Her Motion to Dismiss Pursuant to FRCP 12(b)(6), for filing        95.00/hr
                 and service.

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                                                                   and service.

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                                                                                           Hrs/Rate        Amount

  8/1/2011 -



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  8/2/2011 - MH     Continue fact investigation and analysis                                  0.70         119.00
                                                                                            170.00/hr



           - JC     Continue preparation of lengthy memorandum of evidentiary                 0.90         153.00
                    objections to plaintiffs' three, lengthy (greater than 60 pages plus    170.00/hr
                    200 pages of exhibits) declarations in opposition to motion of
                    insured, O. Taitz, to dismiss amended complaint, and toward
                    preparation of reply to such opposition.

           - JC     Review court's 8/2/11 notice of continuance of several motions to         0.30             51.00
                    dismiss and to stay to 8/22/11, to be heard with other dispositive      170.00/hr
                    motions.

           - JC     Begin review of State Bar disciplinary record regarding declarant,        0.60         102.00
                    C. Lincoln, toward preparation of evidentiary objections to his         170.00/hr
                    declaration submitted by plaintiffs in opposition to insured, O.
                    Taitz's motion to dismiss amended complaint.

           - JC     Continue evaluation of legal authorities regarding admissibility of       1.10         187.00
                    extrinsic evidence on motion of insured, O. Taitz, to dismiss           170.00/hr
                    amended complaint, and Federal Rules of Evidence and related
                    authority, toward preparation of memoranda of evidentiary
                    objections to lengthy (60 pages plus 200 pages of exhibits)
                    declarations and exhibits.

           - MLC Review Federal Rules of Civil Procedure and Local Rules                      0.60             57.00
                 regarding filing our Objections in Support of our Reply to                  95.00/hr
                 Plaintiff's Opposition to Orly Taitz's Motion to Dismiss.

           - BM     Analyze federal statutory and decisional authority regarding              1.40         238.00
                    evidentiary objections and due process considerations regarding         170.00/hr
                    same

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           - JC     Continue review and analysis of plaintiffs' three lengthy (60             1.40         238.00
                    pages plus 200 pages of exhibits) declarations and exhibits in          170.00/hr
                    opposition to insured, O. Taitz's motion to dismiss amended
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Laurie Johnson                                                                                          Page     27

                                                                                           Hrs/Rate        Amount

                    complaint, toward preparation of memoranda of evidentiary
                    objections to such declarations and exhibits.

  8/2/2011 - KS     Correspondence with carrier regarding update and budget.                  0.20             34.00
                                                                                            170.00/hr

           - PC     Phone conference with client regarding case status; court order           0.50             85.00
                    and future judicial requests.                                           170.00/hr

           - KS     Conference regarding                                                      0.40             68.00
                                                                                            170.00/hr


           - KS     Conference regarding client's concerns related to August hearing          0.30             51.00
                    date.                                                                   170.00/hr

           - MLC Multiple conferences with Jeffrey Cunningham regarding our                   0.70    NO CHARGE
                 evidentiary objections to plaintiff's declarations supporting his           95.00/hr
                 opposition to Orly Taitz's Motion to Dismiss.

  8/3/2011 - KS     Conference regarding discovery plan and production of                     0.30             51.00
                    documents.                                                              170.00/hr

           - PC     Review and analyze Plaintiffs' Rule 26 Report and supporting              1.50         255.00
                    declaration.                                                            170.00/hr

           - PC     Conference with Sankey defendant regarding 12(b)(6) motion,               0.30             51.00
                    potential motion to dismiss, evidence in support.                       170.00/hr

           - PC     Conference with client regarding request of Defendant Orly Taitz          0.50             85.00
                    stipulated dismissal of unnecessary defendants.                         170.00/hr

           - JC     Multiple correspondence with insured, O. Taitz, regarding                 0.30             51.00
                    stipulation for dismissal of defendant Law Offices of O. Taitz.         170.00/hr

           - AP     Draft the quotations section of the Evidentiary Objections by             3.80         361.00
                    Defendant, Orly Taitz, to the Declaration of Lisa Liberi filed by        95.00/hr
                    Plaintiff's with their Opposition to Defendant's Motion to Dismiss.

           - MH     Begin preparing analysis of                                               2.40         408.00
                                                                                            170.00/hr



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           - JC     Continue preparation of lengthy memorandum of evidentiary                 1.50         255.00
                    objections to plaintiffs' three, lengthy (greater than 60 pages plus    170.00/hr
                    200 pages of exhibits) declarations in opposition to motion of
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Laurie Johnson                                                                                         Page     28

                                                                                          Hrs/Rate        Amount

                  insured, O. Taitz, to dismiss amended complaint, and toward
                  preparation of reply to such opposition.

  8/3/2011 - JC   Continue review and analysis of plaintiffs' three lengthy (60              1.50         255.00
                  pages plus 200 pages of exhibits) declarations and exhibits in           170.00/hr
                  opposition to insured, O. Taitz's motion to dismiss amended
                  complaint, toward preparation of memoranda of evidentiary
                  objections to such declarations and exhibits.

           - KS   Preparation of memorandum regarding conference with clients.               1.00         170.00
                                                                                           170.00/hr

  8/4/2011 - JC   Continue preparation of lengthy memorandum of evidentiary                  2.60         442.00
                  objections to plaintiffs' three, lengthy (greater than 60 pages plus     170.00/hr
                  200 pages of exhibits) declarations in opposition to motion of
                  insured, O. Taitz, to dismiss amended complaint, and toward
                  preparation of reply to such opposition.

           - JC   Begin review and evaluation of plaintiffs' lengthy opposition              3.10         527.00
                  documents to insured, O. Taitz's anti-SLAPP motion to strike             170.00/hr
                  complaint, toward preparation of opening brief and record on
                  appeal in insured's appeal from denial of motion.

           - PC   Conference with Mike Niborski, counsel representing Daylight               0.50             85.00
                  Chemicals, regarding case status.                                        170.00/hr

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           - AP   Continue drafting the quotations section to the Evidentiary                0.90             85.50
                  Objections by Defendant, Orly Taitz, to the Declaration by Lisa           95.00/hr
                  Liberi filed by Plaintiffs with their Opposition to Defendant's
                  Motion to Dismiss.

           - AP   Research whether there is a limit to the amount of Requests for            0.20             19.00
                  Admissions and Interrogatories that can be propounded to the              95.00/hr
                  opposing side in federal court and whether there is a limit to the
                  length/amount of Depositions that can be taken in federal court.

           - AP   Review method for being able to exceed limit of Interrogatories            0.90             85.50
                  or Depositions normally allowed in Federal Court.                         95.00/hr

           - AP   Begin drafting the quotations section to the Evidentiary                   0.50             47.50
                  Objections by Defendant, Orly Taitz, to the Declaration by Lisa           95.00/hr
                  Ostella, filed by Plaintiffs with their Opposition to Defendant's
                  Motion to Dismiss.

           - PC   Analysis of allegations in verified documents submitted by                 2.50         425.00
                  plaintiffs in preparation of drafting written discovery requests         170.00/hr

           - MH   Continue preparing analysis of additional matters of liability             3.20         544.00
                  and/or potential other matters of potential liability for purposes of    170.00/hr
                  preparing update letter to carrier; continue preparing summary of
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Laurie Johnson                                                                                        Page     29

                                                                                         Hrs/Rate        Amount

                  extensive and detailed bar complaint against client, prepare
                  summary of allegations of Lucas Smith, prepare summary of
                  alleged affair with legal assistant

  8/5/2011 -




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           - AP   Continue drafting quotations section to the Evidentiary                   2.70         256.50
                  Objections by Defendant, Orly Taitz, to the Declaration of Lisa          95.00/hr
                  Ostella, filed by Plaintiffs with their Opposition to Defendant's
                  Motion to Dismiss.

           - AP   Draft quotations section to the Evidentiary objections by                 0.80             76.00
                  Defendant, Orly Taitz, to the Declaration of Charles Edward              95.00/hr
                  Lincoln, filed by Plaintiffs with their Opposition to Defendant's
                  Motion to Dismiss.

           - AP   Draft objections section to Evidentiary Objections by Defendant,          2.90         275.50
                  Orly Taitz, to the Declaration of Lisa Ostella, filed by Plaintiff's     95.00/hr
                  Opposition to Defendant's Motion to Dismiss.

           - PC   Begin drafting status update                                              1.50         255.00
                                                                                          170.00/hr

           - PC   Continue drafting detailed litigation budget and analysis                 2.00         340.00
                                                                                          170.00/hr

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  8/8/2011 -
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Laurie Johnson                                                                                           Page     30

                                                                                          Hrs/Rate          Amount




  8/8/2011 - JC     Continue preparation of lengthy (over 100 pages) evidentiary             1.10           187.00
                    objections to plaintiffs' three lengthy declaration with voluminous    170.00/hr
                    exhibits, toward preparation of insured, O. Taitz's reply to
                    plaintiffs' opposition to her motion to dismiss amended complaint.

           - PC     Continue drafting 105 page evidentiary objections to declarations        1.50           255.00
                    and evidence submitted by plaintiffs in support of opposition to       170.00/hr
                    Motion to Dismiss pursuant to carrier authority from Laurie
                    Johnson.

           - PC     Review defendant Oracle Corporation's motion to dismiss first            1.00           170.00
                    amended complaint pursuant to carrier authority from Laurie            170.00/hr
                    Johnson.

           - MLC Revise and finalize Evidentiary Objections by Defendant, Orly               3.10           294.50
                 Taitz, to Declarations filed by Plaintiffs with their Opposition to        95.00/hr
                 Defendant's Motion to Dismiss Pursuant to FRCP 12(b)(6) and
                 Supporting Declaration, for filing and service (Motion is
                 approximately 106 pages)

           - KS     Conference regarding objections to opposing counsel's filings.           0.40               68.00
                                                                                           170.00/hr

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                                                                                                     r

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  8/9/2011 -


           - JC     Multiple correspondence with plaintiffs' counsel and court               0.40               68.00
                    regarding insured, O. Taitz's memorandum of evidentiary                170.00/hr
                    objections to plaintiffs' declarations in opposition to insured's
                    motion to dismiss, and plaintiffs' request for leave to file
                    response to evidentiary objections.

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           - PC     Begin review of Claims file documents.                                   2.50           425.00
                                                                                           170.00/hr

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Laurie Johnson                                                                                      Page     31

                                                                                       Hrs/Rate        Amount

  8/9/2011 - PC   Review Daylight Chemicals stipulation and related court order           0.30             51.00
                  regarding motion filing date.                                         170.00/hr

           - PC   Continue draft of litigation budget and analysis                        1.00         170.00
                                                                                        170.00/hr

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           - PC   Review Berg's request to file a response to Orly Taitz's                0.50             85.00
                  evidentiary objections to the declarations filed on behalf of         170.00/hr
                  Plaintiffs in opposition to Orly Taitz's Motion to Dismiss.

           - KS   Conference regarding future handling.                                   0.40             68.00
                                                                                        170.00/hr

           - KS   Finalize correspondence to carrier.                                     0.80         136.00
                                                                                        170.00/hr

           - KS   Conference regarding strategy related to opposing counsel's             0.40             68.00
                  objections.                                                           170.00/hr

           - KS   Correspondence with carrier regarding budget.                           0.10             17.00
                                                                                        170.00/hr

           - KS   Conference regarding possible Cross-Complaints.                         0.30             51.00
                                                                                        170.00/hr

           - PC   Continued conferencing with client, Orly Taitz, regarding status        1.00         170.00
                  of defendants, including default requests against Orly Taitz, Inc.    170.00/hr
                  and Yosef Taitz, and involving motion-related issues.

           - AP   Begin drafting Requests for Admission, Set One, to be                   1.20         114.00
                  propounded on Plaintiff, Philip J Berg.                                95.00/hr

           - KS   Correspondence from client with update regarding her claims.            0.20             34.00
                                                                                        170.00/hr

           - JC   Multiple correspondence with plaintiffs' counsel and court              0.40             68.00
                  regarding plaintiffs' request for leave to enter defaults of Orly     170.00/hr
                  Taitz, Inc. and insured, Y. Taitz in capacity as CEO of defendant
                  Daylight Systems, and requests for insured, O. Taitz for leave to
                  file responsive motions to dismiss.

 8/10/2011 - KS   Conference regarding opposing counsel's push to take default of         0.40             68.00
                  client "in corporate capacity" - something not recognized by law.     170.00/hr

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Laurie Johnson                                                                                        Page     32

                                                                                         Hrs/Rate        Amount

 8/10/2011 -




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           - AP   Continue drafting Requests for Admissions, Set One, to be                 1.30         123.50
                  propounded on Defendant, Philip J. Berg.                                 95.00/hr

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           - PC   Continue preparation of detailed Initial Opinion Letter, analysis of      2.50         425.00
                  procedural history initiated in Pennsylvania court, including           170.00/hr
                  additional prior Defendants.

           - PC   Review recent media articles regarding Orly Taitz as related to           1.00         170.00
                  concurrent lawsuit, in preparation of addressing potential future       170.00/hr
                  strategy issues.

           - KS   Preparation of correspondence to carrier regarding plaintiff's            0.30             51.00
                  motion for default.                                                     170.00/hr

 8/11/2011 - AP   Continue drafting Requests for Admission, Set One, to be                  1.80         171.00
                  propounded on Plaintiff, Philip J. Berg by Defendant, Orly Taitz.        95.00/hr

           - AP   Continue drafting Requests for Admission, Set One, to be                  1.80         171.00
                  propounded on Plaintiff, Lisa Liberi, by Defendant, Orly Taitz.          95.00/hr

           - AP   Continue drafting Requests for Admission, Set One, to be                  1.80         171.00
                  propounded on Plaintiff, Lisa Ostella, by Defendant, Orly Taitz.         95.00/hr

 8/12/2011 - KS   Conference regarding vexatious litigants.                                 0.40             68.00
                                                                                          170.00/hr

           - AP   Continue drafting Requests for Production, Set One, to be                 1.80         171.00
                  propounded on Plaintiff, Philip J. Berg, by Defendant, Orly Taitz.       95.00/hr

           - AP   Continue drafting Requests for Production, Set One, to be                 2.30         218.50
                  propounded on Plaintiff, Lisa Liberi, by Defendant, Orly Taitz.          95.00/hr

           - AP   Continue drafting Requests for Production, Set One, to be                 1.80         171.00
                  propounded on Plaintiff, Lisa Ostella, by Defendant, Orly Taitz.         95.00/hr
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Laurie Johnson                                                                                        Page     33

                                                                                         Hrs/Rate        Amount

 8/12/2011 - AP   Research whether certain ResIpsaLoquitor cases involved                   0.60             57.00
                  accidents and if so, what kinds, and what causes of action were          95.00/hr
                  pled.

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           - KS   Preparation of correspondence to carrier regarding Minute                 0.20             34.00
                  Order.                                                                  170.00/hr

           - PC   Review Court Order providing authorization to file motions                0.40             68.00
                  pursuant to various requests from parties, including requests           170.00/hr
                  submitted by Orly Taitz, Philip Berg and Intelius.

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           - KS   Conference regarding oral arguments.                                      0.60         102.00
                                                                                          170.00/hr

           - KS   Telephone call with carrier regarding status.                             0.10             17.00
                                                                                          170.00/hr

 8/13/2011 - KS   Telephone call from client regarding demand to dismiss.                   0.10             17.00
                                                                                          170.00/hr

           - KS   Conference regarding Court's Order denying opposing counsel's             0.20             34.00
                  request.                                                                170.00/hr

           - KS   Correspondence with client regarding call to opposing counsel.            0.10             17.00
                                                                                          170.00/hr

 8/14/2011 -


           - JC   Multiple correspondence with client, O. Taitz regarding court's           0.40             68.00
                  order for parties to submit reports regarding prior litigation and      170.00/hr
                  sanctions, regarding potential designation of parties as vexatious
                  litigants.

           - PC   Review Plaintiff's opposition to Motion to Strike in preparation for      1.00         170.00
                  assessing strategy and further development of discovery plan.           170.00/hr

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Laurie Johnson                                                                                      Page     34

                                                                                       Hrs/Rate        Amount

 8/15/2011 - JC   Review Notice of Electronic Filing regarding Intelius Defendants'       0.20             34.00
                  stipulation for extension to respond to amended complaint.            170.00/hr

           - JC   Begin review and analysis of insured, O. Taitz's proposed seven         0.30             51.00
                  page report to court                                                  170.00/hr



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           - AP   Continue drafting Requests for Admission, Set One, to be                1.10         104.50
                  propounded on Plaintiff, Philip J. Berg, by Defendant, Orly Taitz.     95.00/hr

           - AP   Continue drafting Requests for Admission, Set One, to be                0.90             85.50
                  propounded on Plaintiff, Lisa Liberi, by Defendant, Orly Taitz.        95.00/hr

           - AP   Continue drafting Requests for Admission, Set One, to be                0.80             76.00
                  propounded on Plaintiff, Lisa Ostella, by Defendant, Orly Taitz.       95.00/hr

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           - JC   Review Reed Elsevier Defendants' request for leave to file              0.30             51.00
                  motion to dismiss as to Plaintiffs' amended complaint.                170.00/hr

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Laurie Johnson                                                                                          Page     35

                                                                                           Hrs/Rate        Amount

 8/15/2011 -



           - KS     Correspondence from client regarding proposed response to                 0.20             34.00
                    judge.                                                                  170.00/hr

           - KS     Telephone call with client regarding demand to opposing                   0.20             34.00
                    counsel.                                                                170.00/hr

 8/16/2011 -



           - PC     Begin broad overview of case file and federal docket in related           1.50         255.00
                    matter of Lincoln v. Daylight Chemical Information Systems, Inc.,       170.00/hr
                    including cursory review of all filings and court orders, as related
                    to the current matter.

           - PC     Review Court Order dated 3/23/11 regarding order on motions to            0.50             85.00
                    strike, requests for sanction, and order from court requiring           170.00/hr
                    permission prior to filing documents and motions applicable to
                    Plaintiff and Orly Taitz.

           - PC     Review client's initial and second draft response to Court Order          1.00         170.00
                    dated 8/12/11 in preparation of client conference and revisions.        170.00/hr

           - PC     Conference with counsel for Plaintiffs regarding stipulation to           0.30             51.00
                    dismiss parties / claims.                                               170.00/hr

           - JC     Multiple correspondence with client, O. Taitz regarding court's           0.60         102.00
                    order for parties to submit reports regarding prior litigation and      170.00/hr
                    sanctions,
                            , and evaluation of client's proposed second draft of
                    proposed report to court.

           -



           - JC     Review Notice of Electronic Filing, and Lexis Nexis Defendants'           0.30             51.00
                    stipulation, regarding such defendants' extension to respond to         170.00/hr
                    Plaintiffs' amended complaint.

           - MLC Review court docket in Lincoln v. Daylight Chemical and Barnett              1.10         104.50
                 v. Obama, for relevant court documents pertaining to our current            95.00/hr
                 case.

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Laurie Johnson                                                                                        Page     36

                                                                                         Hrs/Rate        Amount




 8/16/2011 - AP   Continue drafting Requests for Admission, Set One, to be                  1.60         152.00
                  propounded on Plaintiff, Philip J. Berg, by Defendant, Orly Taitz.       95.00/hr

           - AP   Continue drafting Requests for Admission, Set One, to be                  2.20         209.00
                  propounded on Plaintiff, Lisa Liberi, by Defendant, Orly Taitz.          95.00/hr

           - AP   Continue drafting Requests for Admission, Set One, to be                  1.40         133.00
                  propounded on Plaintiff, Lisa Ostella, by Defendant, Orly Taitz.         95.00/hr

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           - PC   Preparation for and telephonic meeting with client to discuss             0.70         119.00
                  recent court orders, including order regarding authorization to file    170.00/hr
                  documents and order to provide litigation history of client.

           - PC   Review stipulation filed by counsel for Lexis Defendants to               0.50             85.00
                  extend time to file responsive pleadings, and court's order             170.00/hr
                  authorizing same.

           -



           - KS   Preparation of correspondence to client regarding proposed                0.30             51.00
                  response to court.                                                      170.00/hr

           - PC   Preparation for and telephonic meeting with counsel for Daylight          0.50             85.00
                  Chemicals, Steven Silverstein, pursuant to client's instruction,        170.00/hr
                  regarding upcoming hearings, pleading status, and recent court
                  orders.

           - PC   Preparation for and meeting with counsel for Lexis, Jim McCabe,           0.70         119.00
                  regarding upcoming hearings, pleading status, and recent court          170.00/hr
                  orders.

           - KS   Conference with client regarding request to dismiss.                      0.20             34.00
                                                                                          170.00/hr

           - KS   Telephone call to opposing counsel regarding request to dismiss.          0.10             17.00
                                                                                          170.00/hr

           - KS   Conference regarding demand to opposing counsel to dismiss.               0.20             34.00
                                                                                          170.00/hr
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                                                                                         Hrs/Rate        Amount

 8/16/2011 - KS     Analyze client's proposed response to court order.                      0.40             68.00
                                                                                          170.00/hr

 8/17/2011 -




           - PC     Review and analyze client's correspondence requests to court            0.40             68.00
                    pursuant to the June 14 Court Order.                                  170.00/hr

           - AP     Continue drafting Requests for Admission, Set One, to be                0.70             66.50
                    propounded on Liberi, Ostella, and Berg by Orly Taitz                  95.00/hr

           - PC     Analysis of legal impact of potential motions filed by defendants       1.00         170.00
                    Defend our Freedoms Foundation and Orly Taitz Inc., and their         170.00/hr
                    potential default, to the defense of clients Orly Taitz and Yosef
                    Taitz.

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           - PC     Begin review of factual / legal support in preparation of initial       1.00         170.00
                    draft of Motion for Undertaking.                                      170.00/hr

           - PC     Continue analysis of circumstances and legal aspect of dismissal        1.00         170.00
                    of related Lincoln v. Daylight matter as related to Liberi matter.    170.00/hr

           - JC     Review Notice of Electronic Filing, and order on Intelius               0.30             51.00
                    Defendants' stipulation, regarding such defendants' extension to      170.00/hr
                    respond to Plaintiffs' amended complaint.

           - KS     Correspondence with client regarding Court's failure to respond         0.20             34.00
                    to request for leave.                                                 170.00/hr

           - AV     Preparation of documents to be used in meeting for preparation          0.30             28.50
                    of motion to stay and motion to dismiss.                               95.00/hr

           - JC     Review multiple correspondence of insured, O. Taitz regarding           0.30             51.00
                    requests for leave to file motions to dismiss amended complaint       170.00/hr
                    by defendants, Defend Our Freedoms and Orly Taitz, Inc.

           - PC     Meeting with client regarding case strategy in light of court           0.70         119.00
                    orders, including two-week plan in terms of motion hearings and       170.00/hr
                    filings.

           - MLC Begin summary of Complaint in related case of Charles Edward               4.60         437.00
                 Lincoln v. Daylight Chemical Corporation, et al. to compare and           95.00/hr
                 contrast to the operative complaint in Liberi v. Taitz for purposes
                 of defense strategy.
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Laurie Johnson                                                                                         Page     38

                                                                                          Hrs/Rate        Amount

 8/17/2011 - MLC Review and analyze 18 U.S.C. et seq., to become familiar with               1.10         104.50
                 R.I.C.O. (the Racketeer Influenced and Corrupt Organizations               95.00/hr
                 Act) for purposes of preparing summary of Complaint for
                 racketeering in related case of Charles Lincoln v. Daylight
                 Chemical, et al.

           - PC     Preparation for meeting with client, including review of                 0.50             85.00
                    documents submitted by client such as draft correspondence,            170.00/hr
                    motions and web pages.

           - KS     Conference regarding                                                     0.20             34.00
                                                                                           170.00/hr

           - KS     Telephone call from client regarding her Court request.                  0.20             34.00
                                                                                           170.00/hr

 8/18/2011 -




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           - PC     Continue review of matter of Lincoln v. Daylight, related case;          1.90         323.00
                    review and analyze 12(f) motion to strike filed by Orly Taitz / Law    170.00/hr
                    Offices of Orly Taitz as related to strategy in defense of client
                    Orly Taitz in present matter.

           - MLC Further prepare and finalize summary of Complaint in related                1.30         123.50
                 case of Charles Edward Lincoln v. Daylight Chemical                        95.00/hr
                 Corporation, et al. to compare and contrast to the operative
                 complaint in Liberi v. Taitz for purposes of defense strategy.

           - MLC Telephone call to court clerk to get clarification on Judge                 0.10              9.50
                 Guilford's tentative ruling procedure and whether or not we have           95.00/hr
                 to appear at the hearing if the tentative is ruled in our favor.

           - PC     Review new opinion of Martin v. Inland Empire regarding                  0.80         136.00
                    changes in law for anti-SLAPP Motions as related to drafting of        170.00/hr
                    legal arguments in appellate brief.

           - MLC Begin summary of First Amended Complaint in related case of                 0.60             57.00
                 Charles Edward Lincoln v. Daylight Chemical Corporation, et al.            95.00/hr
                 to compare and contrast to the operative complaint in Liberi v.
                 Taitz for purposes of defense strategy.

           - AP     Continue drafting Requests for Admission, Set One, to be                 0.20             19.00
                    propounded on Plaintiff, Philip J. Berg, by Defendant, Orly Taitz.      95.00/hr
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Laurie Johnson                                                                                       Page     39

                                                                                        Hrs/Rate        Amount

 8/18/2011 - PC     Continue review of matter of Lincoln v. Daylight, related case;        2.30         391.00
                    review and analyze Plaintiff's "Motion to Strike" the 12(f) and      170.00/hr
                    12(b)(6) Motions by Defendants, in preparation of strategy as to
                    Defendants in present matter.

           - PC     Continue detailed analysis of Plaintiff's 1,000-page compendium        2.50         425.00
                    of 145 exhibits used in support of their First Amended               170.00/hr
                    Complaint; Exhibit 80 to Exhibit 100 / page 700.

           - PC     Continue review of matter of Lincoln v. Daylight, related case;        0.50             85.00
                    continue analysis of First Amended Complaint as filed by Lincoln     170.00/hr
                    and attorney Berg.

           - KS     Conference regarding                  .                                0.10             17.00
                                                                                         170.00/hr

 8/19/2011 -



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           - AP     Begin drafting Requests for Production of Documents, Set One,          0.30             28.50
                    to be propounded on Plaintiff, Lisa Liberi, by Defendant, Orly        95.00/hr
                    Taitz.

           - AP     Begin drafting Requests for Production of Documents, Set One,          3.40         323.00
                    to be propounded on Plaintiff, Philip J. Berg, by Defendant, Orly     95.00/hr
                    Taitz.

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           - MLC Further prepare and finalize summary of First Amended                     1.90         180.50
                 Complaint in related case of Charles Edward Lincoln v. Daylight          95.00/hr
                 Chemical Corporation, et al. to compare and contrast to the
                 operative complaint in Liberi v. Taitz for purposes of defense
                 strategy.
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                                                                                         Hrs/Rate        Amount

 8/19/2011 - AP   Continue drafting Requests for Admission, Set One, to be                  0.30             28.50
                  propounded on Plaintiff, Lisa Liberi, by Defendant, Orly Taitz.          95.00/hr

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           - PC   Continue review of matter of Lincoln v. Daylight, related case;           2.50         425.00
                  analysis of First Amended Complaint as filed by Lincoln and             170.00/hr
                  attorney Berg as compared to First Amended Complaint in
                  present matter.

           - KS   Conference regarding Motion to Dismiss.                                   0.20             34.00
                                                                                          170.00/hr

           - PC   Begin broad overview of prior litigation histories of other               1.00         170.00
                  Plaintiffs, Liberi, Ostella and Berg, with regard to courts order on    170.00/hr
                  production of prior litigation history.

           - PC   Analysis of Courts Order regarding the continuation of hearings           0.50             85.00
                  for Motion to Stay and Motion to Dismiss of Defendant Orly Taitz        170.00/hr
                  to later hearing date.

           - PC   Conference with client Orly Taitz regarding case management,              0.70         119.00
                  courts order, and continued discussions regarding litigation            170.00/hr
                  history order by court.

           - KS   Examine news article about insured.                                       0.40             68.00
                                                                                          170.00/hr

 8/20/2011 - KS   Conference regarding client filing.                                       0.20             34.00
                                                                                          170.00/hr

 8/22/2011 - KS   Conference regarding handling of client request.                          0.20             34.00
                                                                                          170.00/hr

           - PC   Review Liberi v. West Valley Order regarding: Preliminary                 0.30             51.00
                  Injunction as related to legal strategy.                                170.00/hr

           - PC   Review Liberi v. West Valley Order regarding: RICO case                   0.30             51.00
                  statement and dismissal for lack of prosecution.                        170.00/hr

           - PC   Begin review of Liberi v. West Valley RICO complaint.                     1.50         255.00
                                                                                          170.00/hr

           - PC   Review Plaintiffs' original Verified Complaint for material               1.40         238.00
                  discrepancies in preparation of drafting Rule 11 Meet and Confer        170.00/hr
                  regarding sanctions and dismissal of defendants.
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                                                                                         Hrs/Rate        Amount

 8/22/2011 - PC     Review Berg bankruptcy file and legal analysis regarding                1.50         255.00
                    improper Plaintiff conduct in preparation of drafting Rule 11 Meet    170.00/hr
                    and Confer regarding sanctions and dismissal of defendants.

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           - MLC Review bankruptcy court docket for information on plaintiff                0.30             28.50
                 Liberi's 2002 bankruptcy.                                                 95.00/hr

           - AP     Continue drafting Requests for Production of Documents, Set             2.60         247.00
                    One, to be propounded on Plaintiff, Lisa Liberi, by Defendant,         95.00/hr
                    Orly Taitz.

           - AP     Continue drafting Requests for Production of Documents, Set             2.40         228.00
                    One, to be propounded on Plaintiff, Lisa Ostella, by Defendant,        95.00/hr
                    Orly Taitz.

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           - JC     Review insured, O. Taitz's proposed request for leave to file           0.30             51.00
                    motions to modify vexatious litigant reporting requirement, and to    170.00/hr
                    require bond from all plaintiffs.

           - JC     Begin analysis of pending bankruptcy case by Berg plaintiff in          0.40             68.00
                    preparation to stay cases as to said plaintiff.                       170.00/hr

           - JC     Begin review of criminal records regarding plaintiff, L. Liberi,        0.30             51.00
                    toward preparation of Special Interrogatories, Request for            170.00/hr
                    Admissions and Request for Production of Documents regarding
                    criminal background.

           - AP     Continue drafting Requests for Production of Documents, Set             1.00             95.00
                    One, to be propounded on Plaintiff, Philip J. Berg, by Defendant,      95.00/hr
                    Orly Taitz.

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           - JC     Review and analysis of court's 8/19/11 order granting insured, O.       0.30             51.00
                    Taitz's motion to stay case pending appeal, and ordering insured      170.00/hr
                    to report on court of appeal's decision in appeal.

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                                                                                        Hrs/Rate        Amount

 8/22/2011 - PC   Review court order granting stay of case as to defendant Orly            0.50             85.00
                  Taitz.                                                                 170.00/hr

           - PC   Review court order denying the motion to dismiss filed by Orly           0.50             85.00
                  Taitz.                                                                 170.00/hr

           - PC   Review court order granting and denying authority to file motions        0.50             85.00
                  regarding: Plaintiffs, Reed Defendants, and Orly Taitz.                170.00/hr

           - PC   Review proposed letter to court requesting authority to file             1.20         204.00
                  motions regarding: litigation history order and motion for             170.00/hr
                  undertaking.

           - PC   Review matter of Liberi v. West Valley case docket as related to         1.00         170.00
                  legal strategy in present matter.                                      170.00/hr

           - PC   Correspondence to client regarding: strategy on letter requests          1.00         170.00
                  to judge regarding: court order on litigation history and              170.00/hr


           - KS   Telephone call from client regarding new filings.                        0.20             34.00
                                                                                         170.00/hr

           - PC   Conference with client regarding: court orders issued denying            0.80         136.00
                  motion to dismiss and granting motion to stay, and ongoing             170.00/hr
                  litigation strategy.

           - PC   Review case docket regarding: bankruptcy filings by                      1.00         170.00
                  attorney/plaintiff Phillip Berg.                                       170.00/hr

           - PC   Review bankruptcy discharge filings regarding: Phillip Berg              0.50             85.00
                  bankruptcy.                                                            170.00/hr

 8/23/2011 - JC   Begin analysis of complex legal issues regarding insureds'               0.50             85.00
                  potential recovery of attorney fees and costs, toward preparation      170.00/hr
                  of insureds' motion


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           - JC   Review insured, O. Taitz's correspondence to court and related           0.30             51.00
                  request for leave for defendant, Orly Taitz, Inc. to file motion to    170.00/hr
                  dismiss amended complaint.

           - JC   Review insured, O. Taitz's correspondence to court and related           0.30             51.00
                  request for leave for various defendants, Orly to file motion to       170.00/hr
                  require plaintiffs
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                                                                                        Hrs/Rate        Amount

 8/23/2011 - JC   Continue analysis of legal issues regarding pending bankruptcy           0.60         102.00
                  of plaintiff, P. Berg, toward preparation of potential dismissal as    170.00/hr
                  to P. Berg for lack of standing.

           - JC   Multiple correspondence with insured, O. Taitz, regarding her            0.40             68.00
                  requests to court to exempt defendant, Orly Taitz, Inc., from stay     170.00/hr
                  of case and to allow it to file motion to dismiss, regarding
                  insured's appeal from denial of anti-SLAPP motion.

           - JC   Continue review and analysis of plaintiffs' lengthy opposition to        1.10         187.00
                  motion to dismiss amended complaint by defendant, Oracle               170.00/hr
                  Corporation, including sections regarding insured, Y. Taitz and
                  his company, defendant Daylight Corporation.

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           - PC   Review correspondence to court filed by Orly Taitz regarding             0.70         119.00
                  revision of litigation history court order.                            170.00/hr

           - PC   Review correspondence to court filed by Orly Taitz regarding             0.80         136.00
                  modification of court order regarding stay of case as to               170.00/hr
                  defendant Orly Taitz Inc.

           - PC   Continue analysis of verified 150 pg complaint filed by Liberi v.        2.20         374.00
                  West Valley Detention Center                                           170.00/hr

           - PC   Draft and revise declaration of Orly Taitz regarding appellate           1.50         255.00
                  litigation history for filing related to order to stay case.           170.00/hr

           - PC   Begin drafting outline of detailed meet and confer letter                1.00         170.00
                  demanding dismissal of Orly Taitz pursuant to Rule 11 motion.          170.00/hr

           - PC   Continue drafting detailed meet and confer letter demanding              1.50         255.00
                  dismissal of Orly Taitz pursuant to Rule 11 motion; legal              170.00/hr
                  argument regarding Berg bankruptcy standing issue.

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           - PC   Correspondence to client regarding draft declaration on order            0.50             85.00
                  regarding stay of case.                                                170.00/hr
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                                                                                         Hrs/Rate        Amount

 8/24/2011 -



           - PC   Review appellate case docket and district court case docket               0.50             85.00
                  pursuant to court order.                                                170.00/hr

           - PC   Continue analysis of Liberi's 150-page verified RICO complaint.           1.00         170.00
                                                                                          170.00/hr

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           - PC   Continue preparation of detailed Initial Analysis Letter to carrier.      1.00         170.00
                                                                                          170.00/hr

           - AP   Continue drafting Requests for Admission, Set One, to be                  0.90             85.50
                  propounded on Plaintiff, Lisa Liberi, by Defendant, Orly Taitz.          95.00/hr

           - AP   Continue drafting Requests for Admission, Set One, to be                  0.60             57.00
                  propounded on Plaintiff, Lisa Ostella, by Defendant, Orly Taitz.         95.00/hr

           - AP   Continue drafting Requests for Admission, Set One, to be                  0.50             47.50
                  propounded on Plaintiff, Philip J. Berg, by Defendant, Orly Taitz.       95.00/hr

           - AP   Continue drafting Requests for Production of Documents, Set               0.90             85.50
                  One, to be propounded on Plaintiff, Lisa Liberi, by Defendant,           95.00/hr
                  Orly Taitz.

           - AP   Continue drafting Requests for Production of Documents, Set               0.60             57.00
                  One, to be propounded on Plaintiff, Lisa Ostella, by Defendant,          95.00/hr
                  Orly Taitz.

           - AP   Continue drafting Requests for Production of Documents, Set               0.50             47.50
                  One, to be propounded on Plaintiff, Philip J. Berg, by Defendant,        95.00/hr
                  Orly Taitz.

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                                                                                         Hrs/Rate        Amount

 8/24/2011 -



           - JC   Review court's notice and minute order denying request by                 0.30             51.00
                  insured, O. Taitz, to file motion to dismiss for defendant, Orly        170.00/hr
                  Taitz, Inc., and clarifying parties to appeal by insured from denial
                  of anti-SLAPP motion.

           - PC   Draft litigation update and analysis correspondence to carrier            1.50         255.00
                                                                                          170.00/hr

           - PC   Continue drafting detailed meet and confer letter to plaintiffs           1.20         204.00
                  pursuant to Rule 11                                                     170.00/hr

           - PC   Continue analysis of discrepancies in Plaintiff's declarations,           0.90         153.00
                  verified pleadings and transcripts in preparation of drafting Rule      170.00/hr
                  11 meet and confer letter.

           - PC   Phone conference with client regarding settlement / dismissal of          0.60         102.00
                  defendants, potential motions, court order.                             170.00/hr

           - PC   Correspondence to client regarding litigation update, including           1.40         238.00
                  discussion of motion status & dismissal of defendants, strategy         170.00/hr
                  regarding court order.

           - KS   Conference regarding client's personal filing.                            0.20             34.00
                                                                                          170.00/hr

           - PC   Review 8/24/11 court order regarding status of appeal & stay of           1.00         170.00
                  case.                                                                   170.00/hr

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           - JC   Multiple correspondence with insured, O. Taitz, regarding                 0.30             51.00
                  preparation of motion to dismiss by related defendant, Law              170.00/hr
                  Offices of Orly Taitz.
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                                                                                            Hrs/Rate        Amount

 8/24/2011 -


           - JC   Continue preparation of litigation update for carrier, including as          0.40             68.00
                  to recent decisions on insureds' motions to dismiss and for a              170.00/hr
                  stay.

 8/25/2011 - JC   Continue review of lengthy docketing entries regarding insured,              0.40             68.00
                  O. Taitz's appeal from denial of anti-SLAPP motion to strike,              170.00/hr
                  toward correction of record on appeal regarding parties to the
                  appeal.

           - JC   Review insured, O. Taitz's correspondence to court and                       0.40             68.00
                  application for leave to file motion to correct docketing entries          170.00/hr
                  regarding her appeal from denial of anti-SLAPP motion to strike,
                  toward filing motion by related defendant, Orly Taitz, Inc., to
                  dismiss amended complaint.

           - JC   Telephone conference with clerk of court of appeals regarding                0.30             51.00
                  request to correct docketing entries regarding insured, O. Taitz's         170.00/hr
                  appeal from denial of anti-SLAPP motion to strike.

           - JC   Multiple correspondence with insured, O. Taitz regarding                     0.30             51.00
                  preparation of request to court of appeals to correct docketing            170.00/hr
                  entries regarding her appeal from denial of anti-SLAPP motion to
                  strike, and toward filing motion by related defendant, Orly Taitz,
                  Inc., to dismiss amended complaint.

           - PC   Continue drafting detailed Initial Letter to carrier: begin first draft      1.80         306.00
                  of legal analysis regarding Plaintiff Lisa Liberi's RICO Complaint.        170.00/hr

           - PC   Continue drafting detailed Initial Letter to carrier: begin drafting         2.20         374.00
                  description, including history and news, of Plaintiffs Berg and            170.00/hr
                  Law Offices of Berg.

           - PC   Continue drafting detailed Initial Letter to carrier: description of         2.00         340.00
                  Plaintiff Lisa Ostella, Ostella's relationships with Orly Taitz, Lisa      170.00/hr
                  Liberi, and Philip Berg.

           - PC   Review and analyze correspondence from Orly Taitz to Judge                   1.00         170.00
                  Guilford regarding error on docket regarding appeal.                       170.00/hr

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                                                                                         Hrs/Rate        Amount

 8/26/2011 - JC   Begin preparation of application to Court of Appeals regarding            2.10         357.00
                  correction of record on appeal regarding non-appellant and              170.00/hr
                  defendant, Orly Taitz, Inc.

           - JC   Multiple correspondence with insured, Orly Taitz, regarding               0.50             85.00
                  preparation of application to Court of Appeals regarding                170.00/hr
                  correction of record on appeal regarding non-appellant and
                  defendant, Orly Taitz, Inc. and incorporating insured's additional
                  arguments supporting application.

           - PC   Continue drafting detailed Initial Letter to carrier: continue            1.10         187.00
                  drafting legal analysis of Plaintiffs RICO Complaint.                   170.00/hr

           - PC   Continue drafting detailed Initial Letter to carrier: detailed            1.80         306.00
                  summary of Lincoln v. Daylight related action and Complaint.            170.00/hr

           - PC   Continue drafting detailed Initial Letter to carrier: continue legal      0.60         102.00
                  summary of Plaintiffs Berg and Law Offices of Berg, bankruptcy          170.00/hr
                  and bar complaints.

           - PC   Continue drafting detailed Initial Letter to carrier: begin legal         2.20         374.00
                  description and summary of Plaintiff Lisa Liberi, relationship with     170.00/hr
                  Berg and Law Offices of Berg, Orly Taitz and Defend Our
                  Freedoms Foundation.

           - PC   Continue drafting detailed Initial Letter to carrier: continue legal      1.30         221.00
                  description and summary of Plaintiff Lisa Liberi, focus on              170.00/hr
                  criminal history and relation to allegations in complaint.

 8/29/2011 -



           - PC   Continue analysis of Plaintiff's 1,000-page compendium of 145             1.50         255.00
                  exhibits used in support of their First Amended Complaint.              170.00/hr

           - PC   Review reply brief filed by Oracle in preparation of drafting             1.00         170.00
                  detailed initial analysis letter.                                       170.00/hr

           - PC   Continue drafting detailed Initial Letter to carrier: continue legal      2.30         391.00
                  description and summary of Plaintiff Lisa Liberi, focus on              170.00/hr
                  criminal history and relation to allegations in complaint.

           - PC   Continue drafting detailed Initial Letter to carrier: continue            1.50         255.00
                  detailed summary of Lincoln v. Daylight related action and              170.00/hr
                  Complaint.

           - JC   Receipt and review court's notice of electronic filing of defendant,      0.40             68.00
                  Oracle Corporation's reply brief regarding its motion to dismiss        170.00/hr
                  amended complaint, and begin review and analysis of reply brief.
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                                                                                          Hrs/Rate        Amount

 8/29/2011 -



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 8/30/2011 - JC   Continue review and analysis of defendant, Oracle Corporation's            0.80         136.00
                  reply Memorandum of Points and Authorities regarding its motion          170.00/hr
                  to dismiss amended complaint.

           - JC   Review report by plaintiff, P. Berg, regarding potential status as         0.40             68.00
                  vexatious litigant and previous cases and sanctions orders.              170.00/hr

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           - PC   Draft and revise correspondence to Court regarding 8/12/11                 1.00         170.00
                  Order as to Defendant, Orly Taitz, in light of 8/19/11 Order             170.00/hr
                  staying matter as to Orly Taitz.

           - PC   Continue drafting response to Court's Order regarding Orly                 2.00         340.00
                  Taitz's litigation history, including history of all of Taitz's cases    170.00/hr
                  as a litigant.

           - PC   Review and analysis of Taitz v. Astrue matter, dismissal of                1.00         170.00
                  matter after MSJ, and effects on present matter.                         170.00/hr

           - JC   Begin evaluation of potential motion for clarification from court of       0.30             51.00
                  stay affecting insured, O. Taitz and related party, Defend Our           170.00/hr
                  Freedoms Foundation, and regarding court-ordered report
                  regarding vexatious litigant status by O. Taitz.

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 8/31/2011 - PC   Continue detailed analysis of Plaintiff's 1,000-page compendium            2.50         425.00
                  of 145 exhibits used in support of their First Amended Complaint.        170.00/hr
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                                                                                           Hrs/Rate        Amount

 8/31/2011 - PC   Continued conferencing with client regarding letter request for             1.00         170.00
                  clarification to judge and response to Court Order regarding              170.00/hr
                  litigation history.

           - PC   Revisions to responsive pleading to Court Order regarding                   1.00         170.00
                  litigation history, per client instruction.                               170.00/hr

           - PC   Send email correspondence to Court and all parties regarding                0.50             85.00
                  letter request for clarification regarding 8/12/11 court order in         170.00/hr
                  light of order staying case as to Orly Taitz.

  9/1/2011 - PC   Continue analysis of Lincoln v. Daylight matter, specifically               1.50         255.00
                  reviewing Lincoln / Berg's opposition to Taitz's Anti-SLAPP               170.00/hr
                  Motion, toward preparation of initial letter.

           - KS   Begin preparation of carrier update.                                        1.40         238.00
                                                                                            170.00/hr

           - PC   Continue analysis of Lincoln v. Daylight matter, specifically               1.00         170.00
                  reviewing the Court's February 2011 Order Granting in Part and            170.00/hr
                  Denying in Part Taitz's Anti-SLAPP Motion and Motion to
                  Dismiss, toward preparation of initial letter.

           - PC   Begin drafting summary of voluminous documents submitted by                 2.30         391.00
                  Plaintiffs in support of claims, focusing on Plaintiff's exhibits that    170.00/hr
                  comprise portions of insured Orly Taitz's website / blog (approx.
                  100 exhibits total).

           - PC   Continue analysis of Plaintiff's 1,000-page compendium of 145               2.00         340.00
                  exhibits used in support of their First Amended Complaint.                170.00/hr

           - PC   Continue drafting summary of complaint in related action Lincoln            0.70         119.00
                  v. Daylight, in preparation of drafting initial status letter.            170.00/hr

  9/2/2011 - KS   Telephone call with client Orly Taitz regarding filing response to          0.20             34.00
                  court request and regarding opposing counsel's disciplinary               170.00/hr
                  hearing.

           - KS   Conference regarding plaintiff's bankruptcy and effect on case              0.30             51.00
                  handling.                                                                 170.00/hr

           - KS   Update to carrier.                                                          0.30             51.00
                                                                                            170.00/hr

           - KS   Conference regarding finalizing client Orly Taitz's response to             0.40             68.00
                  court order.                                                              170.00/hr

           - PC   Conference with insured Orly Taitz regarding preparation of                 0.70         119.00
                  Response to Litigation History Court Order filing and                     170.00/hr
                  modifications.
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                                                                                       Hrs/Rate        Amount

  9/2/2011 - PC   Revise Response to Litigation History Court Order per client            1.80         306.00
                  instruction, including inclusion of additional sections.              170.00/hr

           - PC   Review and vet additional cases                                         2.20         374.00
                                                                                        170.00/hr



           - PC   Conference with client Orly Taitz regarding recent update on            0.30             51.00
                  opposing counsel Berg disciplinary actions.                           170.00/hr

           - PC   Review status and history on opposing counsel Berg disciplinary         1.20         204.00
                  action in Pennsylvania State Bar.                                     170.00/hr

           - PC   Review Court Orders regarding clarification and modifications to        0.70         119.00
                  court record based on clerical errors on two separate docket          170.00/hr
                  entries by court clerk.

           - PC   Conference with client Orly Taitz regarding significance of court       0.30             51.00
                  orders on clerical errors, discussion of effects on appeal.           170.00/hr

           - PC   Draft correspondence to client Orly Taitz regarding status of           1.50         255.00
                  appeal and necessity to clarify the court record in district court    170.00/hr
                  regarding modification of court order on stay pending appeal,
                  potential motion to dismiss.

           - PC   Revise Response to Litigation History Court.                            0.80         136.00
                                                                                        170.00/hr

  9/6/2011 - JC   Review District Court's two Notices of Clerical Error, correcting       0.40             68.00
                  record on appeal to delete non-appellant Orly Taitz, Inc. as party    170.00/hr
                  to insured's appeal from denial of anti-SLAPP motion to strike.

           - PC   Review 2005 Court Order sanctioning opposing counsel Berg in            0.50             85.00
                  federal court based on Rule 11 in Eastern District of                 170.00/hr
                  Pennsylvania.

           - PC   Continue analysis of Lincoln v. Daylight matter, focusing on            1.30         221.00
                  Judge Guildford's February 2011 Order Granting in Part and            170.00/hr
                  Denying in Part insured Orly Taitz's Motion to Dismiss.

           - PC   Continue analysis of Lincoln v. Daylight matter, focusing on            2.20         374.00
                  Motions to Dismiss Plaintiff's Amended Complaint filed in March       170.00/hr
                  of 2011 filed by insured Taitz and Daylight Chemicals.

           - PC   Continue analysis of Lincoln v. Daylight matter, focusing on            1.80         306.00
                  opposition to Plaintiff's Motion to Extend Deadlines, preceding       170.00/hr
                  Plaintiff's voluntary dismissal of case.
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                                                                                       Hrs/Rate        Amount

  9/6/2011 - PC    Continue review and analysis of Plaintiff's former RICO case and       2.20         374.00
                   comparison to Lincoln v. Daylight case complaint, and present        170.00/hr
                   matter, towards development of strategies related to dismissal of
                   matter.

           - PC    Review Court of Appeals filings regarding correction of court          0.50    NO CHARGE
                   clerk's clerical error.                                              170.00/hr

  9/7/2011 - PC    Review stipulation to extend time to file Motion to Dismiss by         0.30             51.00
                   Defendant Daylight, as related to defense of insured Orly Taitz.     170.00/hr

           - KS    Telephone call from client Orly Taitz regarding court hearing for      0.20             34.00
                   opposing counsel's disciplinary issues.                              170.00/hr

  9/8/2011 - PC    Conference with client Orly Taitz regarding updated docket,            0.70         119.00
                   strategy regarding appellate clerical errors.                        170.00/hr

           - CAB Telephone call from Clerk USDC regarding corrections made                0.10              9.50
                 regarding appellant names on docket #289 and #300; Notice of            95.00/hr
                 Clerical Error processed

           - JC    Review Notice of Electronic Filing and Stipulation between             0.30             51.00
                   plaintiffs and defendant, Daylight Corporation, regarding            170.00/hr
                   extension to file motion to dismiss regarding first amended
                   complaint.

  9/9/2011 - PC    Review court order regarding extension of time for filing for          0.40             68.00
                   Defendant Daylight Chemicals; and court order requirement of         170.00/hr
                   showing of good cause for all future extensions.

           - PC    Preparation for attending hearing on Motion to Dismiss pursuant        0.60         102.00
                   to FRCP 12(b)(6).                                                    170.00/hr

 9/12/2011 - JC    Begin review and analysis of twelve page order and findings            0.40             68.00
                   granting motion to dismiss by defendant, Oracle Corporation,         170.00/hr
                   regarding plaintiffs' amended complaint.

           - KS    Correspondence with carrier regarding appeal.                          0.20             34.00
                                                                                        170.00/hr

           - KS    Correspondence with client Orly Taitz regarding her desire to          0.20             34.00
                   respond to the Court.                                                170.00/hr

           - PC    Attend hearing on Motion to Dismiss pursuant to FRCP 12(b)(6)          3.50         595.00
                   filed by Defendant Oracle Corp., and hearing regarding appellate     170.00/hr
                   status.

           - PC    Review Court's 12-page tentative ruling regarding Defendant            0.80    NO CHARGE
                   Oracle Corp.'s Motion to Dismiss Claims One, Two, Three, Five,       170.00/hr
                   Six, Eight, Nine, Fourteen, Seventeen, Eighteen, Nineteen, and
                   Twenty pursuant to FRCP 12(b)(6).
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                                                                                     Hrs/Rate        Amount

 9/12/2011 - PC   Conference with client Orly Taitz regarding appeals strategy,         1.00         170.00
                  including modification of Order Granting Motion to Stay.            170.00/hr

 9/13/2011 - PC   Review case filings pursuant to Court suggestion regarding            0.50             85.00
                  alleged mistake in identification of appealing parties.             170.00/hr

           - PC   Email communication with client Orly Taitz regarding correction       0.20             34.00
                  of court record.                                                    170.00/hr

 9/14/2011 - JC   Continue review and analysis of court's 12 page order with            0.40             68.00
                  findings granting defendant, Oracle's motion to dismiss amended     170.00/hr
                  complaint

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 9/15/2011 - JC   Begin review and analysis of motion to dismiss by defendant,          0.50             85.00
                  Law Offices of O. Taitz, brought by insured, O. Taitz, as to        170.00/hr
                  plaintiffs' amended complaint.

           - JC   Multiple correspondence with insured, O. Taitz, regarding             0.40             68.00
                  preparation of motion by defendant, Orly Taitz, Inc., to correct    170.00/hr
                  order granting stay regarding appeal by O. Taitz and defendant,
                  Defend Our Freedoms Foundation, from denial of anti-SLAPP
                  motion to strike.

           -




           - PC   Preparation for conference with client Orly Taitz on strategies       0.30             51.00
                  regarding addressing the Court on issues pertaining to the          170.00/hr
                  appellate record and motion to dismiss, in compliance to the
                  Court Order.

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           - KS   Conference regarding client O Taitz's proposed letter to the          0.50             85.00
                  judge. (10 pages)                                                   170.00/hr

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                                                                                       Hrs/Rate        Amount

 9/15/2011 - PC   Review draft correspondence from client Orly Taitz to Court             0.80         136.00
                  regarding appellate record and motion to dismiss.                     170.00/hr

           - PC   Conference with client Orly Taitz on strategies regarding               1.00         170.00
                  addressing the Court on issues pertaining to the appellate record     170.00/hr
                  and motion to dismiss, in compliance to the Court Order.

           -


           - PC   Review Motion to Dismiss under FRCP 12(b)(6) filed on behalf of         2.50         425.00
                  Law Offices of Orly Taitz; 27 page motion and related declaration     170.00/hr
                  with exhibits.

           - PC   Review correspondence to court clerk by Plaintiff's counsel,            1.00         170.00
                  Philip Berg, regarding censure of Defendant Orly Taitz.               170.00/hr

           - PC   Review prior court order sanctioning Plaintiff's attorney Berg          0.50             85.00
                  under Rule 11 in preparation of similar motion request in present     170.00/hr
                  litigation.

           - PC   Review correspondence to judge by insured Orly Taitz, in her            0.50             85.00
                  capacity as an attorney, responding to opposing counsel Philip        170.00/hr
                  Berg's correspondence to the clerk.

           - PC   Review Motion to Dismiss filed by Defendant Oracle under                2.00         340.00
                  FRCP 12(b)(6).                                                        170.00/hr

 9/16/2011 - JC   Review and analysis of multiple 9/14/11 and 9/15/11                     0.40             68.00
                  correspondence between insured, O. Taitz, plaintiff, P. Berg, and     170.00/hr
                  Court, regarding Taitz's pending motion to dismiss amended
                  complaint and Court's warning regarding potential sanctions
                  against parties and counsel.

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           - PC   Review formal request by Plaintiffs to seek TRO preventing client       0.70         119.00
                  Orly Taitz from further discussion of litigation in the media, and    170.00/hr
                  further seeking to prevent Orly Taitz from any future filings.



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           - PC   Review Motion to Dismiss filed by the Reed Elsevier Defendants          1.80         306.00
                  (Lexis et al) under FRCP 12(b)(6).                                    170.00/hr
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                                                                                         Hrs/Rate        Amount

 9/16/2011 - PC   Begin review Motion to Dismiss filed by Defendant Intelius under          0.50             85.00
                  FRCP 12(b)(6).                                                          170.00/hr

           - PC   Review response from Court Clerk with regard to                           0.50             85.00
                  correspondence from Plaintiff's counsel Berg and Orly Taitz.            170.00/hr


           - KS   Analyze client's amended motion.                                          0.60         102.00
                                                                                          170.00/hr

 9/19/2011 - JC   Correspondence with court reporter, and review court reporter's           0.30             51.00
                  billings, regarding preparation of reporter's transcript for hearing    170.00/hr
                  on insured, O. Taitz's anti-SLAPP motion to strike, toward
                  preparation of record on appeal in insured's appeal from denial
                  of motion.

           -


           - PC   Continue review Motion to Dismiss filed by Defendant Intelius             1.50         255.00
                  under FRCP 12(b)(6).                                                    170.00/hr

           - PC   Review Request for Judicial Notice filed by Defendant Intelius in         0.50             85.00
                  support of its 12(b)(6) motion.                                         170.00/hr

           - PC   Review documentation and evidentiary support from Intelius,               1.80         306.00
                  including insured Orly Taitz's search results, Intelius Terms and       170.00/hr
                  Conditions of and User Agreement, and Intelius Frequently
                  Asked Questions.



           - PC   Review additional documentation and evidentiary support from              1.70         289.00
                  Intelius, including correspondence from Plaintiff Liberi,               170.00/hr
                  correspondence from Plaintiff Ostella, and Intelius
                  correspondence responding to Liberi and Ostella.

           - PC   Review declaration of Benjamin Nelson, custodian of records for           0.90         153.00
                  Intelius, regarding Intelius websites and divisions, and                170.00/hr
                  methodologies regarding searches through website.

           - JC   Review and analysis of opposing counsel's 9/16/11 two                     0.40             68.00
                  correspondence regarding request for leave of court to file             170.00/hr
                  motion for Temporary Restraining Order against insured, O.
                  Taitz, regarding alleged defamation and invasion of privacy.

           - JC   Review correspondence of plaintiffs' counsel and separate                 0.30             51.00
                  request for leave of court to file motion to seal court record          170.00/hr
                  regarding exhibits to defendant, Intellius' motion to dismiss
                  regarding plaintiffs' private information.
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                                                                                           Hrs/Rate        Amount

 9/19/2011 - KS   Conference regarding status and future handling.                            0.20             34.00
                                                                                            170.00/hr

           - KS   Update to carrier.                                                          0.20             34.00
                                                                                            170.00/hr

           - JC   Continue review and analysis of motion to dismiss plaintiffs'               0.60         102.00
                  amended complaint by defendant, Law Offices of Orly Taitz,                170.00/hr
                  prepared by insured, O. Taitz.

           - KS   Analyze potential award against plaintiffs.                                 0.30             51.00
                                                                                            170.00/hr

 9/20/2011 - JC   Correspondence with insured, O. Taitz, regarding plaintiffs'                0.20             34.00
                  counsel soliciting donations from supporters to fund case against         170.00/hr
                  insureds, and toward preparation of opening brief in appeal from
                  denial of insured's anti-SLAPP motion to strike complaint.

           - JC   Review correspondence of counsel for defendant, Intellius                   0.20             34.00
                  responding to plaintiffs' request for leave of court to file motion to    170.00/hr
                  seal court record regarding exhibits to Intellius' motion to dismiss
                  regarding plaintiffs' private information.

           - JC   Begin review and analysis of reporter's transcript for hearing on           0.60         102.00
                  insured, O. Taitz's anti-SLAPP motion to strike, toward                   170.00/hr
                  preparation of record on appeal and opening brief in insured's
                  appeal from denial of motion.

           - JC   Begin review and analysis of motion to dismiss amended                      0.80         136.00
                  complaint by Reed and Lexis defendants.                                   170.00/hr

 9/21/2011 - PC   Review correspondence from counsel from Lexis regarding                     0.20             34.00
                  potential MSJ.                                                            170.00/hr

           - KS   Conference with carrier regarding e-mail updates from client.               0.10             17.00
                                                                                            170.00/hr

           - PC   Phone conference with counsel for Lexis regarding evidentiary               0.50             85.00
                  issues related to potential Motion for summary judgment.                  170.00/hr

           - JC   Continue review and analysis of motion to dismiss complaint by              0.50             85.00
                  defendant, Law Offices of Orly Taitz, preparation by insured, O.          170.00/hr
                  Taitz.

           - PC   Preparation for meeting with counsel for Lexis regarding                    0.50             85.00
                  evidentiary issues related to potential Motion for summary                170.00/hr
                  judgment.

           - PC   Review compilation of news items as related to insured Orly                 2.50         425.00
                  Taitz and for use in defense of insured over past 10 days,                170.00/hr
                  including blog postings and related to this matter and additional
                  issues related to defense of insured Orly Taitz.
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                                                                                         Hrs/Rate        Amount

 9/21/2011 - PC   Review and analysis of "Mortgage Fraud Blog," location of initial         1.00         170.00
                  instance of alleged defamation as to plaintiff Lisa Liberi as guilty    170.00/hr
                  of criminal fraud.

           - PC   Continue drafting and revision of detailed and comprehensive              2.00         340.00
                  litigation budget and analysis for final draft.                         170.00/hr

           - PC   Telephone call from client Orly Taitz regarding litigation strategy.      0.30             51.00
                                                                                          170.00/hr

 9/22/2011 - PC   Review Plaintiff's opposition to Law Offices of Orly Taitz's Motion       2.30         391.00
                  to Dismiss / Amended Motion to Dismiss as related to defense of         170.00/hr
                  insured Orly Taitz, and preparation of comprehensive initial letter
                  and legal strategy.

           - KS   Continue and complete correspondence to carrier regarding                 0.50             85.00
                  budget and future handling.                                             170.00/hr

           - PC   Review Declaration of Philip Berg in support of Plaintiff's               0.60         102.00
                  opposition to Law Offices' Motion to Dismiss as related to              170.00/hr
                  defense of insured Orly Taitz, and preparation of comprehensive
                  initial letter and legal strategy.

           - PC   Review Declaration of Shirley Waddell in support of Plaintiff's           0.90         153.00
                  opposition to Law Offices' Motion to Dismiss as related to              170.00/hr
                  defense of insured Orly Taitz, and preparation of comprehensive
                  initial letter and legal strategy.

           - PC   Continue drafting litigation budget and analysis for final draft.         1.70         289.00
                                                                                          170.00/hr

           - PC   Review Plaintiff's Objection to Law Offices of Orly Taitz's Motion        2.00         340.00
                  to Dismiss / Amended Motion to Dismiss as related to defense of         170.00/hr
                  insured Orly Taitz, and preparation of comprehensive initial letter
                  and legal strategy.

 9/23/2011 - KS   Conference regarding possible response by client to opposing              0.30             51.00
                  counsel's request for authority from Court.                             170.00/hr

           - KS   Preparation of correspondence to carrier regarding plaintiff's            0.10             17.00
                  counsel's lengthy and non-sequitur ex-parte communication to            170.00/hr
                  the judge.

 9/26/2011 -




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                                                                                           Hrs/Rate        Amount




 9/26/2011 -




           - PC   Review Plaintiff's opposition to Reed Defendant's 12(b)(6)                  2.20         374.00
                  Motion to Dismiss, in preparation and support of defense of               170.00/hr
                  insured Orly Taitz, continued evaluation and Initial Analysis, and
                  in preparation for Orly Taitz Appeal.

           - PC   Review Declaration of Philip Berg in support of Plaintiff's                 0.40             68.00
                  opposition to Reed Defendant's 12(b)(6) Motion to Dismiss, in             170.00/hr
                  preparation and support of defense of insured Orly Taitz,
                  continued evaluation and Initial Analysis, and in preparation for
                  Orly Taitz Appeal.

           - PC   Review Declaration of plaintiff Lisa Ostella in support of Plaintiff's      0.80         136.00
                  opposition to Reed Defendant's 12(b)(6) Motion to Dismiss, in             170.00/hr
                  preparation and support of defense of insured Orly Taitz,
                  continued evaluation and Initial Analysis, and in preparation for
                  Orly Taitz Appeal.

           - PC   Review Declaration of plaintiff Lisa Liberi in support of Plaintiff's       1.20         204.00
                  opposition to Reed Defendant's 12(b)(6) Motion to Dismiss, in             170.00/hr
                  preparation and support of defense of insured Orly Taitz,
                  continued evaluation and Initial Analysis, and in preparation for
                  Orly Taitz Appeal.

           - PC   Review Plaintiff's opposition to Defendant Intelius's 12(b)(6)              2.00         340.00
                  Motion to Dismiss, in preparation and support of defense of               170.00/hr
                  insured Orly Taitz, continued evaluation and Initial Analysis, and
                  in preparation for Orly Taitz Appeal.

           - PC   Review Declaration of opposing counsel Philip Berg in support of            0.40             68.00
                  Plaintiff's opposition to Defendant Intelius's 12(b)(6) Motion to         170.00/hr
                  Dismiss, in preparation and support of defense of insured Orly
                  Taitz, continued evaluation and Initial Analysis, and in
                  preparation for Orly Taitz Appeal.

           - PC   Review Declaration of plaintiff Lisa Ostella in support of Plaintiff's      0.50             85.00
                  opposition to Defendant Intelius's 12(b)(6) Motion to Dismiss, in         170.00/hr
                  preparation and support of defense of insured Orly Taitz,
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                                                                                          Hrs/Rate        Amount

                  continued evaluation and Initial Analysis, and in preparation for
                  Orly Taitz Appeal.

 9/26/2011 - PC   Review Declaration of plaintiff Lisa Liberi in support of Plaintiff's      0.50             85.00
                  opposition to Defendant Intelius's 12(b)(6) Motion to Dismiss, in        170.00/hr
                  preparation and support of defense of insured Orly Taitz,
                  continued evaluation and Initial Analysis, and in preparation for
                  Orly Taitz Appeal.

           - KS   Conference regarding strategy for opposing counsel's Law and               0.40             68.00
                  Motion.                                                                  170.00/hr

 9/27/2011 -




           - PC   Continue preparation of Initial Analysis and Strategy, revisions           2.00         340.00
                  and updates to sections regarding Plaintiffs pursuant to recent          170.00/hr
                  declarations filed in support of oppositions to Motions to Dismiss.

 9/28/2011 -




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 9/30/2011 - PC   Review counsel M. Naborski request on behalf of Daylight                   0.40             68.00
                  regarding motion to dismiss, as related to defense of insured            170.00/hr
                  Orly Taitz.

 10/1/2011 -



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           - JC   Multiple correspondence with opposing counsel for defendant,               0.30             51.00
                  Daylight Corporation, and with court, regarding such defendant's         170.00/hr
                  request for leave to file motion to dismiss plaintiffs' first amended
                  complaint.
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                                                                                          Hrs/Rate        Amount

 10/3/2011 - PC     Review Declaration of Ben Nelson, Intelius employee, as related          1.00         170.00
                    to claims against insured Orly Taitz and Orly Taitz defense, and       170.00/hr
                    comparison to issues Nelson addresses in the Liberi declaration.

           - PC     Review of 22-page Objections to Declaration of Lisa Liberi by            2.00         340.00
                    Defendant Intelius, as related to claims against insured Orly          170.00/hr
                    Taitz and Orly Taitz Defense.

           - PC     Review the Reed Defendants' Response to Motion to Dismiss,               0.90         153.00
                    as related to claims against insured Orly Taitz and Orly Taitz         170.00/hr
                    Defense.

           - PC     Review Intelius's Response regarding Plaintiff's objection to            1.10         187.00
                    Lexis and Intelius Search Results submitted for judicial notice        170.00/hr
                    supporting Intelius's Motion to Dismiss, as related to claims
                    against insured Orly Taitz and Orly Taitz Defense.

 10/4/2011 - PC     Review Law Offices of O. Taitz Reply Brief in response to                2.00         340.00
                    Plaintiff's opposition to Motion to Dismiss.                           170.00/hr

           - PC     Review Court Order denying authority for Law Offices of O.               0.20             34.00
                    Taitz's filing of 12(b)(6) motion to dismiss.                          170.00/hr

           - PC     Review Court Order staying matter as to Law Offices of O. Taitz          0.30             51.00
                    pending 9th circuit appeal by client, Orly Taitz.                      170.00/hr

           - JC     Review and analysis of court's 10/4/11 notice of filing and              0.40             68.00
                    summary of order, and court's 10/3/11 order regarding                  170.00/hr
                    defendant, Law Offices of O. Taitz's motion to dismiss complaint
                    and amending scope of stay regarding insured, O. Taitz's
                    anti-SLAPP motion to dismiss, regarding insured's appeal from
                    denial of motion to strike.

           - PC     Review court order denying Law Offices of O. Taitz's Request to          0.30             51.00
                    file 12(b)(6) motion to dismiss.                                       170.00/hr

           - PC     Review court order denying denying Plaintiff's request for TRO           0.30             51.00
                    against Insured Orly Taitz.                                            170.00/hr

 10/5/2011 - JC     Begin review and analysis of 10/3/11 order denying defendants'           0.30             51.00
                    various requests for leave to file several motions, including as to    170.00/hr
                    order denying insured, O. Taitz's request for leave to file motion
                    requiring bond from plaintiffs.

           - MLC Begin drafting Declaration of Peter Cook in Support of Motion to            0.30             28.50
                 Consolidate Appeals.                                                       95.00/hr

           - PC     Begin preparation of                                                     0.50             85.00
                                                                                           170.00/hr
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                                                                                       Hrs/Rate        Amount

 10/5/2011 - JC   Begin review and analysis of 10/3/11 order denying defendants'          0.30             51.00
                  various requests for leave to file several motions, including         170.00/hr
                  portion denying insured, O. Taitz's request to amend court
                  docket regarding her appeal from denial of insured's anti-SLAPP
                  motion to strike complaint.

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           - PC   Begin strategic analysis regarding impact of court orders               0.70         119.00
                  regarding Law Offices of O. Taitz and Orly Taitz, Inc. in             170.00/hr
                  preparation for detailed status update to client.

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           - JC   Continue preparation of motion by insured, O. Taitz, to                 0.30             51.00
                  consolidate appeals by her and defendant, Defend Our Freedom          170.00/hr
                  Foundation, regarding denial of anti-SLAPP motion to strike
                  complaint.

 10/6/2011 - PC   Draft status update and legal analysis to carrier regarding status      0.70         119.00
                  of other Defendants in matter, including Oracle, Lexis and            170.00/hr
                  Intelius.

           - PC   Review status of Sankey Defendants for purpose of providing             0.30             51.00
                  status update to carrier.                                             170.00/hr

           - PC   Draft status update and legal analysis to carrier regarding status      0.20             34.00
                  of other Defendants, Daylight Chemicals and the Sankeys.              170.00/hr
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                                                                                       Hrs/Rate        Amount

 10/6/2011 -


           - PC   Draft status update and legal analysis to carrier regarding the         0.30             51.00
                  scope and status of the Stay of the matter pending appeal as to       170.00/hr
                  insured Orly Taitz, and as to Defendants OTI, LOOT and DOFF.

           - PC   Draft status update and legal analysis to carrier regarding status      0.50             85.00
                  of attempted Temporary Restraining Order against insured Orly         170.00/hr
                  Taitz.

           - PC   Draft status update and legal analysis to carrier regarding status      0.90         153.00
                  of appeal with regard to insured Orly Taitz.                          170.00/hr

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 10/7/2011 - JC   Receipt and review of court order permitting defendant, Daylight        0.20             34.00
                  Corporation, to file motion to dismiss plaintiffs' amended            170.00/hr
                  complaint.

           - JC   Receipt and review court's order denying plaintiffs' request to         0.20             34.00
                  seal court record regarding exhibits of defendant, Intelius,          170.00/hr
                  supporting its motion to dismiss plaintiffs' amended complaint.

10/10/2011 -




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                                                                                          Hrs/Rate        Amount

10/10/2011 - PC   Continue analysis of Plaintiffs / Plaintiffs attorney's past               1.40         238.00
                  sanctions in Lincoln v. Daylight matter in support of filing Rule 11     170.00/hr
                  Motion for sanctions / attorneys fees.

           - PC   Continue analysis of Plaintiffs / Plaintiffs attorney's complaints in      1.20         204.00
                  Pennsylvania state bar in support of filing Rule 11 Motion for           170.00/hr
                  sanctions / attorneys fees.

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10/12/2011 - PC   Continue analysis of advantages and disadvantages of potential             1.00         170.00
                  stipulation by all parties, including Plaintiffs and insured, to         170.00/hr
                  consolidation of the Orly Taitz and DOFF appeal.

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           - JC   Continue review and evaluation of documents filed in District              2.10         357.00
                  Court regarding anti-SLAPP motion to strike plaintiffs' complaint        170.00/hr
                  by insured, O. Taitz, and defendant, Defend Our Freedoms
                  Foundation, toward preparation of record on appeal in appeals
                  from denial of anti-SLAPP motion to strike.

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           - PC   Review and revise Motion for Consolidation of the Orly Taitz and           0.70         119.00
                  DOFF appeals.                                                            170.00/hr

           - PC   Analysis of advantages and disadvantages of potential                      1.00         170.00
                  stipulation by all parties, including Plaintiffs and insured, to         170.00/hr
                  consolidation of the Orly Taitz and DOFF appeal.

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                                                                                       Hrs/Rate        Amount




10/12/2011 - JC   Continue drafting motion to consolidate appeals by insured, O.          2.45         416.03
                  Taitz, regarding her and defendant, Defend Our Freedoms               170.00/hr
                  Foundation's appeals from denial of their anti-SLAPP motion to
                  strike plaintiff's complaint.

           - JC   Continue evaluation of legal issues regarding applicable                1.80         306.00
                  standards of appellate review regarding appeals by insured, O.        170.00/hr
                  Taitz, in support of her and defendant, Defend Our Freedoms
                  Foundation's appeals from denial of their anti-SLAPP motion to
                  strike plaintiff's complaint.

           - JC   Continue drafting of opening brief regarding appeal by insured,         1.20         204.00
                  O. Taitz, regarding her and defendant, Defend Our Freedoms            170.00/hr
                  Foundation's appeals from denial of their anti-SLAPP motion to
                  strike plaintiff's complaint.

10/13/2011 - JC   Begin review and analysis of plaintiffs' lengthy Memorandum of          0.80         136.00
                  Points and Authorities in opposition to insured, O. Taitz's           170.00/hr
                  anti-SLAPP motion to strike plaintiffs' complaint, toward
                  preparation of insured's opening brief in appeal from denial of
                  motion.

           - PC   Draft correspondence to insured, O. Taitz regarding stipulation to      0.50             85.00
                  Motion to Consolidate appeals.                                        170.00/hr

10/14/2011 - PC   Revise and submit correspondence to insured, O. Taitz                   0.50             85.00
                  regarding consolidation of appeals of DOFF and Taitz.                 170.00/hr

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           - PC   Draft and revise Stipulation for Consolidation of appeals by all        1.20         204.00
                  parties.                                                              170.00/hr

           - JC   Multiple correspondence with insured, O. Taitz, regarding               0.30             51.00
                  seeking consolidation of pending appeals by insured and related       170.00/hr
                  defendant, Defend Our Freedoms Foundation, regarding denial
                  of insured's anti-SLAPP motion to strike complaint.

10/17/2011 - JC   Continue review and analysis of plaintiffs' voluminous opposition,      0.60         102.00
                  with several declarations and documentary evidence, in                170.00/hr
                  opposition to insured, O. Taitz's and defendant, Defend Our
                  Freedoms Foundation's anti-SLAPP motion to dismiss plaintiffs'
                  complaint, toward preparation of opening brief in appeal from
                  denial of motion.

           - PC   Revisions to status update to carrier.                                  1.00         170.00
                                                                                        170.00/hr
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                                                                                         Hrs/Rate        Amount

10/17/2011 - KS   Finalize update to carrier.                                               0.30             51.00
                                                                                          170.00/hr

           - JC   Begin review and analysis of court's 21 page tentative ruling on          1.10         187.00
                  motion to dismiss by multiple Reed Company defendants, toward           170.00/hr
                  preparation for hearing on motion and evaluation of ruling as it
                  affects insureds, Orly and Yosef Taitz.

           - JC   Begin review and analysis of court's 6 page tentative ruling on           0.50             85.00
                  motion to dismiss by defendant, Intelius Corporation, toward            170.00/hr
                  preparation for hearing on motion and evaluation of ruling as it
                  affects insureds, Orly and Yosef Taitz.

           - JC   Travel to and from court for hearing on motions to dismiss by             1.70         289.00
                  Reed and Intellius defendants as to plaintiffs' first amended           170.00/hr
                  complaint.

           - JC   Attend hearing on motions to dismiss by Reed and Intellius                1.70         289.00
                  defendants as to plaintiffs' first amended complaint.                   170.00/hr

           - JC   Meeting with insured, O. Taitz, regarding preparation of                  0.40             68.00
                  coordinated opening briefs and record on appeal in appeals by           170.00/hr
                  insured and defendant, Defend Our Freedoms Foundations, of
                  denial of joint anti-SLAPP motion to dismiss plaintiffs' complaint.

10/18/2011 - KS   Telephone call with carrier regarding future handling.                    0.20             34.00
                                                                                          170.00/hr

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           - PC   Analysis of Judge A. Robreno order regarding dishonesty of                1.20         204.00
                  Plaintiffs under oath at Preliminary Injunction hearing that took       170.00/hr
                  place in December of 2010, as pertaining to Rule 11 Sanctions
                  issue.

           - PC   Analysis of Plaintiff's request to file for leave to amend complaint      1.00         170.00
                  as related to Anti-SLAPP claims pertaining to client Orly Taitz         170.00/hr
                  and Taitz's pending appeal.

           - PC   Analysis of Plaintiff's request to file for leave to amend complaint      1.00         170.00
                  as related to Anti-SLAPP claims pertaining to client Orly Taitz         170.00/hr
                  and Taitz's pending appeal.
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                                                                                         Hrs/Rate        Amount

10/18/2011 - PC   Brief review Court's finalized order granting in part Intelius's          0.20             34.00
                  Motion to Dismiss as related to Anti-SLAPP claims pertaining to         170.00/hr
                  client Orly Taitz and Taitz's pending appeal.

           - PC   Brief review Court's finalized order granting in part Reed's Motion       0.20             34.00
                  to Dismiss as related to Anti-SLAPP claims pertaining to client         170.00/hr
                  Orly Taitz and Taitz's pending appeal.

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10/19/2011 - JC   Begin analysis of legal issues regarding request for judicial             0.40             68.00
                  notice of prior relevant litigation involving plaintiff, P. Berg and    170.00/hr
                  insured, O. Taitz, in support of insured's appeal from order
                  denying insured's anti-SLAPP motion to dismiss complaint and
                  toward preparation of supporting record on appeal.

           - JC   Begin review and analysis of court's 21 page final ruling on              0.60         102.00
                  motions to dismiss amended complaint by defendants, Reed                170.00/hr
                  Companies and Intelius.

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           - PC   Begin analysis of potential cross-claims by Intelius and Reed             1.50         255.00
                  Defendants as to each of insureds Orly Taitz and Yosef Taitz            170.00/hr
                  pursuant to the FRCA, 15 U.S.C. § 1681.

           -



10/20/2011 - JC   Review and analysis of court's final order denying motion to              0.30             51.00
                  dismiss complaint by defendant, Intelius, after court took motion       170.00/hr
                  under submission after hearing.

10/21/2011 - PC   Continue analysis of potential cross-claims as to insured Orly            2.60         442.00
                  Taitz under surviving claims against Reed and Intelius for              170.00/hr
                  equitable indemnity.
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                                                                                           Hrs/Rate        Amount

10/21/2011 - KS     Telephone call with carrier regarding status.                             0.20             34.00
                                                                                            170.00/hr

10/24/2011 -




10/25/2011 - JC     Review court's final minutes and related notice of electronic filing      0.30             51.00
                    regarding motion to dismiss complaint by defendant, Intelius            170.00/hr
                    Corporation.

10/26/2011 - JC     Continue drafting of insured, O. Taitz's opening brief in appeal          0.50             85.00
                    from denial of insured's anti-SLAPP motion to strike plaintiff's        170.00/hr
                    complaint.

10/28/2011 - JC     Receipt and review of notice of filing of reporter's transcript           0.30             51.00
                    regarding hearing on defendant, Oracle Corporation's motion to          170.00/hr
                    dismiss amended complaint, regarding plaintiffs' potential appeal
                    from granting of such motion.

 11/1/2011 - JC     Continue drafting of insured, O. Taitz's opening brief in appeal          0.50             85.00
                    from denial of her anti-SLAPP motion to strike as to plaintiff's        170.00/hr
                    complaint.

 11/2/2011 - JC     Multiple telephone conferences with J. Vogt, counsel for                  0.30             51.00
                    defendant Intelius Corporation, regarding status of pleadings           170.00/hr
                    including plaintiffs' pending request for leave to file proposed
                    second amended complaint and defendants' opposition position.

 11/3/2011 - KS     Correspondence with client regarding default.                             0.10             17.00
                                                                                            170.00/hr

           - MLC Correspondence from and return correspondence to opposing                    0.10              9.50
                 counsel for Intelius regarding status of declaration by Orly Taitz          95.00/hr
                 for their summary judgment.

           - JC     Receipt and review numerous notices of electronic filing from             0.30             51.00
                    court regarding multiple answers by several Reed Elsevier               170.00/hr
                    defendants to first amended complaint.

           - JC     Telephone conference with opposing counsel for defendant,                 0.30             51.00
                    Intelius, regarding proposal for insured, O. Taitz, to submit           170.00/hr
                    declaration supporting Intelius' motion for summary judgment in
                    lieu of deposition by insured, and discussing proposed
                    substance of declaration.
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                                                                                             Hrs/Rate        Amount

 11/3/2011 - JC     Receipt and review of plaintiffs' counsel's 11/3/11 e-mail to court,        0.40             68.00
                    and related application, seeking leave to file application to enter       170.00/hr
                    default against several Intelius defendants, and Intelius's
                    response to application.

           - JC     Correspondence with insured, O. Taitz, and other defense                    0.20             34.00
                    counsel regarding upcoming State Bar disciplinary hearing                 170.00/hr
                    against plaintiffs' counsel, potential termination of counsel's
                    representation of plaintiffs, and preparation for hearing.

 11/4/2011 - JC     Begin review and analysis of eleven page answer and affirmative             0.60         102.00
                    defenses of defendant, Lexis Nexis, Inc., to plaintiffs' first            170.00/hr
                    amended complaint.

           - MLC Telephone call from opposing counsel for Intelius regarding                    0.10              9.50
                 Declaration from Orly Taitz and the Sankey Defendants to                      95.00/hr
                 support their Motion for Summary Judgment.

 11/7/2011 - JC     Begin review and analysis of lengthy (65 page) answer and                   0.50             85.00
                    affirmative defenses of defendant, Intelius Inc., to plaintiffs' first    170.00/hr
                    amended complaint, including portions


           - JC     Begin review and analysis of 42 page answer and affirmative                 0.70         119.00
                    defenses of defendant, Lexis Nexis Choicepoint Risk Assets,               170.00/hr
                    Inc., to plaintiffs' first amended complaint.

           - JC     Begin review and analysis of 42 page answer and affirmative                 0.70         119.00
                    defenses of defendant, Lexis Nexis Risk Data Management, Inc.,            170.00/hr
                    sued as Lexis Nexis Seisint, Inc., to plaintiffs' first amended
                    complaint.

           - JC     Begin review and analysis of 41 page answer and affirmative                 0.60         102.00
                    defenses of defendant, Reed Elsevier, Inc., to plaintiffs' first          170.00/hr
                    amended complaint.

           - JC     Begin review and analysis of 40 page answer and affirmative                 0.70         119.00
                    defenses of defendant, Lexis Nexis Risk and Information                   170.00/hr
                    Analytics Group, Inc., to plaintiffs' first amended complaint.

           - JC     Begin review and analysis of 43 page answer and affirmative                 0.70         119.00
                    defenses of defendant, Lexis Nexis Risk Solutions, Inc., to               170.00/hr
                    plaintiffs' first amended complaint.

           - JC     Begin analysis for insured, O. Taitz, and carrier regarding                 0.50             85.00
                    proposed declaration from O. Taitz supporting motion for                  170.00/hr
                    summary judgment by defendant, Intelius Inc., and weighing
                    potential advantages and disadvantages of proposed declaration
                    including as to potential cross-claim by insured.
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                                                                                         Hrs/Rate        Amount

 11/7/2011 - JC   Preparation of report and legal analysis for insured, O. Taitz,           0.40             68.00
                  regarding preparation of her and defendant, Defend Our                  170.00/hr
                  Freedoms Foundation's opening briefs in related appeals and
                  preparation of supporting record on appeal.

 11/8/2011 - JC   Begin legal analysis for carrier and insured, O. Taitz, regarding         0.90         153.00
                  dispute involving request by defendant, Intelius, Inc., that insured    170.00/hr
                  submit declaration supporting Intelius' motion for summary
                  judgment,




           - JC   Multiple correspondence with insured, O. Taitz, regarding her             0.40             68.00
                  proposed declaration supporting motion for summary judgment             170.00/hr
                  by defendant, Intelius, Inc.,


           - JC   Multiple telephone conferences with E. Chang, counsel for                 0.30             51.00
                  defendant, Intelius, Inc., regarding Intelius' request for              170.00/hr
                  declaration from insured, O. Taitz, supporting motion for
                  summary judgment by Intelius.

           - JC   Lengthy telephone conference with E. Chang, counsel for                   0.40             68.00
                  defendant, Intelius, Inc., regarding deposition of insured, O.          170.00/hr
                  Taitz, objections to deposition, and potential motion to compel
                  deposition by Intelius.

 11/9/2011 - KS   Correspondence with client regarding opposing counsel.                    0.20             34.00
                                                                                          170.00/hr

11/10/2011 - JC   Continue preparation of lengthy opening brief of insured, O.              1.10         187.00
                  Taitz, in appeal regarding denial of insured's and defendant,           170.00/hr
                  Defend Our Freedoms Foundation's anti-SLAPP motion to strike
                  plaintiff's complaint.

           - JC   Multiple correspondence with E. Chang, counsel for defendant,             0.30             51.00
                  Intelius Corporation, regarding its proposed declaration from           170.00/hr
                  insured, O. Taitz, supporting Intelius' motion for summary
                  judgment on complaint.

           - KS   Correspondence with carrier regarding demand for declaration              0.30             51.00
                  and deposition, plus possible sanctions.                                170.00/hr

11/11/2011 - KS   Conference regarding Intelius' demands.                                   0.30             51.00
                                                                                          170.00/hr

           - JC   Continue review and analysis of 65 page answer and affirmative            0.80         136.00
                  defenses of defendant, Intelius Corporation, to plaintiffs' first       170.00/hr
                  amended complaint.
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                                                                                       Hrs/Rate        Amount

11/11/2011 - KS   Correspondence with client regarding appeal.                            0.20             34.00
                                                                                        170.00/hr

           - KS   Authority from carrier, Laurie Johnson regarding Intelius.              0.10             17.00
                                                                                        170.00/hr

           - KS   Conference regarding how to approach Intelius.                          0.30             51.00
                                                                                        170.00/hr

           - JC   Correspondence with adjuster L. Johnson regarding dispute with          0.20             34.00
                  defendant, Intelius Corporation, regarding deposition of insured,     170.00/hr
                  O. Taitz, and potential motion to compel deposition and for
                  sanctions by Intelius.

           - JC   Multiple correspondence with E. Chang, counsel for defendant,           0.30             51.00
                  Intelius Corporation, regarding proposed deposition of insured,       170.00/hr
                  O. Taitz, and potential motion to compel deposition.

11/14/2011 - JC   Continue drafting of lengthy and complex opening brief of               2.20         374.00
                  insured, O. Taitz, in appeal from denial of insured's anti-SLAPP      170.00/hr
                  motion to strike plaintiffs' complaint.

           - JC   Continue preparation of lengthy record on appeal supporting             2.20         374.00
                  opening brief of insured, O. Taitz, in appeal from denial of          170.00/hr
                  insured's anti-SLAPP motion to strike plaintiffs' complaint.

           - JC   Begin evaluation of complex legal issues regarding Court of             0.90         153.00
                  Appeal jurisdiction in appeal from interlocutory order denying        170.00/hr
                  insured, O. Taitz's anti-SLAPP motion to strike plaintiffs'
                  complaint.

11/15/2011 - JC   Multiple correspondence with insured, O. Taitz, regarding               0.30             51.00
                  coordination of her opening brief and opening brief of defendant,     170.00/hr
                  Defend Our Freedoms Foundations, in joint appeal from denial
                  of anti-SLAPP motion to strike regarding plaintiffs' complaint.

           - JC   Correspondence with E. Chang, counsel for defendant, Intelius           0.20             34.00
                  Corporation, regarding proposed deposition of insured, O. Taitz,      170.00/hr
                  and potential motion to compel deposition.

           - JC   Multiple correspondence with insured, O. Taitz, regarding               0.30             51.00
                  preparation of request to Ninth Circuit Court of Appeals for          170.00/hr
                  extension for related party, Defend Our Freedoms Foundations
                  (represented by O. Taitz), to file opening brief and record on
                  appeal in joint appeal by insured and Defend Our Freedoms from
                  denial of anti-SLAPP motion to strike complaint.

11/16/2011 - JC   Drafting of correspondence to all counsel regarding request to          0.30             51.00
                  Ninth Circuit Court of Appeals for extension for related party,       170.00/hr
                  Defend Our Freedoms Foundations (represented by insured, O.
                  Taitz), to file opening brief and record on appeal in joint appeal
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                                                                                       Hrs/Rate        Amount

                  by insured and Defend Our Freedoms from denial of anti-SLAPP
                  motion to strike complaint.

11/16/2011 - KS   Correspondence with carrier, Laurie Johnson, regarding authority        0.10    NO CHARGE
                  for Intelius Motion.                                                  170.00/hr

11/17/2011 - JC   Multiple correspondence with counsel for defendant, Intelius            0.30             51.00
                  Corporation, regarding proposed deposition of insured, O. Taitz,      170.00/hr
                  and potential motion to compel insured's deposition.

           - KS   Authority from carrier, Laurie Johnson regarding seeking court          0.10             17.00
                  approval.                                                             170.00/hr

11/18/2011 - JC   Begin preparation of request to court for clarification of stay         1.10         187.00
                  regarding defendant, Intelius Corporation's request for insured,      170.00/hr
                  O. Taitz, to submit declaration or for deposition regarding
                  Intelius's motion for summary judgment, and in anticipation of
                  Intelius's motion to compel insured to attend deposition and for
                  sanctions.

           - JC   Multiple correspondence with insured, O. Taitz, regarding               0.30             51.00
                  preparation of request to court of appeals for extension for          170.00/hr
                  related party, Defend Our Freedoms Foundations (represented
                  by O. Taitz), to file opening brief in joint appeal by insured and
                  Defend Our Freedoms from denial of anti-SLAPP motion to
                  strike.

           - JC   Multiple correspondence with insured, O. Taitz, regarding               0.30             51.00
                  preparation of correspondence to court for clarification of stay      170.00/hr
                  regarding request by defendant, Intelius Corporation, for
                  insured's deposition, and in anticipation of motion to compel
                  deposition by Intelius.

11/21/2011 - JC   Multiple correspondence with insured, O. Taitz, regarding               0.30             51.00
                  revisions to proposed correspondence to court for clarification of    170.00/hr
                  stay regarding request by defendant, Intelius Corporation, for
                  insured's deposition, and in anticipation of motion to compel
                  deposition by Intelius.

           - JC   Draft revised correspondence to court for clarification of stay         0.30             51.00
                  regarding request by defendant, Intelius Corporation, for             170.00/hr
                  insured's deposition, and in anticipation of motion to compel
                  deposition by Intelius, with revisions requested by insured, O.
                  Taitz.

           - JC   Multiple telephone conference with insured, O. Taitz, regarding         0.40             68.00
                  development of legal arguments supporting opening briefs of           170.00/hr
                  insured and defendant, Defend Our Freedoms Foundations, in
                  related appeals from denial of defendants' anti-SLAPP motion to
                  strike regarding plaintiffs' complaint.
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                                                                                         Hrs/Rate        Amount

11/21/2011 - AV   Finalized letter to District Court Judge for electronic filing.           0.20             19.00
                                                                                           95.00/hr

           - JC   Multiple telephone conferences with opposing counsel for                  0.30             51.00
                  defendant, Intelius Corporation, regarding deposition of insured,       170.00/hr
                  O. Taitz, and potential motion to compel deposition by Intelius.

           - KS   Conference regarding client's appeal.                                     0.40             68.00
                                                                                          170.00/hr

           - KS   Conference regarding appeal.                                              0.20             34.00
                                                                                          170.00/hr

11/22/2011 - JC   Multiple correspondence with insured, O. Taitz, counsel for               0.30             51.00
                  defendant and appellant, Defend Our Freedoms Foundations, in            170.00/hr
                  appeal by it and insured, O. Taitz, from denial of anti-SLAPP
                  motion to strike plaintiffs' complaint, regarding correction by O.
                  Taitz of notice of extension to file opening brief.

           - JC   Begin drafting portions of insured, O. Taitz's opening brief              0.90         153.00
                  addressing complex legal issues regarding plaintiffs' evidentiary       170.00/hr
                  burdens in opposition to insured's anti-SLAPP motion to strike
                  plaintiffs' complaint, and court's discretion to rule on evidentiary
                  objections, in appeal from denial of anti-SLAPP motion to strike
                  plaintiffs' complaint.

           - EA   Prepare and file electronically with the Court correspondence             0.40             68.00
                  seeking leave to file motion for clarification on behalf of insured,    170.00/hr
                  as required to be done personally by counsel only by the United
                  States District Court

           - JC   Telephone conference with insured, O. Taitz, regarding obtaining          0.20             34.00
                  Pennsylvania State Bar decision and transcript of hearing               170.00/hr
                  regarding disciplinary action against plaintiffs' counsel, P. Berg,
                  and his potential disbarment, toward use in subject case to
                  remove opposing counsel.

           - JC   Multiple correspondence with insured, O. Taitz, toward                    0.30             51.00
                  preparation of portion of record on appeal regarding insured's          170.00/hr
                  previous motions to dismiss and strike plaintiffs' complaint in
                  related Pennsylvania case, in pending appeal from denial of
                  anti-SLAPP motion to strike plaintiffs' complaint.

           - JC   Begin review and analysis of numerous motions to dismiss and              0.60         102.00
                  strike plaintiffs' complaint in related Pennsylvania case, in appeal    170.00/hr
                  by insured, O. Taitz, from denial of anti-SLAPP motion to strike
                  plaintiffs' complaint in Santa Ana District Court, and toward
                  evaluation of plaintiffs' legal arguments regarding mootness of
                  subject motion to strike involved in pending appeal.

           - JC   Begin evaluation of complex legal issues regarding court's                1.60         272.00
                  discretion to grant leave to amend complaint, regarding                 170.00/hr
                  California's anti-SLAPP statute and plaintiff's burden to establish
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                                                                                        Hrs/Rate        Amount

                  merit of claims, toward drafting of insured, O. Taitz's opening
                  brief in appeal from denial of anti-SLAPP motion to strike
                  plaintiffs' complaint.

11/22/2011 - JC   Review notice of extension to file opening brief by defendant,           0.20             34.00
                  Defend Our Freedoms Foundations, in appeal by it and insured,          170.00/hr
                  O. Taitz, from denial of anti-SLAPP motion to strike plaintiffs'
                  complaint.

           - JC   Begin evaluation of complex legal issues regarding insured, O.           1.40         238.00
                  Taitz's alleged acts as constituting petitions for redress of          170.00/hr
                  grievances to government under California anti-SLAPP statute,
                  toward drafting of insured, O. Taitz's opening brief in appeal from
                  denial of anti-SLAPP motion to strike plaintiffs' complaint.

           - JC   Begin evaluation of complex legal issues regarding plaintiffs'           0.80         136.00
                  evidentiary burdens in opposition to insured, O. Taitz's               170.00/hr
                  anti-SLAPP motion to strike plaintiffs' complaint, toward drafting
                  of insured, O. Taitz's opening brief in appeal from denial of
                  anti-SLAPP motion to strike plaintiffs' complaint.

11/23/2011 - JC   Begin drafting portions of insured, O. Taitz's opening brief             1.10         187.00
                  addressing complex legal issues regarding her alleged acts as          170.00/hr
                  constituting petitions for redress of grievances to government
                  under California anti-SLAPP statute, in appeal from denial of
                  anti-SLAPP motion to strike plaintiffs' complaint.

           - JC   Telephone conference with insured, O. Taitz, regarding her               0.20             34.00
                  proposed application to Ninth Circuit Court of Appeals for             170.00/hr
                  appointment of appellate panel involved in related O. Taitz
                  appeal in subject appeal by insured from denial of anti-SLAPP
                  motion to strike regarding plaintiffs' complaint.

           - JC   Begin drafting of portions of opening brief of insured, O. Taitz,        1.20         204.00
                  addressing complex legal issues regarding court's discretion to        170.00/hr
                  grant leave to amend complaint, regarding California's
                  anti-SLAPP statute and plaintiff's burden to establish merit of
                  claims, in appeal from denial of anti-SLAPP motion to strike
                  plaintiffs' complaint.

11/28/2011 -




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                                                                                          Hrs/Rate        Amount

11/28/2011 - JC     Begin review and analysis of records of Pennsylvania State Bar           0.40             68.00
                    regarding disciplinary proceedings against plaintiffs' counsel, P.     170.00/hr
                    Berg, toward evaluation of potential disbarment or suspension
                    and effect on ability to represent plaintiffs' in subject case.

           - JC     Continue review and analysis of insured, O. Taitz's anti-SLAPP           0.60         102.00
                    motion to strike plaintiff's complaint in related Pennsylvania         170.00/hr
                    litigation, toward preparation of voluminous record on appeal in
                    appeal from denial of insured and defendant, Defend Our
                    Freedoms Foundation's anti-SLAPP motion to strike.

           - JC     Begin review and analysis of plaintiff, P. Berg's "Obama Crimes"         0.60         102.00
                    website toward preparation of record on appeal supporting              170.00/hr
                    insured, O. Taitz's appeal from denial of insured and defendant,
                    Defend Our Freedoms Foundation's anti-SLAPP motion to strike,
                    and toward support of public interest element            for
                    anti-SLAPP relief.

11/29/2011 -




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           - JC     Begin evaluation of legal issues regarding request for judicial          0.90         153.00
                    notice in federal court appeal, including requirements under           170.00/hr
                    federal rules of appellate procedure and ninth circuit appellate
                    rules, toward preparation of insured, O. Taitz's request for
                    judicial notice of various related cases in appeal from denial of
                    anti-SLAPP motion to strike plaintiffs' complaint.

           - JC     Begin drafting request of insured, O. Taitz, for judicial notice of      2.20         374.00
                    various related cases in support of opening brief in appeal from       170.00/hr
                    denial of anti-SLAPP motion to strike plaintiffs' complaint.

           - CAB Receipt and review document from Defendant Intelius, Inc.                   0.10              9.50
                 regarding Notice of Deposition of Orly Taitz                               95.00/hr

           - JC     Continue evaluation of complex legal issues regarding                    0.90         153.00
                    appealability of order denying anti-SLAPP motion to strike             170.00/hr
                    complaint under federal collateral order doctrine, and analysis of
                    applicable Ninth Circuit decisions, toward drafting of opening
                    brief of insured, O. Taitz, in appeal from denial of anti-SLAPP
                    motion to strike as to plaintiffs' complaint.
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                                                                                        Hrs/Rate        Amount

11/30/2011 - JC   Begin evaluation of FRCP requirements regarding preparation of           0.50             85.00
                  objections to notice of deposition of insured, O. Taitz, by            170.00/hr
                  defendant, Intelius Corporation, including preparation of potential
                  motion for protective order based on pending stay of case
                  regarding insured's appeal.

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           - JC   Receipt and review notice of deposition of insured, O. Taitz, by         0.30             51.00
                  defendant, Intelius Corporation.                                       170.00/hr

 12/1/2011 - JC   Continue drafting of lengthy opening brief by insured, O. Taitz, in      1.90         323.00
                  appeal from denial of anti-SLAPP motion to strike Plaintiffs'          170.00/hr
                  complaint.

           - JC   Correspondence with insured, O. Taitz, regarding her deposition,         0.30             51.00
                  objections to deposition and potential motion for protective order     170.00/hr
                  regarding deposition.

           - JC   Begin drafting of objections by insured, O. Taitz, to notice of her      0.50             85.00
                  deposition by defendant, Intelius Inc.                                 170.00/hr

           - JC   Telephone conference with insured, O. Taitz, regarding drafting          0.20             34.00
                  of objections by insured to notice of her deposition by defendant,     170.00/hr
                  Intelius Inc.

 12/2/2011 - KS   Correspondence with carrier regarding status.                            0.30             51.00
                                                                                         170.00/hr

           - JC   Continue evaluation of complex key legal issues regarding                1.20         204.00
                  litigation as form of petition for redress of grievances under U.S.    170.00/hr
                  Constitution, First Amendment, regarding development of
                  insured, O. Taitz's legal arguments supporting her opening brief
                  in appeal from denial of anti-SLAPP motion to strike plaintiffs'
                  complaint.

           - JC   Begin preparation of legal analysis for insured, O. Taitz,               0.40             68.00
                  regarding requests by defendant, Intelius Corporation, for             170.00/hr
                  insured to submit declaration or be deposed, toward preparation
                  of objections to deposition notice to insured and preparation of
                  potential motion for protective order regarding deposition.
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                                                                                          Hrs/Rate        Amount

 12/2/2011 - JC    Begin drafting of update to carrier regarding status of appeal,           0.80         136.00
                   dispute regarding insured, O. Taitz's deposition and potential          170.00/hr
                   motion for protective order, and motion to dismiss involving
                   insured, Y. Taitz.

           - JC    Review court's 12/2/11 order denying plaintiffs' application to file      0.30             51.00
                   second amended complaint.                                               170.00/hr

           - JC    Continue drafting of lengthy opening brief by insured, O. Taitz, in       3.10         527.00
                   appeal from denial of anti-SLAPP motion to strike Plaintiffs'           170.00/hr
                   complaint.

 12/3/2011 - JC    Continue drafting of lengthy portion of opening brief by insured,         3.20         544.00
                   O. Taitz, in appeal from denial of anti-SLAPP motion to strike          170.00/hr
                   Plaintiffs' complaint, regarding insured's burden to show acts in
                   furtherance of First Amendment rights.

           - JC    Correspondence with insured, O. Taitz, regarding preparation of           0.20             34.00
                   her and defendant, Defend Our Freedoms Foundation's opening             170.00/hr
                   briefs in appeal from denial of anti-SLAPP motion to strike
                   complaint.

 12/5/2011 - KS    Correspondence with client regarding protective order.                    0.20             34.00
                                                                                           170.00/hr

           - KS    Conference regarding appellate brief.                                     0.60         102.00
                                                                                           170.00/hr

           - JC    Draft report to carrier with attorney analysis regarding plaintiffs'      0.30             51.00
                   request for leave regarding proposed second amended                     170.00/hr
                   complaint, and denial of plaintiffs' request.

           - JC    Telephone conference and correspondence with opposing                     0.40             68.00
                   counsel P. Berg, counsel for plaintiffs, regarding insured, O.          170.00/hr
                   Taitz's deposition as noticed by defendant, Intelius Corporation,
                   and objections to deposition.

           - JC    Continue analysis of complex legal issues regarding litigation as         0.70         119.00
                   Constitutional right of petition under California anti-SLAPP law,       170.00/hr
                   toward drafting of portion of insured's opening brief addressing
                   issues in appeal from denial of anti-SLAPP motion to strike
                   complaint.

           - JC    Correspondence with insured, O. Taitz, regarding preparation of           0.20             34.00
                   objections to her deposition and preparation of potential motion        170.00/hr
                   for protective order.

           - MLC Begin preparing documents to be used on the Record on Appeal.               2.30         218.50
                                                                                            95.00/hr

           - JC    Continue analysis of complex legal issues regarding litigation as         1.10         187.00
                   Constitutional right of petition under California anti-SLAPP law,       170.00/hr
                   toward drafting of portion of insured's opening brief addressing
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                                                                                         Hrs/Rate        Amount

                  issues in appeal from denial of anti-SLAPP motion to strike
                  complaint.

 12/5/2011 - JC   Continue drafting of lengthy portion of opening brief by insured,         1.20         204.00
                  O. Taitz, in appeal from denial of anti-SLAPP motion to strike          170.00/hr
                  Plaintiffs' complaint, regarding insured's burden to show acts in
                  furtherance of First Amendment rights.

           - KS   Preparation of amendments to brief.                                       0.80         136.00
                                                                                          170.00/hr

 12/6/2011 - JC   Lengthy telephone conference with E. Chang, counsel for                   0.40             68.00
                  defendant Intelius Corporation, regarding motion to compel              170.00/hr
                  deposition of insured, O. Taitz.

           - JC   Correspondence with adjuster Laurie Johnson regarding                     0.20             34.00
                  potential motion by defendant Intelius Corporation, to compel           170.00/hr
                  deposition of insured, O. Taitz. and development of related
                  litigation strategy.

           - KS   Correspondence from client regarding protective order.                    0.20             34.00
                                                                                          170.00/hr

           - JC   Begin analysis of complex legal issues regarding plaintiffs'              0.60         102.00
                  burden of pleading sufficient complaint as against anti-SLAPP           170.00/hr
                  motion to strike, and related federal law regarding amendment of
                  complaint, toward drafting of related portion of insured's opening
                  brief in appeal from denial of anti-SLAPP motion to strike
                  complaint.

           - JC   Begin drafting of portion of insured, O. Taitz's opening brief            1.10         187.00
                  addressing her and defendant, Defend Our Freedoms                       170.00/hr
                  Foundation's conduct regarding public issues, and development
                  of related statement of facts with reference to record on appeal,
                  in appeal from denial of anti-SLAPP motion to strike complaint.

           - KS   Correspondence with carrier regarding client's request for                0.20             34.00
                  authority for protective order.                                         170.00/hr

 12/7/2011 - KS   Authority from adjuster, Laurie Johnson, for Motion for Protective        0.10             17.00
                  Order.                                                                  170.00/hr

           - JC   Begin drafting of request to court for leave to file motion for           0.40             68.00
                  protective order regarding deposition of insured, O. Taitz, as          170.00/hr
                  noticed by defendant, Intelius Corporation, pursuant to carrier
                  authority from Laurie Johnson.

           - JC   Continue evaluation of legal standards for dismissal of                   0.80         136.00
                  defamation claim against public figure, including plaintiff P. Berg,    170.00/hr
                  and review and analysis of insured, O. Taitz's motion to dismiss
                  raising defense regarding public figure defamation, toward
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                                                                                       Hrs/Rate        Amount

                  drafting of insured's opening brief in appeal from denial of
                  anti-SLAPP motion to strike complaint.

 12/7/2011 - JC   Begin review and analysis of defendant, Daylight Corporation's          0.70         119.00
                  24 page reply Memorandum of Points and Authorities supporting         170.00/hr
                  its motion to dismiss first amended complaint, including
                  evaluation of portions addressing alleged liability of insured, Y.
                  Taitz, as employee of Daylight Corporation.

           -




           - JC   Multiple correspondence with insured, O. Taitz, regarding               0.30             51.00
                  preparation of motion for protective order regarding insured's        170.00/hr
                  deposition.

 12/8/2011 - JC   Continue evaluation of legal standards regarding motion for             0.90         153.00
                  protective order regarding deposition of insured, O. Taitz, and       170.00/hr
                  toward preparation of request to court for leave to file motion,
                  pursuant to carrier authority from Laurie Johnson.

           -




           - JC   Begin drafting of portion of insured, O. Taitz's opening brief          0.90         153.00
                  addressing her and defendant, Defend Our Freedoms                     170.00/hr
                  Foundation's conduct regarding statements in official
                  proceedings (CCP section 425.16(e)(1)), in appeal from denial of
                  anti-SLAPP motion to strike complaint.

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           - JC   Finalize drafting of request to court for leave to file motion for      0.30             51.00
                  protective order regarding deposition of insured, O. Taitz, as        170.00/hr
                  noticed by defendant, Intelius Corporation, pursuant to carrier
                  authority from Laurie Johnson.

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                                                                                         Hrs/Rate        Amount

 12/8/2011 - JC    Continue drafting of portion of insured, O. Taitz's opening brief        1.90         323.00
                   addressing her and defendant, Defend Our Freedoms                      170.00/hr
                   Foundation's conduct regarding public issues, and development
                   of related statement of facts with reference to record on appeal,
                   in appeal from denial of anti-SLAPP motion to strike complaint.

           - MLC Correspondence to all counsel and Judge Guilford regarding                 0.10              9.50
                 request to file a Motion for Protective Order Preventing                  95.00/hr
                 Deposition of Orly Taitz.

           - JC    Begin drafting of portion of insured, O. Taitz's opening brief           1.20         204.00
                   addressing her and defendant, Defend Our Freedoms                      170.00/hr
                   Foundation's conduct regarding their free speech activities in
                   public forum (CCP section 425.16(e)(3)), in appeal from denial of
                   anti-SLAPP motion to strike complaint.

 12/9/2011 - JC    Multiple telephone conferences with counsel for defendant                0.30             51.00
                   Intelius, E. Chang, regarding insured, O. Taitz's objections to        170.00/hr
                   notice of her deposition, her pending request for leave to file a
                   motion for protective order, and potential need for ex-parte
                   application for continuance of deposition.

           - JC    Begin drafting of portion of insured, O. Taitz's opening brief           1.20         204.00
                   addressing her and defendant, Defend Our Freedoms                      170.00/hr
                   Foundation's conduct regarding statements in public forum (CCP
                   section 425.16(e)(3), in appeal from denial of anti-SLAPP motion
                   to strike complaint.

           - JC    Begin drafting of portion of insured, O. Taitz's opening brief           1.80         306.00
                   addressing her and defendant, Defend Our Freedoms                      170.00/hr
                   Foundation's conduct regarding right of petition regarding public
                   issue (CCP section 425.16(e)(4), in appeal from denial of
                   anti-SLAPP motion to strike complaint.

           - JC    Correspondence with insured, O. Taitz, regarding drafting of             0.20             34.00
                   portion of her opening brief and that of defendant, Defend Our         170.00/hr
                   Freedoms Foundation, represented by O. Taitz, regarding
                   appellants' burden under anti-SLAPP statute in appeal from
                   denial of anti-SLAPP motion to strike.

           - JC    Multiple correspondence with counsel for defendant Intelius, E.          0.30             51.00
                   Chang, regarding insured, O. Taitz's objections to notice of her       170.00/hr
                   deposition, her pending request for leave to file a motion for
                   protective order, and potential need for ex-parte application for
                   continuance of deposition.

           - JC    Begin evaluation of complex legal issues regarding plaintiff P.          0.50             85.00
                   Berg as public figure under controlling defamation law, as             170.00/hr
                   presented by insured O. Taitz in District Court, toward drafting of
                   insured's opening brief in appeal from denial of insured's
                   anti-SLAPP motion to strike and toward evaluation of plaintiffs'
                   waiver on appeal counter arguments.
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                                                                                        Hrs/Rate        Amount

 12/9/2011 - JC     Continue drafting of portion of insured, O. Taitz's opening brief      1.50         255.00
                    addressing her and defendant, Defend Our Freedoms                    170.00/hr
                    Foundation's conduct regarding statements in official
                    proceedings (CCP section 425.16(e)(1)), in appeal from denial of
                    anti-SLAPP motion to strike complaint.

           - MLC Correspondence to the District Court clerk regarding the Court's          0.10              9.50
                 issuance of a tentative ruling prior to the final ruling on June 14,     95.00/hr
                 2011, denying Orly Taitz' and DOFF's Motion to Dismiss, in
                 anticipation of filing our opening brief.

           - JC     Begin drafting of portion of insured, O. Taitz's opening brief         1.70         289.00
                    addressing her and defendant, Defend Our Freedoms                    170.00/hr
                    Foundation's conduct regarding statements in judicial proceeding
                    (CCP section 425.16(e)(2)), in appeal from denial of anti-SLAPP
                    motion to strike complaint.

12/12/2011 - JC     Begin review and analysis of court's seven page tentative ruling       0.60         102.00
                    on insured, O. Taitz's anti-SLAPP motion to strike complaint, and    170.00/hr
                    other related motions, toward potential inclusion in excerpts of
                    record on appeal supporting appeal from denial of anti-SLAPP
                    motion.

           - JC     Continue drafting of portion of insured, O. Taitz's opening brief      0.60         102.00
                    addressing her and defendant, Defend Our Freedoms                    170.00/hr
                    Foundation's conduct regarding statements in public forum (CCP
                    section 425.16(e)(3), in appeal from denial of anti-SLAPP motion
                    to strike complaint.

           - JC     Continue drafting of portion of insured, O. Taitz's opening brief      0.70         119.00
                    addressing sufficiency of plaintiffs' complaint and plaintiffs'      170.00/hr
                    burden to submit sufficient evidence supporting complaint (CCP
                    section 425.16(b)(1), in appeal from denial of anti-SLAPP motion
                    to strike complaint.

           - JC     Receipt and review 12/12/11 correspondence of counsel for              0.20             34.00
                    defendant, Intelius, regarding postponement of its deposition of     170.00/hr
                    insured, O. Taitz.

           - JC     Continue review and analysis of voluminous lower court filings         1.40         238.00
                    toward preparation of excerpts of record on appeal supporting        170.00/hr
                    opening brief of insured, O. Taitz, in appeal from denial of
                    insured's and defendant, Defend Our Freedoms Foundation's
                    anti-SLAPP motion to strike complaint.

           - JC     Multiple correspondence with insured, O. Taitz, regarding              0.30             51.00
                    preparation of voluminous record on appeal in insured's and          170.00/hr
                    defendant, Defend Our Freedoms Foundation's appeal from
                    denial of anti-SLAPP motion to strike plaintiffs' complaint.

           - JC     Begin drafting of portion of insured, O. Taitz's opening brief         1.80         306.00
                    addressing sufficiency of plaintiffs' complaint and plaintiffs'      170.00/hr
                    burden to submit sufficient evidence supporting complaint (CCP
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                                                                                        Hrs/Rate        Amount

                   section 425.16(b)(1), in appeal from denial of anti-SLAPP motion
                   to strike complaint.

12/12/2011 - JC    Begin evaluation of complex legal issues regarding proper               1.40         238.00
                   standards of review on appeal regarding insured, O. Taitz's           170.00/hr
                   evidentiary objections in District Court, and overruling of
                   objection, toward drafting of related portion of insured's opening
                   brief in appeal from denial of insured's anti-SLAPP motion to
                   strike.

           - JC    Continue drafting of portion of insured, O. Taitz's opening brief       0.60         102.00
                   addressing her and defendant, Defend Our Freedoms                     170.00/hr
                   Foundation's conduct regarding statements in judicial proceeding
                   (CCP section 425.16(e)(2)), in appeal from denial of anti-SLAPP
                   motion to strike complaint.

12/13/2011 - JC    Continue drafting of request for judicial notice supporting             0.50             85.00
                   opening brief of insured, O. Taitz, in appeal from denial of          170.00/hr
                   insured's and defendant, Defend Our Freedoms Foundation's
                   anti-SLAPP motion to strike.

           - JC    Multiple correspondence with insured, O. Taitz, regarding               0.50             85.00
                   preparation of opening brief in appeal from denial of anti-SLAPP      170.00/hr
                   motion to strike.

           - JC    Continue drafting of portion of insured, O. Taitz's opening brief       1.50         255.00
                   addressing sufficiency of plaintiffs' complaint and plaintiffs'       170.00/hr
                   burden to submit sufficient evidence supporting complaint (CCP
                   section 425.16(b)(1), in appeal from denial of anti-SLAPP motion
                   to strike complaint.

           - MLC Review 9th Circuit Appellate Rules and Procedures in                      0.60             57.00
                 anticipation of filing opening Appellant's Brief.                        95.00/hr

           - JC    Continue drafting of portion of insured, O. Taitz's opening brief       0.90         153.00
                   addressing her and defendant, Defend Our Freedoms                     170.00/hr
                   Foundation's conduct regarding statements in public forum (CCP
                   section 425.16(e)(3), in appeal from denial of anti-SLAPP motion
                   to strike complaint.

           - JC    Continue drafting of portion of insured, O. Taitz's opening brief       1.10         187.00
                   addressing her and defendant, Defend Our Freedoms                     170.00/hr
                   Foundation's conduct regarding statements in judicial proceeding
                   (CCP section 425.16(e)(2)), in appeal from denial of anti-SLAPP
                   motion to strike complaint.

           - JC    Begin evaluation of complex legal issues toward development of          1.50         255.00
                   federal Communications Decency Act arguments in opening               170.00/hr
                   brief of insured, O. Taitz, in appeal from denial of anti-SLAPP
                   motion to strike complaint.
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                                                                                      Hrs/Rate        Amount

12/14/2011 - JC   Multiple correspondence with insured, O. Taitz, regarding              0.30             51.00
                  preparation of joint excerpts of record in appeals by insured and    170.00/hr
                  defendant, Defend Our Freedoms Foundations (represented by
                  insured), regarding appeals from denial of joint anti-SLAPP
                  motion to strike complaint.

           - JC   Receipt and review multiple correspondence between opposing            0.30             51.00
                  counsel and counsel for Sankey defendants, regarding plaintiffs'     170.00/hr
                  $35 million settlement demand, and Sankey counteroffer.

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           - JC   Finalize drafting of portion of insured, O. Taitz's opening brief      0.70         119.00
                  addressing her and defendant, Defend Our Freedoms                    170.00/hr
                  Foundation's conduct regarding statements in official
                  proceedings (CCP section 425.16(e)(1)), in appeal from denial of
                  anti-SLAPP motion to strike complaint.

           - JC   Finalize drafting of portion of insured, O. Taitz's opening brief      0.60         102.00
                  addressing her and defendant, Defend Our Freedoms                    170.00/hr
                  Foundation's conduct regarding statements in judicial proceeding
                  (CCP section 425.16(e)(2)), in appeal from denial of anti-SLAPP
                  motion to strike complaint.

           - JC   Finalize drafting of portion of insured, O. Taitz's opening brief      0.90         153.00
                  addressing her and defendant, Defend Our Freedoms                    170.00/hr
                  Foundation's conduct regarding statements in public forum (CCP
                  section 425.16(e)(3), in appeal from denial of anti-SLAPP motion
                  to strike complaint.

           - JC   Continue drafting of portion of insured, O. Taitz's opening brief      1.50         255.00
                  addressing her and defendant, Defend Our Freedoms                    170.00/hr
                  Foundation's conduct regarding statements in official
                  proceedings (CCP section 425.16(e)(1)), in appeal from denial of
                  anti-SLAPP motion to strike complaint.

           - KS   Telephone call from client regarding appeal.                           0.10             17.00
                                                                                       170.00/hr

           - JC   Continue evaluation of complex legal issues regarding applicable       1.90         323.00
                  standards of appellate review as to numerous legal issues raised     170.00/hr
                  in appeal of insured, O. Taitz, from denial of anti-SLAPP motion
                  to strike complaint, and toward drafting of portions of opening
                  brief addressing such standards, in compliance with Ninth Circuit
                  rules.

           - JC   Continue drafting of portion of insured, O. Taitz's opening brief      0.80         136.00
                  addressing admissibility of plaintiffs' evidence in opposition to    170.00/hr
                  insured's anti-SLAPP motion to strike complaint, and application
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                                                                                       Hrs/Rate        Amount

                   of federal rules of evidence, in appeal from denial of anti-SLAPP
                   motion.

12/14/2011 - JC    Correspondence with opposing counsel for defendant, Intelius           0.20             34.00
                   Inc., regarding deposition of insured, O. Taitz.                     170.00/hr

           - JC    Continue drafting of portion of insured, O. Taitz's opening brief      0.90         153.00
                   addressing her and defendant, Defend Our Freedoms                    170.00/hr
                   Foundation's conduct regarding statements in public forum (CCP
                   section 425.16(e)(3), in appeal from denial of anti-SLAPP motion
                   to strike complaint.

12/15/2011 - JC    Begin review and analysis of draft opening brief by defendant,         1.20         204.00
                   Defend Our Freedoms Foundations, represented by insured, O.          170.00/hr
                   Taitz, toward coordination of opening briefs by insured and
                   Defend Our Freedoms in related appeals from denial of their
                   joint anti-SLAPP motion to strike complaint.

           - MLC Prepare documents to be used in the Excerpt of Record on                 2.90         275.50
                 Appeal by Orly Taitz (approximately 350 pages)                          95.00/hr

           - KS    Correspondence with client regarding Appeal.                           0.40             68.00
                                                                                        170.00/hr

           - JC    Continue preparation of voluminous excerpts of record in appeal        1.70         289.00
                   by insured, O. Taitz, from denial of anti-SLAPP motion to strike     170.00/hr
                   complaint.

           - KS    Conference regarding client's multiple requests related to the         0.80         136.00
                   appeal.                                                              170.00/hr

           - KS    Telephone call with carrier regarding client's requests.               0.30             51.00
                                                                                        170.00/hr

           - KS    Multiple telephone calls with client regarding appeal.                 0.60         102.00
                                                                                        170.00/hr

           - JC    Multiple correspondence and telephone conferences with                 0.80         136.00
                   insured, O. Taitz, regarding preparation of opening briefs by her    170.00/hr
                   and defendant, Defend Our Freedoms Foundations, represented
                   by insured, in related appeals from denial of joint anti-SLAPP
                   motion to strike complaint.

           -


           - JC    Begin drafting lengthy revisions to opening brief by insured, O.       2.40         408.00
                   Taitz, based on proposed opening brief of defendant, Defend          170.00/hr
                   Our Freedoms Foundations, represented by insured, toward
                   coordination of opening briefs and supporting legal arguments by
                   insured and Defend Our Freedoms in related appeals from
                   denial of their joint anti-SLAPP motion to strike complaint.
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                                                                                               Hrs/Rate        Amount

12/15/2011 - KS      Conference regarding court order agreeing to our proposed                    0.20             34.00
                     order.                                                                     170.00/hr

           - JC      Begin review and analysis of court's 12/14/11 order on insured,              0.30             51.00
                     O. Taitz's requests for leave to file motion for clarification of stay,    170.00/hr
                     pursuant to carrier authority (adjuster Laurie Johnson) regarding
                     deposition of insured noticed by defendant, Intelius.

           - JC      Multiple correspondence with insured, O. Taitz, regarding                    0.30             51.00
                     analysis of court's 12/14/11 order on insured's requests for leave         170.00/hr
                     to file motion for clarification of stay, regarding deposition of
                     insured noticed by defendant, Intelius.

           - JC      Multiple correspondence with opposing counsel for defendant,                 0.30             51.00
                     Intelius, regarding court's 12/14/11 order on insured, O. Taitz's          170.00/hr
                     requests for leave to file motion for clarification of stay, regarding
                     deposition of insured noticed by Intelius.

12/16/2011 - JC      Continue drafting of request for judicial notice by insured, O.              1.20         204.00
                     Taitz, in support of opening brief in appeal from denial of                170.00/hr
                     anti-SLAPP motion to strike complaint.

           - JC      Lengthy meeting with insured, O. Taitz, regarding drafting and               2.10         357.00
                     coordination of opening briefs of insured and defendant, Defend            170.00/hr
                     Our Freedoms Foundation, represented by insured, in related
                     appeals from denial of joint anti-SLAPP motion to strike
                     complaint.

           - JC      Continue drafting of lengthy portion of opening brief of insured,            4.50         765.00
                     O. Taitz, regarding legal sufficiency of each of plaintiffs' causes        170.00/hr
                     of action in appeal from denial of joint anti-SLAPP motion to
                     strike complaint.

           - MLC Preparation of Table of Authorities and Table of Contents for                    1.90         180.50
                 Opening Brief by Orly Taitz.                                                    95.00/hr

           - JC      Finalize drafting of lengthy (36 page) opening brief of insured, O.          0.60         102.00
                     Taitz, in appeal from denial of anti-SLAPP motion to strike                170.00/hr
                     complaint.

           - KS      Analyze Opening Brief.                                                       2.80         476.00
                                                                                                170.00/hr

12/17/2011 - JC      Continue review and attorney analysis of lengthy (25 page) reply             0.80         136.00
                     Memorandum of Points and Authorities of defendant, Daylight                170.00/hr
                     Corporation, pursuant to carrier authority (adjuster Laurie
                     Johnson) toward preparation for hearing on motion.

12/19/2011 - MLC Review and revise Request for judicial Notice by Orly Taitz, to be               0.20             19.00
                 filed with Appellant's Opening Brief.                                           95.00/hr
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                                                                                           Hrs/Rate        Amount

12/19/2011 - JC   Finalize drafting of request for judicial notice by insured, O. Taitz,      0.60         102.00
                  in support of opening brief in appeal from denial of anti-SLAPP           170.00/hr
                  motion to strike complaint.

           - JC   Multiple correspondence and telephone conferences with                      0.50             85.00
                  insured, O. Taitz, regarding drafting and coordination of opening         170.00/hr
                  briefs of insured and defendant, Defend Our Freedoms
                  Foundation, represented by insured, in related appeals from
                  denial of joint anti-SLAPP motion to strike complaint.

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           - JC   Begin review and analysis of proposed declaration of insured, O.            0.50             85.00
                  Taitz, as submitted by defendant, Intelius Corporation, pursuant          170.00/hr
                  to carrier authority (adjuster Laurie Johnson) in support of its
                  motion for summary judgment on amended complaint.

           - JC   Telephone conference with insured, O. Taitz, regarding                      0.20             34.00
                  preparation of potential motion to impose sanctions against all           170.00/hr
                  plaintiffs.

           - JC   Receipt and review notice of continuance of trial in Pennsylvania           0.30             51.00
                  State Bar disciplinary proceeding against plaintiff, P. Berg,             170.00/hr
                  counsel for all plaintiffs, regarding potential disbarment of
                  plaintiffs' counsel.

12/20/2011 -




           - JC   Multiple correspondence with counsel for defendant, Intelius,               0.30             51.00
                  regarding proposed declaration of insured, O. Taitz, pursuant to          170.00/hr
                  carrier authority (adjuster Laurie Johnson) supporting Intelius'
                  motion for summary judgment and suggestions for revisions to
                  declaration.

           - JC   Begin review and analysis of lengthy opening brief (36 pages) by            0.50             85.00
                  defendant, Defend Our Freedoms Foundations, represented by                170.00/hr
                  insured, O. Taitz, in appeals by insured and Defend Our
                  Freedoms Foundations from denial of joint anti-SLAPP motion to
                  strike complaint.
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                                                                                      Hrs/Rate        Amount

12/20/2011 - KS   Conference regarding appeal.                                           0.30             51.00
                                                                                       170.00/hr

           - KS   Conference regarding regarding court ruling.                           0.20             34.00
                                                                                       170.00/hr

12/21/2011 - KS   Correspondence with court regarding appeal.                            0.20             34.00
                                                                                       170.00/hr

           - JC   Multiple correspondence with insured, O. Taitz, regarding              0.30             51.00
                  necessary corrections to appellate brief drafted by her, as          170.00/hr
                  counsel for defendant Defend Our Freedoms Foundations, in
                  appeal by insured and Defend Our Freedoms from denial of joint
                  anti-SLAPP motion to strike complaint.

           - JC   Multiple correspondence with insured, O. Taitz, regarding              0.30             51.00
                  potential claims against plaintiffs and evaluation of claims as      170.00/hr
                  compulsory or permissive counterclaims in pending case.

           - JC   Begin drafting of update for carrier with attorney analysis            0.60         102.00
                  regarding pending appeals, discovery, stay of portions of case,      170.00/hr
                  potential attorney fees motion, and other future handling issues.

           - JC   Review notices of deficient filing from court of appeal regarding      0.20             34.00
                  appeal by defendant Defend Our Freedoms Foundations,                 170.00/hr
                  represented by insured, O. Taitz, in appeal by insured and
                  Defend Our Freedoms from denial of joint anti-SLAPP motion to
                  strike complaint.

           - KS   Conference regarding Notice from Court of Appeals.                     0.20             34.00
                                                                                       170.00/hr

           - JC   Continue review and analysis of lengthy opening brief (36 pages)       1.20         204.00
                  by defendant, Defend Our Freedoms Foundations, represented           170.00/hr
                  by insured, O. Taitz, in appeals by insured and Defend Our
                  Freedoms Foundations from denial of joint anti-SLAPP motion to
                  strike complaint.

           - KS   Conference regarding "corporate disclosure statement".                 0.20             34.00
                                                                                       170.00/hr

12/22/2011 - JC   Begin review of lengthy (30 page) opinion of Court of Appeals in       0.40             68.00
                  Drake v. Obama case, toward evaluation of effect on appeals by       170.00/hr
                  insured, O. Taitz and defendant, Defend Our Freedoms
                  Foundations (represented by insured), including on public issue
                  element of anti-SLAPP statute, in appeals from denial of
                  insured's anti-SLAPP motion to strike complaint.

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                                                                                        Hrs/Rate        Amount

12/23/2011 -



           - JC   Continue review of lengthy (30 page) opinion of Court of Appeals         1.20         204.00
                  in Drake v. Obama case, toward evaluation of effect on appeals         170.00/hr
                  by insured, O. Taitz and defendant, Defend Our Freedoms
                  Foundations (represented by insured), including on public issue
                  element of anti-SLAPP statute, in appeals from denial of
                  insured's anti-SLAPP motion to strike complaint.

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12/24/2011 - KS   Preparation of update to carrier.                                        0.10             17.00
                                                                                         170.00/hr

12/27/2011 - JC   Multiple correspondence with E. Chang, counsel for defendant,            0.50             85.00
                  Intelius Corporation, regarding                                        170.00/hr
                  proposed declaration of insured, O. Taitz, as prepared by
                  insured, supporting motion for summary judgment of Intelius.

           - JC   Begin review and attorney analysis of proposed declaration of            0.40             68.00
                  insured, O. Taitz, as prepared by insured, supporting motion for       170.00/hr
                  summary judgment of defendant, Intelius Corporation.

           - JC   Multiple correspondence with insured, O. Taitz, regarding her            0.30             51.00
                  proposed declaration supporting motion for summary judgment            170.00/hr
                  by defendant, Intelius Corporation, and toward finalization of
                  declaration.

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  1/1/2012 - JC   Begin attorney analysis of legal authorities cited by plaintiffs in      0.60         102.00
                  meet and confer correspondence regarding motion to dismiss             170.00/hr
                  insured, O. Taitz's appeal, and toward preparation of response to
                  meet and confer correspondence.

           - JC   Correspondence with insured, O. Taitz, regarding plaintiffs'             0.30             51.00
                  proposed motion to dismiss appeal and toward preparation of            170.00/hr
                  response to meet and confer correspondence.

           - JC   Meet and confer correspondence with opposing counsel                     0.30             51.00
                  regarding plaintiffs' proposed motion to dismiss appeal.               170.00/hr
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                                                                                        Hrs/Rate        Amount

  1/2/2012 - JC   Correspondence with opposing counsel for defendant, Intelius,            0.20             34.00
                  regarding proposed revisions by insured, O. Taitz, to her              170.00/hr
                  proposed declaration supporting Intelius' motion for summary
                  judgment, pursuant to carrier authority from adjuster Laurie
                  Johnson.

           - JC   Telephone conference with insured, O. Taitz, regarding                   0.20             34.00
                  preparation of her response to plaintiffs' meet and confer             170.00/hr
                  correspondence regarding proposed motion to strike insured's
                  opening brief in her appeal.

  1/3/2012 - JC   Multiple correspondence with insured, O. Taitz, regarding her            0.30             51.00
                  revised proposed declaration supporting motion for summary             170.00/hr
                  judgment by defendant, Intelius, pursuant to carrier authority
                  from adjuster Laurie Johnson.

           - JC   Review opposing counsel's 1/2/12 meet and confer                         0.30             51.00
                  correspondence to defendant, Defend Our Freedoms                       170.00/hr
                  Foundations (represented by insured, O. Taitz), regarding motion
                  to dismiss defendant's appeal, and toward preparation of
                  response in related appeals by such defendant and insured.

           - JC   Multiple correspondence with insured, O. Taitz, regarding                0.30             51.00
                  preparation of her response to plaintiffs' meet and confer             170.00/hr
                  correspondence regarding proposed motion to strike insured's
                  opening brief in her appeal.

           - JC   Begin drafting response by insured, O. Taitz, to meet and confer         0.70         119.00
                  correspondence of plaintiffs regarding their proposed motion to        170.00/hr
                  dismiss insured's appeal from denial of her and defendant,
                  Defend Our Freedoms Foundations, appeal from denial of joint
                  anti-SLAPP motion to dismiss complaint.

           - JC   Begin review of revised proposed declaration of insured, O.              0.30             51.00
                  Taitz, prepared by defendant, Intelius, supporting Intelius' motion    170.00/hr
                  for summary judgment, pursuant to carrier authority from
                  adjuster Laurie Johnson.

  1/4/2012 -




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           - JC   Begin review of declaration of defendant, N. Sankey, supporting          0.40             68.00
                  motion for summary judgment of defendant, Intelius, and toward         170.00/hr
                  drafting of revisions to proposed declaration of insured, O. Taitz,
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                                                                                        Hrs/Rate        Amount

                  requested by Intelius in lieu of insured's deposition, pursuant to
                  carrier authority from adjuster Laurie Johnson.

  1/4/2012 - JC   Begin review of declaration of defendant, T. Sankey, supporting          0.30             51.00
                  motion for summary judgment of defendant, Intelius, and toward         170.00/hr
                  drafting of revisions to proposed declaration of insured, O. Taitz,
                  requested by Intelius in lieu of insured's deposition, pursuant to
                  carrier authority from adjuster Laurie Johnson.

           - JC   Multiple correspondence with insured, O. Taitz, regarding                0.30             51.00
                  declarations of defendants, T. and N. Sankey, supporting motion        170.00/hr
                  for summary judgment of defendant, Intelius, and toward drafting
                  of revisions to proposed declaration of insured, O. Taitz,
                  requested by Intelius in lieu of insured's deposition, pursuant to
                  carrier authority from adjuster Laurie Johnson.

           - JC   Multiple correspondence with counsel for defendant, Intelius,            0.30             51.00
                  regarding its proposed declaration for insured, O. Taitz,              170.00/hr
                  supporting its motion for summary judgment and toward drafting
                  of revisions to proposed declaration of insured requested by
                  Intelius in lieu of insured's deposition, pursuant to carrier
                  authority from adjuster Laurie Johnson.

           - JC   Multiple correspondence with insured, O. Taitz (counsel for              0.40             68.00
                  defendant, Defend Our Freedoms Foundations), toward drafting           170.00/hr
                  coordinated response to plaintiffs' meet and confer
                  correspondence regarding proposed motions to dismiss appeals
                  by insured and DOFF in appeal from joint anti-SLAPP motion to
                  dismiss complaint, pursuant to carrier authority from adjuster
                  Laurie Johnson.
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           - JC   Receipt and review notice of electronic filing and notice of             0.20             34.00
                  lodging regarding proposed judgment for defendant, Daylight            170.00/hr
                  Chemical Systems Inc.

           - JC   Receipt and review proposed judgment for defendant, Daylight             0.20             34.00
                  Chemical Systems Inc.                                                  170.00/hr

  1/5/2012 -



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           - JC   Multiple correspondence with counsel for defendant, Intelius             0.30             51.00
                  Corporation, regarding exhibits to declaration of insured, O.          170.00/hr
                  Taitz, supporting Intelius' motion for summary judgment and
                  revisions to such declaration requested by Intelius in lieu of
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                                                                                       Hrs/Rate        Amount

                  insured's deposition, pursuant to carrier authority from adjuster
                  Laurie Johnson.
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  1/5/2012 -




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           - JC   Multiple correspondence with counsel for defendant, Intelius,           0.30             51.00
                  regarding revised proposed declaration for insured, O. Taitz,         170.00/hr
                  supporting its motion for summary judgment and toward drafting
                  of revisions to proposed declaration requested by Intelius in lieu
                  of insured's deposition, pursuant to carrier authority from
                  adjuster Laurie Johnson.

           - JC   Begin review and analysis of proposed revised declaration for           0.30             51.00
                  insured, O. Taitz, supporting its motion for summary judgment of      170.00/hr
                  defendant, Intelius, toward drafting of revisions to proposed
                  declaration of insured requested by Intelius in lieu of insured's
                  deposition, pursuant to carrier authority from adjuster Laurie
                  Johnson.

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                                                                                         Hrs/Rate        Amount




  1/9/2012 - KS   Conference regarding future handling.                                     0.60         102.00
                                                                                          170.00/hr

           - JC   Review correspondence of opposing counsel for defendant,                  0.30             51.00
                  Intelius Corporation, to court requesting leave to file motion for      170.00/hr
                  summary judgment.

           - JC   Multiple correspondence with counsel for defendant, Intelius,             0.30             51.00
                  regarding revised proposed declaration for insured, O. Taitz,           170.00/hr
                  supporting its motion for summary judgment and toward drafting
                  of revisions to proposed declaration requested by Intelius in lieu
                  of insured's deposition, pursuant to carrier authority from
                  adjuster Laurie Johnson.

 1/10/2012 - JC   Review proof of service documents preparation by insured, O.              0.30             51.00
                  Taitz, as counsel for defendant, Defend Our Freedoms                    170.00/hr
                  Foundations, regarding preparation of coordinated opposition to
                  Appellees' motions to dismiss appeals by O. Taitz and Defend
                  Our Freedoms Foundations from denial of joint anti-SLAPP
                  motion to strike complaint.

           - JC   Multiple correspondence with insured, O. Taitz, regarding                 0.30             51.00
                  preparation of coordinated opposition to Appellees' motions to          170.00/hr
                  dismiss appeals by O. Taitz and defendant, Defend Our
                  Freedoms Foundations (represented by insured), from denial of
                  joint anti-SLAPP motion to strike complaint.

           - JC   Correspondence with counsel for defendant, Intelius, regarding            0.20             34.00
                  final revisions to declaration for insured, O. Taitz, supporting its    170.00/hr
                  motion for summary judgment requested by Intelius in lieu of
                  insured's deposition, pursuant to carrier authority from adjuster
                  Laurie Johnson.

 1/11/2012 - KS   Finalize update to carrier.                                               0.60         102.00
                                                                                          170.00/hr

           - KS   Notice from Court regarding filings.                                      0.10             17.00
                                                                                          170.00/hr

           - JC   Receipt and review judgment entered for defendant, Daylight               0.30             51.00
                  Chemical Systems, Inc., pursuant to its motion to dismiss, and          170.00/hr
                  related notice of electronic filing from Court.

 1/13/2012 - JC   Multiple correspondence with insured, O. Taitz, regarding                 0.30             51.00
                  preparation of response to plaintiffs' opposition to insured's          170.00/hr
                  request for judicial notice, in insured's appeal from denial of her
                  and defendant, Defend Our Freedoms Foundation's
                  (represented by insured) joint anti-SLAPP motion to dismiss
                  complaint.
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                                                                                        Hrs/Rate        Amount

 1/13/2012 - JC   Begin review of plaintiffs' joint lengthy (approximately 200 pages)      1.60         272.00
                  motion to strike to dismiss appeal by insured, O. Taitz, from          170.00/hr
                  denial of her and defendant, Defend Our Freedoms Foundation's
                  joint anti-SLAPP motion to dismiss complaint.

           - JC   Begin review of plaintiffs' joint opposition Memorandum of Points        0.70         119.00
                  and Authorities and declarations to insured, O. Taitz's request for    170.00/hr
                  judicial notice, in insured's appeal from denial of her and
                  defendant, Defend Our Freedoms Foundation's joint anti-SLAPP
                  motion to dismiss complaint.

 1/15/2012 - JC   Continue review of plaintiffs' joint lengthy (approximately 200          0.60         102.00
                  pages) motion to strike to dismiss appeal by insured, O. Taitz,        170.00/hr
                  from denial of her and defendant, Defend Our Freedoms
                  Foundation's joint anti-SLAPP motion to dismiss complaint.

 1/17/2012 - KS   Conference regarding client's and former counsel's arguments             0.60         102.00
                  now on appeal.                                                         170.00/hr

           - JC   Multiple correspondence with insured, O. Taitz, regarding                0.30             51.00
                  preparation of oppositions to plaintiffs' motions to dismiss           170.00/hr
                  appeals by insured and defendant, Defend Our Freedoms
                  Foundation (represented by insured), in related appeals from
                  denial of joint anti-SLAPP motion to dismiss complaint.

 1/19/2012 - JC   Begin review and analysis of numerous cases cited under Ninth            0.60         102.00
                  Circuit Court of Appeals Rules in plaintiffs' motion to strike and     170.00/hr
                  dismiss opening brief and excerpts of record of defendant,
                  Defend Our Freedoms Foundation (represented by insured, O.
                  Taitz), in appeals by insured and Defend Our Freedoms
                  Foundation from denial of their joint anti-SLAPP motion to strike
                  complaint, and toward coordinated opposition to plaintiffs' motion.

           - JC   Begin review and analysis of lengthy portion of plaintiffs' motion       0.60         102.00
                  under FRAP Rule 10 to strike and dismiss opening brief and             170.00/hr
                  excerpts of record of defendant, Defend Our Freedoms
                  Foundation (represented by insured, O. Taitz), in appeals by
                  insured and Defend Our Freedoms Foundation from denial of
                  their joint anti-SLAPP motion to strike complaint, and toward
                  coordinated opposition to plaintiffs' motion.

           - JC   Begin review and analysis of lengthy portion of plaintiffs' motion       0.50             85.00
                  under FRAP Rule 28 to strike and dismiss opening brief and             170.00/hr
                  excerpts of record of defendant, Defend Our Freedoms
                  Foundation (represented by insured, O. Taitz), in appeals by
                  insured and Defend Our Freedoms Foundation from denial of
                  their joint anti-SLAPP motion to strike complaint, and toward
                  coordinated opposition to plaintiffs' motion.

           - JC   Begin review and analysis of numerous cases cited under FRAP             0.70         119.00
                  Rule 10 in plaintiffs' motion to strike and dismiss opening brief      170.00/hr
                  and excerpts of record of defendant, Defend Our Freedoms
                  Foundation (represented by insured, O. Taitz), in appeals by
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                                                                                       Hrs/Rate        Amount

                  insured and Defend Our Freedoms Foundation from denial of
                  their joint anti-SLAPP motion to strike complaint, and toward
                  coordinated opposition to plaintiffs' motion.

 1/19/2012 - JC   Begin review and analysis of numerous cases cited under FRAP            0.80         136.00
                  Rule 28 in plaintiffs' motion to strike and dismiss opening brief     170.00/hr
                  and excerpts of record of defendant, Defend Our Freedoms
                  Foundation (represented by insured, O. Taitz), in appeals by
                  insured and Defend Our Freedoms Foundation from denial of
                  their joint anti-SLAPP motion to strike complaint, and toward
                  coordinated opposition to plaintiffs' motion.

 1/20/2012 - KS   Telephone call with client regarding opposition to Motion to            0.20             34.00
                  Dismiss.                                                              170.00/hr

           - JC   Multiple correspondence with insured, O. Taitz, regarding               0.30             51.00
                  preparation of oppositions to plaintiffs' motions to dismiss          170.00/hr
                  appeals by insured and defendant, Defend Our Freedoms
                  Foundation (represented by insured), in related appeals from
                  denial of joint anti-SLAPP motion to dismiss complaint.

           - JC   Continue review and analysis of numerous cases cited under              0.70         119.00
                  FRAP Rule 10 in plaintiffs' motion to strike and dismiss opening      170.00/hr
                  brief and excerpts of record of defendant, Defend Our Freedoms
                  Foundation (represented by insured, O. Taitz), in appeals by
                  insured and Defend Our Freedoms Foundation from denial of
                  their joint anti-SLAPP motion to strike complaint, and toward
                  coordinated opposition to plaintiffs' motion.

           - JC   Begin review and analysis of numerous cases cited under FRAP            1.10         187.00
                  Rule 28 in plaintiffs' motion to strike and dismiss opening brief     170.00/hr
                  and excerpts of record of defendant, Defend Our Freedoms
                  Foundation (represented by insured, O. Taitz), in appeals by
                  insured and Defend Our Freedoms Foundation from denial of
                  their joint anti-SLAPP motion to strike complaint, and toward
                  coordinated opposition to plaintiffs' motion.

           - KS   Authority from carrier, Laurie Johnson, regarding Motion for            0.10             17.00
                  Sanctions.                                                            170.00/hr

           - KS   Conference regarding client's request for sanctions Motion.             0.30             51.00
                                                                                        170.00/hr

           - JC   Begin drafting of lengthy portion of opposition of insured, O.          1.40         238.00
                  Taitz, regarding plaintiffs' motion to dismiss appeal regarding       170.00/hr
                  plaintiffs' complex legal arguments based on FRAP 10 and
                  related authorities, in appeal from denial of anti-SLAPP motion to
                  dismiss complaint.

           - JC   Begin review and analysis of lengthy portion of plaintiffs' motion      0.70         119.00
                  under Ninth Circuit Court of Appeals Rules to strike and dismiss      170.00/hr
                  opening brief and excerpts of record of defendant, Defend Our
                  Freedoms Foundation (represented by insured, O. Taitz), in
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                                                                                         Hrs/Rate        Amount

                  appeals by insured and Defend Our Freedoms Foundation from
                  denial of their joint anti-SLAPP motion to strike complaint, and
                  toward coordinated opposition to plaintiffs' motion.

 1/20/2012 - JC   Begin drafting of lengthy portion of opposition of insured, O.            1.10         187.00
                  Taitz, to plaintiffs' motion to dismiss appeal regarding plaintiffs'    170.00/hr
                  complex legal arguments based on FRAP 28 and related
                  authorities, in appeal from denial of anti-SLAPP motion to
                  dismiss complaint.

 1/21/2012 - JC   Begin drafting of declaration and supporting exhibits supporting          0.50             85.00
                  opposition of insured, O. Taitz, to plaintiffs' motion to dismiss       170.00/hr
                  appeal and strike opening brief and record on appeal, in appeal
                  from denial of anti-SLAPP motion to dismiss complaint, pursuant
                  to carrier authority from Laurie Johnson.

           - JC   Begin drafting of lengthy portion of opposition of insured, O.            0.60         102.00
                  Taitz, to plaintiffs' motion to dismiss appeal regarding plaintiffs'    170.00/hr
                  complex legal arguments based on FRAP 10 and related
                  authorities, in appeal from denial of anti-SLAPP motion to
                  dismiss complaint, pursuant to carrier authority from Laurie
                  Johnson.

           - JC   Continue drafting of lengthy portion of opposition of insured, O.         1.20         204.00
                  Taitz, to plaintiffs' motion to dismiss appeal regarding plaintiffs'    170.00/hr
                  complex legal arguments based on FRAP 28 and related
                  authorities, in appeal from denial of anti-SLAPP motion to
                  dismiss complaint, pursuant to carrier authority from Laurie
                  Johnson.

           - JC   Begin drafting of opposition Memorandum of Points and                     0.50             85.00
                  Authorities of insured, O. Taitz, to plaintiffs' motion to strike       170.00/hr
                  insured's request for judicial notice, in appeal from denial of
                  anti-SLAPP motion to dismiss complaint, pursuant to carrier
                  authority from Laurie Johnson.

           - JC   Continue review and analysis of numerous cases cited under                0.50             85.00
                  Ninth Circuit Court of Appeals Rules and related authority in           170.00/hr
                  plaintiffs' motion to strike and dismiss opening brief and excerpts
                  of record of defendant, Defend Our Freedoms Foundation
                  (represented by insured, O. Taitz), in appeals by insured and
                  Defend Our Freedoms Foundation from denial of their joint
                  anti-SLAPP motion to strike complaint, and toward coordinated
                  opposition to plaintiffs' motion.

           - JC   Continue drafting of lengthy portion of opposition of insured, O.         0.80         136.00
                  Taitz, to plaintiffs' motion to dismiss appeal regarding plaintiffs'    170.00/hr
                  complex legal arguments based on Ninth Circuit Court of
                  Appeals Rules and related authorities, in appeal from denial of
                  anti-SLAPP motion to dismiss complaint, pursuant to carrier
                  authority from Laurie Johnson.
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                                                                                          Hrs/Rate        Amount

 1/21/2012 - JC     Continue review and analysis of numerous cases cited under               0.70         119.00
                    FRAP Rule 10 in plaintiffs' motion to strike and dismiss opening       170.00/hr
                    brief and excerpts of record of defendant, Defend Our Freedoms
                    Foundation (represented by insured, O. Taitz), in appeals by
                    insured and Defend Our Freedoms Foundation from denial of
                    their joint anti-SLAPP motion to strike complaint, and toward
                    coordinated opposition to plaintiffs' motion.

           - JC     Begin review and analysis of numerous cases cited under FRAP             0.60         102.00
                    Rule 28 and related authorities in plaintiffs' motion to strike and    170.00/hr
                    dismiss opening brief and excerpts of record of defendant,
                    Defend Our Freedoms Foundation (represented by insured, O.
                    Taitz), in appeals by insured and Defend Our Freedoms
                    Foundation from denial of their joint anti-SLAPP motion to strike
                    complaint, and toward coordinated opposition to plaintiffs' motion.

 1/22/2012 - JC     Begin review and analysis of motion by appellant, Defend Our             0.30             51.00
                    Freedoms Foundation (represented by insured, O. Taitz), to             170.00/hr
                    extend time to oppose plaintiffs' motion to dismiss appeal by
                    Defend Our Freedoms, regarding joint appeals by insured and
                    Defend Our Freedoms from denial of joint anti-SLAPP motion to
                    dismiss complaint.

           - JC     Begin review and analysis of opposition brief by all appellees to        0.70         119.00
                    motion by appellant, Defend Our Freedoms Foundation                    170.00/hr
                    (represented by insured, O. Taitz), to extend time to oppose
                    plaintiffs' motion to dismiss appeal by Defend Our Freedoms,
                    regarding joint appeals by insured and Defend Our Freedoms
                    from denial of joint anti-SLAPP motion to dismiss complaint, and
                    regarding further alleged defamation of appellees by insured.

           - JC     Continue drafting of opposition Memorandum of Points and                 0.40             68.00
                    Authorities of insured, O. Taitz, to plaintiffs' motion to strike      170.00/hr
                    insured's request for judicial notice, in appeal from denial of
                    anti-SLAPP motion to dismiss complaint, pursuant to carrier
                    authority from Laurie Johnson.

 1/23/2012 - JC     Continue drafting of lengthy portion of opposition by insured, O.        0.90         153.00
                    Taitz, regarding complex FRAP Rule 28 legal arguments by               170.00/hr
                    plaintiffs in their motion to dismiss appeal by insured and
                    defendant, Defend Our Freedoms Foundation (represented by
                    insured), from denial of joint anti-SLAPP motion to dismiss
                    complaint, pursuant to carrier authority from Laurie Johnson.

           - MLC Review Federal Rules for the 9th Circuit regarding requirements             0.40             38.00
                 by Pro Se issues parties for electronic signature on Motions.              95.00/hr

           - JC     Continue drafting of lengthy portion of opposition by insured, O.        0.80         136.00
                    Taitz, regarding complex FRAP Rule 10 legal arguments by               170.00/hr
                    plaintiffs in their motion to dismiss appeal by insured and
                    defendant, Defend Our Freedoms Foundation (represented by
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                                                                                         Hrs/Rate        Amount

                    insured), from denial of joint anti-SLAPP motion to dismiss
                    complaint, pursuant to carrier authority from Laurie Johnson.

 1/23/2012 - JC     Continue drafting of lengthy portion of opposition by insured, O.       0.60         102.00
                    Taitz, regarding complex Ninth Circuit Court of Appeals Rules         170.00/hr
                    legal arguments by plaintiffs in their motion to dismiss appeal by
                    insured and defendant, Defend Our Freedoms Foundation
                    (represented by insured), from denial of joint anti-SLAPP motion
                    to dismiss complaint, pursuant to carrier authority from Laurie
                    Johnson.

           - JC     Begin drafting of portion of insured, O. Taitz's opposition to          0.70         119.00
                    plaintiffs' motion to dismiss appeal by insured and defendant,        170.00/hr
                    Defend Our Freedoms Foundation (represented by insured),
                    regarding sufficiency of plaintiffs' efforts to meet and confer
                    regarding motion, in appeal from denial of joint anti-SLAPP
                    motion to dismiss complaint, pursuant to carrier authority from
                    Laurie Johnson.

           - MLC Review and revise Opposition by Orly Taitz to Appellees' Motion            0.90             85.50
                 to Strike Appellant's Opening Brief and Request for Judicial              95.00/hr
                 Notice, and to Dismiss Appeal; Request to Strike Appellees'
                 Unsigned Motion; and Supporting Declaration, pursuant to
                 carrier authority from Laurie Johnson.

           - JC     Begin review and analysis of lengthy draft opposition brief by          0.60         102.00
                    insured, O. Taitz (as counsel for defendant, Defend Our               170.00/hr
                    Freedoms Foundation), to motion by plaintiffs to dismiss appeal
                    by Defend Our Freedoms, in appeals by insured and Defend Our
                    Freedoms, toward preparation of coordinated oppositions by
                    insured and Defend Our Freedoms to plaintiffs' motions to
                    dismiss related appeals.

           - JC     Multiple correspondence with insured, O. Taitz, regarding               0.50             85.00
                    preparation of oppositions to plaintiffs' motions to dismiss          170.00/hr
                    appeals by insured and defendant, Defend Our Freedoms
                    Foundation (represented by insured), in related appeals from
                    denial of joint anti-SLAPP motion to dismiss complaint.

           - JC     Multiple correspondence with insured, O. Taitz, regarding               0.40             68.00
                    preparation of oppositions to plaintiffs' motions to dismiss          170.00/hr
                    appeals by insured and defendant, Defend Our Freedoms
                    Foundation (represented by insured), in related appeals from
                    denial of joint anti-SLAPP motion to dismiss complaint.

           - JC     Continue drafting of opposition Memorandum of Points and                0.30             51.00
                    Authorities of insured, O. Taitz, to plaintiffs' motion to strike     170.00/hr
                    insured's request for judicial notice, in appeal from denial of
                    anti-SLAPP motion to dismiss complaint, pursuant to carrier
                    authority from Laurie Johnson.
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                                                                                         Hrs/Rate        Amount

 1/23/2012 - KS   Conference regarding client's comments and responses.                     0.40             68.00
                                                                                          170.00/hr

           - JC   Begin drafting of lengthy portion of opposition of insured, O.            1.80         306.00
                  Taitz, to plaintiffs' motion to dismiss appeal regarding plaintiffs'    170.00/hr
                  complex legal arguments based on Ninth Circuit Court of
                  Appeals Rules and related authorities, in appeal from denial of
                  anti-SLAPP motion to dismiss complaint, pursuant to carrier
                  authority from Laurie Johnson.

 1/24/2012 - KS   Examine and analyze opposing counsel's exhibits.                          0.80         136.00
                                                                                          170.00/hr

           - KS   Correspondence from client regarding opposing counsel's failure           0.20             34.00
                  to properly execute appellate filings.                                  170.00/hr

           - KS   Correspondence with carrier regarding Appeal.                             0.20             34.00
                                                                                          170.00/hr

 1/27/2012 - JC   Multiple correspondence with insured, O. Taitz, regarding                 0.30             51.00
                  preparation of coordinated reply Memoranda of Points and                170.00/hr
                  Authorities for insured and defendant, Defend Our Freedoms
                  Foundations (represented by insured), to opposition by plaintiffs
                  to insured's and DOFF's motion to strike motion plaintiffs' motion
                  to dismiss insured's and DOFF's appeals from denial of joint
                  anti-SLAPP motion regarding plaintiffs' complaint.

 1/29/2012 - JC   Begin review and evaluation of lengthy declaration of P. Berg             0.40             68.00
                  with exhibits regarding Appellees' motion to strike opening brief       170.00/hr
                  and excerpts of record of insured, O. Taitz, in insured's appeal
                  from denial of anti-SLAPP motion to strike appellees'/plaintiffs'
                  complaint in District Court.

           - JC   Begin review and evaluation of declaration of L. Ostella                  0.30             51.00
                  regarding Appellees' motion to strike opening brief and excerpts        170.00/hr
                  of record of insured, O. Taitz, in insured's appeal from denial of
                  anti-SLAPP motion to strike appellees'/plaintiffs' complaint in
                  District Court.

 1/30/2012 - JC   Begin review and evaluation of appellees' opposition                      0.50             85.00
                  Memorandum of Points and Authorities to insured, O. Taitz's             170.00/hr
                  motion to strike appellees' motion to dismiss insured's appeal
                  from denial of anti-SLAPP motion to strike appellees'/plaintiffs'
                  complaint in District Court.

           - JC   Begin review and evaluation of lengthy declaration of L. Liberi           0.40             68.00
                  regarding Appellees' motion to strike opening brief and excerpts        170.00/hr
                  of record of insured, O. Taitz, in insured's appeal from denial of
                  anti-SLAPP motion to strike appellees'/plaintiffs' complaint in
                  District Court.
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Laurie Johnson                                                                                          Page     97

                                                                                           Hrs/Rate        Amount

 1/31/2012 - JC     Begin review and evaluation of appellees' lengthy reply                   0.70         119.00
                    Memorandum of Points and Authorities regarding their motion to          170.00/hr
                    strike opening brief and excerpts of record of insured, O. Taitz, in
                    insured's appeal from denial of anti-SLAPP motion to strike
                    appellees'/plaintiffs' complaint in District Court.

           - MLC Correspondence to and from 9th Circuit appellate court clerk                 0.10              9.50
                 regarding status of Philip Berg's standing in the 9th Circuit.              95.00/hr

  2/1/2012 - JC     Begin review and analysis of lengthy opposition brief by insured,         0.50             85.00
                    O. Taitz (as counsel for defendant, Defend Our Freedoms                 170.00/hr
                    Foundation), to motion by plaintiffs for attorney fees, in appeals
                    by insured and Defend Our Freedoms, toward preparation of
                    coordinated oppositions by insured and Defend Our Freedoms to
                    plaintiffs' motions to dismiss related appeals.

           - JC     Continue review and analysis of initial disclosures by defendant,         0.40             68.00
                    Intelius Corporation, under FRCP 26 as to witnesses and                 170.00/hr
                    documents.

           - MLC Begin drafting Evidentiary Objections to the Declarations of Philip          1.90         180.50
                 Berg, Lisa Liberi, and Lisa Ostella in Reply to their Opposition to         95.00/hr
                 Taitz's Motion to Strike their Motion to Dismiss Opening Brief,
                 pursuant to carrier authority from Laurie Johnson.

           - JC     Begin drafting of insured, O. Taitz's reply Memorandum of Points          1.40         238.00
                    and Authorities of appellees' opposition Memorandum of Points           170.00/hr
                    and Authorities to insured, O. Taitz's motion to strike appellees'
                    motion to dismiss insured's appeal from denial of anti-SLAPP
                    motion to strike appellees'/plaintiffs' complaint in District Court,
                    pursuant to carrier authority from Laurie Johnson.

           - JC     Multiple correspondence with insured, O. Taitz, regarding                 0.30             51.00
                    preparation of reply Memorandum of Points and Authorities of            170.00/hr
                    appellees' opposition Memorandum of Points and Authorities to
                    insured, O. Taitz's motion to strike appellees' motion to dismiss
                    insured's appeal from denial of anti-SLAPP motion to strike
                    appellees'/plaintiffs' complaint in District Court.

           - JC     Begin review and analysis of lengthy declaration of Plaintiff, L.         0.60         102.00
                    Liberi in appeal by defendant, Defend Our Freedoms Inc.                 170.00/hr
                    (represented by insured, O. Taitz), in opposition to DOFF's
                    motion to strike plaintiffs' application to dismiss appeal and for
                    attorney fees, and toward preparation of coordinated reply
                    Memoranda of Points and Authorities in joint appeal by insured
                    and DOFF.

           - JC     Begin review and analysis of lengthy declaration of Plaintiff, P.         0.60         102.00
                    Berg, in appeal by defendant, Defend Our Freedoms Inc.                  170.00/hr
                    (represented by insured, O. Taitz), in opposition to DOFF's
                    motion to strike plaintiffs' application to dismiss appeal and for
                    attorney fees, and toward preparation of coordinated reply
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                                                                                          Hrs/Rate        Amount

                  Memoranda of Points and Authorities in joint appeal by insured
                  and DOFF.

  2/1/2012 - JC   Begin review and analysis of lengthy opposition brief by insured,          0.60         102.00
                  O. Taitz (as counsel for defendant, Defend Our Freedoms                  170.00/hr
                  Foundation), to motion by plaintiffs to dismiss appeal by Defend
                  Our Freedoms, in appeals by insured and Defend Our
                  Freedoms, toward preparation of coordinated oppositions by
                  insured and Defend Our Freedoms to plaintiffs' motions to
                  dismiss related appeals.

  2/2/2012 - JC   Begin review and analysis of declaration of Plaintiff, L. Ostella, in      0.40             68.00
                  appeal by defendant, Defend Our Freedoms Inc. (represented by            170.00/hr
                  insured, O. Taitz), in opposition to DOFF's motion to strike
                  plaintiffs' application to dismiss appeal and for attorney fees, and
                  toward preparation of coordinated reply Memoranda of Points
                  and Authorities in joint appeal by insured and DOFF.

           - JC   Continue drafting of insured, O. Taitz's lengthy Memorandum of             0.60         102.00
                  Evidentiary Objections to declaration of appellee, L. Liberi,            170.00/hr
                  submitted with appellees' opposition to insured's motion to strike
                  appellees' motion to dismiss insured's appeal from denial of
                  anti-SLAPP motion to strike appellees'/plaintiffs' complaint in
                  District Court, pursuant to carrier authority from Laurie Johnson.

           - JC   Continue drafting of insured, O. Taitz's lengthy Memorandum of             0.50             85.00
                  Evidentiary Objections to declaration of appellee, P. Berg,              170.00/hr
                  submitted with appellees' opposition to insured's motion to strike
                  appellees' motion to dismiss insured's appeal from denial of
                  anti-SLAPP motion to strike appellees'/plaintiffs' complaint in
                  District Court, pursuant to carrier authority from Laurie Johnson.

           - JC   Continue review and analysis of lengthy opposition brief by                0.70         119.00
                  insured, O. Taitz (as counsel for defendant, Defend Our                  170.00/hr
                  Freedoms Foundation), to motion by plaintiffs to dismiss appeal
                  by Defend Our Freedoms, in appeals by insured and Defend Our
                  Freedoms, toward preparation of coordinated oppositions by
                  insured and Defend Our Freedoms to plaintiffs' motions to
                  dismiss related appeals.

           - JC   Continue drafting of insured, O. Taitz's lengthy Memorandum of             0.60         102.00
                  Evidentiary Objections to declaration of appellee, L. Liberi,            170.00/hr
                  submitted with appellees' opposition to insured's motion to strike
                  appellees' motion to dismiss insured's appeal from denial of
                  anti-SLAPP motion to strike appellees'/plaintiffs' complaint in
                  District Court, pursuant to carrier authority from Laurie Johnson.

           - JC   Multiple correspondence with insured, O. Taitz, regarding                  0.30             51.00
                  preparation of lengthy Memorandum of Evidentiary Objections to           170.00/hr
                  appellees' three declarations in opposition to insured's motion to
                  strike appellees' motion to dismiss insured's appeal from denial
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                                                                                       Hrs/Rate        Amount

                  of anti-SLAPP motion to strike appellees'/plaintiffs' complaint in
                  District Court.

  2/2/2012 - JC   Continue drafting of insured, O. Taitz's Memorandum of                  0.30             51.00
                  Evidentiary Objections to declaration of appellee, L. Ostella,        170.00/hr
                  submitted with appellees' opposition to insured's motion to strike
                  appellees' motion to dismiss insured's appeal from denial of
                  anti-SLAPP motion to strike appellees'/plaintiffs' complaint in
                  District Court, pursuant to carrier authority from Laurie Johnson.

           - JC   Continue review and analysis of lengthy opposition brief by             0.50             85.00
                  insured, O. Taitz (as counsel for defendant, Defend Our               170.00/hr
                  Freedoms Foundation), to motion by plaintiffs for attorney fees,
                  in appeals by insured and Defend Our Freedoms, toward
                  preparation of coordinated oppositions by insured and Defend
                  Our Freedoms to plaintiffs' appellate court motions.

           - JC   Continue review and analysis of lengthy Memorandum of Points            0.60         102.00
                  and Authorities by plaintiffs in appeal by defendant, Defend Our      170.00/hr
                  Freedoms Inc. (represented by insured, O. Taitz), to DOFF's
                  motion to strike plaintiffs' application to dismiss appeal and for
                  attorney fees, and toward preparation of coordinated reply
                  Memoranda of Points and Authorities in joint appeal by insured
                  and DOFF.

           - JC   Begin review and analysis of lengthy Memorandum of Points and           1.40         238.00
                  Authorities by plaintiffs in appeal by defendant, Defend Our          170.00/hr
                  Freedoms Inc. (represented by insured, O. Taitz), to DOFF's
                  motion to strike plaintiffs' application to dismiss appeal and for
                  attorney fees, and toward preparation of coordinated reply
                  Memoranda of Points and Authorities in joint appeal by insured
                  and DOFF.

           - JC   Begin drafting of insured, O. Taitz's lengthy Memorandum of             0.60         102.00
                  Evidentiary Objections to declaration of appellee, P. Berg,           170.00/hr
                  submitted with appellees' opposition to insured's motion to strike
                  appellees' motion to dismiss insured's appeal from denial of
                  anti-SLAPP motion to strike appellees'/plaintiffs' complaint in
                  District Court, pursuant to carrier authority from Laurie Johnson.

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  2/3/2012 - JC   Finalize drafting of insured, O. Taitz's lengthy Memorandum of          0.30             51.00
                  Evidentiary Objections to declaration of appellee, P. Berg,           170.00/hr
                  submitted with appellees' opposition to insured's motion to strike
                  appellees' motion to dismiss insured's appeal from denial of
                  anti-SLAPP motion to strike appellees'/plaintiffs' complaint in
                  District Court, pursuant to carrier authority from Laurie Johnson.
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                                                                                         Hrs/Rate        Amount

  2/3/2012 - JC     Finalize drafting of insured, O. Taitz's lengthy Memorandum of          0.20             34.00
                    Evidentiary Objections to declaration of appellee, L. Liberi,         170.00/hr
                    submitted with appellees' opposition to insured's motion to strike
                    appellees' motion to dismiss insured's appeal from denial of
                    anti-SLAPP motion to strike appellees'/plaintiffs' complaint in
                    District Court, pursuant to carrier authority from Laurie Johnson.

           - JC     Continue drafting of insured, O. Taitz's lengthy Memorandum of          0.30             51.00
                    Evidentiary Objections to declaration of appellee, L. Ostella,        170.00/hr
                    submitted with appellees' opposition to insured's motion to strike
                    appellees' motion to dismiss insured's appeal from denial of
                    anti-SLAPP motion to strike appellees'/plaintiffs' complaint in
                    District Court, pursuant to carrier authority from Laurie Johnson.

           - JC     Multiple correspondence with insured, O. Taitz (as counsel for          0.30             51.00
                    defendant and appellant, Defend Our Freedoms Foundation),             170.00/hr
                    regarding preparation of coordinated Memorandum of Points and
                    Authorities, consistent with insured's memorandum, to appellees'
                    opposition to insured's and DOFF's motions to strike appellees'
                    motions to dismiss insured's and DOFF's appeal from denial of
                    anti-SLAPP motion to strike appellees'/plaintiffs' complaint in
                    District Court.

           - MLC Review and revise Reply by Orly Taitz to Appellees' Opposition             0.20             19.00
                 to Appellant's Motion to Strike Appellees' Unsigned Motion to             95.00/hr
                 Strike Appellant's Opening Brief and Request for Judicial Notice,
                 and to Dismiss Appeal, pursuant to carrier authority from Laurie
                 Johnson.

           - MLC Review and revise Memorandum of Evidentiary Objections by                  0.40             38.00
                 Orly Taitz to Appellees' Declarations Submitted with their                95.00/hr
                 Opposition to Motion to Strike Appellees' Unsigned Motion to
                 Strike Opening Brief and Request for Judicial Notice and to
                 Dismiss Appeal, pursuant to carrier authority from Laurie
                 Johnson.

  2/4/2012 - JC     Finalize review and analysis of lengthy Memorandum of Points            0.30             51.00
                    and Authorities by plaintiffs in appeal by defendant, Defend Our      170.00/hr
                    Freedoms Inc. (represented by insured, O. Taitz), to DOFF's
                    motion to strike plaintiffs' application to dismiss appeal and for
                    attorney fees, and toward preparation of coordinated reply
                    Memoranda of Points and Authorities in joint appeal by insured
                    and DOFF.

  2/8/2012 -
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                                                                                      Hrs/Rate        Amount

  2/8/2012 -




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  2/9/2012 - KS   Conference regarding strategy and meeting with client.                 0.40             68.00
                                                                                       170.00/hr

           - KS   Preparation of update to carrier.                                      0.20             34.00
                                                                                       170.00/hr

           - JC   Begin review and analysis of order of court of appeals in appeals      0.50             85.00
                  by insured, O. Taitz, and Defend Our Freedoms Foundations            170.00/hr
                  (represented by insured), on motions by plaintiffs to dismiss
                  appeals and strike opening briefs and for sanctions, and
                  consolidating both appeals and setting coordinated briefing
                  schedule.

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                                                                                     Hrs/Rate        Amount




 2/10/2012 -




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           - MLC Review and revise Amended Request for Judicial Notice by Orly          0.30             28.50
                 Taitz, and Declaration of Kim Schumann in Support of Amended          95.00/hr
                 Request.

           - KS    Conference regarding future handling.                                0.40             68.00
                                                                                      170.00/hr

 2/11/2012 - JC    Begin review and analysis of request for judicial notice by          0.50             85.00
                   defendant, Intelius Corporation, plus 14 pages of exhibits,        170.00/hr
                   supporting its motion for summary judgment on plaintiffs' first
                   amended complaint.

 2/13/2012 - JC    Begin review and analysis of 25 page Memorandum of Points            1.10         187.00
                   and Authorities supporting motion for summary judgment by          170.00/hr
                   defendant, Intelius Corporation, on plaintiffs' first amended
                   complaint.

           - JC    Begin review of numerous pleadings regarding appeal to Third         0.50             85.00
                   Circuit Court of Appeals by insured, O. Taitz, regarding           170.00/hr
                   evaluation of plaintiffs' argument based on appeal and related
                   stay as alleged support for plaintiffs' FRCP Rule 60 motion for
                   relief from judgment as to insured, Y. Taitz, and Daylight
                   Chemical Systems (owned by insured).

           - JC    Review application of Reed Elsevier defendants for admission of      0.30             51.00
                   B. Miller as associated counsel.                                   170.00/hr
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                                                                                    Hrs/Rate        Amount

 2/13/2012 -




 2/14/2012 - JC   Continue review and analysis of case documents regarding             0.60         102.00
                  appeal by insured, O. Taitz, to Third Circuit Court of Appeals,    170.00/hr
                  cited by plaintiffs in support of proposed FRCP Rule 60 motion
                  for relief from judgment as to insured, Y. Taitz and defendant,
                  Daylight Chemical Systems (owned by Y. Taitz), toward drafting
                  of response by Y. Taitz to plaintiffs' meet and confer
                  correspondence regarding proposed motion.

           - JC   Begin drafting of response by insured, Y. Taitz, to plaintiffs'      0.50             85.00
                  lengthy meet and confer correspondence regarding their             170.00/hr
                  proposed FRCP Rule 60 motion for relief from judgment as to
                  insured, Y. Taitz and defendant, Daylight Chemical Systems
                  (owned by Y. Taitz).

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           - JC   Begin review and analysis of 32 page separate statement              0.70         119.00
                  supporting motion for summary judgment by defendant, Intelius      170.00/hr
                  Corporation, on plaintiffs' first amended complaint.
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                                                                                        Hrs/Rate        Amount

 2/14/2012 - KS   Conference regarding response to opposing counsel's meet &               0.40             68.00
                  confer.                                                                170.00/hr

           - JC   Continue review and analysis of request for judicial notice by           0.60         102.00
                  defendant, Intelius Corporation, plus 14 pages of exhibits,            170.00/hr
                  supporting its motion for summary judgment on plaintiffs' first
                  amended complaint.

 2/15/2012 - JC   Multiple correspondence with insured, O. Taitz (also counsel for         0.30             51.00
                  various defendants), regarding status of State Bar disciplinary        170.00/hr
                  proceeding against plaintiffs' counsel, P. Berg, toward
                  development of potential motion in case to disqualify P. Berg.

           - JC   Continue review and analysis of 25 page Memorandum of Points             0.50             85.00
                  and Authorities supporting motion for summary judgment by              170.00/hr
                  defendant, Intelius Corporation, on plaintiffs' first amended
                  complaint.

           - JC   Begin drafting of evaluation for carrier regarding status of             0.40             68.00
                  appeals by insured, O. Taitz, and Defend Our Freedoms                  170.00/hr
                  Foundations, Inc. (represented by insured), including as to
                  Plaintiffs' motions to strike opening briefs and record in appeals,
                  and insured's and DOFF's counter-motions, and consolidation of
                  appeals and briefing schedule.

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           - JC   Continue review and analysis of 32 page separate statement               0.60         102.00
                  supporting motion for summary judgment by defendant, Intelius          170.00/hr
                  Corporation, on plaintiffs' first amended complaint.

           - JC   Continue review and analysis of 9 page declaration of defendant,         0.50             85.00
                  R. Thunen, with 32 pages of exhibits, supporting motion for            170.00/hr
                  summary judgment by defendant, Intelius Corporation, on
                  plaintiffs' first amended complaint, and addressing alleged illegal
                  obtaining of plaintiffs' private information by insured, O. Taitz.

           - JC   Begin review and analysis of declaration of defendant, N.                0.40             68.00
                  Sankey, supporting motion for summary judgment by defendant,           170.00/hr
                  Intelius Corporation, on plaintiffs' first amended complaint, and
                  addressing alleged illegal obtaining of plaintiffs' private
                  information by insured, O. Taitz.

           - JC   Begin drafting of evaluation of legal issues and status for carrier      0.30             51.00
                  regarding State Bar disciplinary proceeding against plaintiffs'        170.00/hr
                  counsel P. Berg, and potential effect on prosecution of plaintiffs'
                  lawsuit against insureds, O. and Y. Taitz.
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                                                                                        Hrs/Rate        Amount

 2/17/2012 - JC   Continue review and analysis of 25 page Memorandum of Points             0.80         136.00
                  and Authorities supporting motion for summary judgment by              170.00/hr
                  defendant, Intelius Corporation, on plaintiffs' first amended
                  complaint.

           - KS   Finalize detailed update to carrier regarding appeals.                   0.50             85.00
                                                                                         170.00/hr

 2/20/2012 - JC   Continue review and analysis of 32 page separate statement               0.70         119.00
                  supporting motion for summary judgment by defendant, Intelius          170.00/hr
                  Corporation, on plaintiffs' first amended complaint.

           - JC   Continue review and analysis of 9 page declaration of defendant,         0.50             85.00
                  R. Thunen, with 32 pages of exhibits, supporting motion for            170.00/hr
                  summary judgment by defendant, Intelius Corporation, on
                  plaintiffs' first amended complaint, and addressing alleged illegal
                  obtaining of plaintiffs' private information by insured, O. Taitz.

           - JC   Begin review and analysis of declaration of defendant, T.                0.40             68.00
                  Sankey, supporting motion for summary judgment by defendant,           170.00/hr
                  Intelius Corporation, on plaintiffs' first amended complaint, and
                  addressing alleged illegal obtaining of plaintiffs' private
                  information by insured, O. Taitz.

           - JC   Begin review and analysis of plaintiffs' 68 page separate                0.60         102.00
                  statement of disputed material facts in opposition to motion for       170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
                  regarding allegations of insured, O. Taitz's illegal obtaining of
                  plaintiffs' private information from Intelius.

 2/21/2012 - JC   Finalize review and analysis of 25 page Memorandum of Points             0.60         102.00
                  and Authorities supporting motion for summary judgment by              170.00/hr
                  defendant, Intelius Corporation, on plaintiffs' first amended
                  complaint.

           - JC   Begin review and analysis of 13 page declaration of plaintiff, L.        0.60         102.00
                  Ostella plus 70 pages of exhibits, in opposition to motion for         170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
                  regarding allegations of insured's illegal obtaining of plaintiffs'
                  private information from Intelius.

           - JC   Begin review and analysis of plaintiffs' evidentiary objections to       0.30             51.00
                  declaration of insured, O. Taitz, in opposition to motion for          170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
                  regarding allegations of insured's illegal obtaining of plaintiffs'
                  private information from Intelius.

           - JC   Begin review and analysis of 7 page declaration of plaintiff, P.         0.30             51.00
                  Berg, in opposition to motion for summary judgment of                  170.00/hr
                  defendant, Intelius Corporation, including regarding allegations of
                  insured's illegal obtaining of plaintiffs' private information from
                  Intelius.
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                                                                                        Hrs/Rate        Amount

 2/21/2012 - JC   Begin review and analysis of 22 page declaration of plaintiff, L.        0.50             85.00
                  Liberi, plus 60 pages of exhibits, in opposition to motion for         170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
                  regarding allegations of insured's illegal obtaining of plaintiffs'
                  private information from Intelius.

           - JC   Begin review and analysis of 15 page declaration of K. Strebel           0.50             85.00
                  plus 55 pages of exhibits, in opposition to motion for summary         170.00/hr
                  judgment of defendant, Intelius Corporation, including regarding
                  allegations of insured, O. Taitz's illegal obtaining of plaintiffs'
                  private information from Intelius.

           - KS   Conference regarding opposing counsel's multiple new filings.            0.40             68.00
                                                                                         170.00/hr

           - JC   Begin review and analysis of plaintiffs' 25 page Memorandum of           0.60         102.00
                  Points and Authorities in opposition to motion for summary             170.00/hr
                  judgment of defendant, Intelius Corporation, including regarding
                  allegations of insured, O. Taitz's illegal obtaining of plaintiffs'
                  private information from Intelius.

 2/22/2012 - JC   Continue review and analysis of plaintiffs' 68 page separate             0.60         102.00
                  statement of disputed material facts in opposition to motion for       170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
                  regarding allegations of insured, O. Taitz's illegal obtaining of
                  plaintiffs' private information from Intelius.

           - JC   Finalize review and analysis of 32 page separate statement               0.50             85.00
                  supporting motion for summary judgment by defendant, Intelius          170.00/hr
                  Corporation, on plaintiffs' first amended complaint.

           - JC   Continue review and analysis of plaintiffs' 25 page Memorandum           0.50             85.00
                  of Points and Authorities in opposition to motion for summary          170.00/hr
                  judgment of defendant, Intelius Corporation, including regarding
                  allegations of insured, O. Taitz's illegal obtaining of plaintiffs'
                  private information from Intelius.

           - JC   Continue review and analysis of 13 page declaration of plaintiff,        0.60         102.00
                  L. Ostella plus 70 pages of exhibits, in opposition to motion for      170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
                  regarding allegations of insured's illegal obtaining of plaintiffs'
                  private information from Intelius.

           - JC   Continue review and analysis of 22 page declaration of plaintiff,        0.40             68.00
                  L. Liberi, plus 60 pages of exhibits, in opposition to motion for      170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
                  regarding allegations of insured's illegal obtaining of plaintiffs'
                  private information from Intelius.

           - JC   Begin review and analysis of opposing counsel's lengthy 2/22/12          0.40             68.00
                  reply correspondence regarding plaintiffs' proposed FRCP Rule          170.00/hr
                  60 motion for relief from judgment.
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                                                                                        Hrs/Rate        Amount

 2/22/2012 -




 2/23/2012 - JC   Continue review and analysis of plaintiffs' 68 page separate             0.50             85.00
                  statement of disputed material facts in opposition to motion for       170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
                  regarding allegations of insured, O. Taitz's illegal obtaining of
                  plaintiffs' private information from Intelius.

           - JC   Begin review and analysis of reply Memorandum of Points and              0.50             85.00
                  Authorities of defendant, Intelius Inc., regarding its motion for      170.00/hr
                  summary judgment on first amended complaint.

           - JC   Continue review and analysis of opposing counsel's lengthy               0.70         119.00
                  2/22/12 reply correspondence regarding plaintiffs' proposed            170.00/hr
                  FRCP Rule 60 motion for relief from judgment, including review
                  and analysis of portions of voluminous court docket relied upon
                  by plaintiffs for argument regarding previous stay of case
                  regarding appeal to Third Circuit Court of Appeals.

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           - JC   Continue review and analysis of plaintiffs' evidentiary objections       0.30             51.00
                  to declaration of insured, O. Taitz, in opposition to motion for       170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
                  regarding allegations of insured's illegal obtaining of plaintiffs'
                  private information from Intelius.

           - JC   Continue review and analysis of plaintiffs' 25 page Memorandum           0.70         119.00
                  of Points and Authorities in opposition to motion for summary          170.00/hr
                  judgment of defendant, Intelius Corporation, including regarding
                  allegations of insured, O. Taitz's illegal obtaining of plaintiffs'
                  private information from Intelius.

           - JC   Continue review and analysis of 7 page declaration of plaintiff, P.      0.30             51.00
                  Berg, in opposition to motion for summary judgment of                  170.00/hr
                  defendant, Intelius Corporation, including regarding allegations of
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                                                                                         Hrs/Rate        Amount

                  insured's illegal obtaining of plaintiffs' private information from
                  Intelius.

 2/23/2012 - JC   Continue review and analysis of 15 page declaration of K.                 0.40             68.00
                  Strebel plus 55 pages of exhibits, in opposition to motion for          170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
                  regarding allegations of insured, O. Taitz's illegal obtaining of
                  plaintiffs' private information from Intelius.

 2/24/2012 - JC   Continue review and analysis of 15 page declaration of K.                 0.50             85.00
                  Strebel plus 55 pages of exhibits, in opposition to motion for          170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
                  regarding allegations of insured, O. Taitz's illegal obtaining of
                  plaintiffs' private information from Intelius.

           - JC   Continue review and analysis of 13 page declaration of plaintiff,         0.60         102.00
                  L. Ostella plus 70 pages of exhibits, in opposition to motion for       170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
                  regarding allegations of insured's illegal obtaining of plaintiffs'
                  private information from Intelius.

           - JC   Finalize review and analysis of 9 page declaration of defendant,          0.40             68.00
                  R. Thunen, with 32 pages of exhibits, supporting motion for             170.00/hr
                  summary judgment by defendant, Intelius Corporation, on
                  plaintiffs' first amended complaint, and addressing alleged illegal
                  obtaining of plaintiffs' private information by insured, O. Taitz.

           - JC   Continue review and analysis of 22 page declaration of plaintiff,         0.60         102.00
                  L. Liberi, plus 60 pages of exhibits, in opposition to motion for       170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
                  regarding allegations of insured's illegal obtaining of plaintiffs'
                  private information from Intelius.

           - KS   Conference regarding opposing counsel's proposal for new law              0.20             34.00
                  and motion.                                                             170.00/hr

 2/25/2012 - JC   Finalize review and analysis of 7 page declaration of plaintiff, P.       0.30             51.00
                  Berg, in opposition to motion for summary judgment of                   170.00/hr
                  defendant, Intelius Corporation, including regarding allegations of
                  insured's illegal obtaining of plaintiffs' private information from
                  Intelius.

 2/26/2012 -




 2/27/2012 - JC   Finalize review and analysis of 22 page declaration of plaintiff, L.      0.50             85.00
                  Liberi, plus 60 pages of exhibits, in opposition to motion for          170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
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                  regarding allegations of insured's illegal obtaining of plaintiffs'
                  private information from Intelius.

 2/27/2012 - JC   Finalize review and analysis of plaintiffs' 25 page Memorandum              0.50             85.00
                  of Points and Authorities in opposition to motion for summary             170.00/hr
                  judgment of defendant, Intelius Corporation, including regarding
                  allegations of insured, O. Taitz's illegal obtaining of plaintiffs'
                  private information from Intelius.

           - JC   Multiple correspondence with insured, O. Taitz, regarding                   0.30             51.00
                  preparation of coordinated reply brief on appeal in appeal by             170.00/hr
                  insured and defendant, Defend Our Freedoms Foundation
                  (represented by insured).

           - JC   Finalize review and analysis of 15 page declaration of K. Strebel           0.40             68.00
                  plus 55 pages of exhibits, in opposition to motion for summary            170.00/hr
                  judgment of defendant, Intelius Corporation, including regarding
                  allegations of insured, O. Taitz's illegal obtaining of plaintiffs'
                  private information from Intelius.

           - JC   Begin review and analysis of 110 page response to plaintiffs'               0.70         119.00
                  separate statement regarding motion for summary judgment by               170.00/hr
                  defendant, Intelius Corporation, including regarding insured, O.
                  Taitz's alleged illegal use of Intelius products regarding plaintiffs.

           - JC   Finalize review and analysis of plaintiffs' 68 page separate                0.50             85.00
                  statement of disputed material facts in opposition to motion for          170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
                  regarding allegations of insured, O. Taitz's illegal obtaining of
                  plaintiffs' private information from Intelius.

           - JC   Continue review and analysis of reply Memorandum of Points                  0.40             68.00
                  and Authorities of defendant, Intelius Inc., regarding its motion         170.00/hr
                  for summary judgment on first amended complaint.

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           - JC   Begin review and analysis of 103 page memorandum of                         1.10         187.00
                  evidentiary objections by defendant, Intelius Corporation, to             170.00/hr
                  plaintiffs' voluminous evidence, regarding Intelius's motion for
                  summary judgment on complaint, including regarding allegations
                  of insured, O. Taitz's illegal obtaining of plaintiffs' private
                  information from Intelius.

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                                                                                           Hrs/Rate        Amount




 2/27/2012 - JC   Review opposing counsel's 2/27/12 correspondence to court,                  0.40             68.00
                  and related notice to all counsel, regarding plaintiffs' request for      170.00/hr
                  leave to file motion for summary judgment vs. Sankey
                  defendants.

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           - JC   Begin review and analysis of 27 page reply Memorandum of                    0.60         102.00
                  Points and Authorities of defendant, Intelius Corporation, to             170.00/hr
                  plaintiffs' opposition to Intelius's motion for summary judgment,
                  including regarding insured, O. Taitz's alleged illegal use of
                  Intelius products regarding plaintiffs.

 2/28/2012 - JC   Continue review and analysis of 27 page reply Memorandum of                 1.10         187.00
                  Points and Authorities of defendant, Intelius Corporation, to             170.00/hr
                  plaintiffs' opposition to Intelius's motion for summary judgment,
                  including regarding insured, O. Taitz's alleged illegal use of
                  Intelius products regarding plaintiffs.

           - JC   Review plaintiffs' counsel's 2/27/12 request to court, and related          0.40             68.00
                  correspondence to court and all counsel, for leave to file                170.00/hr
                  sur-reply Memorandum of Points and Authorities regarding
                  motion for summary judgment of Reed and Intelius defendants.

           - JC   Continue review and analysis of 110 page response to plaintiffs'            1.20         204.00
                  separate statement regarding motion for summary judgment by               170.00/hr
                  defendant, Intelius Corporation, including regarding insured, O.
                  Taitz's alleged illegal use of Intelius products regarding plaintiffs.

           - JC   Continue review and analysis of 103 page memorandum of                      0.80         136.00
                  evidentiary objections by defendant, Intelius Corporation, to             170.00/hr
                  plaintiffs' voluminous evidence, regarding Intelius's motion for
                  summary judgment on complaint, including regarding allegations
                  of insured, O. Taitz's illegal obtaining of plaintiffs' private
                  information from Intelius.

           - JC   Begin review and analysis of 10 page opposition Memorandum                  0.70         119.00
                  of Points and Authorities and evidentiary objections by                   170.00/hr
                  defendant, Intelius Corporation, to plaintiffs' request for judicial
                  notice in opposition to Intelius motion for summary judgment on
                  first amended complaint.

           - JC   Finalize review and analysis of 13 page declaration of plaintiff, L.        0.40             68.00
                  Ostella plus 70 pages of exhibits, in opposition to motion for            170.00/hr
                  summary judgment of defendant, Intelius Corporation, including
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                                                                                           Hrs/Rate        Amount

                  regarding allegations of insured's illegal obtaining of plaintiffs'
                  private information from Intelius.

 2/28/2012 - JC   Begin review and analysis of 18 page response Memorandum of                 1.20         204.00
                  Points and Authorities by defendant, Intelius Corporation,                170.00/hr
                  regarding plaintiffs' evidentiary objections to declaration of
                  insured, O. Taitz, supporting Intelius's motion for summary
                  judgment on first amended complaint.

 2/29/2012 - JC   Finalize review and analysis of 103 page memorandum of                      0.60         102.00
                  evidentiary objections by defendant, Intelius Corporation, to             170.00/hr
                  plaintiffs' voluminous evidence, regarding Intelius's motion for
                  summary judgment on complaint, including regarding allegations
                  of insured, O. Taitz's illegal obtaining of plaintiffs' private
                  information from Intelius.

           - JC   Finalize review and analysis of 27 page reply Memorandum of                 0.70         119.00
                  Points and Authorities of defendant, Intelius Corporation, to             170.00/hr
                  plaintiffs' opposition to Intelius's motion for summary judgment,
                  including regarding insured, O. Taitz's alleged illegal use of
                  Intelius products regarding plaintiffs.

           - JC   Begin review and analysis of declaration of R. Thunen of                    0.40             68.00
                  defendant, Intelius Corporation, regarding Intelius' reply to             170.00/hr
                  plaintiffs' opposition to Intelius motion for summary judgment on
                  first amended complaint.

           - JC   Finalize review and analysis of 110 page response to plaintiffs'            0.70         119.00
                  separate statement regarding motion for summary judgment by               170.00/hr
                  defendant, Intelius Corporation, including regarding insured, O.
                  Taitz's alleged illegal use of Intelius products regarding plaintiffs.

  3/1/2012 - JC   Begin review and analysis of defendant, Intelius Corporation's              0.60         102.00
                  lengthy (28 page) responses to Special Interrogatories (set one)          170.00/hr
                  by plaintiffs.

           - JC   Begin review and analysis of 11 page FRCP Rule 26 initial                   0.40             68.00
                  disclosures by Sankey defendants.                                         170.00/hr

           - JC   Correspondence with opposing counsel regarding plaintiffs'                  0.20             34.00
                  application to continue dates for filing of respondents' and              170.00/hr
                  appellants' briefs in appeal.

           - JC   Begin review and analysis of plaintiffs' 117 page initial request for       0.60         102.00
                  judicial notice supporting opposition to motion for summary               170.00/hr
                  judgment of defendant, Intelius Corporation.

           - JC   Begin review and analysis of Special Interrogatories, set one, by           0.20             34.00
                  defendant, T. Sankey, to plaintiff, P. Berg.                              170.00/hr

           - KS   Finalize update to carrier.                                                 0.20             34.00
                                                                                            170.00/hr
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                                                                                         Hrs/Rate        Amount

  3/1/2012 - JC   Begin review and analysis of defendant, Intelius Corporation's 29         0.50             85.00
                  page reply Memorandum of Points and Authorities regarding its           170.00/hr
                  motion for summary judgment on first amended complaint.

           - JC   Begin review and analysis of defendant, Intelius Corporation's            0.50             85.00
                  lengthy (20 page) responses to Request for Production of                170.00/hr
                  Documents (set one) by plaintiffs.

  3/2/2012 - JC   Begin review and analysis of defendant, Intelius Corporation's            0.40             68.00
                  responses to Request for Admissions (set one) by plaintiffs.            170.00/hr

           - JC   Begin review and analysis of Request for Admissions, set one,             0.40             68.00
                  by defendant, T. Sankey, to plaintiff, L. Liberi.                       170.00/hr

           - JC   Correspondence with insured, O. Taitz (as counsel for appellant,          0.20             34.00
                  Defend Our Freedoms Foundation), regarding plaintiffs'                  170.00/hr
                  application to continue dates for filing of respondents' and
                  appellants' briefs in appeal.

           - JC   Correspondence with opposing counsel regarding response of                0.20             34.00
                  insured, O. Taitz, and Defend Our Freedoms Foundations                  170.00/hr
                  (represented by insured) to plaintiffs' application to continue
                  dates for filing of respondents' and appellants' briefs in appeal.

           - JC   Continue review and analysis of plaintiffs' 117 page initial request      0.50             85.00
                  for judicial notice supporting opposition to motion for summary         170.00/hr
                  judgment of defendant, Intelius Corporation.

           - JC   Begin review and analysis of Request for Production of                    0.30             51.00
                  Documents, set one, by defendant, T. Sankey, to plaintiff, P.           170.00/hr
                  Berg.

           - JC   Continue review and analysis of defendant, Intelius Corporation's         0.60         102.00
                  lengthy (20 page) responses to Request for Production of                170.00/hr
                  Documents (set one) by plaintiffs.

  3/3/2012 - JC   Continue review and analysis of defendant, Intelius Corporation's         1.10         187.00
                  29 page reply Memorandum of Points and Authorities regarding            170.00/hr
                  its motion for summary judgment on first amended complaint.

           - JC   Continue review and analysis of defendant, Intelius Corporation's         0.70         119.00
                  lengthy (28 page) responses to Special Interrogatories (set one)        170.00/hr
                  by plaintiffs.

           - JC   Continue review and analysis of Special Interrogatories, set one,         0.20             34.00
                  by defendant, T. Sankey, to plaintiff, P. Berg.                         170.00/hr

           - JC   Begin review and analysis of Special Interrogatories, set one, by         0.20             34.00
                  defendant, T. Sankey, to plaintiff, L. Ostella.                         170.00/hr

           - JC   Continue review and analysis of 11 page FRCP Rule 26 initial              0.40             68.00
                  disclosures by Sankey defendants.                                       170.00/hr
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                                                                                         Hrs/Rate        Amount

  3/4/2012 - JC   Continue review and analysis of plaintiffs' 117 page initial request      0.50             85.00
                  for judicial notice supporting opposition to motion for summary         170.00/hr
                  judgment of defendant, Intelius Corporation.

  3/5/2012 - JC   Finalize review and analysis of defendant, Intelius Corporation's         0.50             85.00
                  lengthy (20 page) responses to Request for Production of                170.00/hr
                  Documents (set one) by plaintiffs.

           - JC   Continue review and analysis of defendant, Intelius Corporation's         0.50             85.00
                  responses to Request for Admissions (set one) by plaintiffs.            170.00/hr

           - JC   Continue review and analysis of defendant, Intelius Corporation's         0.50             85.00
                  29 page reply Memorandum of Points and Authorities regarding            170.00/hr
                  its motion for summary judgment on first amended complaint.

           - JC   Continue review and analysis of Request for Admissions, set               0.40             68.00
                  one, by defendant, T. Sankey, to plaintiff, L. Liberi.                  170.00/hr

           - JC   Begin review and analysis of Special Interrogatories, set one, by         0.20             34.00
                  defendant, T. Sankey, to plaintiff, L. Liberi.                          170.00/hr

           - JC   Review and analysis of order granting appellees' request for              0.40             68.00
                  extension to file answering brief and supplemental excerpts of          170.00/hr
                  record, and related extension regarding reply of insured, O. Taitz.

           - JC   Begin review of court's 3/5/12 order denying plaintiffs' request for      0.30             51.00
                  leave to file sur-reply memorandum and evidence regarding               170.00/hr
                  motion for summary judgment of defendant, Intelius, Inc.

           - JC   Begin review and analysis of Request for Production of                    0.30             51.00
                  Documents, set one, by defendant, T. Sankey, to plaintiff, L.           170.00/hr
                  Ostella.

  3/6/2012 - JC   Begin review and analysis of Request for Production of                    0.30             51.00
                  Documents, set one, by defendant, T. Sankey, to plaintiff, L.           170.00/hr
                  Liberi.

           - JC   Begin review and analysis of proposed stipulation and                     0.30             51.00
                  confidentiality order regarding discovery.                              170.00/hr

           - JC   Continue review and analysis of Special Interrogatories, set one,         0.20             34.00
                  by defendant, T. Sankey, to plaintiff, L. Ostella.                      170.00/hr

           - JC   Multiple correspondence with all counsel regarding proposed               0.30             51.00
                  stipulation and confidentiality order regarding discovery.              170.00/hr

           - JC   Continue review and analysis of Special Interrogatories, set one,         0.20             34.00
                  by defendant, T. Sankey, to plaintiff, L. Ostella.                      170.00/hr

           - JC   Finalize review and analysis of plaintiffs' 117 page initial request      0.40             68.00
                  for judicial notice supporting opposition to motion for summary         170.00/hr
                  judgment of defendant, Intelius Corporation.
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                                                                                        Hrs/Rate        Amount

  3/6/2012 - JC   Begin review and analysis of plaintiffs' 38 page supplemental            0.50             85.00
                  request for judicial notice supporting opposition to motion for        170.00/hr
                  summary judgment of defendant, Intelius Corporation.

  3/7/2012 - JC   Finalize review and analysis of defendant, Intelius Corporation's        0.30             51.00
                  29 page reply Memorandum of Points and Authorities regarding           170.00/hr
                  its motion for summary judgment on first amended complaint.

           - JC   Review and analysis of court's 3/6/12 notice of ruling, and related      0.30             51.00
                  3/5/12 order, granting plaintiffs' request to file motion for          170.00/hr
                  summary judgment vs. Sankey defendants.

           - JC   Review and analysis of Reed defendants' 3/6/12 electronic                0.30             51.00
                  request to court, and 3/6/12 letter to court, requesting leave to      170.00/hr
                  file motion for summary judgment vs. plaintiffs.

           - JC   Begin review and analysis of plaintiff, P. Berg's 5 page                 0.40             68.00
                  declaration supporting plaintiffs' request for judicial notice in      170.00/hr
                  opposition to motion for summary judgment of defendant, Intelius
                  Corporation.

           - JC   Finalize review and analysis of defendant, Intelius Corporation's        0.40             68.00
                  lengthy (28 page) responses to Special Interrogatories (set one)       170.00/hr
                  by plaintiffs.

           - KS   Conference regarding future handling and regarding protective            0.30             51.00
                  order for insured.                                                     170.00/hr

           - JC   Continue review and analysis of plaintiffs' 38 page supplemental         0.70         119.00
                  request for judicial notice supporting opposition to motion for        170.00/hr
                  summary judgment of defendant, Intelius Corporation.

  3/8/2012 - JC   Finalize review and analysis of plaintiffs' 38 page supplemental         0.40             68.00
                  request for judicial notice supporting opposition to motion for        170.00/hr
                  summary judgment of defendant, Intelius Corporation.

           - JC   Finalize review and analysis of Request for Admissions, set one,         0.20             34.00
                  by defendant, T. Sankey, to plaintiff, L. Liberi.                      170.00/hr

  3/9/2012 - JC   Continue review and analysis of 16 page proposed stipulated              0.80         136.00
                  confidentiality agreement, and proposed order, submitted by            170.00/hr
                  defendants, Reed Elsevier Inc. and LexisNexis Risk Solutions
                  Inc.

           - JC   Finalize review and analysis of defendant, Intelius Corporation's        0.40             68.00
                  responses to Request for Admissions (set one) by plaintiffs.           170.00/hr

           - JC   Begin drafting lengthy update report to carrier regarding status of      0.80         136.00
                  pleadings, various motions for summary judgment, proposed              170.00/hr
                  confidentiality agreement and order, and pending appeal by
                  insured, O. Taitz.
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                                                                                           Hrs/Rate        Amount

 3/10/2012 - JC   Begin review and analysis of court's 12 page tentative order with           0.50             85.00
                  findings on motion for summary judgment of defendant, Intelius            170.00/hr
                  Inc., including as to insured, O. Taitz's alleged illegal obtaining of
                  plaintiffs' information from Intelius.

 3/11/2012 - JC   Continue review and analysis of court's 12 page tentative order             0.40             68.00
                  with findings on motion for summary judgment of defendant,                170.00/hr
                  Intelius Inc., including as to insured, O. Taitz's alleged illegal
                  obtaining of plaintiffs' information from Intelius.

 3/12/2012 - JC   Attend hearing on motion for summary judgment of defendant,                 1.50         255.00
                  Intelius Corporation, to plaintiffs' first amended complaint.             170.00/hr

           - JC   Review notice of bankruptcy case filing, and bankruptcy                     0.30             51.00
                  automatic stay, regarding defendants, N. Sankey and Sankey                170.00/hr
                  Investigations.

           - JC   Travel to and from court for hearing on motion for summary                  1.40         238.00
                  judgment of defendant, Intelius Corporation, to plaintiffs' first         170.00/hr
                  amended complaint.

 3/13/2012 - JC   Review court's 3/13/12 order granting leave to Sankey                       0.30             51.00
                  defendants to file motion for relief from deemed admitted                 170.00/hr
                  Request for Admissions from plaintiffs to Sankey defendants.

           - JC   Review court's 3/12/12 order granting request by Reed                       0.30             51.00
                  defendants to file motion for summary judgment on plaintiffs' first       170.00/hr
                  amended complaint.

           - JC   Correspondence with several counsel regarding filing of                     0.20             34.00
                  bankruptcy by defendant, N. Sankey, and effect of related                 170.00/hr
                  bankruptcy stay in case.

 3/15/2012 - JC   Review plaintiffs' electronic request to court, and separate                0.40             68.00
                  correspondence with exhibits, regarding supplement to plaintiffs'         170.00/hr
                  sur-reply Memorandum of Points and Authorities regarding their
                  opposition to motion for summary judgment of defendant, Intelius
                  Corporation.

           - JC   Begin review and analysis of bankruptcy petition and related                0.30             51.00
                  filings by defendants, N. Sankey and Sankey Investigations, Inc.,         170.00/hr
                  regarding evaluation of scope of bankruptcy automatic stay in
                  Liberi v. Taitz case.

 3/16/2012 - JC   Correspondence with insured, O. Taitz, regarding proposed                   0.20             34.00
                  stipulated confidentiality agreement and order proposed by                170.00/hr
                  defendant, Reed Elsevier, Inc.

           - JC   Continue review and analysis of bankruptcy petition and related             0.30             51.00
                  filings by defendants, N. Sankey and Sankey Investigations, Inc.,         170.00/hr
                  regarding evaluation of scope of bankruptcy automatic stay in
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                                                                                           Hrs/Rate        Amount

                  Liberi v. Taitz case, and analysis of Sankey Investigations
                  corporate legal standing.

 3/16/2012 - JC   Begin drafting portion of comprehensive update for carrier                  0.30             51.00
                  regarding bankruptcy filing of defendants, N. Sankey and Sankey           170.00/hr
                  Investigations, including as to effect of bankruptcy stay in Liberi
                  v. Taitz case.

           - JC   Begin drafting portion of comprehensive update for carrier                  0.30             51.00
                  regarding Motion for summary judgment by defendant, Intelius              170.00/hr
                  Corporation, on plaintiffs' first amended complaint, including
                  effect on defense of insured, O. Taitz.

           - JC   Begin review and analysis of court's final ruling and order                 0.40             68.00
                  granting motion for summary judgment by defendant, Intelius               170.00/hr
                  Corporation, on plaintiffs' first amended complaint, and toward
                  evaluation of effect of order and related findings on defense by
                  insured, O. Taitz.

           -




 3/19/2012 - JC   Begin review and analysis of court of appeals' 3/19/12 order                0.30             51.00
                  regarding plaintiffs'/appellees' opening brief, in appeal by              170.00/hr
                  insured, O. Taitz, and defendant, Defend Our Freedoms Inc.
                  (represented by insured), from denial of anti-SLAPP motion to
                  strike complaint.

           - JC   Multiple correspondence with insured, O. Taitz, regarding                   0.30             51.00
                  preparation of reply brief in appeal by insured and defendant,            170.00/hr
                  Defend Our Freedoms Foundations (represented by insured).

           - JC   Begin review and analysis of plaintiffs'/appellees' 63 page                 0.40             68.00
                  opening brief, toward drafting of reply brief of insured, O. Taitz, in    170.00/hr
                  appeal by insured and defendant, Defend Our Freedoms Inc.
                  (represented by insured), from denial of anti-SLAPP motion to
                  strike complaint.

 3/20/2012 - JC   Review and analysis of request by insured and appellant, O.                 0.40             68.00
                  Taitz (as counsel for co-appellant, Defend Our Freedoms                   170.00/hr
                  Foundation), for extension to file consolidated reply brief, order
                  on request, and notice of order prepared by insured, in appeal
                  from denial of insured's and DOFF's anti-SLAPP motion to strike
                  complaint.
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                                                                                           Hrs/Rate        Amount

 3/20/2012 - JC   Continue review and analysis of plaintiffs'/appellees' 63 page              0.90         153.00
                  opening brief, toward drafting of reply brief of insured, O. Taitz, in    170.00/hr
                  appeal by insured and defendant, Defend Our Freedoms Inc.
                  (represented by insured), from denial of anti-SLAPP motion to
                  strike complaint.

 3/21/2012 - JC   Begin review and analysis of plaintiffs'/appellees' five volume             0.70         119.00
                  (over 1400 pages) supplemental excerpts of record, toward                 170.00/hr
                  drafting of reply brief of insured, O. Taitz, in appeal by insured
                  and defendant, Defend Our Freedoms Inc. (represented by
                  insured), from denial of anti-SLAPP motion to strike complaint.

           - JC   Multiple correspondence with insured, O. Taitz, regarding                   0.30             51.00
                  reporter's transcript of hearing in Pennsylvania State Bar                170.00/hr
                  disciplinary matter against P. Berg, plaintiffs' counsel, including
                  regarding potential suspension of plaintiffs' counsel.

 3/22/2012 - JC   Multiple correspondence with insured, O. Taitz, regarding                   0.30             51.00
                  analysis of plaintiffs' Answering Brief in appeal by insured and          170.00/hr
                  defendant, Defend Our Freedoms Foundations (represented by
                  insured), from denial of their anti-SLAPP motion to strike
                  complaint.

           - JC   Continue review and analysis of plaintiffs'/appellees' five volume          0.70         119.00
                  (over 1400 pages) supplemental excerpts of record, toward                 170.00/hr
                  drafting of reply brief of insured, O. Taitz, in appeal by insured
                  and defendant, Defend Our Freedoms Inc. (represented by
                  insured), from denial of anti-SLAPP motion to strike complaint.

           - JC   Correspondence with counsel for LexisNexis defendants and                   0.20             34.00
                  court, regarding such defendants' motion for summary judgment,            170.00/hr
                  and potential continuance of trial.

 3/23/2012 - JC   Correspondence with court clerk regarding compliance by all                 0.20             34.00
                  parties with court's scheduling orders, including as to hearings          170.00/hr
                  on various defendants' motions for summary judgment.

           - JC   Review and analysis of defendant, Intelius Corporation's 3/23/12            0.30             51.00
                  correspondence to court requesting leave to file FRCP Rule 11             170.00/hr
                  sanctions motion against plaintiffs.

           - JC   Review of plaintiffs'/appellees' notice of filing of supplemental           0.30             51.00
                  excerpts of record in appeal by insured, O. Taitz, and Defend             170.00/hr
                  Our Freedoms Foundations from denial of their joint anti-SLAPP
                  motion to strike complaint.

 3/24/2012 - JC   Begin review and analysis of report by private investigator B.              0.50             85.00
                  Goldner regarding hearing in Pennsylvania State Bar disciplinary          170.00/hr
                  case against Plaintiff, P. Berg (also Plaintiffs' counsel), regarding
                  potential disbarment of opposing counsel and effect on case.
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                                                                                         Hrs/Rate        Amount

 3/24/2012 - JC     Multiple correspondence with insured, O. Taitz (also counsel for        0.30             51.00
                    several defendants), regarding proposed stipulation regarding         170.00/hr
                    confidentiality by Reed defendants, and toward preparation of
                    coordinated response regarding proposed stipulation.

 3/25/2012 - JC     Correspondence with insured, O. Taitz, regarding decision of            0.20             34.00
                    Pennsylvania State Bar in disciplinary proceeding against             170.00/hr
                    plaintiff, P. Berg (counsel for all plaintiffs), toward potential
                    motion to disqualify opposing counsel in Liberi v. Taitz case.

 3/26/2012 - JC     Correspondence with insured, O. Taitz (also counsel for several         0.20             34.00
                    defendants), regarding preparation of coordinated response            170.00/hr
                    regarding proposed stipulation regarding confidentiality by Reed
                    defendants.

           - MLC Lengthy telephone call with 9th circuit court clerk regarding filing       0.20             19.00
                 a consolidated brief for both DOFF and Orly Taitz.                        95.00/hr

           - MLC Telephone call to 9th circuit court clerk to request two-week              0.10              9.50
                 telephonic extension to file Orly Taitz's Reply Brief.                    95.00/hr

           - JC     Begin drafting of portion of reply brief of insured, O. Taitz,          2.10         357.00
                    responding to appellees' arguments regarding jurisdiction of          170.00/hr
                    court of appeals in appeal by insured and defendant, Defend Our
                    Freedoms Foundations (represented by insured), from denial of
                    anti-SLAPP motion to strike.

           - JC     Begin review and analysis of numerous cases cited by appellees          1.10         187.00
                    regarding jurisdiction of court of appeals in appeal by insured       170.00/hr
                    and defendant, Defend Our Freedoms Foundations (represented
                    by insured), from denial of anti-SLAPP motion to strike, toward
                    drafting of portion of reply brief of insured responding to
                    appellees' arguments regarding jurisdiction of court of appeals.

           - JC     Begin drafting of portion of reply brief of insured, O. Taitz,          0.90         153.00
                    responding to appellees' arguments regarding rights to amend          170.00/hr
                    complaint and effect on anti-SLAPP motion, in appeal by insured
                    and defendant, Defend Our Freedoms Foundations (represented
                    by insured), from denial of anti-SLAPP motion to strike.

           - MLC Prepare Notice of fourteen day extension to file Reply Brief on            0.10              9.50
                 behalf of Orly Taitz.                                                     95.00/hr

           - MLC Telephone call from 9th circuit court clerk regarding our request          0.10              9.50
                 for 2 week extension to file Reply Brief on behalf of Orly Taitz;         95.00/hr
                 clerk thought she had already granted this request.

           - JC     Continue review and analysis of plaintiffs'/appellees' five volume      0.60         102.00
                    (over 1400 pages) supplemental excerpts of record, toward             170.00/hr
                    drafting of reply brief of insured, O. Taitz, in appeal by insured
                    and defendant, Defend Our Freedoms Inc. (represented by
                    insured), from denial of anti-SLAPP motion to strike complaint.
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                                                                                         Hrs/Rate        Amount

 3/29/2012 - JC     Begin review and analysis of 19 page Memorandum of Points               0.50             85.00
                    and Authorities, declaration and exhibits supporting ex-parte         170.00/hr
                    application of Reed and Lexis defendants to specially set
                    defendants' motion for summary judgment vs. plaintiffs.

           - JC     Review and analysis of court's 3/29/12 order, and notice of filing      0.30             51.00
                    of order, granting request of defendant, Intelius, to file motion     170.00/hr
                    seeking sanctions against plaintiffs.

 3/30/2012 - MLC Review Pennsylvania Disciplinary Board web site to determine               0.20             19.00
                 outcome of Philip Berg's disciplinary hearing scheduled on                95.00/hr
                 02/10/12. No records found online.

           - JC     Continue review and analysis of numerous case law and                   0.50             85.00
                    statutory authorities cited by plaintiffs/appellees in their          170.00/hr
                    Answering Brief, regarding discretion of lower court to deny
                    anti-SLAPP motion to strike of insured, O. Taitz, and Defend Our
                    Freedoms Foundation (represented by insured), toward drafting
                    of insured's counter-arguments in Reply Brief.

           - JC     Begin review and analysis of plaintiffs' 15 page Memorandum of          0.60         102.00
                    Points and Authorities opposing ex-parte application of Reed and      170.00/hr
                    Lexis defendants, to specially set defendants' motion for
                    summary judgment vs. plaintiffs.

           - JC     Begin review and analysis of reply memorandum supporting                0.30             51.00
                    ex-parte application of Reed and Lexis defendants to specially        170.00/hr
                    set defendants' motion for summary judgment vs. plaintiffs.

           - JC     Continue review and analysis of 19 page Memorandum of Points            0.30             51.00
                    and Authorities, declaration and exhibits supporting ex-parte         170.00/hr
                    application of Reed and Lexis defendants to specially set
                    defendants' motion for summary judgment vs. plaintiffs.

 3/31/2012 - JC     Continue review and analysis of plaintiffs' 15 page Memorandum          0.30             51.00
                    of Points and Authorities opposing ex-parte application of Reed       170.00/hr
                    and Lexis defendants, to specially set defendants' motion for
                    summary judgment vs. plaintiffs.

  4/1/2012 - JC     Begin review and analysis of 9 page declaration of plaintiff, L.        0.40             68.00
                    Ostella, supporting plaintiffs' motion for summary judgment vs.       170.00/hr
                    Sankey defendants, including as relevant to insured, O. Taitz's
                    alleged conspiracy based liability regarding Sankey defendants.

           - JC     Continue drafting comprehensive update for carrier, including as        0.50             85.00
                    to pending appeals, related stay, and recent motion activities.       170.00/hr

  4/2/2012 - JC     Review and analysis of court's 3/30/12 order granting Sankey            0.30             51.00
                    defendants' request to file motions for stay, including as to         170.00/hr
                    plaintiffs' motion for summary judgment vs. Sankey defendants,
                    and regarding stay of discovery involving insured, O. Taitz.
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                                                                                            Hrs/Rate        Amount

  4/2/2012 - JC   Begin review and analysis of lengthy (19 pages) declaration of               0.60         102.00
                  plaintiff, L. Liberi, supporting plaintiffs' motion for summary            170.00/hr
                  judgment vs. Sankey defendants, including as relevant to
                  insured, O. Taitz's alleged conspiracy based liability regarding
                  Sankey defendants.

           - JC   Finalize drafting of comprehensive update for carrier, including             0.40             68.00
                  as to pending appeals, related stay, and recent motion activities.         170.00/hr

           - JC   Begin review and analysis of plaintiffs' 27 page Memorandum of               0.50             85.00
                  Points and Authorities supporting motion for summary judgment              170.00/hr
                  vs. Sankey defendants, including as to alleged liability of
                  insureds, O. and Y. Taitz, for acts of Sankey defendants on
                  conspiracy and vicarious liability bases.

           - JC   Begin review and analysis of 8 page declaration of plaintiff, P.             0.40             68.00
                  Berg, supporting plaintiffs' motion for summary judgment vs.               170.00/hr
                  Sankey defendants, including as relevant to insured, O. Taitz's
                  alleged conspiracy based liability regarding Sankey defendants.

  4/3/2012 - JC   Begin review and analysis of lengthy (99 pages) exhibits to                  0.60         102.00
                  declaration of plaintiff, L. Liberi, supporting plaintiffs' motion for     170.00/hr
                  summary judgment vs. Sankey defendants, including as relevant
                  to insured, O. Taitz's alleged conspiracy based liability regarding
                  Sankey defendants.

           - JC   Begin review and analysis of lengthy (125 pages) exhibits for                0.50             85.00
                  declaration of plaintiff, L. Ostella, supporting plaintiffs' motion for    170.00/hr
                  summary judgment vs. Sankey defendants, including as relevant
                  to insured, O. Taitz's alleged conspiracy based liability regarding
                  Sankey defendants.

           - KS   Finalize update to carrier.                                                  0.30             51.00
                                                                                             170.00/hr

           - JC   Continue review and analysis of 9 page declaration of plaintiff, L.          0.60         102.00
                  Ostella, supporting plaintiffs' motion for summary judgment vs.            170.00/hr
                  Sankey defendants, including as relevant to insured, O. Taitz's
                  alleged conspiracy based liability regarding Sankey defendants.

           - JC   Continue review and analysis of plaintiffs'/appellees' five volume           0.50             85.00
                  (over 1400 pages) supplemental excerpts of record, toward                  170.00/hr
                  drafting of reply brief of insured, O. Taitz, in appeal by insured
                  and defendant, Defend Our Freedoms Inc. (represented by
                  insured), from denial of anti-SLAPP motion to strike complaint.

           - JC   Continue review and analysis of lengthy (19 pages) declaration               0.50             85.00
                  of plaintiff, L. Liberi, supporting plaintiffs' motion for summary         170.00/hr
                  judgment vs. Sankey defendants, including as relevant to
                  insured, O. Taitz's alleged conspiracy based liability regarding
                  Sankey defendants.
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                                                                                            Hrs/Rate        Amount

  4/3/2012 - JC   Review court's 4/3/12 order granting Reed and Lexis defendants'              0.30             51.00
                  ex-parte application to allow filing of motion for summary                 170.00/hr
                  judgment vs. plaintiffs.

           - JC   Begin review and analysis of plaintiffs' 26 page uncontroverted              0.60         102.00
                  facts and conclusions of law supporting motion for summary                 170.00/hr
                  judgment vs. Sankey defendants, including as to alleged liability
                  of insureds, O. and Y. Taitz, for acts of Sankey defendants on
                  conspiracy and vicarious liability bases.

  4/4/2012 - JC   Continue review and analysis of 8 page declaration of plaintiff, P.          0.50             85.00
                  Berg, supporting plaintiffs' motion for summary judgment vs.               170.00/hr
                  Sankey defendants, including as relevant to insured, O. Taitz's
                  alleged conspiracy based liability regarding Sankey defendants.

           - JC   Begin review and analysis of 8 page declaration of L. Simmons,               0.60         102.00
                  with 20 pages of attached exhibits, supporting motion for                  170.00/hr
                  summary judgment by Lexis Nexis defendants, as to plaintiffs'
                  first amended complaint.

           - JC   Continue review and analysis of lengthy (99 pages) exhibits to               0.70         119.00
                  declaration of plaintiff, L. Liberi, supporting plaintiffs' motion for     170.00/hr
                  summary judgment vs. Sankey defendants, including as relevant
                  to insured, O. Taitz's alleged conspiracy based liability regarding
                  Sankey defendants.

           - JC   Begin review and analysis of lengthy (203 pages) exhibits for                0.60         102.00
                  declaration of plaintiff, P. Berg, supporting plaintiffs' motion for       170.00/hr
                  summary judgment vs. Sankey defendants, including as relevant
                  to insured, O. Taitz's alleged conspiracy based liability regarding
                  Sankey defendants.

           - JC   Continue review and analysis of lengthy (125 pages) exhibits for             0.70         119.00
                  declaration of plaintiff, L. Ostella, supporting plaintiffs' motion for    170.00/hr
                  summary judgment vs. Sankey defendants, including as relevant
                  to insured, O. Taitz's alleged conspiracy based liability regarding
                  Sankey defendants.

           - JC   Continue review and analysis of plaintiffs' 27 page Memorandum               0.80         136.00
                  of Points and Authorities supporting motion for summary                    170.00/hr
                  judgment vs. Sankey defendants, including as to alleged liability
                  of insureds, O. and Y. Taitz, for acts of Sankey defendants on
                  conspiracy and vicarious liability bases.

  4/5/2012 - JC   Begin review and analysis of lengthy Memorandum of Points and                0.50             85.00
                  Authorities supporting motion for summary judgment by Lexis                170.00/hr
                  Nexis defendants, as to plaintiffs' first amended complaint.

           - JC   Continue review and analysis of plaintiffs' 26 page                          0.70         119.00
                  uncontroverted facts and conclusions of law supporting motion              170.00/hr
                  for summary judgment vs. Sankey defendants, including as to
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                                                                                           Hrs/Rate        Amount

                  alleged liability of insureds, O. and Y. Taitz, for acts of Sankey
                  defendants on conspiracy and vicarious liability bases.

  4/5/2012 - JC   Continue review and analysis of lengthy (203 pages) exhibits for            0.70         119.00
                  declaration of plaintiff, P. Berg, supporting plaintiffs' motion for      170.00/hr
                  summary judgment vs. Sankey defendants, including as relevant
                  to insured, O. Taitz's alleged conspiracy based liability regarding
                  Sankey defendants.

           - JC   Continue review and analysis of lengthy (19 pages) declaration              0.60         102.00
                  of plaintiff, L. Liberi, supporting plaintiffs' motion for summary        170.00/hr
                  judgment vs. Sankey defendants, including as relevant to
                  insured, O. Taitz's alleged conspiracy based liability regarding
                  Sankey defendants.

           - JC   Begin review and analysis of declaration of L. Policastro                   0.40             68.00
                  supporting motion for summary judgment by Lexis Nexis                     170.00/hr
                  defendants, as to plaintiffs' first amended complaint.

           - JC   Finalize review and analysis of 9 page declaration of plaintiff, L.         0.30             51.00
                  Ostella, supporting plaintiffs' motion for summary judgment vs.           170.00/hr
                  Sankey defendants, including as relevant to insured, O. Taitz's
                  alleged conspiracy based liability regarding Sankey defendants.

  4/6/2012 - JC   Begin review and analysis of 4 page declaration of defendant, N.            0.50             85.00
                  Sankey, plus 17 pages of attached exhibits, supporting Lexis              170.00/hr
                  defendants' motion for summary judgment vs plaintiffs, including
                  as to key issue of public sources for allegedly private information
                  of plaintiffs on which liability of insured, O.Taitz, is alleged.

           - JC   Finalize review and analysis of 8 page declaration of plaintiff, P.         0.30             51.00
                  Berg, supporting plaintiffs' motion for summary judgment vs.              170.00/hr
                  Sankey defendants, including as relevant to insured, O. Taitz's
                  alleged conspiracy based liability regarding Sankey defendants.

           - JC   Continue review and analysis of lengthy (99 pages) exhibits to              0.90         153.00
                  declaration of plaintiff, L. Liberi, supporting plaintiffs' motion for    170.00/hr
                  summary judgment vs. Sankey defendants, including as relevant
                  to insured, O. Taitz's alleged conspiracy based liability regarding
                  Sankey defendants.

           - JC   Continue review and analysis of 8 page declaration of L.                    0.60         102.00
                  Simmons, with 20 pages of attached exhibits, supporting motion            170.00/hr
                  for summary judgment by Lexis Nexis defendants, as to
                  plaintiffs' first amended complaint.

           - JC   Begin review and analysis of Lexis defendants' 26 page                      0.60         102.00
                  uncontroverted facts and conclusions of law supporting motion             170.00/hr
                  for summary judgment vs plaintiffs, including as to alleged
                  conspiracy and vicarious liability for alleged acts of insured, O.
                  Taitz.
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                                                                                              Hrs/Rate        Amount

  4/6/2012 - JC     Continue review and analysis of lengthy (125 pages) exhibits for             0.90         153.00
                    declaration of plaintiff, L. Ostella, supporting plaintiffs' motion for    170.00/hr
                    summary judgment vs. Sankey defendants, including as relevant
                    to insured, O. Taitz's alleged conspiracy based liability regarding
                    Sankey defendants.

  4/7/2012 - JC     Continue review and analysis of lengthy Memorandum of Points                 0.50             85.00
                    and Authorities supporting motion for summary judgment by                  170.00/hr
                    Lexis Nexis defendants, as to plaintiffs' first amended complaint.

  4/9/2012 - JC     Continue review and analysis of plaintiffs' 27 page Memorandum               0.70         119.00
                    of Points and Authorities supporting motion for summary                    170.00/hr
                    judgment vs. Sankey defendants, including as to alleged liability
                    of insureds, O. and Y. Taitz, for acts of Sankey defendants on
                    conspiracy and vicarious liability bases.

           - JC     Finalize review and analysis of lengthy (19 pages) declaration of            0.40             68.00
                    plaintiff, L. Liberi, supporting plaintiffs' motion for summary            170.00/hr
                    judgment vs. Sankey defendants, including as relevant to
                    insured, O. Taitz's alleged conspiracy based liability regarding
                    Sankey defendants.

           - JC     Continue review and analysis of plaintiffs' 26 page                          0.60         102.00
                    uncontroverted facts and conclusions of law supporting motion              170.00/hr
                    for summary judgment vs. Sankey defendants, including as to
                    alleged liability of insureds, O. and Y. Taitz, for acts of Sankey
                    defendants on conspiracy and vicarious liability bases.

           - JC     Continue review and analysis of 4 page declaration of defendant,             0.60         102.00
                    N. Sankey, plus 17 pages of attached exhibits, supporting Lexis            170.00/hr
                    defendants' motion for summary judgment vs plaintiffs, including
                    as to key issue of public sources for allegedly private information
                    of plaintiffs on which liability of insured, O.Taitz, is alleged.

           - JC     Continue review and analysis of lengthy (203 pages) exhibits for             0.80         136.00
                    declaration of plaintiff, P. Berg, supporting plaintiffs' motion for       170.00/hr
                    summary judgment vs. Sankey defendants, including as relevant
                    to insured, O. Taitz's alleged conspiracy based liability regarding
                    Sankey defendants.

           - MLC Telephone call to the Pennsylvania State Bar Disciplinary Board                 0.10              9.50
                 to inquire on results of Philip Berg's disciplinary hearing on                 95.00/hr
                 02/10/12.

           - JC     Continue review and analysis of Lexis defendants' 26 page                    0.70         119.00
                    uncontroverted facts and conclusions of law supporting motion              170.00/hr
                    for summary judgment vs plaintiffs, including as to alleged
                    conspiracy and vicarious liability for alleged acts of insured, O.
                    Taitz.

 4/10/2012 - JC     Continue review and analysis of Lexis defendants' 26 page                    0.60         102.00
                    uncontroverted facts and conclusions of law supporting motion              170.00/hr
                    for summary judgment vs plaintiffs, including as to alleged
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                                                                                            Hrs/Rate        Amount

                  conspiracy and vicarious liability for alleged acts of insured, O.
                  Taitz.

 4/10/2012 - JC   Finalize review and analysis of lengthy (99 pages) exhibits to               0.60         102.00
                  declaration of plaintiff, L. Liberi, supporting plaintiffs' motion for     170.00/hr
                  summary judgment vs. Sankey defendants, including as relevant
                  to insured, O. Taitz's alleged conspiracy based liability regarding
                  Sankey defendants.

           - JC   Finalize review and analysis of lengthy Memorandum of Points                 0.50             85.00
                  and Authorities supporting motion for summary judgment by                  170.00/hr
                  Lexis Nexis defendants, as to plaintiffs' first amended complaint.

           - JC   Finalize review and analysis of 8 page declaration of L.                     0.40             68.00
                  Simmons, with 20 pages of attached exhibits, supporting motion             170.00/hr
                  for summary judgment by Lexis Nexis defendants, as to
                  plaintiffs' first amended complaint.

           - JC   Finalize review and analysis of lengthy (125 pages) exhibits for             0.70         119.00
                  declaration of plaintiff, L. Ostella, supporting plaintiffs' motion for    170.00/hr
                  summary judgment vs. Sankey defendants, including as relevant
                  to insured, O. Taitz's alleged conspiracy based liability regarding
                  Sankey defendants.

 4/11/2012 - JC   Finalize review and analysis of plaintiffs' 27 page Memorandum               0.60         102.00
                  of Points and Authorities supporting motion for summary                    170.00/hr
                  judgment vs. Sankey defendants, including as to alleged liability
                  of insureds, O. and Y. Taitz, for acts of Sankey defendants on
                  conspiracy and vicarious liability bases.

           - JC   Finalize review and analysis of plaintiffs' 26 page uncontroverted           0.40             68.00
                  facts and conclusions of law supporting motion for summary                 170.00/hr
                  judgment vs. Sankey defendants, including as to alleged liability
                  of insureds, O. and Y. Taitz, for acts of Sankey defendants on
                  conspiracy and vicarious liability bases.

           - JC   Finalize review and analysis of lengthy (203 pages) exhibits for             0.70         119.00
                  declaration of plaintiff, P. Berg, supporting plaintiffs' motion for       170.00/hr
                  summary judgment vs. Sankey defendants, including as relevant
                  to insured, O. Taitz's alleged conspiracy based liability regarding
                  Sankey defendants.

           - JC   Continue review and analysis of numerous cases cited by                      1.90         323.00
                  appellees in their answering brief in appeal by insured, O. Taitz,         170.00/hr
                  and defendant, Defend Our Freedoms Foundation (represented
                  by insured), from denial of joint anti-SLAPP motion to strike,
                  toward preparation of insured's reply brief on appeal.

           - JC   Continue drafting of lengthy reply brief of insured, O. Taitz, in            2.80         476.00
                  appeal by insured and defendant, Defend Our Freedoms                       170.00/hr
                  Foundations (represented by insured), from denial of joint
                  anti-SLAPP motion to strike.
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                                                                                         Hrs/Rate        Amount

 4/11/2012 - JC   Multiple telephone conference with insured, O. Taitz, in appeal           0.30             51.00
                  by insured and defendant, Defend Our Freedoms Foundations               170.00/hr
                  (represented by insured), from denial of joint anti-SLAPP motion
                  to strike, toward preparation of coordinated reply briefs in appeal.

           - JC   Continue review and analysis of 4 page declaration of defendant,          0.50             85.00
                  N. Sankey, plus 17 pages of attached exhibits, supporting Lexis         170.00/hr
                  defendants' motion for summary judgment vs plaintiffs, including
                  as to key issue of public sources for allegedly private information
                  of plaintiffs on which liability of insured, O.Taitz, is alleged.

           - JC   Continue review and analysis of declaration of L. Policastro              0.30             51.00
                  supporting motion for summary judgment by Lexis Nexis                   170.00/hr
                  defendants, as to plaintiffs' first amended complaint.

           - KS   Telephone call with client regarding finalizing response.                 0.20             34.00
                                                                                          170.00/hr

 4/12/2012 - JC   Continue review and analysis of numerous cases cited by                   4.20         714.00
                  appellees in their answering brief in appeal by insured, O. Taitz,      170.00/hr
                  and defendant, Defend Our Freedoms Foundation (represented
                  by insured), from denial of joint anti-SLAPP motion to strike,
                  toward preparation of insured's reply brief on appeal.

           - JC   Finalize review and analysis of Lexis defendants' 26 page                 0.50             85.00
                  uncontroverted facts and conclusions of law supporting motion           170.00/hr
                  for summary judgment vs plaintiffs, including as to alleged
                  conspiracy and vicarious liability for alleged acts of insured, O.
                  Taitz.

           - JC   Continue drafting of lengthy reply brief of insured, O. Taitz, in         3.10         527.00
                  appeal by insured and defendant, Defend Our Freedoms                    170.00/hr
                  Foundations (represented by insured), from denial of joint
                  anti-SLAPP motion to strike.

 4/13/2012 - JC   Continue review and analysis of numerous cases cited by                   1.50         255.00
                  appellees in their answering brief regarding appellate court            170.00/hr
                  jurisdiction in appeal by insured, O. Taitz, and defendant, Defend
                  Our Freedoms Foundation (represented by insured), from denial
                  of joint anti-SLAPP motion to strike, toward preparation of
                  insured's reply brief on appeal addressing issue.

           - JC   Continue review and analysis of numerous cases cited by                   1.80         306.00
                  appellees in their answering brief regarding application of             170.00/hr
                  anti-SLAPP statute in appeal by insured, O. Taitz, and
                  defendant, Defend Our Freedoms Foundation (represented by
                  insured), from denial of joint anti-SLAPP motion to strike, toward
                  preparation of insured's reply brief on appeal addressing issue.

           - JC   Correspondence with insured, O. Taitz, toward preparation of              0.20             34.00
                  insured's reply brief on appeal.                                        170.00/hr
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                                                                                          Hrs/Rate        Amount

 4/13/2012 - JC   Begin review and analysis of 14 page motion by defendants, T.              0.60         102.00
                  Sankey and Sankey Firm Inc., for leave to withdraw deemed                170.00/hr
                  admitted Request for Admissions.

           - JC   Begin drafting portion of reply brief of insured, O. Taitz, regarding      1.40         238.00
                  lack of diversity jurisdiction in appeal from denial of insured's and    170.00/hr
                  defendant, Defend Our Freedoms Foundation (represented by
                  insured), anti-SLAPP motion to strike, pursuant to carrier
                  authority from Laurie Johnson.

 4/16/2012 - JC   Multiple correspondence with insured, O. Taitz, toward                     0.30             51.00
                  preparation of insured's reply brief on appeal.                          170.00/hr

           - JC   Begin development of legal arguments of insured, O. Taitz,                 0.80         136.00
                  under FRCP Rule 12(b)(1) regarding lack of diversity jurisdiction,       170.00/hr
                  toward support of insured's reply brief in appeal from denial of
                  anti-SLAPP motion to dismiss complaint.

           -


           - JC   Begin review and analysis of 100 page reporter's transcript                1.10         187.00
                  toward development of legal arguments of insured, O. Taitz,              170.00/hr
                  under FRCP Rule 12(b)(1) regarding lack of diversity jurisdiction,
                  toward support of insured's reply brief in appeal from denial of
                  anti-SLAPP motion to dismiss complaint.

           - JC   Continue drafting portion of reply brief of insured, O. Taitz,             2.60         442.00
                  regarding lack of diversity jurisdiction in appeal from denial of        170.00/hr
                  insured's and defendant, Defend Our Freedoms Foundation
                  (represented by insured), anti-SLAPP motion to strike, pursuant
                  to carrier authority from Laurie Johnson.

           - JC   Begin review and analysis of 15 page declaration of defendant,             0.60         102.00
                  T. Sankey, and proposed Request for Admissions responses by              170.00/hr
                  T. Sankey and Sankey Firm Inc., supporting their motion for
                  leave to withdraw deemed admitted Request for Admissions.

           - JC   Finalize review and analysis of 4 page declaration of defendant,           0.40             68.00
                  N. Sankey, plus 17 pages of attached exhibits, supporting Lexis          170.00/hr
                  defendants' motion for summary judgment vs plaintiffs, including
                  as to key issue of public sources for allegedly private information
                  of plaintiffs on which liability of insured, O.Taitz, is alleged.

           - JC   Continue review and analysis of 14 page motion by defendants,              0.70         119.00
                  T. Sankey and Sankey Firm Inc., for leave to withdraw deemed             170.00/hr
                  admitted Request for Admissions.

 4/17/2012 - JC   Continue review and analysis of 15 page declaration of                     0.70         119.00
                  defendant, T. Sankey, and proposed Request for Admissions                170.00/hr
                  responses by T. Sankey and Sankey Firm Inc., supporting their
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                                                                                            Hrs/Rate        Amount

                    motion for leave to withdraw deemed admitted Request for
                    Admissions.

 4/17/2012 - JC     Begin drafting portion of reply brief of insured, O. Taitz, regarding      0.70         119.00
                    record on appeal and arguments made in lower court, in appeal            170.00/hr
                    from denial of insured's and defendant, Defend Our Freedoms
                    Foundation (represented by insured), anti-SLAPP motion to
                    strike, pursuant to carrier authority from Laurie Johnson.

 4/18/2012 - JC     Continue drafting portion of reply brief of insured, O. Taitz,             0.80         136.00
                    regarding record on appeal and arguments made in lower court,            170.00/hr
                    in appeal from denial of insured's and defendant, Defend Our
                    Freedoms Foundation (represented by insured), anti-SLAPP
                    motion to strike, pursuant to carrier authority from Laurie
                    Johnson.

           - JC     Receipt and review of court's 4/17/12 minute order regarding               0.30             51.00
                    Sankey defendants' motion for relief from deemed admitted                170.00/hr
                    Request for Admissions.

 4/19/2012 - JC     Finalize drafting portion of reply brief of insured, O. Taitz,             0.90         153.00
                    regarding plaintiffs' burden in opposition to anti-SLAPP, in appeal      170.00/hr
                    from denial of insured's and defendant, Defend Our Freedoms
                    Foundation (represented by insured), anti-SLAPP motion to
                    strike, pursuant to carrier authority from Laurie Johnson.

           - JC     Several lengthy telephone conferences with insured, O. Taitz, in           0.50             85.00
                    her capacity as counsel for defendant, Defend Our Freedoms               170.00/hr
                    Foundation, regarding drafting of insured's and DOFF's related
                    reply briefs in appeal from denial of insured's and DOFF's joint
                    anti-SLAPP motion to strike.

           - JC     Finalize drafting portion of reply brief of insured, O. Taitz,             1.50         255.00
                    regarding defendants' burden under anti-SLAPP statute, in                170.00/hr
                    appeal from denial of insured's and defendant, Defend Our
                    Freedoms Foundation (represented by insured), anti-SLAPP
                    motion to strike, pursuant to carrier authority from Laurie
                    Johnson.

           - JC     Multiple correspondence with insured, O. Taitz, in her capacity            0.30             51.00
                    as counsel for defendant, Defend Our Freedoms Foundation,                170.00/hr
                    regarding counsel's proposed request for judicial notice in appeal
                    from denial of insured's and DOFF's joint anti-SLAPP motion to
                    strike.

           - MLC Review and revise Reply Brief by Appellant, Orly Taitz, pursuant              1.10         104.50
                 to carrier authority from Laurie Johnson.                                    95.00/hr

           - JC     Begin review and analysis of P. Berg's 12 page declaration                 0.50             85.00
                    regarding plaintiffs' opposition to Sankey defendants' motion for        170.00/hr
                    leave to withdraw deemed admitted Request for Admissions,
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                                                                                               Hrs/Rate        Amount

                     including as relevant to insured, O. Taitz's alleged conspiracy
                     based liability regarding Sankey defendants.

 4/19/2012 - MLC Draft Table of Contents and Table of Authorities for Reply Brief                 1.60         152.00
                 by Appellant, Orly Taitz, pursuant to carrier authority from Laurie             95.00/hr
                 Johnson.

           - KS      Conference regarding finalized response.                                     0.30             51.00
                                                                                                170.00/hr

           - JC      Begin review and analysis of plaintiffs' 18 page Memorandum of               0.40             68.00
                     Points and Authorities in opposition to Sankey defendants'                 170.00/hr
                     motion for leave to withdraw deemed admitted Request for
                     Admissions, including as relevant to insured, O. Taitz's alleged
                     conspiracy based liability regarding Sankey defendants.

           - JC      Finalize drafting portion of reply brief of insured, O. Taitz,               1.30         221.00
                     regarding record on appeal and arguments made in lower court,              170.00/hr
                     in appeal from denial of insured's and defendant, Defend Our
                     Freedoms Foundation (represented by insured), anti-SLAPP
                     motion to strike, pursuant to carrier authority from Laurie
                     Johnson.

           - KS      Telephone call with client.                                                  0.20             34.00
                                                                                                170.00/hr

           - KS      Telephone call with client.                                                  0.20             34.00
                                                                                                170.00/hr

           - MLC Telephone call from client regarding status of reply brief.                      0.10              9.50
                                                                                                 95.00/hr

 4/20/2012 - JC      Begin review and analysis of lengthy (28 pages) exhibits to                  0.50             85.00
                     declaration of witness, B. Liberi (husband of plaintiff, L. Liberi), in    170.00/hr
                     opposition to Reed defendants' motion for summary judgment,
                     including as relevant to plaintiffs' conspiracy and vicarious liability
                     claims against insured, O. Taitz, regarding all other defendants
                     and toward evaluation of L. Liberi's claimed damages.

           - JC      Begin review and analysis of lengthy (82 pages) exhibits to                  0.50             85.00
                     declaration of plaintiff, L. Ostella, in opposition to Reed                170.00/hr
                     defendants' motion for summary judgment, including as relevant
                     to plaintiffs' conspiracy and vicarious liability claims against
                     insured, O. Taitz, regarding all other defendants.

           - JC      Begin review and analysis of lengthy (370 pages) exhibits to                 0.60         102.00
                     declaration of plaintiff, P. Berg, in support of plaintiffs' motion for    170.00/hr
                     summary judgment against several Sankey defendants,
                     including as relevant to plaintiffs' conspiracy and vicarious liability
                     claims against insured, O. Taitz, regarding all other defendants
                     and toward evaluation of L. Liberi's claimed damages.
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                                                                                         Hrs/Rate        Amount

 4/20/2012 - JC   Receipt and review of 4/19/12 request to court by all Reed                0.30             51.00
                  Elsevier defendants for continuance of hearing on their motion          170.00/hr
                  for summary judgment, with reference to stay regarding appeal
                  by insured, O. Taitz, and defendant, Defend Our Freedoms
                  Foundations, Inc.

           - JC   Continue review and analysis of P. Berg's 12 page declaration             0.50             85.00
                  regarding plaintiffs' opposition to Sankey defendants' motion for       170.00/hr
                  leave to withdraw deemed admitted Request for Admissions,
                  including as relevant to insured, O. Taitz's alleged conspiracy
                  based liability regarding Sankey defendants.

           - JC   Begin review and analysis of plaintiffs' 25 page Memorandum of            0.60         102.00
                  Points and Authorities in opposition to Reed defendants' motion         170.00/hr
                  for summary judgment, including as relevant to plaintiffs'
                  conspiracy and vicarious liability claims against insured, O. Taitz,
                  regarding all other defendants.

           - JC   Begin review of reply brief of defendant, Defend Our Freedoms             0.50             85.00
                  Foundation (represented by insured, O. Taitz), filed on 4/19/12 in      170.00/hr
                  appeal from denial of insured's and DOFF's joint anti-SLAPP
                  motion to strike.

           - JC   Begin review and analysis of 22 page declaration of plaintiff, L.         0.50             85.00
                  Liberi, in opposition to Reed defendants' motion for summary            170.00/hr
                  judgment, including as relevant to plaintiffs' conspiracy and
                  vicarious liability claims against insured, O. Taitz, regarding all
                  other defendants.

 4/21/2012 - JC   Begin review and analysis of 11 page declaration of witness, F.           0.40             68.00
                  Ostella (husband of plaintiff, L. Ostella), in opposition to Reed       170.00/hr
                  defendants' motion for summary judgment, including as relevant
                  to plaintiffs' conspiracy and vicarious liability claims against
                  insured, O. Taitz, regarding all other defendants and toward
                  evaluation of L. Liberi's claimed damages.

           - JC   Continue review and analysis of plaintiffs' 18 page Memorandum            0.70         119.00
                  of Points and Authorities in opposition to Sankey defendants'           170.00/hr
                  motion for leave to withdraw deemed admitted Request for
                  Admissions, including as relevant to insured, O. Taitz's alleged
                  conspiracy based liability regarding Sankey defendants.

           - JC   Begin review and analysis of 9 page declaration of witness, B.            0.40             68.00
                  Liberi (husband of plaintiff, L. Liberi), in opposition to Reed         170.00/hr
                  defendants' motion for summary judgment, including as relevant
                  to plaintiffs' conspiracy and vicarious liability claims against
                  insured, O. Taitz, regarding all other defendants and toward
                  evaluation of L. Liberi's claimed damages.

           - JC   Begin review and analysis of plaintiffs' 16 page evidentiary              0.50             85.00
                  objections and request to strike declarations and documentary           170.00/hr
                  evidence, in opposition to Reed defendants' motion for summary
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                  judgment, including as relevant to plaintiffs' conspiracy and
                  vicarious liability claims against insured, O. Taitz.

 4/21/2012 - JC   Begin review and analysis of 12 page declaration of plaintiff, L.            0.50             85.00
                  Ostella, in opposition to Reed defendants' motion for summary              170.00/hr
                  judgment, including as relevant to plaintiffs' conspiracy and
                  vicarious liability claims against insured, O. Taitz, regarding all
                  other defendants.

 4/23/2012 - JC   Continue review and analysis of plaintiffs' 16 page evidentiary              0.60         102.00
                  objections and request to strike declarations and documentary              170.00/hr
                  evidence, in opposition to Reed defendants' motion for summary
                  judgment, including as relevant to plaintiffs' conspiracy and
                  vicarious liability claims against insured, O. Taitz.

           - JC   Continue review and analysis of lengthy (82 pages) exhibits to               0.80         136.00
                  declaration of plaintiff, L. Ostella, in opposition to Reed                170.00/hr
                  defendants' motion for summary judgment, including as relevant
                  to plaintiffs' conspiracy and vicarious liability claims against
                  insured, O. Taitz, regarding all other defendants.

           - JC   Continue review and analysis of 11 page declaration of witness,              0.50             85.00
                  F. Ostella (husband of plaintiff, L. Ostella), in opposition to Reed       170.00/hr
                  defendants' motion for summary judgment, including as relevant
                  to plaintiffs' conspiracy and vicarious liability claims against
                  insured, O. Taitz, regarding all other defendants and toward
                  evaluation of L. Liberi's claimed damages.

           - JC   Receipt and review two 4/20/12 correspondences of counsel for                0.30             51.00
                  Reed Elsevier defendants, regarding request to set scheduling              170.00/hr
                  conference regarding June 2012 trial, and upcoming hearings on
                  motions for summary judgment.

           - JC   Continue review and analysis of lengthy (370 pages) exhibits to              0.70         119.00
                  declaration of plaintiff, P. Berg, in support of plaintiffs' motion for    170.00/hr
                  summary judgment against several Sankey defendants,
                  including as relevant to plaintiffs' conspiracy and vicarious liability
                  claims against insured, O. Taitz, regarding all other defendants
                  and toward evaluation of L. Liberi's claimed damages.

           - JC   Continue review and analysis of P. Berg's 12 page declaration                0.40             68.00
                  regarding plaintiffs' opposition to Sankey defendants' motion for          170.00/hr
                  leave to withdraw deemed admitted Request for Admissions,
                  including as relevant to insured, O. Taitz's alleged conspiracy
                  based liability regarding Sankey defendants.

           - JC   Finalize review and analysis of plaintiffs' 18 page Memorandum               0.40             68.00
                  of Points and Authorities in opposition to Sankey defendants'              170.00/hr
                  motion for leave to withdraw deemed admitted Request for
                  Admissions, including as relevant to insured, O. Taitz's alleged
                  conspiracy based liability regarding Sankey defendants.
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                                                                                            Hrs/Rate        Amount

 4/23/2012 - JC   Begin review and analysis of plaintiffs' motion to strike portions of        0.40             68.00
                  reply brief of insured, O. Taitz, and for sanctions, in appeal by          170.00/hr
                  insured and defendant, Defend Our Freedoms Foundations,
                  from denial of anti-SLAPP motion to strike complaint.

           - JC   Continue review and analysis of plaintiffs' 25 page Memorandum               0.70         119.00
                  of Points and Authorities in opposition to Reed defendants'                170.00/hr
                  motion for summary judgment, including as relevant to plaintiffs'
                  conspiracy and vicarious liability claims against insured, O. Taitz,
                  regarding all other defendants.

           - JC   Multiple correspondence with insured, O. Taitz, regarding                    0.30             51.00
                  preparation of request for judicial notice in appeal by insured and        170.00/hr
                  defendant, Defend Our Freedoms Foundations (represented by
                  O. Taitz), from denial of anti-SLAPP motion to strike complaint.

           - JC   Begin review and analysis of plaintiffs' 53 page Statement of                0.70         119.00
                  Genuine Disputes of Material Facts in opposition to Reed                   170.00/hr
                  defendants' motion for summary judgment, including as relevant
                  to plaintiffs' conspiracy and vicarious liability claims against
                  insured, O. Taitz, regarding all other defendants.

 4/24/2012 - KS   Telephone call with client.                                                  0.20             34.00
                                                                                             170.00/hr

           - JC   Continue review and analysis of 12 page declaration of plaintiff,            0.70         119.00
                  L. Ostella, in opposition to Reed defendants' motion for summary           170.00/hr
                  judgment, including as relevant to plaintiffs' conspiracy and
                  vicarious liability claims against insured, O. Taitz, regarding all
                  other defendants.

           - JC   Continue review and analysis of lengthy (28 pages) exhibits to               0.80         136.00
                  declaration of witness, B. Liberi (husband of plaintiff, L. Liberi), in    170.00/hr
                  opposition to Reed defendants' motion for summary judgment,
                  including as relevant to plaintiffs' conspiracy and vicarious liability
                  claims against insured, O. Taitz, regarding all other defendants
                  and toward evaluation of L. Liberi's claimed damages.

           - JC   Begin review and analysis of appellees' motion to strike portions            0.40             68.00
                  of reply brief of defendant, Defend Our Freedoms Foundations               170.00/hr
                  (represented by insured, O. Taitz), and to impose sanctions, in
                  appeal by insured and DOFF from denial of joint anti-SLAPP
                  motion, and toward preparation of coordinated opposition to such
                  motion.

           - JC   Begin review and analysis of 39 page declaration of plaintiff, P.            0.60         102.00
                  Berg, in opposition to Reed defendants' motion for summary                 170.00/hr
                  judgment, including as relevant to plaintiffs' conspiracy and
                  vicarious liability claims against insured, O. Taitz, regarding all
                  other defendants.
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                                                                                          Hrs/Rate        Amount

 4/24/2012 - KS   Correspondence with carrier regarding Reply Brief.                         0.20             34.00
                                                                                           170.00/hr

           - JC   Continue review and analysis of plaintiffs' 25 page Memorandum             0.70         119.00
                  of Points and Authorities in opposition to Reed defendants'              170.00/hr
                  motion for summary judgment, including as relevant to plaintiffs'
                  conspiracy and vicarious liability claims against insured, O. Taitz,
                  regarding all other defendants.

           - JC   Continue review and analysis of 9 page declaration of witness, B.          0.50             85.00
                  Liberi (husband of plaintiff, L. Liberi), in opposition to Reed          170.00/hr
                  defendants' motion for summary judgment, including as relevant
                  to plaintiffs' conspiracy and vicarious liability claims against
                  insured, O. Taitz, regarding all other defendants and toward
                  evaluation of L. Liberi's claimed damages.

           - JC   Receipt and review court of appeals' 4/24/12 order regarding               0.20             34.00
                  filing and service by insured, O. Taitz, of reply brief and related      170.00/hr
                  documents in appeal from denial of anti-SLAPP motion to strike
                  complaint.

           - JC   Continue review and analysis of 22 page declaration of plaintiff,          0.90         153.00
                  L. Liberi, in opposition to Reed defendants' motion for summary          170.00/hr
                  judgment, including as relevant to plaintiffs' conspiracy and
                  vicarious liability claims against insured, O. Taitz, regarding all
                  other defendants.

           - JC   Continue review and analysis of appellees' motion to strike                0.50             85.00
                  portions of reply brief of insured, O. Taitz, and to impose              170.00/hr
                  sanctions, toward preparation of opposition to such motion.

 4/25/2012 - JC   Continue review and analysis of plaintiffs' 53 page Statement of           0.80         136.00
                  Genuine Disputes of Material Facts in opposition to Reed                 170.00/hr
                  defendants' motion for summary judgment, including as relevant
                  to plaintiffs' conspiracy and vicarious liability claims against
                  insured, O. Taitz, regarding all other defendants.

           - JC   Telephone conference with opposing counsel for Lexis Nexis                 0.20             34.00
                  defendants regarding request for insured, O. Taitz, to submit            170.00/hr
                  declaration supporting Lexis reply to plaintiffs' opposition to Lexis
                  motion for summary judgment.

           - JC   Begin review and analysis of plaintiffs' 16 page evidentiary               0.30             51.00
                  objections and request to strike declarations and documentary            170.00/hr
                  evidence, in opposition to Reed defendants' motion for summary
                  judgment, including as relevant to plaintiffs' conspiracy and
                  vicarious liability claims against insured, O. Taitz.

           - JC   Review court's 4/25/12 order vacating trial date, setting Case             0.30             51.00
                  Management Conference and continuing hearings on various                 170.00/hr
                  motions for summary judgment.
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                                                                                            Hrs/Rate        Amount

 4/25/2012 - JC   Receipt and review stipulation and proposed order regarding                  0.30             51.00
                  hearing on motions for summary judgment by Lexis Nexis                     170.00/hr
                  defendants and plaintiffs.

           - JC   Continue review and analysis of lengthy (82 pages) exhibits to               0.60         102.00
                  declaration of plaintiff, L. Ostella, in opposition to Reed                170.00/hr
                  defendants' motion for summary judgment, including as relevant
                  to plaintiffs' conspiracy and vicarious liability claims against
                  insured, O. Taitz, regarding all other defendants.

           - JC   Continue review and analysis of lengthy (370 pages) exhibits to              0.40             68.00
                  declaration of plaintiff, P. Berg, in support of plaintiffs' motion for    170.00/hr
                  summary judgment against several Sankey defendants,
                  including as relevant to plaintiffs' conspiracy and vicarious liability
                  claims against insured, O. Taitz, regarding all other defendants
                  and toward evaluation of L. Liberi's claimed damages.

           - JC   Finalize review and analysis of 11 page declaration of witness, F.           0.30             51.00
                  Ostella (husband of plaintiff, L. Ostella), in opposition to Reed          170.00/hr
                  defendants' motion for summary judgment, including as relevant
                  to plaintiffs' conspiracy and vicarious liability claims against
                  insured, O. Taitz, regarding all other defendants and toward
                  evaluation of L. Liberi's claimed damages.

 4/26/2012 - JC   Continue review and analysis of plaintiffs' 53 page Statement of             0.80         136.00
                  Genuine Disputes of Material Facts in opposition to Reed                   170.00/hr
                  defendants' motion for summary judgment, including as relevant
                  to plaintiffs' conspiracy and vicarious liability claims against
                  insured, O. Taitz, regarding all other defendants.

           - JC   Finalize review and analysis of 9 page declaration of witness, B.            0.30             51.00
                  Liberi (husband of plaintiff, L. Liberi), in opposition to Reed            170.00/hr
                  defendants' motion for summary judgment, including as relevant
                  to plaintiffs' conspiracy and vicarious liability claims against
                  insured, O. Taitz, regarding all other defendants and toward
                  evaluation of L. Liberi's claimed damages.

           - JC   Finalize review and analysis of 12 page declaration of plaintiff, L.         0.30             51.00
                  Ostella, in opposition to Reed defendants' motion for summary              170.00/hr
                  judgment, including as relevant to plaintiffs' conspiracy and
                  vicarious liability claims against insured, O. Taitz, regarding all
                  other defendants.

           - JC   Continue review and analysis of 39 page declaration of plaintiff,            0.80         136.00
                  P. Berg, in opposition to Reed defendants' motion for summary              170.00/hr
                  judgment, including as relevant to plaintiffs' conspiracy and
                  vicarious liability claims against insured, O. Taitz, regarding all
                  other defendants.

           - JC   Finalize review and analysis of lengthy (28 pages) exhibits to               0.40             68.00
                  declaration of witness, B. Liberi (husband of plaintiff, L. Liberi), in    170.00/hr
                  opposition to Reed defendants' motion for summary judgment,
                  including as relevant to plaintiffs' conspiracy and vicarious liability
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                                                                                            Hrs/Rate        Amount

                  claims against insured, O. Taitz, regarding all other defendants
                  and toward evaluation of L. Liberi's claimed damages.

 4/26/2012 - JC   Begin drafting of comprehensive update for carrier regarding                 0.70         119.00
                  status of appeals, discovery, trial and related dates, various             170.00/hr
                  motions for summary judgment, and updated analysis of
                  plaintiffs' alleged damages.

           - JC   Finalize review and analysis of plaintiffs' 25 page Memorandum               0.50             85.00
                  of Points and Authorities in opposition to Reed defendants'                170.00/hr
                  motion for summary judgment, including as relevant to plaintiffs'
                  conspiracy and vicarious liability claims against insured, O. Taitz,
                  regarding all other defendants.

           - JC   Finalize review and analysis of 22 page declaration of plaintiff, L.         0.50             85.00
                  Liberi, in opposition to Reed defendants' motion for summary               170.00/hr
                  judgment, including as relevant to plaintiffs' conspiracy and
                  vicarious liability claims against insured, O. Taitz, regarding all
                  other defendants.

 4/27/2012 - JC   Finalize review and analysis of lengthy (370 pages) exhibits to              0.30             51.00
                  declaration of plaintiff, P. Berg, in support of plaintiffs' motion for    170.00/hr
                  summary judgment against several Sankey defendants,
                  including as relevant to plaintiffs' conspiracy and vicarious liability
                  claims against insured, O. Taitz, regarding all other defendants
                  and toward evaluation of L. Liberi's claimed damages.

           - JC   Finalize review and analysis of plaintiffs' 53 page Statement of             0.60         102.00
                  Genuine Disputes of Material Facts in opposition to Reed                   170.00/hr
                  defendants' motion for summary judgment, including as relevant
                  to plaintiffs' conspiracy and vicarious liability claims against
                  insured, O. Taitz, regarding all other defendants.

           - JC   Finalize review and analysis of lengthy (82 pages) exhibits to               0.40             68.00
                  declaration of plaintiff, L. Ostella, in opposition to Reed                170.00/hr
                  defendants' motion for summary judgment, including as relevant
                  to plaintiffs' conspiracy and vicarious liability claims against
                  insured, O. Taitz, regarding all other defendants.

           - KS   Meeting with carrier regarding status.                                       0.50             85.00
                                                                                             170.00/hr

           - JC   Continue review and analysis of 39 page declaration of plaintiff,            0.70         119.00
                  P. Berg, in opposition to Reed defendants' motion for summary              170.00/hr
                  judgment, including as relevant to plaintiffs' conspiracy and
                  vicarious liability claims against insured, O. Taitz, regarding all
                  other defendants.

 4/28/2012 - JC   Finalize review and analysis of 39 page declaration of plaintiff, P.         0.60         102.00
                  Berg, in opposition to Reed defendants' motion for summary                 170.00/hr
                  judgment, including as relevant to plaintiffs' conspiracy and
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                                                                                        Hrs/Rate        Amount

                  vicarious liability claims against insured, O. Taitz, regarding all
                  other defendants.

 4/29/2012 - JC   Begin review and analysis of Sankey defendants' reply                    0.40             68.00
                  Memorandum of Points and Authorities, regarding their motion           170.00/hr
                  for leave to withdraw deemed admitted Request for Admissions,
                  and toward evaluation of insured, O. Taitz's alleged conspiracy
                  based and vicarious liability regarding Sankey defendants.

           - JC   Correspondence with insured, O. Taitz (also counsel for                  0.20             34.00
                  defendant, Defend Our Freedoms Foundations), toward                    170.00/hr
                  preparation of insured's and DOFF's opposition memoranda to
                  plaintiffs' motions to strike insured's and DOFF's reply briefs in
                  appeals from denial of their joint anti-SLAPP motion, and in
                  opposition to plaintiffs' requests for sanctions.

 4/30/2012 -


           - JC   Multiple correspondence with insured, O. Taitz (also counsel for         0.30             51.00
                  defendant, Defend Our Freedoms Foundations), toward                    170.00/hr
                  preparation of insured's and DOFF's opposition memoranda to
                  plaintiffs' motions to strike insured's and DOFF's reply briefs in
                  appeals from denial of their joint anti-SLAPP motion, and in
                  opposition to plaintiffs' requests for sanctions.

           - JC   Review of plaintiffs' counsel's 4/30/12 two correspondence to            0.30             51.00
                  court, requesting leave to file discovery motion regarding Reed        170.00/hr
                  defendants, and to compel compliance with Subpoena Duces
                  Tecum to IRB Research.

           - JC   Continue review and analysis of Sankey defendants' reply                 0.40             68.00
                  Memorandum of Points and Authorities, regarding their motion           170.00/hr
                  for leave to withdraw deemed admitted Request for Admissions,
                  and toward evaluation of insured, O. Taitz's alleged conspiracy
                  based and vicarious liability regarding Sankey defendants.

           - JC   Begin drafting of portion of comprehensive update for carrier            0.50             85.00
                  addressing plaintiffs' various alleged damages, and new                170.00/hr
                  information regarding damages gained via plaintiffs' motion for
                  summary judgment vs. Sankey defendants.

           - KS   Conference regarding client's opposition.                                0.40             68.00
                                                                                         170.00/hr

  5/1/2012 - JC   Review of motion for leave to supplement record on appeal, or            0.50             85.00
                  for judicial notice, by defendant, Defend Our Freedoms                 170.00/hr
                  Foundations (represented by insured, O. Taitz), in appeal by
                  insured and DOFF from denial of joint anti-SLAPP motion to
                  strike Complaint.
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                                                                                              Hrs/Rate        Amount

  5/1/2012 - JC   Begin drafting of Memorandum of Points and Authorities by                      4.30         731.00
                  insured, O. Taitz, in opposition to plaintiffs' motions to strike            170.00/hr
                  insured's reply brief in appeals from denial of anti-SLAPP motion,
                  and in opposition to plaintiffs' requests for sanctions, pursuant to
                  carrier authority from Laurie Johnson.

           - JC   Begin review and analysis of numerous legal authorities cited by               1.80         306.00
                  plaintiffs in their motion to strike reply brief of insured, O. Taitz, in    170.00/hr
                  appeal from denial of anti-SLAPP motion, and toward drafting of
                  insured's opposition to plaintiffs' motion.

           - JC   Begin review and analysis of 8 page declaration of P. Berg                     0.40             68.00
                  regarding plaintiffs' motion to strike and for sanctions in appeal           170.00/hr
                  by Defend Our Freedoms Foundations (represented by insured,
                  O. Taitz), from denial of insured's and DOFF's joint anti-SLAPP
                  motion to strike complaint.

           - JC   Correspondence with insured, O. Taitz (in capacity as counsel                  0.20             34.00
                  for co-appellant Defend Our Freedoms Foundations Inc.),                      170.00/hr
                  regarding preparation of coordinated oppositions by insured and
                  DOFF to Plaintiffs' motions to strike insured's and DOFF's reply
                  briefs in appeals from joint anti-SLAPP motion to strike.

  5/2/2012 - JC   Multiple correspondence with insured, O. Taitz (in capacity as                 0.30             51.00
                  counsel for co-appellant Defend Our Freedoms Foundations                     170.00/hr
                  Inc.), regarding counsel's proposal to seek sanctions against
                  Plaintiffs regarding their motions to strike insured's and DOFF's
                  reply briefs in appeals from joint anti-SLAPP motion to strike.

           - JC   Continue drafting of Memorandum of Points and Authorities by                   2.10         357.00
                  insured, O. Taitz, in opposition to plaintiffs' motions to strike            170.00/hr
                  insured's reply brief in appeals from denial of anti-SLAPP motion,
                  and in opposition to plaintiffs' requests for sanctions, pursuant to
                  carrier authority from Laurie Johnson.

           - JC   Continue review and analysis of numerous legal authorities cited               1.70         289.00
                  by plaintiffs in their motion to strike reply brief of insured, O.           170.00/hr
                  Taitz, in appeal from denial of anti-SLAPP motion, and toward
                  drafting of insured's opposition to plaintiffs' motion.

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           - JC   Continue review and analysis of 8 page declaration of P. Berg                  0.30             51.00
                  regarding plaintiffs' motion to strike and for sanctions in appeal           170.00/hr
                  by Defend Our Freedoms Foundations (represented by insured,
                  O. Taitz), from denial of insured's and DOFF's joint anti-SLAPP
                  motion to strike complaint.
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                                                                                             Hrs/Rate        Amount

  5/3/2012 - JC     Finalize drafting of Memorandum of Points and Authorities by                1.40         238.00
                    insured, O. Taitz, in opposition to plaintiffs' motions to strike         170.00/hr
                    insured's reply brief in appeals from denial of anti-SLAPP motion,
                    and in opposition to plaintiffs' requests for sanctions, pursuant to
                    carrier authority from Laurie Johnson.

           - MLC Review and revise Opposition by Orly Taitz to Motion to Strike                 0.70             66.50
                 Portions of Orly Taitz's Reply Brief, pursuant to carrier authority           95.00/hr
                 from Laurie Johnson.

           - KS     Correspondence with carrier regarding client's request for                  0.30             51.00
                    sanctions.                                                                170.00/hr

           - MLC Prepare Table of Contents and Table of Authorities for                         1.10         104.50
                 Opposition by Orly Taitz to Motion to Strike Portions of Orly                 95.00/hr
                 Taitz's Reply Brief, pursuant to carrier authority from Laurie
                 Johnson.

  5/4/2012 - JC     Begin review and analysis of 16 page Memorandum of Points                   0.50             85.00
                    and Authorities by plaintiffs in reply to insured, O. Taitz's             170.00/hr
                    opposition to plaintiffs' motion to strike brief and for sanctions, in
                    consolidated appeal by insured and defendant, Defend Our
                    Freedoms Foundation, from denial of joint anti-SLAPP motion to
                    strike plaintiffs' complaint.

           - JC     Begin review and analysis of lengthy Memorandum of Points and               0.50             85.00
                    Authorities and declarations by insured, O. Taitz (as counsel for         170.00/hr
                    defendant, Defend Our Freedoms Foundations), in opposition to
                    plaintiffs' motion to strike DOFF's reply brief and for sanctions, in
                    appeal by insured and DOFF from denial of joint anti-SLAPP
                    motion to strike complaint.

           - KS     Correspondence with carrier regarding appeal.                               0.20             34.00
                                                                                              170.00/hr

           - KS     Conference with carrier regarding discovery.                                0.20             34.00
                                                                                              170.00/hr

  5/5/2012 - JC     Continue review and analysis of 16 page Memorandum of Points                0.60         102.00
                    and Authorities by plaintiffs in reply to insured, O. Taitz's             170.00/hr
                    opposition to plaintiffs' motion to strike brief and for sanctions, in
                    consolidated appeal by insured and defendant, Defend Our
                    Freedoms Foundation, from denial of joint anti-SLAPP motion to
                    strike plaintiffs' complaint.

           - JC     Begin review and analysis of 22 page Memorandum of Points                   0.60         102.00
                    and Authorities by plaintiffs in opposition to request for judicial       170.00/hr
                    notice by defendant, Defend Our Freedoms Foundation
                    (represented by insured, O. Taitz), in consolidated appeal by
                    DOFF and insured from denial of joint anti-SLAPP motion to
                    strike plaintiffs' complaint.
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  5/6/2012 - JC   Begin review and analysis of plaintiffs' 10 page reply                      0.50             85.00
                  Memorandum of Points and Authorities regarding opposition of              170.00/hr
                  defendant, Defend Our Freedoms Foundations (represented by
                  insured, O. Taitz), to plaintiffs' motion to strike reply brief of
                  DOFF in appeals by insured and DOFF from denial of their joint
                  anti-SLAPP motion to strike complaint.

  5/7/2012 - JC   Continue review and analysis of plaintiffs' 10 page reply                   0.40             68.00
                  Memorandum of Points and Authorities regarding opposition of              170.00/hr
                  defendant, Defend Our Freedoms Foundations (represented by
                  insured, O. Taitz), to plaintiffs' motion to strike reply brief of
                  DOFF in appeals by insured and DOFF from denial of their joint
                  anti-SLAPP motion to strike complaint.

           - KS   Conference regarding client's request that we prepare reply brief.          0.40             68.00
                                                                                            170.00/hr

           - JC   Finalize review and analysis of 16 page Memorandum of Points                0.40             68.00
                  and Authorities by plaintiffs in reply to insured, O. Taitz's             170.00/hr
                  opposition to plaintiffs' motion to strike brief and for sanctions, in
                  consolidated appeal by insured and defendant, Defend Our
                  Freedoms Foundation, from denial of joint anti-SLAPP motion to
                  strike plaintiffs' complaint.

           - JC   Begin review and analysis of Sankey defendants' 17 page                     0.40             68.00
                  Memorandum of Points and Authorities in opposition to plaintiffs'         170.00/hr
                  motion for summary judgment, including as regarding alleged
                  liability of insured, O. Taitz.

           - JC   Continue review and analysis of 22 page Memorandum of Points                0.70         119.00
                  and Authorities by plaintiffs in opposition to request for judicial       170.00/hr
                  notice by defendant, Defend Our Freedoms Foundation
                  (represented by insured, O. Taitz), in consolidated appeal by
                  DOFF and insured from denial of joint anti-SLAPP motion to
                  strike plaintiffs' complaint.

           - JC   Begin review and analysis of Sankey defendants' evidentiary                 0.30             51.00
                  objections to plaintiffs' declarations supporting their motion for        170.00/hr
                  summary judgment vs. Sankey defendants.

  5/8/2012 - JC   Begin review and analysis of 14 page declaration of M. Miller               0.40             68.00
                  supporting Lexis Nexis defendants' motion for summary                     170.00/hr
                  judgment vs. plaintiffs, including as to alleged liability of insured,
                  O. Taitz.

           - JC   Begin review and analysis of 14 page declaration with exhibits of           0.40             68.00
                  defendant, T. Sankey, supporting Sankey defendants'                       170.00/hr
                  opposition to plaintiffs' motion for summary judgment, including
                  as regarding alleged liability of insured, O. Taitz.

           - JC   Begin review and analysis of Lexis Nexis defendants' 30 page                0.60         102.00
                  Memorandum of Points and Authorities in opposition to plaintiffs'         170.00/hr
                  request to strike evidence and evidentiary objections regarding
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                                                                                       Hrs/Rate        Amount

                  defendants' motion for summary judgment vs. plaintiffs, including
                  as to alleged liability of insured, O. Taitz.

  5/8/2012 - JC   Review and analysis of court's 5/8/12 order granting motion of          0.40             68.00
                  Sankey defendants for leave to withdraw deemed admitted               170.00/hr
                  Request for Admissions, and to serve amended responses, and
                  related vacating by court of plaintiffs' motion for summary
                  judgment vs. Sankey defendants.

           - JC   Begin drafting of portion of comprehensive update to carrier            0.40             68.00
                  regarding court's 5/8/12 order granting motion of Sankey              170.00/hr
                  defendants for leave to withdraw deemed admitted Request for
                  Admissions, and to serve amended responses, and related
                  vacating by court of plaintiffs' motion for summary judgment vs.
                  Sankey defendants, including regarding effects on defense of
                  insured, O. Taitz.

           - JC   Begin review and analysis of Lexis Nexis defendants' 20 page            0.50             85.00
                  reply Memorandum of Points and Authorities regarding their            170.00/hr
                  motion for summary judgment vs. plaintiffs, including as to
                  alleged liability of insured, O. Taitz.

           - JC   Continue review and analysis of Sankey defendants' evidentiary          0.20             34.00
                  objections to plaintiffs' declarations supporting their motion for    170.00/hr
                  summary judgment vs. Sankey defendants.

           - JC   Continue review and analysis of Sankey defendants' 17 page              0.60         102.00
                  Memorandum of Points and Authorities in opposition to plaintiffs'     170.00/hr
                  motion for summary judgment, including as regarding alleged
                  liability of insured, O. Taitz.

           - JC   Begin review and analysis of declaration of M. Colen in support         0.40             68.00
                  of Sankey defendants' opposition to plaintiffs' motion for            170.00/hr
                  summary judgment, including as regarding alleged liability of
                  insured, O. Taitz.

           - JC   Begin review and analysis of Sankey defendants' 9 page                  0.40             68.00
                  responding separate statement regarding plaintiffs' motion for        170.00/hr
                  summary judgment vs. Sankey defendants.

  5/9/2012 - JC   Continue review and analysis of Sankey defendants' 9 page               0.30             51.00
                  responding separate statement regarding plaintiffs' motion for        170.00/hr
                  summary judgment vs. Sankey defendants.

           - JC   Review and analysis of court of appeals' order on plaintiffs'           0.30             51.00
                  motions to strike reply briefs and for sanctions in appeals by        170.00/hr
                  insured, O. Taitz, and Defend Our Freedoms Foundations
                  (represented by insured) from denial of joint anti-SLAPP motion
                  to strike complaint.
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                                                                                           Hrs/Rate        Amount

  5/9/2012 - JC   Continue review and analysis of Lexis Nexis defendants' 20 page             0.50             85.00
                  reply Memorandum of Points and Authorities regarding their                170.00/hr
                  motion for summary judgment vs. plaintiffs, including as to
                  alleged liability of insured, O. Taitz.

           - JC   Multiple telephone conferences with insured, O. Taitz (as                   0.30             51.00
                  counsel for co-appellant Defend Our Freedoms Foundations)                 170.00/hr
                  regarding Court of Appeals' 5/9/12 order on plaintiffs' motions to
                  strike reply briefs and for sanctions in appeals by insured and
                  DOFF from denial of joint anti-SLAPP motion to strike complaint.

           - JC   Continue review and analysis of 14 page declaration with exhibits           0.50             85.00
                  of defendant, T. Sankey, supporting Sankey defendants'                    170.00/hr
                  opposition to plaintiffs' motion for summary judgment, including
                  as regarding alleged liability of insured, O. Taitz.

           - JC   Continue review and analysis of Lexis Nexis defendants' 30 page             0.50             85.00
                  Memorandum of Points and Authorities in opposition to plaintiffs'         170.00/hr
                  request to strike evidence and evidentiary objections regarding
                  defendants' motion for summary judgment vs. plaintiffs, including
                  as to alleged liability of insured, O. Taitz.

           - JC   Continue drafting of lengthy comprehensive update to carrier                0.60         102.00
                  regarding status of appeals by insured, O. Taitz, and defendant,          170.00/hr
                  Defend Our Freedoms Foundation (represented by insured),
                  including as to pending motions to strike and for sanctions in
                  appeals.

           - JC   Finalize review and analysis of 22 page Memorandum of Points                0.40             68.00
                  and Authorities by plaintiffs in opposition to request for judicial       170.00/hr
                  notice by defendant, Defend Our Freedoms Foundation
                  (represented by insured, O. Taitz), in consolidated appeal by
                  DOFF and insured from denial of joint anti-SLAPP motion to
                  strike plaintiffs' complaint.

           - JC   Finalize review and analysis of Sankey defendants' 17 page                  0.30             51.00
                  Memorandum of Points and Authorities in opposition to plaintiffs'         170.00/hr
                  motion for summary judgment, including as regarding alleged
                  liability of insured, O. Taitz.

           - JC   Continue review and analysis of 14 page declaration of M. Miller            0.40             68.00
                  supporting Lexis Nexis defendants' motion for summary                     170.00/hr
                  judgment vs. plaintiffs, including as to alleged liability of insured,
                  O. Taitz.

 5/10/2012 - JC   Continue drafting of lengthy comprehensive update to carrier                0.50             85.00
                  regarding status of various motions for summary judgment and              170.00/hr
                  related motions by other parties, vacation of trial and related
                  dates, evaluation of plaintiffs' alleged damages, and preparation
                  for upcoming status conference.
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                                                                                           Hrs/Rate        Amount

 5/10/2012 - JC   Finalize review and analysis of 14 page declaration with exhibits           0.30             51.00
                  of defendant, T. Sankey, supporting Sankey defendants'                    170.00/hr
                  opposition to plaintiffs' motion for summary judgment, including
                  as regarding alleged liability of insured, O. Taitz.

 5/11/2012 - JC   Finalize review and analysis of Lexis Nexis defendants' 30 page             0.40             68.00
                  Memorandum of Points and Authorities in opposition to plaintiffs'         170.00/hr
                  request to strike evidence and evidentiary objections regarding
                  defendants' motion for summary judgment vs. plaintiffs, including
                  as to alleged liability of insured, O. Taitz.

           - JC   Finalize review and analysis of Lexis Nexis defendants' 20 page             0.40             68.00
                  reply Memorandum of Points and Authorities regarding their                170.00/hr
                  motion for summary judgment vs. plaintiffs, including as to
                  alleged liability of insured, O. Taitz.

           - JC   Begin review and analysis of plaintiffs' 13 page reply                      0.50             85.00
                  memorandum regarding evidentiary objections to evidence of                170.00/hr
                  defendant, Reed Elsevier, supporting Reed's motion for
                  summary judgment, including as regarding alleged liability of
                  insured, O. Taitz.

           - JC   Finalize review and analysis of 14 page declaration of M. Miller            0.30             51.00
                  supporting Lexis Nexis defendants' motion for summary                     170.00/hr
                  judgment vs. plaintiffs, including as to alleged liability of insured,
                  O. Taitz.

 5/12/2012 - JC   Begin review and analysis of 15 page Memorandum of Points                   0.50             85.00
                  and Authorities, declaration and exhibits by defendant, Defend            170.00/hr
                  Our Freedoms Foundation (represented by insured, O. Taitz), in
                  reply to plaintiffs' opposition to DOFF's motion for judicial notice
                  in consolidated appeal by DOFF and insured from denial of joint
                  anti-SLAPP motion to strike plaintiffs' complaint.

           - JC   Begin review and analysis of 25 page declaration of plaintiff, P.           0.60         102.00
                  Berg, supporting plaintiffs' supplemental opposition to motion for        170.00/hr
                  summary judgment of defendant, Reed Elsevier Corporation.

           - JC   Begin review and analysis of plaintiffs' 21 page evidentiary                0.50             85.00
                  objections to declaration of M. Miller supporting motion for              170.00/hr
                  summary judgment of defendant, Reed Elsevier, including as
                  regarding alleged liability of insured, O. Taitz.

 5/13/2012 - JC   Continue review and analysis of plaintiffs' 13 page reply                   0.40             68.00
                  memorandum regarding evidentiary objections to evidence of                170.00/hr
                  defendant, Reed Elsevier, supporting Reed's motion for
                  summary judgment, including as regarding alleged liability of
                  insured, O. Taitz.

 5/14/2012 - JC   Begin review and analysis of 35 page declaration of plaintiff, P.           0.60         102.00
                  Berg with numerous exhibits, as part of plaintiffs' supplemental          170.00/hr
                  opposition to motion for judicial notice by defendant, Defend Our
                  Freedoms Foundations (represented by insured, O. Taitz), and
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                                                                                         Hrs/Rate        Amount

                  supplemental request for sanctions, in appeal by insured and
                  DOFF from denial of their anti-SLAPP motion to strike regarding
                  plaintiffs' complaint.

 5/14/2012 - JC   Continue review and analysis of 15 page Memorandum of Points              0.50             85.00
                  and Authorities, declaration and exhibits by defendant, Defend          170.00/hr
                  Our Freedoms Foundation (represented by insured, O. Taitz), in
                  reply to plaintiffs' opposition to DOFF's motion for judicial notice
                  in consolidated appeal by DOFF and insured from denial of joint
                  anti-SLAPP motion to strike plaintiffs' complaint.

           - JC   Continue review and analysis of plaintiffs' 21 page evidentiary           0.60         102.00
                  objections to declaration of M. Miller supporting motion for            170.00/hr
                  summary judgment of defendant, Reed Elsevier, including as
                  regarding alleged liability of insured, O. Taitz.

           - JC   Continue review and analysis of 25 page declaration of plaintiff,         0.50             85.00
                  P. Berg, supporting plaintiffs' supplemental opposition to motion       170.00/hr
                  for summary judgment of defendant, Reed Elsevier Corporation.

           - JC   Begin review and analysis of plaintiffs' 14 page supplemental             0.50             85.00
                  opposition to motion for judicial notice by defendant, Defend Our       170.00/hr
                  Freedoms Foundations (represented by insured, O. Taitz), and
                  supplemental request for sanctions, in appeal by insured and
                  DOFF from denial of their anti-SLAPP motion to strike regarding
                  plaintiffs' complaint.

 5/15/2012 - JC   Continue review and analysis of 35 page declaration of plaintiff,         0.40             68.00
                  P. Berg with numerous exhibits, as part of plaintiffs'                  170.00/hr
                  supplemental opposition to motion for judicial notice by
                  defendant, Defend Our Freedoms Foundations (represented by
                  insured, O. Taitz), and supplemental request for sanctions, in
                  appeal by insured and DOFF from denial of their anti-SLAPP
                  motion to strike regarding plaintiffs' complaint.

           - JC   Finalize review and analysis of 25 page declaration of plaintiff, P.      0.40             68.00
                  Berg, supporting plaintiffs' supplemental opposition to motion for      170.00/hr
                  summary judgment of defendant, Reed Elsevier Corporation.

           - KS   Finalize status update for carrier.                                       1.20         204.00
                                                                                          170.00/hr

           - JC   Finalize review and analysis of plaintiffs' 21 page evidentiary           0.30             51.00
                  objections to declaration of M. Miller supporting motion for            170.00/hr
                  summary judgment of defendant, Reed Elsevier, including as
                  regarding alleged liability of insured, O. Taitz.

           - JC   Continue review and analysis of plaintiffs' 14 page supplemental          0.40             68.00
                  opposition to motion for judicial notice by defendant, Defend Our       170.00/hr
                  Freedoms Foundations (represented by insured, O. Taitz), and
                  supplemental request for sanctions, in appeal by insured and
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                                                                                         Hrs/Rate        Amount

                  DOFF from denial of their anti-SLAPP motion to strike regarding
                  plaintiffs' complaint.

 5/16/2012 - JC   Finalize review and analysis of 35 page declaration of plaintiff, P.      0.40             68.00
                  Berg with numerous exhibits, as part of plaintiffs' supplemental        170.00/hr
                  opposition to motion for judicial notice by defendant, Defend Our
                  Freedoms Foundations (represented by insured, O. Taitz), and
                  supplemental request for sanctions, in appeal by insured and
                  DOFF from denial of their anti-SLAPP motion to strike regarding
                  plaintiffs' complaint.

 5/17/2012 - JC   Review and analysis of objections and request to strike by                0.40             68.00
                  defendant, Defend Our Freedoms Foundations (represented by              170.00/hr
                  insured, O. Taitz), to plaintiffs' sur-reply memorandum regarding
                  DOFF's request for judicial notice in consolidated appeals by
                  insured and DOFF from denial of joint anti-SLAPP motion to
                  strike.

 5/18/2012 - JC   Correspondence with insured, O. Taitz (as counsel for                     0.20             34.00
                  defendant, Defend Our Freedoms Foundations), regarding                  170.00/hr
                  preparation for upcoming status conference.

 5/21/2012 - JC   Begin review and analysis of court's 12 page tentative ruling and         0.50             85.00
                  order, on motion for summary judgment of defendant,                     170.00/hr
                  LexisNexis, with detailed findings including as to alleged liability
                  of insured, O. Taitz.

           - JC   Begin review and analysis of Sankey defendants' 33 page motion            0.40             68.00
                  to compel further responses by plaintiff, L. Liberi, to Special         170.00/hr
                  Interrogatories and for sanctions, and supporting declaration and
                  exhibits.

           - JC   Travel to and from court for trial setting conference, and hearing        1.20         204.00
                  on motion for summary judgment of defendant, Lexis Nexis.               170.00/hr

           - JC   Attend trial setting conference.                                          1.40         238.00
                                                                                          170.00/hr

           - JC   Attend hearing on motion for summary judgment by defendant,               1.40         238.00
                  Lexis Nexis, including as to alleged liability of insured, O. Taitz.    170.00/hr

 5/22/2012 - JC   Continue review and analysis of Sankey defendants' 33 page                0.40             68.00
                  motion to compel further responses by plaintiff, L. Liberi, to          170.00/hr
                  Special Interrogatories and for sanctions, and supporting
                  declaration and exhibits.

           - JC   Receipt and review of court's notices of filing deficiencies              0.30             51.00
                  regarding three motions to compel further responses to                  170.00/hr
                  discovery by Sankey defendants, as against all plaintiffs.
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 5/22/2012 - JC   Begin review and analysis of Sankey defendants' 32 page motion             0.40             68.00
                  to compel further responses by plaintiff, L. Ostella, to Special         170.00/hr
                  Interrogatories and for sanctions, and supporting declaration and
                  exhibits.

           - JC   Begin review and analysis of Sankey defendants' 30 page motion             0.40             68.00
                  to compel further responses by plaintiff, P. Berg, to Special            170.00/hr
                  Interrogatories and for sanctions, and supporting declaration and
                  exhibits.

           - KS   Conference regarding Court's rulings.                                      0.30             51.00
                                                                                           170.00/hr

 5/23/2012 - JC   Begin review and analysis of court's 12 page order with findings           0.40             68.00
                  of fact and law granting motion for summary judgment of                  170.00/hr
                  defendant, Lexis Nexis, including as to alleged liability of insured,
                  O. Taitz.

           - JC   Continue review and analysis of Sankey defendants' 30 page                 0.40             68.00
                  motion to compel further responses by plaintiff, P. Berg, to             170.00/hr
                  Special Interrogatories and for sanctions, and supporting
                  declaration and exhibits.

 5/24/2012 - KS   Preparation of update to carrier.                                          0.20             34.00
                                                                                           170.00/hr

           - JC   Continue review and analysis of Sankey defendants' 32 page                 0.40             68.00
                  motion to compel further responses by plaintiff, L. Ostella, to          170.00/hr
                  Special Interrogatories and for sanctions, and supporting
                  declaration and exhibits.

           - JC   Finalize review and analysis of Sankey defendants' 33 page                 0.30             51.00
                  motion to compel further responses by plaintiff, L. Liberi, to           170.00/hr
                  Special Interrogatories and for sanctions, and supporting
                  declaration and exhibits.

           - JC   Continue review and analysis of court's 12 page order with                 0.30             51.00
                  findings of fact and law granting motion for summary judgment of         170.00/hr
                  defendant, Lexis Nexis, including as to alleged liability of insured,
                  O. Taitz.

 5/25/2012 - JC   Finalize review and analysis of Sankey defendants' 30 page                 0.20             34.00
                  motion to compel further responses by plaintiff, P. Berg, to             170.00/hr
                  Special Interrogatories and for sanctions, and supporting
                  declaration and exhibits.

 5/26/2012 - JC   Finalize review and analysis of Sankey defendants' 32 page                 0.30             51.00
                  motion to compel further responses by plaintiff, L. Ostella, to          170.00/hr
                  Special Interrogatories and for sanctions, and supporting
                  declaration and exhibits.
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                                                                                           Hrs/Rate        Amount

 5/28/2012 - JC   Begin drafting of update with attorney analysis regarding Trial             0.50             85.00
                  Setting Conference, motion for summary judgment by Lexis                  170.00/hr
                  Nexis defendants, impact on insured's defense, plaintiffs'
                  proposed motion to set aside dismissal of Reed defendants,
                  impact on insured's defense, and related issues.

 5/29/2012 - JC   Review correspondence and related notice by Sankey                          0.30             51.00
                  Defendants regarding their motions to compel discovery as                 170.00/hr
                  against plaintiffs, and resetting hearing on motions.

           - JC   Finalize drafting of update with attorney analysis regarding Trial          0.30             51.00
                  Setting Conference, motion for summary judgment by Lexis                  170.00/hr
                  Nexis defendants, impact on insured's defense, plaintiffs'
                  proposed motion to set aside dismissal of Reed defendants,
                  impact on insured's defense, and related issues.

           - JC   Begin review and analysis of plaintiffs' 5/29/12 correspondence             0.30             51.00
                  requesting leave to file FRCP Rule 60 motion for relief from              170.00/hr
                  judgment, regarding dismissal of Reed defendants.

 5/30/2012 - KS   Finalize update to carrier.                                                 0.30             51.00
                                                                                            170.00/hr

 5/31/2012 - KS   Meeting with carrier regarding status and handling.                         0.30             51.00
                                                                                            170.00/hr

  6/5/2012 - JC   Begin review and analysis of Sankey defendants' 29 page                     0.70         119.00
                  Memorandum of Points and Authorities supporting their                     170.00/hr
                  amended motion to compel further responses by Plaintiff, L.
                  Liberi, to Special Interrogatories, including as to alleged liability
                  of insured, O. Taitz.

  6/6/2012 - JC   Review court's order regarding amendment to Sankey                          0.30             51.00
                  defendants' motions to compel regarding Special Interrogatories           170.00/hr
                  to all plaintiffs.

           - JC   Several correspondence with all counsel regarding plaintiffs'               0.50             85.00
                  meet and confer correspondence regarding motion for leave to              170.00/hr
                  file second amended complaint, and defendants' responses to
                  meet and confer correspondence.

           - JC   Begin review and analysis of Sankey defendants' 35 page                     0.80         136.00
                  separate statement supporting their amended motion to compel              170.00/hr
                  further responses by Plaintiff, L. Liberi, to Special Interrogatories,
                  including as to alleged liability of insured, O. Taitz.

  6/7/2012 - JC   Continue review and analysis of Sankey defendants' 29 page                  0.60         102.00
                  Memorandum of Points and Authorities supporting their                     170.00/hr
                  amended motion to compel further responses by Plaintiff, L.
                  Liberi, to Special Interrogatories, including as to alleged liability
                  of insured, O. Taitz.
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  6/7/2012 - JC   Begin review and analysis of Sankey defendants' 35 page                     0.70         119.00
                  Memorandum of Points and Authorities supporting their                     170.00/hr
                  amended motion to compel further responses by Plaintiff, P.
                  Berg to Special Interrogatories, including as to alleged liability of
                  insured, O. Taitz.

           - JC   Begin review and analysis of Sankey defendants' 50 page                     0.80         136.00
                  declaration and exhibits supporting their amended motion to               170.00/hr
                  compel further responses by Plaintiff, P. Berg to Special
                  Interrogatories, including as to alleged liability of insured, O.
                  Taitz.

  6/8/2012 - JC   Continue review and analysis of Sankey defendants' 35 page                  0.70         119.00
                  separate statement supporting their amended motion to compel              170.00/hr
                  further responses by Plaintiff, L. Liberi, to Special Interrogatories,
                  including as to alleged liability of insured, O. Taitz.

           - JC   Continue review and analysis of Sankey defendants' 35 page                  0.70         119.00
                  Memorandum of Points and Authorities supporting their                     170.00/hr
                  amended motion to compel further responses by Plaintiff, P.
                  Berg to Special Interrogatories, including as to alleged liability of
                  insured, O. Taitz.

 6/11/2012 - JC   Finalize review and analysis of Sankey defendants' 29 page                  0.40             68.00
                  Memorandum of Points and Authorities supporting their                     170.00/hr
                  amended motion to compel further responses by Plaintiff, L.
                  Liberi, to Special Interrogatories, including as to alleged liability
                  of insured, O. Taitz.

           - JC   Continue review and analysis of Sankey defendants' 50 page                  0.80         136.00
                  declaration and exhibits supporting their amended motion to               170.00/hr
                  compel further responses by Plaintiff, P. Berg to Special
                  Interrogatories, including as to alleged liability of insured, O.
                  Taitz.

           - JC   Begin review and analysis of Sankey defendants' 57 page                     0.80         136.00
                  declaration and exhibits supporting their amended motion to               170.00/hr
                  compel further responses by Plaintiff, L. Ostellla, to Special
                  Interrogatories, including as to alleged liability of insured, O.
                  Taitz.

 6/12/2012 - JC   Finalize review and analysis of Sankey defendants' 35 page                  0.60         102.00
                  separate statement supporting their amended motion to compel              170.00/hr
                  further responses by Plaintiff, L. Liberi, to Special Interrogatories,
                  including as to alleged liability of insured, O. Taitz.

           - JC   Review court's order denying plantiffs' request for leave to file           0.30             51.00
                  amendment to first amended complaint.                                     170.00/hr

           - JC   Finalize review and analysis of Sankey defendants' 35 page                  0.40             68.00
                  Memorandum of Points and Authorities supporting their                     170.00/hr
                  amended motion to compel further responses by Plaintiff, P.
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                  Berg to Special Interrogatories, including as to alleged liability of
                  insured, O. Taitz.

 6/12/2012 - JC   Begin review and analysis of Sankey defendants' 34 page                      0.70         119.00
                  Memorandum of Points and Authorities supporting their                      170.00/hr
                  amended motion to compel further responses by Plaintiff, L.
                  Ostellla, to Special Interrogatories, including as to alleged liability
                  of insured, O. Taitz.

 6/13/2012 - JC   Continue review and analysis of Sankey defendants' 57 page                   0.70         119.00
                  declaration and exhibits supporting their amended motion to                170.00/hr
                  compel further responses by Plaintiff, L. Ostellla, to Special
                  Interrogatories, including as to alleged liability of insured, O.
                  Taitz.

           - JC   Finalize review and analysis of Sankey defendants' 50 page                   0.60         102.00
                  declaration and exhibits supporting their amended motion to                170.00/hr
                  compel further responses by Plaintiff, P. Berg to Special
                  Interrogatories, including as to alleged liability of insured, O.
                  Taitz.

 6/14/2012 - JC   Multiple correspondence with insured, O. Taitz (also counsel for             0.30             51.00
                  various defendants) regarding voluminous materials regarding               170.00/hr
                  Pennsylvania State Bar disciplinary proceeding against plaintiffs'
                  counsel, P. Berg, toward development of impeachment evidence
                  and support for potential motion to revoke pro hac vice status of
                  plaintiffs' counsel in federal court case.

           - JC   Begin review and analysis of voluminous materials of greater                 0.60         102.00
                  than 300 pages, including hearing transcript of over 200 pages,            170.00/hr
                  regarding Pennsylvania State Bar disciplinary proceeding against
                  plaintiffs' counsel, P. Berg, toward development of impeachment
                  evidence and support for potential motion to revoke pro hac vice
                  status of plaintiffs' counsel in federal court case.

           - JC   Continue review and analysis of Sankey defendants' 34 page                   0.70         119.00
                  Memorandum of Points and Authorities supporting their                      170.00/hr
                  amended motion to compel further responses by Plaintiff, L.
                  Ostellla, to Special Interrogatories, including as to alleged liability
                  of insured, O. Taitz.

 6/15/2012 - JC   Finalize review and analysis of Sankey defendants' 57 page                   0.40             68.00
                  declaration and exhibits supporting their amended motion to                170.00/hr
                  compel further responses by Plaintiff, L. Ostellla, to Special
                  Interrogatories, including as to alleged liability of insured, O.
                  Taitz.

 6/17/2012 - JC   Multiple correspondence with insured, O. Taitz, and other                    0.30             51.00
                  defense counsel, regarding Sankey defendants' motions to                   170.00/hr
                  compel responses to interrogatories by all plaintiffs.
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 6/18/2012 - JC   Begin review and analysis of plaintiffs' 25 page Memorandum of               0.60         102.00
                  Points and Authorities in opposition to Sankey defendants'                 170.00/hr
                  amended motion to compel further response by Plaintiff, P. Berg,
                  to Special Interrogatories, including as to alleged liability of
                  insured, O. Taitz.

 6/19/2012 - JC   Begin review and analysis of plaintiffs' 25 page Memorandum of               0.60         102.00
                  Points and Authorities in opposition to Sankey defendants'                 170.00/hr
                  amended motion to compel further response by Plaintiff, L.
                  Ostella, to Special Interrogatories, including as to alleged liability
                  of insured, O. Taitz.

           - JC   Begin review and analysis of plaintiff, P. Berg's 47 page                    0.80         136.00
                  declaration and exhibits in opposition to Sankey defendants'               170.00/hr
                  amended motions to compel further responses by Plaintiffs to
                  Special Interrogatories, including as to alleged liability of insured,
                  O. Taitz.

           - JC   Begin review and analysis of plaintiff, L. Liberi's 7 page                   0.50             85.00
                  declaration and exhibits in opposition to Sankey defendants'               170.00/hr
                  amended motions to compel further responses by all Plaintiffs to
                  Special Interrogatories, including as to alleged liability of insured,
                  O. Taitz.

           - JC   Begin review and analysis of plaintiff, L. Liberi's 4 page                   0.40             68.00
                  declaration and exhibits in opposition to Sankey defendants'               170.00/hr
                  amended motions to compel further responses by L. Liberi to
                  Special Interrogatories, including as to alleged liability of insured,
                  O. Taitz.

           - JC   Finalize review and analysis of Sankey defendants' 34 page                   0.40             68.00
                  Memorandum of Points and Authorities supporting their                      170.00/hr
                  amended motion to compel further responses by Plaintiff, L.
                  Ostellla, to Special Interrogatories, including as to alleged liability
                  of insured, O. Taitz.

 6/20/2012 - JC   Begin review and analysis of plaintiffs' 25 page Memorandum of               0.60         102.00
                  Points and Authorities in opposition to Sankey defendants'                 170.00/hr
                  amended motion to compel further response by Plaintiff, L. Liberi
                  to Special Interrogatories, including as to alleged liability of
                  insured, O. Taitz.

           - JC   Continue review and analysis of plaintiffs' 25 page Memorandum               0.50             85.00
                  of Points and Authorities in opposition to Sankey defendants'              170.00/hr
                  amended motion to compel further response by Plaintiff, P. Berg,
                  to Special Interrogatories, including as to alleged liability of
                  insured, O. Taitz.

           - JC   Continue review and analysis of plaintiffs' 25 page Memorandum               0.60         102.00
                  of Points and Authorities in opposition to Sankey defendants'              170.00/hr
                  amended motion to compel further response by plaintiff, L.
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                                                                                           Hrs/Rate        Amount

                  Ostella, to Special Interrogatories, including as to alleged liability
                  of insured, O. Taitz.

 6/21/2012 - JC   Continue review and analysis of plaintiff, P. Berg's 47 page                0.80         136.00
                  declaration and exhibits in opposition to Sankey defendants'              170.00/hr
                  amended motions to compel further responses by Plaintiffs to
                  Special Interrogatories, including as to alleged liability of insured,
                  O. Taitz.

           - JC   Multiple correspondence with insured, O. Taitz (also as counsel             0.30             51.00
                  for appellant, Defend Our Freedoms), regarding proposal for               170.00/hr
                  request for judicial notice of District Court findings on motion for
                  summary judgment of Lexis defendants, in consolidated appeals
                  by insured and Defend Our Freedoms.

 6/22/2012 - JC   Finalize review and analysis of plaintiffs' 25 page Memorandum              0.40             68.00
                  of Points and Authorities in opposition to Sankey defendants'             170.00/hr
                  amended motion to compel further response by Plaintiff, L.
                  Ostella, to Special Interrogatories, including as to alleged liability
                  of insured, O. Taitz.

           - JC   Multiple correspondence with insured, O. Taitz (also as counsel             0.30             51.00
                  for appellant, Defend Our Freedoms), regarding development of             170.00/hr
                  impeachment evidence against plaintiffs regarding State Bar
                  disciplinary proceeding against plaintiff, P. Berg.

           - JC   Continue review and analysis of plaintiffs' 25 page Memorandum              0.60         102.00
                  of Points and Authorities in opposition to Sankey defendants'             170.00/hr
                  amended motion to compel further response by Plaintiff, L. Liberi
                  to Special Interrogatories, including as to alleged liability of
                  insured, O. Taitz.

 6/23/2012 - JC   Finalize review and analysis of plaintiff, P. Berg's 47 page                0.40             68.00
                  declaration and exhibits in opposition to Sankey defendants'              170.00/hr
                  amended motions to compel further responses by Plaintiffs to
                  Special Interrogatories, including as to alleged liability of insured,
                  O. Taitz.

           - JC   Finalize review and analysis of plaintiffs' 25 page Memorandum              0.30             51.00
                  of Points and Authorities in opposition to Sankey defendants'             170.00/hr
                  amended motion to compel further response by Plaintiff, P. Berg,
                  to Special Interrogatories, including as to alleged liability of
                  insured, O. Taitz.

 6/25/2012 - JC   Finalize review and analysis of plaintiffs' 25 page Memorandum              0.40             68.00
                  of Points and Authorities in opposition to Sankey defendants'             170.00/hr
                  amended motion to compel further response by Plaintiff, L. Liberi
                  to Special Interrogatories, including as to alleged liability of
                  insured, O. Taitz.

           - JC   Begin drafting of evaluation of legal issues for carrier regarding          0.50             85.00
                  proposed request for judicial notice of summary judgment order            170.00/hr
                  and findings, in appeal by insured, O. Taitz and defendant,
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                                                                                         Hrs/Rate        Amount

                  Defend Our Freedoms Foundation, from denial of anti-SLAPP
                  motion to strike.

 6/28/2012 - KS   Finalize update to carrier regarding Appeal.                              0.30             51.00
                                                                                          170.00/hr

 6/29/2012 - KS   Authority from adjuster, Laurie Johnson, regarding request for            0.10             17.00
                  authorization.                                                          170.00/hr

           - JC   Begin evaluation of legal issues regarding potential request for          0.80         136.00
                  judicial notice of district court's summary judgment order,             170.00/hr
                  supporting appeals by insured and defendant, Defend Our
                  Freedoms Foundation (represented by insured), in consolidated
                  appeals from denial of anti-SLAPP motion.

           - JC   Multiple correspondence with adjuster Laurie Johnson regarding            0.30             51.00
                  authority to evaluate legal issues regarding potential request for      170.00/hr
                  judicial notice of district court's summary judgment order,
                  supporting appeals by insured and defendant, Defend Our
                  Freedoms Foundation.

  7/3/2012 - JC   Begin analysis of complex legal issues regarding potential                0.90         153.00
                  request for judicial notice of District Court summary judgment,         170.00/hr
                  and findings adverse to plaintiffs, in appeals by insured, O. Taitz,
                  and defendant, Defend Our Freedoms Foundations (represented
                  by insured), from appeals from denial of anti-SLAPP motion,
                  pursuant to authority of adjuster Laurie Johnson.

  7/6/2012 - JC   Begin review and analysis of request for judicial notice by               1.10         187.00
                  appellant, Defend Our Freedoms Foundation (represented by               170.00/hr
                  insured and appellant, O. Taitz), and voluminous supporting
                  documents and exhibits (approximately 200 pages) in DOFF's
                  and insured's appeal from denial of joint anti-SLAPP motion.

  7/9/2012 - JC   Continue review and analysis of request for judicial notice by            0.80         136.00
                  appellant, Defend Our Freedoms Foundation (represented by               170.00/hr
                  insured and appellant, O. Taitz), and voluminous supporting
                  documents and exhibits (approximately 200 pages) in DOFF's
                  and insured's appeal from denial of joint anti-SLAPP motion.

           - JC   Begin review and analysis of plaintiffs' 20 page opposition to            0.50             85.00
                  motion by insured, O. Taitz (as counsel for appellant, Defend           170.00/hr
                  Our Freedoms Foundation), for judicial notice of district court's
                  motion for summary judgment findings in consolidated appeals
                  by insured and DOFF from denial of joint anti-SLAPP motion to
                  strike.

 7/10/2012 - JC   Continue review and analysis of plaintiffs' 20 page opposition to         0.50             85.00
                  motion by insured, O. Taitz (as counsel for appellant, Defend           170.00/hr
                  Our Freedoms Foundation), for judicial notice of district court's
                  motion for summary judgment findings in consolidated appeals
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                                                                                        Hrs/Rate        Amount

                  by insured and DOFF from denial of joint anti-SLAPP motion to
                  strike.

 7/11/2012 - JC   Finalize review and analysis of request for judicial notice by           0.40             68.00
                  appellant, Defend Our Freedoms Foundation (represented by              170.00/hr
                  insured and appellant, O. Taitz), and voluminous supporting
                  documents and exhibits (approximately 200 pages) in DOFF's
                  and insured's appeal from denial of joint anti-SLAPP motion.

 7/13/2012 - JC   Review and analysis of court's 7/9/12 order denying several              0.30             51.00
                  motions to compel discovery by Sankey defendants.                      170.00/hr

           - JC   Meeting with insured, O. Taitz (also as counsel for defendant,           0.40             68.00
                  Defend Our Freedoms Foundation), regarding drafting of reply to        170.00/hr
                  plaintiffs' opposition to insured's and DOFF's request for judicial
                  notice in consolidated appeals by insured and DOFF from denial
                  of joint anti-SLAPP motion.

           - JC   Begin drafting of reply Memorandum of Points and Authorities of          1.80         306.00
                  insured, O. Taitz and defendant, Defend Our Freedoms                   170.00/hr
                  Foundation (represented by insured) to plaintiffs' opposition to
                  request for judicial notice in consolidated appeals by insured and
                  DOFF from denial of joint anti-SLAPP motion, pursuant to carrier
                  authority from Laurie Johnson.

 7/14/2012 - KS   Telephone call from client regarding appeal.                             0.20             34.00
                                                                                         170.00/hr

 7/15/2012 - KS   Conference regarding client's filings.                                   0.20             34.00
                                                                                         170.00/hr

 7/17/2012 - JC   Begin review and analysis of reply Memorandum of Points and              0.70         119.00
                  Authorities (14 pages) by appellant, Defend Our Freedoms               170.00/hr
                  Foundation (represented by insured and appellant, O. Taitz), to
                  opposition to its request for judicial notice in DOFF's and
                  insured's appeal from denial of joint anti-SLAPP motion.

           - KS   Conference with client regarding appeal.                                 0.20             34.00
                                                                                         170.00/hr

 7/19/2012 - JC   Continue review and analysis of reply Memorandum of Points               0.60         102.00
                  and Authorities (14 pages) by appellant, Defend Our Freedoms           170.00/hr
                  Foundation (represented by insured and appellant, O. Taitz), to
                  opposition to its request for judicial notice in DOFF's and
                  insured's appeal from denial of joint anti-SLAPP motion.

 7/26/2012 - JC   Begin drafting of comprehensive update to carrier regarding              0.40             68.00
                  status of appeals, discovery and future handling issues.               170.00/hr

  8/2/2012 - JC   Begin review and analysis of Ninth Circuit Court of Appeals              0.40             68.00
                  Rules regarding procedure for application to bar P. Berg as            170.00/hr
                  Plaintiffs' counsel in appeals by insured, O. Taitz (also counsel
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                                                                                        Hrs/Rate        Amount

                  for co-defendant, Defend Our Freedoms Foundation), and DOFF
                  regarding State Bar suspension of opposing counsel P. Berg.

  8/2/2012 - JC   Begin evaluation of procedural devices to seek removal of                0.40             68.00
                  Plaintiff's counsel, P. Berg, from District Court and Court of         170.00/hr
                  Appeals cases after State Bar suspension of P. Berg, including
                  potential motion to revoke proposed hace vice status of remove
                  P. Berg.

           - JC   Multiple telephone conference with insured, O. Taitz (also               0.30             51.00
                  counsel for co-defendant, Defend Our Freedoms Foundation),             170.00/hr
                  regarding State Bar suspension of opposing counsel P. Berg,
                  and effect in appeal by insured and DOFF, including regarding
                  potential motion to remove P. Berg as opposing counsel in
                  appeals by insured and DOFF.

           - JC   Multiple correspondence with insured, O. Taitz (also counsel for         0.30             51.00
                  co-defendant, Defend Our Freedoms Foundation), regarding               170.00/hr
                  State Bar suspension of opposing counsel P. Berg, and effect in
                  appeal by insured and DOFF, including regarding potential
                  motion to remove P. Berg as opposing counsel in appeals by
                  insured and DOFF.

  8/4/2012 - JC   Multiple correspondence with insured, O. Taitz (also counsel for         0.30             51.00
                  co-defendant, Defend Our Freedoms Foundation), regarding               170.00/hr
                  State Bar suspension of opposing counsel P. Berg, and effect in
                  appeal by insured and DOFF, including regarding potential
                  motion to revoke P. Berg's admission to Ninth Circuit in appeals
                  by insured and DOFF.

  8/6/2012 -


  8/8/2012 - KS   Conference regarding strategy regarding disbarment of plaintiff's        0.40             68.00
                  counsel.                                                               170.00/hr

  8/9/2012 - EA   Analyze email sent to us regarding Motion to Disqualify Plaintiff's      3.10         527.00
                  Counsel                                                                170.00/hr

           - JC   Begin review and analysis of Plaintiff's response to request by          0.30             51.00
                  insured, O. Taitz (also counsel for co-defendant, Defend Our           170.00/hr
                  Freedoms Foundation), and DOFF to remove P. Berg as
                  Plaintiffs' counsel in appeals after suspension of P. Berg by State
                  Bar.


 8/10/2012 - JC   Multiple telephone conferences with Pennsylvania State Bar               0.30             51.00
                  regarding status of disciplinary action vs. P. Berg, toward            170.00/hr
                  preparation of reply of insured, O. Taitz (also counsel for
                  co-defendant, Defend Our Freedoms Foundation), and DOFF to
                  Plaintiffs' response to insured's and DOFF's request to Ninth
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                                                                                         Hrs/Rate        Amount

                  Circ. Court of Appeals to remove P. Berg as Plaintiffs' counsel in
                  appeals after suspension of P. Berg by State Bar.

 8/10/2012 - JC   Begin review of docket in appeals by insured, O. Taitz and                0.30             51.00
                  Defend Our Freedoms Foundation (represented by insured),                170.00/hr
                  regarding status of G. Kreep as counsel for Appellees and
                  toward potential application to disqualify G. Kreep as counsel.

           - JC   Draft correspondence to Court of Appeals regarding response to            0.20             34.00
                  reply to insured, O. Taitz (also counsel for co-defendant, Defend       170.00/hr
                  Our Freedoms Foundation), and DOFF request to to remove P.
                  Berg as Plaintiffs' counsel in appeals after suspension of P. Berg
                  by State Bar.

           - JC   Multiple correspondence with insured, O. Taitz (also counsel for          0.30             51.00
                  co-defendant, Defend Our Freedoms Foundation), regarding                170.00/hr
                  provisional withdrawal of request to remove Plaintiffs' counsel P.
                  Berg in appeals and regarding status of State Bar disciplinary
                  proceeding vs. P. Berg.

           - KS   Conference regarding notice to Court of Appeals.                          0.20             34.00
                                                                                          170.00/hr

 8/13/2012 - JC   Begin review and analysis of Ninth Circuit rules regarding motion         0.50             85.00
                  for Order to Show Cause regarding suspension or removal of              170.00/hr
                  plaintiffs' counsel P. Berg in appeals by insured, O. Taitz (also
                  counsel for co-defendant, Defend Our Freedoms Foundation),
                  and DOFF, following provisional suspension of P. Berg by
                  Pennsylvania State Bar.

           - JC   Begin drafting summary and analysis for carrier regarding status          0.40             68.00
                  of various discovery motions, and requests for judicial notice in       170.00/hr
                  appeals by insured, O. Taitz (also counsel for co-defendant,
                  Defend Our Freedoms Foundation), and DOFF from denial of
                  anti-SLAPP motion.

           - JC   Begin review and analysis of 17 page report and findings of               0.50             85.00
                  Pennsylvania State Bar in disciplinary proceeding against               170.00/hr
                  Plaintiff's counsel, P. Berg, toward support for potential motion in
                  appeals by insured, O. Taitz (also counsel for co-defendant,
                  Defend Our Freedoms Foundation), and DOFF for removal of P.
                  Berg as Plaintiffs' counsel in appeals.

 8/14/2012 - JC   Begin review and analysis of plaintiffs' 8/13/12 response with 95         0.90         153.00
                  pages of exhibits to Court of Appeals regarding request by              170.00/hr
                  insured, O. Taitz (also counsel for co-defendant, Defend Our
                  Freedoms Foundation), and DOFF, for removal of Plaintiffs'
                  counsel P. Berg following provisional suspension of P. Berg by
                  Pennsylvania State Bar.

           - JC   Continue review and analysis of 17 page report and findings of            0.40             68.00
                  Pennsylvania State Bar in disciplinary proceeding against               170.00/hr
                  Plaintiff's counsel, P. Berg, toward support for potential motion in
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                                                                                         Hrs/Rate        Amount

                  appeals by insured, O. Taitz (also counsel for co-defendant,
                  Defend Our Freedoms Foundation), and DOFF for removal of P.
                  Berg as Plaintiffs' counsel in appeals.

 8/14/2012 - JC   Draft insured's reply to plaintiffs' 8/13/12 correspondence to            0.30             51.00
                  Court of Appeals regarding request by insured, O. Taitz (also           170.00/hr
                  counsel for co-defendant, Defend Our Freedoms Foundation),
                  and DOFF, for removal of Plaintiffs' counsel P. Berg following
                  provisional suspension of P. Berg by Pennsylvania State Bar.

           - KS   Conference regarding response to Berg's filing.                           0.20             34.00
                                                                                          170.00/hr

           - KS   Conference regarding our filing and opposing counsel's                    0.20             34.00
                  response. Need for supplemental note.                                   170.00/hr

 8/15/2012 - JC   Continue review and analysis of 17 page report and findings of            0.50             85.00
                  Pennsylvania State Bar in disciplinary proceeding against               170.00/hr
                  Plaintiff's counsel, P. Berg, toward support for potential motion in
                  appeals by insured, O. Taitz (also counsel for co-defendant,
                  Defend Our Freedoms Foundation), and DOFF for removal of P.
                  Berg as Plaintiffs' counsel in appeals.

           - JC   Begin review of opposing counsel's 8/15/12 correspondence to              0.40             68.00
                  Court of Appeals regarding removal of Plaintiffs' counsel               170.00/hr
                  regarding Pennsylvania State Bar disciplinary proceeding, and
                  threatened motion for sanctions in appeals by insured, O. Taitz
                  (also as counsel for Defend Our Freedoms Foundations), and
                  DOFF, regarding request for removal.

           - JC   Multiple correspondence with insured, O. Taitz (also as counsel           0.30             51.00
                  for Defend Our Freedoms Foundations), regarding Plaintiff's             170.00/hr
                  8/15/12 correspondence to Court of Appeals regarding request
                  for removal of Plaintiff's counsel regarding Pennsylvania State
                  Bar disciplinary proceeding, and threatened motion for sanctions
                  in appeals by insured and DOFF, regarding request for removal.

 8/16/2012 - JC   Multiple correspondence with insured, O. Taitz (also as counsel           0.30             51.00
                  for Defend Our Freedoms Foundations), regarding proposed                170.00/hr
                  new request for judicial notice regarding report issued in
                  Pennsylvania State Bar disciplinary proceeding against plaintiff
                  P. Berg (also as counsel for all defendants).

           - KS   Amend update to client regarding response to opposing counsel.            0.30             51.00
                                                                                          170.00/hr

 8/17/2012 - KS   Conference regarding client's requests for response to opposing           0.40             68.00
                  counsel.                                                                170.00/hr

           - KS   Amend analysis for client.                                                0.60         102.00
                                                                                          170.00/hr
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                                                                                         Hrs/Rate        Amount

 8/23/2012 - KS   Meeting with carrier regarding future handling.                           0.40             68.00
                                                                                          170.00/hr

  9/3/2012 - JC   Begin evaluation of complex legal issues regarding proposed               0.80         136.00
                  request for judicial notice by insured, O. Taitz, and defendant,        170.00/hr
                  Defend Our Freedoms Foundations (represented by insured), in
                  consolidated appeals by insured and DOFF from denial of
                  anti-SLAPP motion to strike, of order of Pennsylvania State Bar
                  regarding plaintiff's counsel, P. Berg, toward support of appeal.

  9/5/2012 - JC   Continue evaluation of complex legal issues regarding proposed            0.90         153.00
                  request for judicial notice by insured, O. Taitz, and defendant,        170.00/hr
                  Defend Our Freedoms Foundations (represented by insured), in
                  consolidated appeals by insured and DOFF from denial of
                  anti-SLAPP motion to strike, of order of Pennsylvania State Bar
                  regarding plaintiff's counsel, P. Berg, toward support of appeal.

  9/7/2012 - JC   Multiple correspondence with insured, O. Taitz (also counsel for          0.30             51.00
                  defendant, Defend Our Freedoms Foundations) regarding                   170.00/hr
                  proposed request for judicial notice by insured and Defend Our
                  Freedoms Foundations, in consolidated appeals by insured and
                  DOFF from denial of anti-SLAPP motion to strike, of order of
                  Pennsylvania State Bar regarding plaintiff's counsel, P. Berg,
                  toward support of appeal.

           - JC   Continue evaluation of complex legal issues regarding proposed            1.20         204.00
                  request for judicial notice by insured, O. Taitz, and defendant,        170.00/hr
                  Defend Our Freedoms Foundations (represented by insured), in
                  consolidated appeals by insured and DOFF from denial of
                  anti-SLAPP motion to strike, of order of Pennsylvania State Bar
                  regarding plaintiff's counsel, P. Berg, toward support of appeal.

 9/10/2012 - JC   Review order referring appellees' request for sanctions regarding         0.30             51.00
                  judicial notice to panel of justices in appeal by insured, O. Taitz,    170.00/hr
                  and Defend Our Freedoms Foundation (represented by insured)
                  from denial of anti-SLAPP motion.

 9/12/2012 - KS   Conference regarding client's continued requests related to               0.30             51.00
                  Berg's pending disbarment.                                              170.00/hr

 9/14/2012 - KS   Conference with carrier regarding update.                                 0.20             34.00
                                                                                          170.00/hr

           - JC   Review court's 9/13/12 order granting Sankey defendants'                  0.30             51.00
                  request for leave to file motions to compel and motion for              170.00/hr
                  summary judgment vs. plaintiffs.

           - JC   Draft status update for carrier regarding District Court and Court        0.40             68.00
                  of Appeals cases, including regarding Sankey defendants'                170.00/hr
                  motion for summary judgment and several motions to compel
                  regarding discovery to plaintiffs, and analysis of impact on
                  insured, O. Taitz.
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 9/14/2012 - KS   Finalize update to carrier.                                               0.20             34.00
                                                                                          170.00/hr

 9/21/2012 - JC   Multiple correspondence with insured O. Taitz (also as counsel            0.30             51.00
                  for defendant, Defend Our Freedoms Foundations) regarding               170.00/hr
                  oral arguments in disciplinary proceeding against plaintiffs'
                  counsel, toward potential use for judicial notice in appeal by
                  insured and Defend Our Freedoms Foundations.

 9/24/2012 - JC   Review opposing counsel's 9/22/12 correspondence to court,                0.30             51.00
                  and related correspondence to all counsel, regarding plaintiffs'        170.00/hr
                  request for leave to file motion to compel vs. Sankey defendants
                  and motion regarding protective order regarding discovery to
                  Sankey defendants.

 9/25/2012 - JC   Review court's 9/24/12 order granting Intelius defendants'                0.20             34.00
                  request for leave to file memorandum of costs vs. plaintiffs.           170.00/hr

           - JC   Review court's 9/24/12 order granting motion for summary                  0.20             34.00
                  judgment of Lexis Nexis defendants.                                     170.00/hr

 10/2/2012 - JC   Review order of Pennsylvania court regarding plaintiff's counsel,         0.30             51.00
                  provided by Sankey Defendants, regarding preparation for                170.00/hr
                  upcoming hearing on Order to Show Cause regarding removal of
                  plaintiffs' counsel pursuant to Sankey Defendants' application
                  regarding removal.

           - JC   Correspondence with insured, O. Taitz, regarding preparation for          0.20             34.00
                  upcoming hearing on Order to Show Cause regarding removal of            170.00/hr
                  plaintiffs' counsel.

           - JC   Review court's 10/2/12 order regarding Order to Show Cause to             0.30             51.00
                  plaintiff's counsel regarding revocation of pro hac vice status,        170.00/hr
                  and plaintiffs' and defendants' requests for leave to file discovery
                  motions.

           - JC   Multiple correspondence with counsel for Sankey Defendants                0.30             51.00
                  regarding preparation for upcoming hearing on Order to Show             170.00/hr
                  Cause regarding removal of plaintiffs' counsel.

           - JC   Begin review and analysis of Sankey defendants' application for           0.50             85.00
                  leave to file motion to remove plaintiffs' counsel, in preparation      170.00/hr
                  for upcoming hearing on Order to Show Cause regarding
                  removal.

 10/3/2012 - JC   Multiple telephone conferences with insured, O. Taitz (also               0.30             51.00
                  counsel for defendant, Defend Our Freedoms Foundations), in             170.00/hr
                  preparation for upcoming hearing on Order to Show Cause
                  regarding removal of Plaintiffs' counsel P. Berg, and regarding
                  reporting on status of appeals, as ordered by Court.
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 10/4/2012 - KS   Conference regarding court order and mandatory appearance.                 0.30             51.00
                                                                                           170.00/hr

           - JC   Begin review and analysis of Pennsylvania Supreme Court                    0.50             85.00
                  website regarding disciplinary proceeding against Plaintiffs'            170.00/hr
                  counsel P. Berg, in preparation for upcoming hearing on Order to
                  Show Cause regarding removal of Plaintiffs' counsel, and
                  regarding reporting on status of appeals, as ordered by Court.

           - JC   Multiple correspondence with insured, O. Taitz (also counsel for           0.30             51.00
                  defendant, Defend Our Freedoms Foundations), in preparation              170.00/hr
                  for upcoming hearing on Order to Show Cause regarding
                  removal of Plaintiffs' counsel P. Berg, and regarding reporting on
                  status of appeals, as ordered by Court.

 10/5/2012 - JC   Begin review and analysis of declaration of plaintiff, L. Liberi, and      0.80         136.00
                  supporting exhibits (23 pages) in response to Order to Show              170.00/hr
                  Cause regarding revocation of opposing counsel's proposed hac
                  vice status, and toward preparation for upcoming hearing on
                  Order to Show Cause and status conference regarding appeal
                  by insured.

 10/6/2012 - JC   Begin review and analysis of declaration of plaintiff, L. Ostella,         0.70         119.00
                  and supporting exhibits (14 pages) in response to Order to Show          170.00/hr
                  Cause regarding revocation of opposing counsel's proposed hac
                  vice status, and toward preparation for upcoming hearing on
                  Order to Show Cause and status conference regarding appeal
                  by insured.

           - JC   Continue review and analysis of declaration of plaintiff, L. Liberi,       0.80         136.00
                  and supporting exhibits (23 pages) in response to Order to Show          170.00/hr
                  Cause regarding revocation of opposing counsel's proposed hac
                  vice status, and toward preparation for upcoming hearing on
                  Order to Show Cause and status conference regarding appeal
                  by insured.

           - JC   Begin review and analysis of declaration of plaintiff, P. Berg, and        0.70         119.00
                  supporting exhibits (15 pages) in response to Order to Show              170.00/hr
                  Cause regarding revocation of opposing counsel's proposed hac
                  vice status, and toward preparation for upcoming hearing on
                  Order to Show Cause and status conference regarding appeal
                  by insured.

 10/8/2012 - KS   Conference regarding future handling related to suspension.                0.20             34.00
                                                                                           170.00/hr

           - JC   Continue review and analysis of declaration of plaintiff, P. Berg,         0.60         102.00
                  and supporting exhibits (15 pages) in response to Order to Show          170.00/hr
                  Cause regarding revocation of opposing counsel's proposed hac
                  vice status, and toward preparation for upcoming hearing on
                  Order to Show Cause and status conference regarding appeal
                  by insured.
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 10/8/2012 - JC   Continue review and analysis of declaration of plaintiff, L.             0.40             68.00
                  Ostella, and supporting exhibits (14 pages) in response to Order       170.00/hr
                  to Show Cause regarding revocation of opposing counsel's
                  proposed hac vice status, and toward preparation for upcoming
                  hearing on Order to Show Cause and status conference
                  regarding appeal by insured.

           - JC   Continue review and analysis of website of Pennsylvania                  0.40             68.00
                  Supreme Court regarding status of disciplinary proceeding              170.00/hr
                  against plaintiff, P. Berg (also counsel for all Plaintiff), toward
                  preparation for upcoming hearing on Order to Show Cause
                  regarding revocation of counsel's pro hac vice status and status
                  conference regarding appeal by insured.

           - JC   Begin review and analysis of plaintiffs' motion (10 pages) for           0.60         102.00
                  leave to bring motion to compel discovery from, and for                170.00/hr
                  protective order against, Sankey defendants, and toward
                  preparation for upcoming hearing on various motions and status
                  conference regarding appeal by insured.

           - KS   Correspondence with opposing counsel regarding possible                  0.40             68.00
                  suspension of counsel.                                                 170.00/hr

           - JC   Begin review and analysis of detailed response by insured, O.            1.20         204.00
                  Taitz (also as counsel for appellant, Defend Our Freedoms              170.00/hr
                  Foundation), to appellees' motion for sanctions regarding
                  disciplinary action against appellees' counsel, and supporting
                  insured's motion for sanctions against appellees, with
                  approximately 220 pages of exhibits.

 10/9/2012 - JC   Continue review and analysis of plaintiffs' motion (10 pages) for        0.40             68.00
                  leave to bring motion to compel discovery from, and for                170.00/hr
                  protective order against, Sankey defendants, and toward
                  preparation for upcoming hearing on various motions and status
                  conference regarding appeal by insured.

           - JC   Begin review of appellees' application to court of appeals to file       0.50             85.00
                  motion for Temporary Restraining Order and injunctive relief           170.00/hr
                  against insured, O. Taitz (appellant in subject appeal), and for
                  sanctions regarding potential suspension of plaintiffs' counsel in
                  court of appeals.

10/10/2012 - JC   Begin review and analysis of Sankey defendants' memorandum               0.60         102.00
                  of evidentiary objections to declaration of plaintiff, L. Liberi,      170.00/hr
                  regarding Order to Show Cause for removal of plaintiffs' counsel,
                  toward preparation for upcoming hearing on Order to Show
                  Cause.

           - JC   Begin review and analysis of Sankey defendants' reply                    0.80         136.00
                  Memorandum of Points and Authorities to plaintiffs' response           170.00/hr
                  regarding Order to Show Cause for removal of plaintiffs' counsel,
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                                                                                         Hrs/Rate        Amount

                  toward preparation for upcoming hearing on Order to Show
                  Cause.

10/10/2012 - JC   Begin review and analysis of Sankey defendants' Memorandum                0.70         119.00
                  of Points and Authorities in response to plaintiffs' application for    170.00/hr
                  leave to file motions to compel discovery from Sankey
                  defendants, and for protective order, toward preparation for
                  upcoming hearing on application.

           - JC   Begin review and analysis of Sankey defendants' memorandum                0.50             85.00
                  of evidentiary objections to declaration of plaintiff, P. Berg,         170.00/hr
                  regarding Order to Show Cause for removal of plaintiffs' counsel,
                  toward preparation for upcoming hearing on Order to Show
                  Cause.

           - JC   Begin review and analysis of declaration of Sankey defendants'            0.70         119.00
                  counsel with exhibits (22 pages) regarding Order to Show Cause          170.00/hr
                  for removal of plaintiffs' counsel, toward preparation for
                  upcoming hearing on Order to Show Cause.

           - JC   Begin review and analysis of Sankey defendants' memorandum                0.50             85.00
                  of evidentiary objections to declaration of plaintiff, L. Ostella,      170.00/hr
                  regarding Order to Show Cause for removal of plaintiffs' counsel,
                  toward preparation for upcoming hearing on Order to Show
                  Cause.

           - JC   Begin review and analysis of detailed response by insured, O.             1.10         187.00
                  Taitz (also as counsel for appellant, Defend Our Freedoms               170.00/hr
                  Foundation), to appellees' motion for sanctions regarding
                  disciplinary action against appellees' counsel, and supporting
                  insured's motion for sanctions against appellees, with
                  approximately 220 pages of exhibits.

10/11/2012 - JC   Continue review and analysis of Sankey defendants'                        0.50             85.00
                  Memorandum of Points and Authorities in response to plaintiffs'         170.00/hr
                  application for leave to file motions to compel discovery from
                  Sankey defendants, and for protective order, toward preparation
                  for upcoming hearing on application.

           - JC   Continue review and analysis of declaration of Sankey                     0.30             51.00
                  defendants' counsel with exhibits (22 pages) regarding Order to         170.00/hr
                  Show Cause for removal of plaintiffs' counsel, toward
                  preparation for upcoming hearing on Order to Show Cause.

10/12/2012 - JC   Finalize review and analysis of detailed response by insured, O.          0.90         153.00
                  Taitz (also as counsel for appellant, Defend Our Freedoms               170.00/hr
                  Foundation), to appellees' motion for sanctions regarding
                  disciplinary action against appellees' counsel, and supporting
                  insured's motion for sanctions against appellees, with
                  approximately 220 pages of exhibits.
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                                                                                        Hrs/Rate        Amount

10/15/2012 - JC   Attend hearing on Case Management Conference, Order to                   3.90         663.00
                  Show Cause for removal of plaintiffs' counsel, and plaintiffs' and     170.00/hr
                  Sankey defendants' motions to compel and for protective order
                  in discovery.

           - JC   Travel to and from court for hearing on Case Management                  1.30         221.00
                  Conference, Order to Show Cause for removal of plaintiffs'             170.00/hr
                  counsel, and plaintiffs' and Sankey defendants' motions to
                  compel and for protective order in discovery.

10/16/2012 - JC   Review court's 10/15/12 minute order regarding hearing on Case           0.30             51.00
                  Management Conference, Order to Show Cause for removal of              170.00/hr
                  plaintiffs' counsel, and plaintiffs' and Sankey defendants' motions
                  to compel and for protective order in discovery.

10/18/2012 - JC   Begin drafting comprehensive update for carrier regarding status         1.10         187.00
                  of district court and court of appeals cases, including as to          170.00/hr
                  plaintiff's counsel's disciplinary matter, regarding Order to Show
                  Cause regarding revocation of pro hac vice status, discovery
                  disputes and motions, and related matters.

10/23/2012 - KS   Finalize update to carrier.                                              0.20             34.00
                                                                                         170.00/hr

           - JC   Review website of Pennsylvania Supreme Court for opinion                 0.30             51.00
                  regarding disciplinary matter against Plaintiffs' counsel, P. Berg,    170.00/hr
                  regarding court's Order to Show Cause to revoke opposing
                  counsel's pro hac vice status in District Court.

10/24/2012 - KS   Conference regarding court order and further response as                 0.60         102.00
                  ordered by Judge.                                                      170.00/hr

           - JC   Review and analysis of court's 10/22/12 order on Order to Show           0.40             68.00
                  Cause regarding revocation of opposing counsel's pro hac vice          170.00/hr
                  status, and Sankey defendants' and plaintiffs' requests to file
                  motions to compel and for protective order.

           - JC   Review judgment for defendant, Intelius Inc. after granting of its       0.30             51.00
                  motion for summary judgment on plaintiff's first amended               170.00/hr
                  complaint.

10/31/2012 - KS   Finalize update to carrier.                                              0.20             34.00
                                                                                         170.00/hr

           - JC   Draft summary and analysis for carrier regarding court's ruling on       0.40             68.00
                  Order to Show Cause regarding revocation of opposing                   170.00/hr
                  counsel's pro hac vice status, proposed sanctions against
                  opposing counsel and insured, O. Taitz, and ruling on plaintiffs'
                  and Sankey Defendants' requests for leave to file motion for
                  protective order and motions to compel.
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                                                                                      Hrs/Rate        Amount

 11/1/2012 - KS   Conference regarding request for attorney's fees.                      0.20             34.00
                                                                                       170.00/hr

 11/2/2012 - KS   Conference regarding handling of client after Court's order.           0.60         102.00
                                                                                       170.00/hr

           - JC   Review and analysis of defendant, Intelius Corporation's motion        0.40             68.00
                  to tax costs.                                                        170.00/hr

           -


11/16/2012 - JC   Detailed correspondence with insured, O. Taitz (including as           0.30             51.00
                  counsel for defendant, Defend Our Freedoms Foundations)              170.00/hr
                  regarding court's recent order regarding potential disciplinary
                  actions regarding opposing counsel's State Bar proceedings, and
                  regarding potential motion to remove opposing counsel.

           - KS   Finalize response to client regarding proper future handling of        0.60         102.00
                  sensitive issues.                                                    170.00/hr

           - JC   Review multiple entries on website of Pennsylvania Supreme             0.40             68.00
                  Court regarding pending disciplinary action against opposing         170.00/hr
                  counsel for plaintiffs, toward support for motion by insured to
                  remove opposing counsel from case.

11/29/2012 - JC   Review docket and other materials on website of Ninth Circuit          0.30             51.00
                  Court of Appeals regarding consolidated appeals by insured, O.       170.00/hr
                  Taitz and co-defendant, Defend Our Freedoms Foundation,
                  toward preparation of update to carrier regarding status of
                  appeals.

           - JC   Begin drafting of update to carrier regarding status of District       0.50             85.00
                  Court case, disciplinary proceeding against Plaintiff's counsel,     170.00/hr
                  and of appeal.

           - JC   Review website and postings of Pennsylvania Supreme Court              0.40             68.00
                  regarding disciplinary proceeding against plaintiffs' counsel, P.    170.00/hr
                  Berg, toward potential motion to remove P. Berg as plaintiffs'
                  counsel in District Court case and Court of Appeal case.

11/30/2012 - JC   Review 11/29/12 order allowing claimed costs of defendant,             0.20             34.00
                  Intelius Corporation, as against Plaintiffs.                         170.00/hr

 12/4/2012 - KS   Finalize update to carrier.                                            0.20             34.00
                                                                                       170.00/hr

12/17/2012 - JC   Telephone conference with court of appeals clerk regarding             0.20             34.00
                  preparation of Acknowledgement of Hearing Notice for upcoming        170.00/hr
                  oral argument in appeal.
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                                                                                        Hrs/Rate        Amount

12/17/2012 - JC   Begin review and analysis of Notice of Oral Argument regarding           0.40             68.00
                  appeal by insured, O. Taitz, and Defend Our Freedoms                   170.00/hr
                  Foundations, from order denying anti-Slapp motion to strike.

12/19/2012 - JC   Correspondence with insured, O. Taitz (as counsel for                    0.20             34.00
                  co-appellant Defend Our Freedoms Foundations), toward                  170.00/hr
                  preparation for upcoming oral argument in consolidated appeals
                  by insured and DOFF.

           - JC   Draft detailed summary with attorney analysis for carrier                0.40             68.00
                  regarding status of insured's appeal, and preparations for             170.00/hr
                  upcoming oral arguments, and regarding upcoming discovery
                  motions.

           - JC   Telephone conference with court of appeals clerk regarding               0.20             34.00
                  preparation for upcoming oral argument in appeal.                      170.00/hr

12/20/2012 - KS   Conference regarding oral arguments.                                     0.40             68.00
                                                                                         170.00/hr

           - JC   Review acknowledgement of hearing notice by insured, O. Taitz            0.30             51.00
                  (as counsel for co-appellant Defend Our Freedoms Foundation),          170.00/hr
                  in appeal by insured and DOFF.

12/21/2012 - JC   Multiple correspondence with insured, O. Taitz (as counsel for           0.30             51.00
                  co-appellant Defend Our Freedoms Foundation), regarding                170.00/hr
                  preparation for upcoming oral argument in appeal by insured and
                  DOFF.

  1/2/2013 - JC   Begin review and analysis of 25 page meet and confer separate            0.70         119.00
                  statement correspondence of plaintiff's counsel, Exhibit 2 to          170.00/hr
                  motion, supporting plaintiffs' motion to compel Sankey
                  defendants to provide further responses to plaintiffs' Special
                  Interrogatories and for sanctions.

           - JC   Begin review and analysis of plaintiffs and Sankey defendants'           1.10         187.00
                  75 page joint discovery separate statement, with numerous              170.00/hr
                  subject Special Interrogatories and Sankeys' responses, and
                  related legal arguments and authorities, regarding plaintiffs'
                  motion to compel further responses to Special Interrogatories.

           - JC   Begin review and analysis of various documents regarding                 0.40             68.00
                  plaintiff L. Liberi criminal case, Exhibit 3 to motion, supporting     170.00/hr
                  plaintiffs' motion to compel Sankey defendants to provide further
                  responses to plaintiffs' Special Interrogatories and for sanctions.

           - JC   Begin review and analysis of 24 page declaration of L. Simmons           0.50             85.00
                  of Lexis Nexis defendant and exhibits, supporting plaintiffs'          170.00/hr
                  motion to compel Sankey defendants to provide further
                  responses to plaintiffs' Special Interrogatories and for sanctions.
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                                                                                        Hrs/Rate        Amount

  1/3/2013 - JC   Begin review and analysis of 100 page joint stipulation of               0.70         119.00
                  counsel, submitted with plaintiffs' motion to compel Sankey            170.00/hr
                  defendants to provide further responses to plaintiffs' Request for
                  Production of Documents, to produce documents and for
                  sanctions.

           - JC   Begin review and analysis of 24 page declaration of plaintiff. P.        0.80         136.00
                  Berg, supporting plaintiffs' motion to compel Sankey defendants        170.00/hr
                  to provide further responses to plaintiffs' Special Interrogatories
                  and for sanctions.

           - JC   Begin review and analysis of declaration of L. Policastro of Lexis       0.40             68.00
                  Nexis defendant, supporting plaintiffs' motion to compel Sankey        170.00/hr
                  defendants to provide further responses to plaintiffs' Special
                  Interrogatories and for sanctions.

           - JC   Begin review and analysis of Memorandum of Points and                    0.60         102.00
                  Authorities supporting plaintiffs' motion to compel Sankey             170.00/hr
                  defendants to provide further responses to plaintiffs' Special
                  Interrogatories and for sanctions.


           - JC   Continue review and analysis of various documents regarding              0.30             51.00
                  plaintiff L. Liberi criminal case, Exhibit 3 to motion, supporting     170.00/hr
                  plaintiffs' motion to compel Sankey defendants to provide further
                  responses to plaintiffs' Special Interrogatories and for sanctions.

  1/4/2013 - JC   Review voluminous records of Pennsylvania Supreme Court                  0.60         102.00
                  regarding disciplinary matter against Plaintiffs' counsel, P. Berg,    170.00/hr
                  regarding potential motion in appeal to remove P. Berg as
                  opposing counsel.

           - JC   Continue review and analysis of plaintiffs and Sankey                    0.90         153.00
                  defendants' 75 page joint discovery separate statement, with           170.00/hr
                  numerous subject Special Interrogatories and Sankeys'
                  responses, and related legal arguments and authorities,
                  regarding plaintiffs' motion to compel further responses to
                  Special Interrogatories.

           - JC   Continue review and analysis of Memorandum of Points and                 0.60         102.00
                  Authorities supporting plaintiffs' motion to compel Sankey             170.00/hr
                  defendants to provide further responses to plaintiffs' Special
                  Interrogatories and for sanctions.

           - JC   Begin review and analysis of various emails of defendant, N.             0.40             68.00
                  Sankey, supporting plaintiffs' motion to compel Sankey                 170.00/hr
                  defendants to provide further responses to plaintiffs' Special
                  Interrogatories and for sanctions.

           - JC   Continue review and analysis of 100 page joint stipulation of            0.80         136.00
                  counsel, submitted with plaintiffs' motion to compel Sankey            170.00/hr
                  defendants to provide further responses to plaintiffs' Request for
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                                                                                       Hrs/Rate        Amount

                  Production of Documents, to produce documents and for
                  sanctions.

  1/4/2013 - JC   Begin review and analysis of 22 page declaration of P. Berg             0.60         102.00
                  supporting plaintiffs' motion to compel Sankey defendants to          170.00/hr
                  provide further responses to plaintiffs' Request for Production of
                  Documents, to produce documents and for sanctions.

           - JC   Begin review and analysis of 25 page meet and confer                    0.70         119.00
                  correspondence of plaintiffs (Exhibit 2 to motion) supporting         170.00/hr
                  plaintiffs' motion to compel Sankey defendants to provide further
                  responses to plaintiffs' Request for Production of Documents, to
                  produce documents and for sanctions.

           - JC   Begin review and analysis of 5 page various documents (Exhibit          0.40             68.00
                  3 to motion) supporting plaintiffs' motion to compel Sankey           170.00/hr
                  defendants to provide further responses to plaintiffs' Request for
                  Production of Documents, to produce documents and for
                  sanctions.

  1/5/2013 - JC   Begin review and analysis of various correspondence and orders          0.40             68.00
                  (plaintiffs' exhibits 8 and 9), supporting plaintiffs' motion to      170.00/hr
                  compel Sankey defendants to provide further responses to
                  plaintiffs' Special Interrogatories and for sanctions.

           - JC   Begin review and analysis of 39 page Reed defendants'                   0.60         102.00
                  declaration and several exhibits (Exhibit 4 to motion) supporting     170.00/hr
                  plaintiffs' motion to compel Sankey defendants to provide further
                  responses to plaintiffs' Request for Production of Documents, to
                  produce documents and for sanctions.

  1/6/2013 - JC   Review and analysis of motion of plaintiffs' counsel, G. Kreep, to      0.40             68.00
                  withdraw as plaintiffs' counsel in District Court case.               170.00/hr

  1/7/2013 - JC   Begin review and analysis of plaintiffs' initial Memorandum of          0.50             85.00
                  Points and Authorities for motion to compel Sankey defendants         170.00/hr
                  to provide further responses to plaintiffs' Request for Production
                  of Documents, to produce documents and for sanctions.

           - JC   Continue review and analysis of 24 page declaration of plaintiff.       0.70         119.00
                  P. Berg, supporting plaintiffs' motion to compel Sankey               170.00/hr
                  defendants to provide further responses to plaintiffs' Special
                  Interrogatories and for sanctions.

           - JC   Continue review and analysis of 25 page meet and confer                 0.50             85.00
                  separate statement correspondence of plaintiff's counsel, Exhibit     170.00/hr
                  2 to motion, supporting plaintiffs' motion to compel Sankey
                  defendants to provide further responses to plaintiffs' Special
                  Interrogatories and for sanctions.
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  1/7/2013 - JC   Begin review and analysis of various emails to insured, O. Taitz,        0.40             68.00
                  supporting plaintiffs' motion to compel Sankey defendants to           170.00/hr
                  provide further responses to plaintiffs' Special Interrogatories
                  and for sanctions.

           - JC   Continue review and analysis of 22 page declaration of P. Berg           0.40             68.00
                  supporting plaintiffs' motion to compel Sankey defendants to           170.00/hr
                  provide further responses to plaintiffs' Request for Production of
                  Documents, to produce documents and for sanctions.

           - JC   Begin review and analysis of supplemental Memorandum of                  0.70         119.00
                  Points and Authorities supporting plaintiffs' motion to compel         170.00/hr
                  Sankey defendants to provide further responses to plaintiffs'
                  Special Interrogatories, and for sanctions regarding alleged
                  spoliation of evidence.

           - JC   Continue review and analysis of 39 page Reed defendants'                 0.70         119.00
                  declaration and several exhibits (Exhibit 4 to motion) supporting      170.00/hr
                  plaintiffs' motion to compel Sankey defendants to provide further
                  responses to plaintiffs' Request for Production of Documents, to
                  produce documents and for sanctions.

           - JC   Continue review and analysis of 24 page declaration of L.                0.40             68.00
                  Simmons of Lexis Nexis defendant and exhibits, supporting              170.00/hr
                  plaintiffs' motion to compel Sankey defendants to provide further
                  responses to plaintiffs' Special Interrogatories and for sanctions.

  1/8/2013 - JC   Continue review and analysis of plaintiffs and Sankey                    0.50             85.00
                  defendants' 75 page joint discovery separate statement, with           170.00/hr
                  numerous subject Special Interrogatories and Sankeys'
                  responses, and related legal arguments and authorities,
                  regarding plaintiffs' motion to compel further responses to
                  Special Interrogatories.

           - JC   Continue review and analysis of 25 page meet and confer                  0.30             51.00
                  separate statement correspondence of plaintiff's counsel, Exhibit      170.00/hr
                  2 to motion, supporting plaintiffs' motion to compel Sankey
                  defendants to provide further responses to plaintiffs' Special
                  Interrogatories and for sanctions.

           - JC   Begin review and analysis of plaintiffs' supplemental                    0.50             85.00
                  Memorandum of Points and Authorities for motion to compel              170.00/hr
                  Sankey defendants to provide further responses to plaintiffs'
                  Request for Production of Documents, to produce documents
                  and for sanctions.

           - JC   Continue review and analysis of 39 page Reed defendants'                 0.40             68.00
                  declaration and several exhibits (Exhibit 4 to motion) supporting      170.00/hr
                  plaintiffs' motion to compel Sankey defendants to provide further
                  responses to plaintiffs' Request for Production of Documents, to
                  produce documents and for sanctions.
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  1/8/2013 - JC   Begin review and analysis of 5 page L. Policastro (Exhibit 5 to         0.50             85.00
                  motion) supporting plaintiffs' motion to compel Sankey                170.00/hr
                  defendants to provide further responses to plaintiffs' Request for
                  Production of Documents, to produce documents and for
                  sanctions.

           - KS   Conference regarding effects of plaintiff's counsel withdrawal.         0.20             34.00
                                                                                        170.00/hr

           - KS   Finalize update to carrier.                                             0.60         102.00
                                                                                        170.00/hr

           - JC   Continue review and analysis of 25 page meet and confer                 0.40             68.00
                  correspondence of plaintiffs (Exhibit 2 to motion) supporting         170.00/hr
                  plaintiffs' motion to compel Sankey defendants to provide further
                  responses to plaintiffs' Request for Production of Documents, to
                  produce documents and for sanctions.

  1/9/2013 - JC   Review and analysis of court's 1/9/13 order setting hearing             0.30             51.00
                  regarding status of representation of plaintiffs, and status of       170.00/hr
                  insured's appeal.

           - JC   Multiple correspondence with insured regarding preparation for          0.30             51.00
                  upcoming hearing regarding representation of plaintiffs, and          170.00/hr
                  status of insured's appeal.

           - JC   Continue review and analysis of 100 page joint stipulation of           0.40             68.00
                  counsel, submitted with plaintiffs' motion to compel Sankey           170.00/hr
                  defendants to provide further responses to plaintiffs' Request for
                  Production of Documents, to produce documents and for
                  sanctions.

 1/10/2013 - JC   Continue review and analysis of supplemental Memorandum of              0.60         102.00
                  Points and Authorities supporting plaintiffs' motion to compel        170.00/hr
                  Sankey defendants to provide further responses to plaintiffs'
                  Special Interrogatories, and for sanctions regarding alleged
                  spoliation of evidence.

           - JC   Continue review and analysis of 24 page declaration of plaintiff.       0.50             85.00
                  P. Berg, supporting plaintiffs' motion to compel Sankey               170.00/hr
                  defendants to provide further responses to plaintiffs' Special
                  Interrogatories and for sanctions.

           - KS   Conference regarding oral argument.                                     0.20             34.00
                                                                                        170.00/hr

           - JC   Review and analysis of plaintiffs' request for reconsideration of       0.40             68.00
                  1/9/13 order taking plaintiffs' motion to compel responses to         170.00/hr
                  Special Interrogatories to Sankey Defendants off-calendar.
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                                                                                          Hrs/Rate        Amount

 1/10/2013 - JC   Correspondence with client (as counsel for co-appellant, Defend            0.20             34.00
                  Our Freedoms Foundation), regarding preparation for upcoming             170.00/hr
                  oral argument in consolidated appeals.

           - JC   Begin review and analysis of plaintiff's motion to substitute              0.40             68.00
                  attorney Randall Berg in place of attorney Gary Kreep, regarding         170.00/hr
                  plaintiffs' counsel's pro hac vice admission to Ninth Circuit
                  District Court.

 1/12/2013 - KS   Conference regarding Monday's hearing.                                     0.20             34.00
                                                                                           170.00/hr

           - JC   Begin preparation for upcoming hearing regarding status of                 0.40             68.00
                  insured's appeal, and State Bar disciplinary proceeding against          170.00/hr
                  plaintiffs' counsel.

 1/14/2013 - JC   Multiple correspondence with insured, O. Taitz (as counsel for             0.30             51.00
                  co-appellant Defend Our Freedoms Foundations), toward                    170.00/hr
                  preparation for upcoming oral argument in consolidated appeals
                  by insured and DOFF.

           - JC   Multiple correspondence with opposing counsel for Sankey                   0.30             51.00
                  Defendants, regarding new related case filed by plaintiffs and           170.00/hr
                  potential motion to transfer case to District Court in California
                  and consolidate with Liberi v. Taitz case.

           - JC   Travel to and from court for status conference, hearing on                 1.30         221.00
                  plaintiffs' motions to compel regarding Special Interrogatories          170.00/hr
                  and Request for Production of Documents to Sankey
                  defendants, and hearing regarding plaintiffs' counsel's requests
                  to withdraw from case.

           - JC   Attend status conference, hearing on plaintiffs' motions to                1.80         306.00
                  compel regarding Special Interrogatories and Request for                 170.00/hr
                  Production of Documents to Sankey defendants, and hearing
                  regarding plaintiffs' counsel's requests to withdraw from case.

           - JC   Meeting with M. Colen, counsel for Sankey Defendants,                      0.20             34.00
                  regarding development of litigation strategy for seeking transfer        170.00/hr
                  and consolidation of plaintiffs' new case, filed in District Court in
                  Pennsylvania, to and with pending plaintiffs' case.

           - JC   Meeting with insured, O. Taitz (as counsel for co-appellant                0.30             51.00
                  Defend Our Freedoms Foundations), toward preparation for                 170.00/hr
                  upcoming oral argument in consolidated appeals by insured and
                  DOFF.

 1/15/2013 - JC   Begin review and analysis of plaintiffs' lengthy complaint                 0.40             68.00
                  (approximately 80 pages) in new and related case, Liberi v.              170.00/hr
                  Sankey, toward evaluation of claims and insured's potential
                  liability regarding new case.
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 1/16/2013 - JC   Continue review and analysis of plaintiffs' lengthy complaint            1.20         204.00
                  (approximately 80 pages) in new and related case, Liberi v.            170.00/hr
                  Sankey, toward evaluation of claims and insured's potential
                  liability regarding new case.

 1/18/2013 - JC   Continue review and analysis of plaintiffs' lengthy complaint            0.70         119.00
                  (approximately 80 pages) in new and related case, Liberi v.            170.00/hr
                  Sankey, toward evaluation of claims and insured's potential
                  liability regarding new case.

           - JC   Review and analysis of court's order on plaintiffs' motions to           0.30             51.00
                  compel regarding Special Interrogatories and Request for               170.00/hr
                  Production of Documents to Sankey Defendants.

 1/22/2013 - JC   Begin review and analysis of plaintiffs' report to court regarding       0.50             85.00
                  sanctions against insured, O. Taitz, and related correspondence        170.00/hr
                  to court and counsel regarding sanctions, as required under
                  subject court order.

           - JC   Correspondence with insured, O. Taitz, regarding plaintiffs'             0.20             34.00
                  report to court regarding sanctions against insured and related        170.00/hr
                  correspondence to court and counsel regarding sanctions, as
                  required under subject court order.

           - KS   Update to carrier regarding Berg's request for sanctions.                0.40             68.00
                                                                                         170.00/hr

           - JC   Begin review and analysis of multiple page response by insured,          0.50             85.00
                  O. Taitz (as counsel for various parties in case), to plaintiffs'      170.00/hr
                  report to court regarding sanctions against insured and related
                  correspondence to court and counsel regarding sanctions, as
                  required under subject court order.

 1/23/2013 - JC   Review and analysis of court's 1/22/13 order regarding motions           0.40             68.00
                  to compel regarding discovery by plaintiffs against Sankey             170.00/hr
                  defendants, motion by G. Kreep to withdraw as plaintiffs'
                  co-counsel, opposing counsel P. Berg's application regarding pro
                  hac vice status, and order requiring further briefing by plaintiffs
                  regarding legal representation.

           - JC   Review and analysis of court's 1/23/13 order regarding Order to          0.40             68.00
                  Show Cause against insured, O. Taitz, regarding alleged failure        170.00/hr
                  to report ethical violations and sanctions as required under
                  previous court order.

           - JC   Correspondence with insured, O. Taitz, regarding court's order to        0.20             34.00
                  show cause against insured under previous order regarding              170.00/hr
                  reporting of sanctions.

 1/24/2013 - JC   Telephone conference with insured, O. Taitz, regarding court's           0.20             34.00
                  order to show cause against insured under previous order               170.00/hr
                  regarding reporting of sanctions.
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                                                                                      Hrs/Rate        Amount

 1/24/2013 - KS   Conference regarding Court's order regarding insured's claimed         0.40             68.00
                  lying.                                                               170.00/hr

           - KS   Correspondence with client regarding response to Court order.          0.20             34.00
                                                                                       170.00/hr

 1/25/2013 -




 1/26/2013 -



 1/28/2013 - JC   Begin legal analysis of file materials, legal arguments and            0.90         153.00
                  subject case law on diversity jurisdiction issues regarding          170.00/hr
                  plaintiffs' (appellees') burden on jurisdictional issues, in
                  opposition to insured's anti-SLAPP motion and in related
                  appeals, toward preparation for upcoming oral argument.

           -



 1/29/2013 -




           - KS   Conference with client regarding Order to Show Cause.                  0.20             34.00
                                                                                       170.00/hr

           - JC   Continue legal analysis of file materials, legal arguments and         1.30         221.00
                  subject case law on diversity jurisdiction issues regarding          170.00/hr
                  plaintiffs' (appellees') burden on jurisdictional issues, in
                  opposition to insured's anti-SLAPP motion and in related
                  appeals, toward preparation for upcoming oral argument.

 1/30/2013 - JC   Begin legal analysis of file materials, legal arguments and            1.10         187.00
                  subject case law on issues regarding burden of insured, O. Taitz,    170.00/hr
                  and co-appellant, Defend Our Freedoms Foundation, on
                  anti-SLAPP motion and in related appeals, toward preparation
                  for upcoming oral argument.

           - JC   Begin analysis of procedure regarding motion to request                0.40             68.00
                  additional time for oral argument, in consolidated appeals by        170.00/hr
                  insured, O. Taitz and Defend Our Freedoms Foundation
                  (represented by insured as counsel), toward preparation for
                  upcoming oral argument in appeals.
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                                                                                       Hrs/Rate        Amount

 1/30/2013 - KS   Conference regarding appellate arguments.                               0.40             68.00
                                                                                        170.00/hr

           - JC   Begin legal analysis of file materials, legal arguments and             0.80         136.00
                  subject case law regarding issues regarding appellate                 170.00/hr
                  jurisdiction, including appellees' claim of mootness of appeal,
                  toward preparation for upcoming oral argument.

 1/31/2013 - JC   Continue legal analysis of file materials, legal arguments and          1.10         187.00
                  subject case law regarding issues regarding appellate                 170.00/hr
                  jurisdiction, including appellees' claim of mootness of appeal,
                  toward preparation for upcoming oral argument.

           - JC   Multiple correspondence with insured, O. Taitz (as counsel for          0.30             51.00
                  co-appellant Defend Our Freedoms Foundation) regarding                170.00/hr
                  potential motion for additional time for oral arguments in
                  consolidated appeals by DOFF and insured, toward preparation
                  for upcoming oral argument in appeals.

           - JC   Continue legal analysis of file materials, legal arguments and          0.90         153.00
                  subject case law on issues regarding burden of insured, O. Taitz,     170.00/hr
                  and co-appellant, Defend Our Freedoms Foundation, on
                  anti-SLAPP motion and in related appeals, toward preparation
                  for upcoming oral argument.

           - JC   Begin legal analysis of file materials, legal arguments and             0.90         153.00
                  subject case law on issues regarding burden of plaintiffs             170.00/hr
                  (appellees) in opposition to insured's anti-SLAPP motion and in
                  related appeals, toward preparation for upcoming oral argument.

  2/1/2013 - JC   Begin review and analysis of voluminous record on appeal                0.80         136.00
                  (approximately 400 pages), toward preparation for upcoming oral       170.00/hr
                  argument.

           -


  2/2/2013 - JC   Begin legal analysis of file materials, legal arguments and             1.20         204.00
                  subject case law on issues regarding burden of plaintiffs             170.00/hr
                  (appellees) on insured's anti-SLAPP motion and in related
                  appeals regarding alleged diversity jurisdiction of federal court,
                  toward preparation for upcoming oral argument.

           - JC   Multiple telephone conferences with insured, O. Taitz (as               0.30             51.00
                  counsel for co-appellant Defend Our Freedoms Foundation),             170.00/hr
                  regarding issues to be addressed at oral argument, in
                  preparation for upcoming oral argument.

           - JC   Continue legal analysis of file materials, legal arguments and          0.80         136.00
                  subject case law regarding issues regarding appellate                 170.00/hr
                  jurisdiction, including appellees' claim of mootness of appeal,
                  toward preparation for upcoming oral argument.
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                                                                                       Hrs/Rate        Amount

  2/2/2013 - JC   Continue legal analysis of file materials, legal arguments and          1.20         204.00
                  subject case law on diversity jurisdiction issues regarding           170.00/hr
                  plaintiffs' (appellees') burden on jurisdictional issues, in
                  opposition to insured's anti-SLAPP motion and in related
                  appeals, toward preparation for upcoming oral argument.

           - JC   Continue legal analysis of file materials, legal arguments and          1.30         221.00
                  subject case law on issues regarding burden of plaintiffs             170.00/hr
                  (appellees) in opposition to insured's anti-SLAPP motion and in
                  related appeals, toward preparation for upcoming oral argument.

  2/3/2013 - JC   Continue legal analysis of file materials, legal arguments and          0.80         136.00
                  subject case law regarding issues regarding appellate                 170.00/hr
                  jurisdiction, including appellees' claim of mootness of appeal,
                  toward preparation for upcoming oral argument.

           - JC   Continue legal analysis of file materials, legal arguments and          0.70         119.00
                  subject case law on issues regarding plaintiffs' (appellees')         170.00/hr
                  burden regarding insured's anti-SLAPP motion and in related
                  appeals regarding alleged diversity jurisdiction of federal court,
                  toward preparation for upcoming oral argument.

           - JC   Continue review and analysis of voluminous record on appeal             2.10         357.00
                  (approximately 400 pages), toward preparation for upcoming oral       170.00/hr
                  argument.

           - JC   Multiple correspondence with opposing counsel for Sankey                0.30             51.00
                  defendants, regarding status of their motion to transfer and          170.00/hr
                  consolidate plaintiffs' new, related case with pending case.

  2/4/2013 - JC   Attend lengthy meeting with insured, O. Taitz (as counsel for           1.30         221.00
                  co-appellant Defend Our Freedoms Foundation), regarding               170.00/hr
                  issues to be addressed at oral argument, in preparation for
                  upcoming oral argument.

           - JC   Begin review and analysis of Sankey Defendants' 16 page                 0.70         119.00
                  motion to dismiss, or to consolidate with pending Liberi v. Taitz     170.00/hr
                  case, new and related case filed by Plaintiffs in Eastern District
                  of Pennsylvania.

           - JC   Continue legal analysis of file materials, legal arguments and          1.20         204.00
                  subject case law on issues regarding burden of plaintiffs             170.00/hr
                  (appellees) in opposition to insured's anti-SLAPP motion and in
                  related appeals, toward preparation for upcoming oral argument.

           - JC   Continue legal analysis of file materials, legal arguments and          0.40             68.00
                  subject case law regarding issues regarding appellate                 170.00/hr
                  jurisdiction, including appellees' claim of mootness of appeal,
                  toward preparation for upcoming oral argument.
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                                                                                        Hrs/Rate        Amount

  2/4/2013 - JC   Begin analysis of backgrounds of three appellate court justices          0.40             68.00
                  assigned to hearing panel for oral argument in application,            170.00/hr
                  toward preparation for upcoming oral argument in appeal.

           - JC   Begin review and analysis of court of appeals' 2/1/13 order              0.40             68.00
                  regarding issues to be addressed at oral argument, in                  170.00/hr
                  preparation for upcoming oral argument.

  2/5/2013 - JC   Begin review and analysis of plaintiffs' 10 page Memorandum of           0.80         136.00
                  Points and Authorities and related exhibits and declarations, in       170.00/hr
                  response to court's Order to Show Cause regarding sanctions
                  against insured, O. Taitz, for alleged violation of order requiring
                  reporting of ethical violations.

           - JC   Several telephone conferences with insured, O. Taitz (as                 0.40             68.00
                  counsel for co-appellant Defend Our Freedoms Foundation),              170.00/hr
                  regarding issues to be addressed at oral argument, in
                  preparation for upcoming oral argument.

           - JC   Continue review and analysis of Sankey Defendants' 16 page               0.50             85.00
                  motion to dismiss, or to consolidate with pending Liberi v. Taitz      170.00/hr
                  case, new and related case filed by Plaintiffs in Eastern District
                  of Pennsylvania.

           - JC   Continue legal analysis of file materials, legal arguments and           1.10         187.00
                  subject case law regarding issues regarding appellate                  170.00/hr
                  jurisdiction, including appellees' claim of mootness of appeal,
                  toward preparation for upcoming oral argument.

  2/6/2013 - JC   Begin review and analysis of insured's 9 page Memorandum of              0.70         119.00
                  Points and Authorities and related exhibits and declarations, in       170.00/hr
                  response to court's Order to Show Cause regarding sanctions
                  against insured for alleged violation of order requiring reporting
                  of ethical violations.

           - JC   Travel to and from court of appeals in Pasadena for oral                 3.30         561.00
                  argument in appeal by insured, O. Taitz, from denial of                170.00/hr
                  anti-SLAPP motion to strike.

           - JC   Attend oral argument in appeal by insured, O. Taitz, and                 1.90         323.00
                  co-appellant, Defend Our Freedoms Foundation (represented by           170.00/hr
                  insured), from denial of anti-SLAPP motion to strike.

           - JC   Meeting with insured, O. Taitz (as counsel for co-appellant,             0.50             85.00
                  Defend Our Freedoms Foundation), regarding preparation for             170.00/hr
                  oral argument by insured and DOFF (represented by insured)
                  from denial of anti-SLAPP motion to strike.

           - JC   Meeting with insured, O. Taitz (as counsel for defendant, Defend         0.60         102.00
                  Our Freedoms Foundation), and M. Colen (counsel for Sankey             170.00/hr
                  defendants), toward development of defense strategy for
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                                                                                          Hrs/Rate        Amount

                  motions to dismiss or transfer plaintiffs' related new case
                  pending in Pennsylvania.

  2/7/2013 - JC   Begin review and analysis of plaintiffs' application to substitute R.      0.40             68.00
                  Berg for G. Kreep as sponsoring attorney for pro hac vice                170.00/hr
                  admission of opposing counsel P. Berg, and related investigation
                  into R. Berg.

           - JC   Begin review and analysis of plaintiff's two requests to court for         0.50             85.00
                  leave to file supplemental Memorandum of Points and                      170.00/hr
                  Authorities, in support of court's Order to Show Cause regarding
                  sanctions against insured, O. Taitz, for alleged violation of order
                  requiring reporting of ethical violations.

           - JC   Begin evaluation of legal issues regarding timeliness of potential         0.40             68.00
                  new anti-SLAPP motion to strike by insured, O. Taitz, to first           170.00/hr
                  amended complaint in connection with resolution of pending
                  appeal from denial of anti-SLAPP motion to complaint.

  2/9/2013 - KS   Correspondence with client regarding Court of Appeals.                     0.30             51.00
                                                                                           170.00/hr

 2/10/2013 - KS   Finalize response to client regarding appeal.                              0.50             85.00
                                                                                           170.00/hr

           - JC   Multiple correspondence with insured, O. Taitz (as counsel for             0.30             51.00
                  co-appellant Defend Our Freedoms Foundations), regarding                 170.00/hr
                  issues in appeal on potential new anti-SLAPP motion to strike
                  plaintiffs' amended complaint.

 2/15/2013 - KS   Conference with client regarding anti-SLAPP.                               0.40             68.00
                                                                                           170.00/hr

           - JC   Multiple correspondence with insured, O. Taitz (as counsel for             0.30             51.00
                  co-appellant, Defend Our Freedoms Foundations), regarding                170.00/hr
                  decision in appeal by insured and DOFF from denial of
                  anti-SLAPP motion to strike.

           - JC   Begin review and analysis of court's 2/14/13 order granting                0.40             68.00
                  application of plaintiffs' co-counsel, G. Kreep, to withdraw as          170.00/hr
                  plaintiffs' counsel.

           - JC   Begin review and analysis of court of appeals' decision in appeal          0.50             85.00
                  by insured, O. Taitz, and co-appellant, Defend Our Freedoms              170.00/hr
                  Foundations (represented by insured), in appeal from denial of
                  anti-SLAPP motion to strike.

 2/19/2013 - KS   Conference regarding new anti-SLAPP motion.                                0.60         102.00
                                                                                           170.00/hr
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                                                                                         Hrs/Rate        Amount

 2/20/2013 - JC   Multiple correspondence with insured, O. Taitz (as counsel for            0.30             51.00
                  co-defendant Defend Our Freedoms Foundations), toward                   170.00/hr
                  preparation of request for leave to file defendants' anti-SLAPP
                  motion to strike to plaintiffs' first amended complaint.

           - JC   Draft notice of filing court of appeals' decision in District Court.      0.30             51.00
                                                                                          170.00/hr

 2/21/2013 - KS   Correspondence with carrier regarding ruling on appeal.                   0.20             34.00
                                                                                          170.00/hr

           - JC   Begin drafting of insured's request for leave to District Court to        0.70         119.00
                  file anti-SLAPP motion to strike to plaintiffs' first amended           170.00/hr
                  complaint.

           - JC   Multiple correspondence with insured, as counsel for defendant            0.30             51.00
                  Defend Our Freedoms Foundations, toward development of                  170.00/hr
                  strategy seeking leave to file motions to strike and dismiss
                  plaintiffs' first amended complaint.

           - JC   Begin review and analysis of legal issues, and review and                 1.20         204.00
                  analysis of voluminous file materials including various orders and      170.00/hr
                  previous motions, toward preparation of insured's request for
                  leave to District Court to file anti-SLAPP motion to strike to
                  plaintiffs' first amended complaint.

 2/22/2013 - JC   Multiple telephone conferences with insured, O. Taitz (also as            0.30             51.00
                  counsel for defendant, Defend Our Freedoms Foundations),                170.00/hr
                  toward development of insured's and DOFF's anti-SLAPP motion
                  to strike plaintiffs' first amended complaint.

           - JC   Begin review and analysis of appellees' cost bill to court of             0.50             85.00
                  appeals, toward preparation of insured's objections to cost bill.       170.00/hr

 2/25/2013 - KS   Correspondence with carrier regarding update on court's order             0.30             51.00
                  and warnings.                                                           170.00/hr

           - JC   Begin drafting of insured's Memorandum of Points and                      0.80         136.00
                  Authorities in opposition to appellees' cost bill to court of           170.00/hr
                  appeals, pursuant to carrier authority from Laurie Johnson.

           - JC   Begin drafting of declaration, and organization of related exhibits,      0.60         102.00
                  supporting insured's opposition to appellees' cost bill to court of     170.00/hr
                  appeals, pursuant to carrier authority from Laurie Johnson.

           - JC   Begin drafting of declaration, and organization of supporting             0.60         102.00
                  exhibits, supporting insured's cost bill to court of appeals,           170.00/hr
                  pursuant to carrier authority from Laurie Johnson.

           - JC   Begin preparation of insured's cost bill to court of appeals, and         0.90         153.00
                  related review and analysis of associated file materials, pursuant      170.00/hr
                  to carrier authority from Laurie Johnson.
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                                                                                        Hrs/Rate        Amount

 2/25/2013 - JC   Continue review and analysis of appellees' cost bill to court of         0.70         119.00
                  appeals, and related file materials, toward preparation of             170.00/hr
                  insured's objections to cost bill.

           - JC   Begin review and analysis of file materials, toward preparation of       0.70         119.00
                  insured's cost bill in consolidated appeals.                           170.00/hr

 2/27/2013 - JC   Multiple correspondence with insured (as counsel for defendant,          0.30             51.00
                  Defend Our Freedoms Foundations) and counsel for Sankey                170.00/hr
                  defendants, M. Colen, regarding order setting hearing on various
                  motions to dismiss and to transfer by Sankey and Lexis Nexis
                  defendants, in related Ostella v. Sankey case.

 2/28/2013 - JC   Review and analysis of order setting hearing on various motions          0.30             51.00
                  to dismiss and to transfer by Sankey and Lexis Nexis                   170.00/hr
                  defendants, in related Ostella v. Sankey case.

  3/4/2013 - JC   Begin review and analysis of various cases and other legal               0.40             68.00
                  authorities cited by appellees in objections and Memorandum of         170.00/hr
                  Points and Authorities regarding insured's cost bill, toward
                  preparation of insured's reply Memorandum of Points and
                  Authorities to appellees' objections.

           - JC   Begin review and analysis of appellees' reply Memorandum of              0.50             85.00
                  Points and Authorities, declaration and exhibits regarding             170.00/hr
                  insured's opposition to appellees' cost bill.

           - JC   Begin review and analysis of appellees' objections and                   0.70         119.00
                  Memorandum of Points and Authorities regarding insured's cost          170.00/hr
                  bill, and lengthy declaration with exhibits (over 80 pages), toward
                  preparation of insured's reply Memorandum of Points and
                  Authorities and declaration.

           - JC   Multiple correspondence with insured, O. Taitz (as counsel for           0.30             51.00
                  co-appellant, Defend Our Freedoms Foundations), regarding              170.00/hr
                  development of insured's and DOFF's reply to objections of
                  plaintiffs' to insured's and DOFF's cost bills in appeal.

  3/5/2013 - JC   Continue review and analysis of appellees' objections and                0.70         119.00
                  Memorandum of Points and Authorities regarding insured's cost          170.00/hr
                  bill, and lengthy declaration with exhibits (over 80 pages), toward
                  preparation of insured's reply Memorandum of Points and
                  Authorities and declaration.

  3/6/2013 - JC   Continue review and analysis of various cases and other legal            0.50             85.00
                  authorities cited by appellees in objections and Memorandum of         170.00/hr
                  Points and Authorities regarding insured's cost bill, toward
                  preparation of insured's reply Memorandum of Points and
                  Authorities to appellees' objections.

           - JC   Begin drafting insured's detailed Memorandum of Points and               1.80         306.00
                  Authorities, and supporting declaration, in reply to appellees'        170.00/hr
                  objections and Memorandum of Points and Authorities regarding
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                                                                                           Hrs/Rate        Amount

                     insured's cost bill, pursuant to carrier authority from Laurie
                     Johnson.

  3/7/2013 - JC      Begin drafting detailed declaration supporting reply                     0.40             68.00
                     Memorandum of Points and Authorities of insured, O. Taitz,             170.00/hr
                     regarding appellees' objections to insured's cost bill, pursuant to
                     carrier authority from Laurie Johnson.

           - JC      Continue drafting insured's detailed Memorandum of Points and            1.60         272.00
                     Authorities, and supporting declaration, in reply to appellees'        170.00/hr
                     objections and Memorandum of Points and Authorities regarding
                     insured's cost bill, pursuant to carrier authority from Laurie
                     Johnson.

           - JC      Multiple correspondence with insured, O. Taitz (as counsel for           0.30             51.00
                     co-appellant, Defend Our Freedoms Foundations), toward                 170.00/hr
                     preparation of reply to appellees' objections and Memorandum of
                     Points and Authorities regarding insured's cost bill.

  3/8/2013 - MLC Draft Certificate of Service for Taitz' Reply to Objections to Bill of       0.10              9.50
                 Costs, on behalf of Jeffrey Cunningham., pursuant to carrier                95.00/hr
                 authority from Laurie Johnson.

           - MLC Review and revise Reply to Orly Taitz to Appellee's Objections to            0.20             19.00
                 Taitz' Bill of Costs and Supporting Declaration with exhibit,               95.00/hr
                 pursuant to carrier authority from Laurie Johnson.

           - JC      Continue drafting detailed declaration supporting reply                  0.90         153.00
                     Memorandum of Points and Authorities of insured, O. Taitz,             170.00/hr
                     regarding appellees' objections to insured's cost bill, pursuant to
                     carrier authority from Laurie Johnson.

           - JC      Multiple telephone conferences with insured, O. Taitz (as                0.30             51.00
                     counsel for co-appellant, Defend Our Freedoms Foundations),            170.00/hr
                     toward preparation of reply to appellees' objections and
                     Memorandum of Points and Authorities regarding insured's cost
                     bill.

 3/11/2013 - JC      Multiple correspondence with insured (as co-counsel for several          0.30             51.00
                     defendants) regarding status of disciplinary matter involving          170.00/hr
                     opposing counsel for plaintiffs', and potential suspension of
                     opposing counsel.

 3/12/2013 - KS      Correspondence with carrier regarding expert fees for trial.             0.20             34.00
                                                                                            170.00/hr

           - KS      Conference regarding client's desire to file a petition with Court       0.20             34.00
                     of Appeals.                                                            170.00/hr

           - JC      Correspondence with insured (as co-counsel for several                   0.20             34.00
                     defendants) regarding Court of Appeals' decision in appeals by         170.00/hr
                     insured and Defend Our Freedoms Foundation (represented by
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                  insured), including potential petition for rehearing of appeals en
                  banc.

 3/12/2013 - JC   Begin analysis of complex legal issues regarding potential                0.70         119.00
                  petition for rehearing of appeals en banc by Ninth Circuit, as          170.00/hr
                  proposed by insured O. Taitz (as counsel for co-appellant
                  Defend Our Freedoms Foundation).

           - JC   Review and analysis of Court of Appeals' decision on insured's            0.40             68.00
                  and plaintiffs' cost bills in appeals, and remand to District Court.    170.00/hr

 3/13/2013 - KS   Telephone call with carrier regarding future handling.                    0.10             17.00
                                                                                          170.00/hr

           - KS   Authority from Laurie Johnson regarding payment of cost bill.             0.10             17.00
                                                                                          170.00/hr

           - JC   Correspondence with insured (as co-counsel for several                    0.20             34.00
                  defendants) regarding Court of Appeals' decision in appeals by          170.00/hr
                  insured and Defend Our Freedoms Foundation (represented by
                  insured), including potential petition for rehearing of appeals en
                  banc.

           - KS   Correspondence with carrier regarding cost bill, etc.                     0.20             34.00
                                                                                          170.00/hr

           - KS   Conference regarding client's request for a petition.                     0.30             51.00
                                                                                          170.00/hr

           - KS   Finalize correspondence to carrier regarding future handling.             0.20             34.00
                                                                                          170.00/hr

 3/14/2013 - JC   Correspondence with opposing counsel regarding costs award in             0.20             34.00
                  appeals.                                                                170.00/hr

 3/15/2013 - KS   Conference regarding new court order.                                     0.20             34.00
                                                                                          170.00/hr

 3/16/2013 - KS   Conference regarding new court rulings.                                   0.40             68.00
                                                                                          170.00/hr

 3/18/2013 - JC   Begin review and analysis of court's recent order on insured's            0.50             85.00
                  request for leave to file anti-SLAPP motion to strike, plaintiffs'      170.00/hr
                  request for leave to file additional briefing regarding request for
                  sanctions against insured, and plaintiffs' requests to file
                  additional briefing regarding their motions to compel regarding
                  Special Interrogatories and Request for Production of
                  Documents to Sankey defendants.

           - JC   Begin analysis of legal issues regarding deadlines in federal             0.50             85.00
                  court for filing California anti-SLAPP motion to strike, toward         170.00/hr
                  preparation of insured's motion to strike.
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 3/19/2013 - JC   Continue analysis of legal issues regarding deadlines in federal        1.20         204.00
                  court for filing California anti-SLAPP motion to strike, toward       170.00/hr
                  preparation of insured's motion to strike.

           - JC   Begin review and analysis of plaintiffs' voluminous first amended       1.90         323.00
                  complaint (approximately 200 pages), toward analysis of viability     170.00/hr
                  of potential FRCP Rule 12 motions to dismiss, and FRCP Rule
                  12 motion to strike.

           - JC   Begin analysis of legal issues for carrier regarding viability of       0.70         119.00
                  potential FRCP Rule 12 motions to dismiss, and FRCP Rule 12           170.00/hr
                  motion to strike to plaintiffs' first amended complaint.

           - JC   Lengthy correspondence to insured, O. Taitz (also as counsel for        0.50             85.00
                  several defendants) regarding coordinated requests for leave to       170.00/hr
                  file FRCP motions to dismiss and strike plaintiffs' first amended
                  complaint, and toward preparation of anti-SLAPP motion to strike
                  amended complaint.

 3/21/2013 - KS   Correspondence with carrier regarding new anti-SLAPP.                   0.20             34.00
                                                                                        170.00/hr

           - JC   Continue review and analysis of plaintiffs' voluminous first            0.80         136.00
                  amended complaint (approximately 200 pages), toward analysis          170.00/hr
                  of viability of potential FRCP Rule 12 motions to dismiss, and
                  FRCP Rule 12 motion to strike.

           - JC   Correspondence with court clerk regarding clarification of court's      0.20             34.00
                  March 15, 2013 order, toward preparation of insured's                 170.00/hr
                  anti-SLAPP motion to strike plaintiffs' first amended complaint.

           - JC   Correspondence with insured, O. Taitz (also as counsel for              0.20             34.00
                  several defendants) regarding coordinated requests for leave to       170.00/hr
                  file FRCP motions to dismiss and strike plaintiffs' first amended
                  complaint, and toward preparation of anti-SLAPP motion to strike
                  amended complaint.

           - KS   Amend analysis for client.                                              0.40             68.00
                                                                                        170.00/hr

 3/22/2013 - JC   Multiple correspondence with court clerk and all opposing               0.30             51.00
                  counsel, regarding insured's request for clarification of court's     170.00/hr
                  requirements for insured's anti-SLAPP motion to strike.

           - JC   Begin drafting detailed request to court for leave to file FRCP         0.40             68.00
                  motions to dismiss plaintiffs' first amended complaint (two           170.00/hr
                  motions), plus FRCP motion to strike, pursuant to carrier
                  authority from Laurie Johnson.

           - JC   Begin review of voluminous court records and docket regarding           2.10         357.00
                  previous law and motion activity by insured, O. Taitz, toward         170.00/hr
                  drafting detailed request to court for leave by insured to file
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                  FRCP motions to dismiss plaintiffs' first amended complaint (two
                  motions), plus FRCP motion to strike (total of three motions).

 3/22/2013 - JC   Draft detailed correspondence and legal analysis to insured, O.           0.60         102.00
                  Taitz (also as counsel for several defendants) regarding                170.00/hr
                  summary of previous law and motion activity by insured and
                  related parties, toward drafting detailed request to court for leave
                  by insured to file FRCP motions to dismiss plaintiffs' first
                  amended complaint (two motions), plus FRCP motion to strike
                  (total of three motions).

           - KS   Conference with carrier regarding future handling.                        0.20             34.00
                                                                                          170.00/hr

           - JC   Review and analysis of plaintiff's sur-reply Memorandum of                0.50             85.00
                  Points and Authorities seeking imposition of sanctions against          170.00/hr
                  insured, O. Taitz, regarding court's Order to Show Cause
                  regarding sanctions against insured.

 3/23/2013 - JC   Begin review and analysis of legal issues raised in plaintiff's           0.40             68.00
                  sur-reply Memorandum of Points and Authorities seeking                  170.00/hr
                  imposition of sanctions against insured, O. Taitz, regarding
                  court's Order to Show Cause regarding sanctions against
                  insured.

 3/24/2013 - KS   Telephone call with client regarding Order to Show Cause.                 0.20             34.00
                                                                                          170.00/hr

 3/25/2013 - JC   Multiple correspondence with insured, O. Taitz, regarding court's         0.30             51.00
                  Order to Show Cause regarding sanctions against her regarding           170.00/hr
                  reporting of sanctions imposed against insured in other cases.

           - JC   Correspondence with adjuster Laurie Johnson regarding                     0.20             34.00
                  payment of costs on appeal.                                             170.00/hr

           - KS   Conference regarding anti-SLAPP and sanctions request.                    0.30             51.00
                                                                                          170.00/hr

           - JC   Multiple correspondence with opposing counsel regarding                   0.30             51.00
                  payment of costs on appeal.                                             170.00/hr

 3/26/2013 - KS   Telephone call from client regarding law and motion.                      0.20             34.00
                                                                                          170.00/hr

           - KS   Conference regarding attack on pleadings.                                 0.80         136.00
                                                                                          170.00/hr

           - JC   Multiple correspondence with insured (as co-defense counsel)              0.30             51.00
                  regarding evaluation of legal issues regarding seeking leave to         170.00/hr
                  file FRCP Rule 12 b 1 motion to dismiss for lack of diversity
                  jurisdiction.
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                                                                                         Hrs/Rate        Amount

 3/26/2013 - KS   Correspondence with client regarding future handling.                     0.40             68.00
                                                                                          170.00/hr

 3/27/2013 - KS   Conference regarding client's requests for new attacks on                 0.60         102.00
                  plaintiffs' complaint.                                                  170.00/hr

           - JC   Multiple telephone conferences with insured (as co-defense                0.30             51.00
                  counsel) regarding evaluation of legal issues regarding seeking         170.00/hr
                  leave to file FRCP Rule 12 b 1 motion to dismiss for lack of
                  diversity jurisdiction.

           - JC   Begin drafting of insured's request to court for leave to file FRCP       1.50         255.00
                  Rule 12(b)(1) motion to dismiss for lack of diversity jurisdiction,     170.00/hr
                  and related review and analysis of voluminous file materials
                  including plaintiffs' 170 page amended complaint plus
                  approximately 800 pages of exhibits necessary to support
                  request, pursuant to carrier authority from Laurie Johnson.

           -


           - JC   Begin drafting of insured's request to court for leave to file FRCP       1.40         238.00
                  Rule 12(b)(6) motion to dismiss for lack of diversity jurisdiction,     170.00/hr
                  and related review and analysis of voluminous file materials
                  including plaintiffs' 170 page amended complaint plus
                  approximately 800 pages of exhibits necessary to support
                  request, pursuant to carrier authority from Laurie Johnson.

           - JC   Begin drafting of insured's request to court for leave to file FRCP       0.90         153.00
                  Rule 12(f) motion to strike, and related review and analysis of         170.00/hr
                  voluminous file materials including plaintiffs' 170 page amended
                  complaint plus approximately 800 pages of exhibits necessary
                  to support request, pursuant to carrier authority from Laurie
                  Johnson.

 3/28/2013 - KS   Analyze client's request further.                                         0.60         102.00
                                                                                          170.00/hr

           - JC   Continue drafting of insured's request to court for leave to file         1.30         221.00
                  FRCP Rule 12(f) motion to strike, and related review and                170.00/hr
                  analysis of voluminous file materials including plaintiffs' 170 page
                  amended complaint plus approximately 800 pages of exhibits
                  necessary to support request, pursuant to carrier authority from
                  Laurie Johnson.

           - JC   Begin drafting lengthy and detailed meet and confer demand, as            1.90         323.00
                  required under local court rules, to opposing counsel regarding         170.00/hr
                  insured's anti-SLAPP motion to strike, including review and
                  analysis of voluminous file materials including plaintiffs' 170 page
                  amended complaint with 800 pages of exhibits.
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                                                                                       Hrs/Rate        Amount

 3/28/2013 - JC   Several correspondence with insured (including in capacity as           0.50             85.00
                  co-defense counsel) regarding proposed discovery and                  170.00/hr
                  investigation regarding diversity jurisdiction issues and related
                  evaluation of legal issues regarding seeking leave to file FRCP
                  Rule 12(h) motion to dismiss for lack of diversity jurisdiction.

           - KS   Conference regarding response to client's request for further law       0.30             51.00
                  and motion.                                                           170.00/hr

 3/29/2013 - JC   Begin review and analysis of request by insured, O. Taitz (as           0.40             68.00
                  co-defense counsel), for leave to file FRCP Rule 12(b)(1) motion      170.00/hr
                  to dismiss.

           - JC   Begin evaluation of plaintiffs' alleged privacy rights under            2.90         493.00
                  California and federal law, and related claims, toward support for    170.00/hr
                  insured's meet and confer demand, as required under local court
                  rules, to opposing counsel regarding insured's anti-SLAPP
                  motion to strike.

           - JC   Continue drafting request to court for leave to file FRCP Rule          0.40             68.00
                  12(b)(6) and (f) motions to dismiss and strike first amended          170.00/hr
                  complaint, pursuant to carrier authority from Laurie Johnson.

           - JC   Continue drafting lengthy and detailed meet and confer demand           2.40         408.00
                  (approximately 20 pages), as required under local court rules, to     170.00/hr
                  opposing counsel regarding insured's anti-SLAPP motion to
                  strike, including review and analysis of voluminous file materials
                  including plaintiffs' 170 page amended complaint with 800 pages
                  of exhibits.

 3/31/2013 - JC   Review and analysis of response Memorandum of Points and                0.60         102.00
                  Authorities and declaration by insured, O. Taitz (as co-defense       170.00/hr
                  counsel), to plaintiffs' reply Memorandum of Points and
                  Authorities regarding Order to Show Cause regarding sanctions
                  against insured.

  4/1/2013 - KS   Conference regarding court orders.                                      0.30             51.00
                                                                                        170.00/hr

           - JC   Continue drafting lengthy and detailed meet and confer demand           1.30         221.00
                  (approximately 20 pages), as required under local court rules, to     170.00/hr
                  opposing counsel regarding insured's anti-SLAPP motion to
                  strike, including review and analysis of voluminous file materials
                  including plaintiffs' 170 page amended complaint with 800 pages
                  of exhibits.

           - JC   Review and analysis of summary of opposition Memorandum of              0.60         102.00
                  Points and Authorities by defendants, T. Sankey and Sankey            170.00/hr
                  Firm, in opposition to plaintiffs' motion to compel regarding
                  Request for Production of Documents to Sankey defendants.
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                                                                                        Hrs/Rate        Amount

  4/1/2013 - JC   Review and analysis of court of appeals' 4/1/13 order reducing           0.40             68.00
                  award of costs to appellees in appeal.                                 170.00/hr

           - JC   Correspondence with adjuster Laurie Johnson regarding court of           0.20             34.00
                  appeals' order reducing appellees' costs on appeal.                    170.00/hr

           - JC   Begin drafting insured's detailed anti-SLAPP motion to strike first      0.70         119.00
                  amended complaint, pursuant to authorization of adjuster Laurie        170.00/hr
                  Johnson.

           - JC   Review and analysis of plaintiffs' supplemental Memorandum of            0.70         119.00
                  Points and Authorities regarding motion to compel defendants,          170.00/hr
                  T. Sankey and Sankey Firm, regarding Special Interrogatories to
                  Sankey defendants.

  4/2/2013 - JC   Begin review and analysis of voluminous file materials regarding         0.90         153.00
                  motions for summary judgment of Lexis and Intelius Defendants          170.00/hr
                  including orders and findings, toward support for insured's
                  anti-SLAPP motion to strike first amended complaint and
                  supporting request for judicial notice.

           - JC   Review and analysis of plaintiffs' supplemental Memorandum of            0.60         102.00
                  Points and Authorities regarding motion to compel defendants,          170.00/hr
                  T. Sankey and Sankey Firm, regarding Request for Production of
                  Documents to Sankey defendants.

  4/3/2013 - JC   Begin review and organize of voluminous file materials including         0.70         119.00
                  court file documents, toward support for insured's anti-SLAPP          170.00/hr
                  motion to strike first amended complaint and supporting request
                  for judicial notice.

  4/4/2013 - JC   Receipt and review of notice of filing court of appeals' order in        0.30             51.00
                  district court on insured's and appellees' motions to tax costs on     170.00/hr
                  appeal.

           - JC   Continue review and analysis of voluminous file materials                1.10         187.00
                  regarding motions for summary judgment of Lexis and Intelius           170.00/hr
                  Defendants including orders and findings, toward support for
                  insured's anti-SLAPP motion to strike first amended complaint
                  and supporting request for judicial notice.

  4/5/2013 - JC   Continue review and analysis of lengthy complaint                        1.20         204.00
                  (approximately 70 pages) in related case, Liberi v. IRB Research.      170.00/hr

           - JC   Begin development of insured's complex legal arguments                   1.30         221.00
                  regarding application of California discharge of official duty         170.00/hr
                  privilege defense, including review and analysis of plaintiffs' 170
                  page amended complaint for examples of protected publications,
                  toward support for insured's anti-SLAPP motion to strike
                  amended complaint.
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                                                                                        Hrs/Rate        Amount

  4/8/2013 - KS   Telephone call from client regarding meet and confer.                    0.20             34.00
                                                                                         170.00/hr

           - JC   Continue development of insured's complex legal arguments                1.70         289.00
                  regarding application of California discharge of official duty         170.00/hr
                  privilege defense, including review and analysis of plaintiffs' 170
                  page amended complaint for examples of protected publications,
                  toward support for insured's anti-SLAPP motion to strike
                  amended complaint.

           - JC   Multiple telephone conference with insured, O. Taitz (also as            0.30             51.00
                  co-defense counsel) toward development of meet and confer              170.00/hr
                  arguments regarding insured's proposed anti-SLAPP motion to
                  strike.

           - JC   Continue preparation of lengthy meet and confer                          1.60         272.00
                  correspondence to opposing counsel regarding insured's                 170.00/hr
                  proposed anti-SLAPP motion to strike.

           - JC   Begin review and analysis of issue of potential treatment of             1.10         187.00
                  insured's anti-SLAPP motion to strike as motion for summary            170.00/hr
                  judgment, and potential consequences of such treatment, toward
                  preparation of anti-SLAPP motion.

           - JC   Continue preparation of insured's lengthy and detailed                   1.80         306.00
                  anti-SLAPP motion to strike to plaintiffs' first amended complaint,    170.00/hr
                  pursuant to carrier authority from Laurie Johnson.

           - JC   Continue evaluation and development of insured's complex legal           0.90         153.00
                  arguments regarding non-California residents lack of privacy           170.00/hr
                  rights under California Constitution, toward support for insured's
                  anti-SLAPP motion to strike amended complaint.

  4/9/2013 - JC   Draft correspondence to adjuster Laurie Johnson regarding                0.30             51.00
                  order in appeals reducing cost award to appellees, and regarding       170.00/hr
                  payment of reduced award.

           - KS   Telephone call from client regarding anti-SLAPP Motion.                  0.20             34.00
                                                                                         170.00/hr

           - JC   Correspondence with insured, O. Taitz (also as co-defense                0.20             34.00
                  counsel) regarding insured's requested revisions to lengthy meet       170.00/hr
                  and confer statement regarding insured's proposed anti-SLAPP
                  motion to strike to amended complaint.

 4/10/2013 - JC   Continue development of insured's complex legal arguments                1.40         238.00
                  regarding application of California litigation privilege defense,      170.00/hr
                  including review and analysis of plaintiffs' 170 page amended
                  complaint for examples of protected publications,toward support
                  for insured's anti-SLAPP motion to strike amended complaint.
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                                                                                       Hrs/Rate        Amount

 4/10/2013 - JC   Several telephone conferences with insured, O. Taitz (also as           0.50             85.00
                  co-defense counsel) regarding insured's requested revisions to        170.00/hr
                  lengthy meet and confer statement regarding insured's proposed
                  anti-SLAPP motion to strike to amended complaint.

           - JC   Begin review and analysis of numerous suggested revisions by            0.60         102.00
                  insured, O. Taitz (also as co-defense counsel) to lengthy meet        170.00/hr
                  and confer statement regarding insured's proposed anti-SLAPP
                  motion to strike to amended complaint.

           - JC   Continue evaluation and development of insured's complex legal          0.70         119.00
                  arguments regarding non-California residents lack of privacy          170.00/hr
                  rights under California Constitution, toward support for insured's
                  anti-SLAPP motion to strike amended complaint, pursuant to
                  authority of adjuster Laurie Johnson.

           - JC   Correspondence with opposing counsel regarding insured's                0.20             34.00
                  proposed anti-SLAPP motion to strike.                                 170.00/hr

           - JC   Begin drafting several revisions requested by insured, O. Taitz         1.30         221.00
                  (also as co-defense counsel) to detailed meet and confer              170.00/hr
                  demand, as required under local court rules, to opposing counsel
                  regarding insured's anti-SLAPP motion to strike.

           - KS   Conference regarding client's other cases and relation to               0.30             51.00
                  opposing counsel's allegations.                                       170.00/hr

           - JC   Continue review and analysis of lengthy complaint                       0.60         102.00
                  (approximately 70 pages) in related case, Liberi v. IRB Research.     170.00/hr

           - JC   Begin drafting portion of insured's detailed anti-SLAPP motion to       0.90         153.00
                  strike first amended complaint regarding application of California    170.00/hr
                  official duty and litigation privilege defenses, pursuant to
                  authorization of adjuster Laurie Johnson.

 4/11/2013 - JC   Review and analysis numerous reports on Pennsylvania                    0.50             85.00
                  Supreme Court website, regarding pending disciplinary                 170.00/hr
                  proceeding against opposing counsel, and toward potential
                  motion to remove as opposing counsel.

           - JC   Continue development of insured's complex legal arguments               1.30         221.00
                  regarding application of California litigation privilege defense,     170.00/hr
                  including review and analysis of plaintiffs' 170 page amended
                  complaint for examples of protected publications, toward support
                  for insured's anti-SLAPP motion to strike amended complaint.

           - JC   Begin review and analysis of file materials including orders and        0.60         102.00
                  findings regarding defendant, Oracle Corporation's motion to          170.00/hr
                  dismiss, toward development of insured's legal arguments based
                  on claim preclusion in support of insured's anti-SLAPP motion to
                  strike.
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                                                                                          Hrs/Rate        Amount

 4/12/2013 - JC   Continue development of insured's complex legal arguments                  0.60         102.00
                  regarding application of California discharge of official duty           170.00/hr
                  privilege defense, including review and analysis of plaintiffs' 170
                  page amended complaint for examples of protected publications,
                  toward support for insured's anti-SLAPP motion to strike
                  amended complaint.

           - JC   Continue drafting portion of insured's detailed anti-SLAPP motion          0.80         136.00
                  to strike first amended complaint regarding application of               170.00/hr
                  California official duty and litigation privilege defenses, pursuant
                  to authorization of adjuster Laurie Johnson.

 4/15/2013 - JC   Continue drafting portion of insured's detailed anti-SLAPP motion          1.80         306.00
                  to strike first amended complaint regarding application of               170.00/hr
                  California litigation privilege defense, pursuant to authorization of
                  adjuster Laurie Johnson.

           - JC   Continue review and analysis of file materials including orders            1.70         289.00
                  and findings regarding defendant, Oracle Corporation's motion to         170.00/hr
                  dismiss, toward development of insured's legal arguments based
                  on claim preclusion in support of insured's anti-SLAPP motion to
                  strike.

           - JC   Multiple telephone conferences with adjuster Laurie Johnson                0.30             51.00
                  regarding status of insured's anti-SLAPP motion to strike.               170.00/hr

 4/16/2013 - JC   Begin review and analysis of file materials including orders and           0.90         153.00
                  findings regarding defendant, Lexis Nexis's motion for summary           170.00/hr
                  judgment, toward development of insured's legal arguments
                  based on claim preclusion in support of insured's anti-SLAPP
                  motion to strike.

           - JC   Begin review and analysis of opposing counsel's lengthy (greater           1.10         187.00
                  than 40 pages) meet and confer correspondence regarding                  170.00/hr
                  anti-SLAPP motion to strike by insured, O. Taitz, toward
                  preparation for required conference with opposing counsel
                  regarding motion.

           - JC   Begin evaluation of plaintiffs' new arguments regarding privacy            1.20         204.00
                  rights under Pennsylvania, New Jersey and New Mexico law,                170.00/hr
                  and review and analysis of related legal authorities cited, toward
                  preparation of insured's anti-SLAPP motion and preparation for
                  meet and confer conference with opposing counsel regarding
                  motion.

           - JC   Several telephonic conferences with insured, O. Taitz (also as             0.40             68.00
                  co-defense counsel) regarding analysis of opposing counsel's             170.00/hr
                  lengthy (greater than 40 pages) meet and confer
                  correspondence regarding anti-SLAPP motion to strike by
                  insured, toward preparation for required conference with
                  opposing counsel regarding motion.
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                                                                                         Hrs/Rate        Amount

 4/16/2013 - KS   Conference regarding client's response to meet and confer.                0.20             34.00
                                                                                          170.00/hr

 4/17/2013 - KS   Conference regarding client's response.                                   0.20             34.00
                                                                                          170.00/hr

           - KS   Correspondence with opposing counsel regarding meet and                   0.60         102.00
                  confer.                                                                 170.00/hr

           - JC   Continue review and analysis of opposing counsel's lengthy                1.20         204.00
                  (greater than 40 pages) meet and confer correspondence                  170.00/hr
                  regarding anti-SLAPP motion to strike by insured, O. Taitz,
                  toward preparation for required conference with opposing
                  counsel regarding motion.

           - JC   Begin review and analysis of numerous cases and other legal               1.90         323.00
                  authorities cited by opposing counsel in lengthy (greater than 40       170.00/hr
                  pages) meet and confer correspondence regarding anti-SLAPP
                  motion to strike by insured, O. Taitz, toward preparation for
                  required conference with opposing counsel regarding motion.

 4/18/2013 - JC   Continue review and analysis of opposing counsel's lengthy                1.90         323.00
                  (greater than 40 pages) meet and confer correspondence                  170.00/hr
                  regarding anti-SLAPP motion to strike by insured, O. Taitz,
                  toward preparation for required conference with opposing
                  counsel regarding motion.

           - JC   Begin evaluation of plaintiffs' choice of law arguments, and              0.80         136.00
                  review and analysis of related legal authorities cited, toward          170.00/hr
                  preparation of insured's anti-SLAPP motion and preparation for
                  meet and confer conference with opposing counsel regarding
                  motion.

           - JC   Begin evaluation of plaintiffs' California Information Practices Act      0.80         136.00
                  arguments, and review and analysis of related legal authorities         170.00/hr
                  cited, toward preparation of insured's anti-SLAPP motion and
                  preparation for meet and confer conference with opposing
                  counsel regarding motion.

           - JC   Continue evaluation and development of complex legal                      0.70         119.00
                  arguments regarding litigation privilege defenses, toward support       170.00/hr
                  for insured's anti-SLAPP motion to strike to amended complaint.

           - JC   Begin drafting of request for judicial notice supporting                  0.50             85.00
                  anti-SLAPP motion to strike, pursuant to authority of adjuster          170.00/hr
                  Laurie Johnson.

           - JC   Multiple correspondence with insured, O. Taitz (also as                   0.30             51.00
                  co-defense counsel) regarding seeking court decision on                 170.00/hr
                  pending requests for leave to file motions to dismiss and strike.
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 4/19/2013 - JC   Continue evaluation of plaintiffs' choice of law arguments, and           0.70         119.00
                  review and analysis of related legal authorities cited, toward          170.00/hr
                  preparation of insured's anti-SLAPP motion and preparation for
                  meet and confer conference with opposing counsel regarding
                  motion.

           - JC   Begin review and analysis of numerous court filings, including            0.90         153.00
                  100 page transcript of hearing on plaintiffs' motion for injunction,    170.00/hr
                  toward support for insured's anti-SLAPP motion to strike on no
                  diversity jurisdiction grounds and related request for judicial
                  notice.

           - JC   Correspondence with opposing counsel regarding meet and                   0.20             34.00
                  confer conference regarding insured's proposed anti-SLAPP               170.00/hr
                  motion to strike.

           - JC   Begin drafting portion of insured's detailed anti-SLAPP motion to         1.30         221.00
                  strike first amended complaint regarding Plaintiffs' California         170.00/hr
                  Information Practices Claims, pursuant to authorization of
                  adjuster Laurie Johnson.

 4/22/2013 - JC   Continue drafting portion of insured's detailed anti-SLAPP motion         1.70         289.00
                  to strike first amended complaint regarding Plaintiffs' California      170.00/hr
                  Information Practices Claims, pursuant to authorization of
                  adjuster Laurie Johnson.

           - JC   Begin drafting portion of insured's detailed anti-SLAPP motion to         0.90         153.00
                  strike first amended complaint regarding Plaintiffs' cyber-stalking     170.00/hr
                  and harassment claims, pursuant to authorization of adjuster
                  Laurie Johnson.

           - PB   Revise Anti-SLAPP motion and accompanying Request for                     0.60             57.00
                  Judicial Notice, pursuant to carrier authority from Laurie Johnson.      95.00/hr

           - JC   Multiple correspondence with opposing counsel for Sankey                  0.30             51.00
                  Defendants regarding status of their motion to dismiss related          170.00/hr
                  Pennsylvania case.

           - JC   Begin review and analysis of California single publication rule           0.90         153.00
                  regarding defamation, as potential limitation on plaintiffs'            170.00/hr
                  defamation damages, and toward potential use in support of
                  anti-SLAPP motion to strike.

 4/23/2013 - JC   Multiple correspondence with counsel for Sankey defendants                0.30             51.00
                  regarding hearing on their motion to dismiss in related case,           170.00/hr
                  Liberi v. IRB.

           - JC   Continue drafting portion of insured's detailed anti-SLAPP motion         0.80         136.00
                  to strike first amended complaint regarding Plaintiffs'                 170.00/hr
                  cyber-stalking and harassment claims, pursuant to authorization
                  of adjuster Laurie Johnson.
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                                                                                            Hrs/Rate        Amount

 4/23/2013 - JC   Begin drafting of portions of insured's anti-SLAPP motion to                 0.70         119.00
                  strike regarding public disclosure of private facts claims,                170.00/hr
                  pursuant to authorization of adjuster Laurie Johnson.

           - JC   Continue review and analysis of numerous court filings, including            1.20         204.00
                  100 page transcript of hearing on plaintiffs' motion for injunction,       170.00/hr
                  toward support for insured's anti-SLAPP motion to strike on no
                  diversity jurisdiction grounds and related request for judicial
                  notice.

           - JC   Begin drafting of portions of insured's anti-SLAPP motion to                 1.30         221.00
                  strike regarding claim preclusion against plaintiff, L. Liberi, based      170.00/hr
                  on Lexis Nexis summary judgment, pursuant to authorization of
                  adjuster Laurie Johnson.

           - JC   Begin drafting of portions of insured's anti-SLAPP motion to                 0.80         136.00
                  strike regarding malicious prosecution claim and insured's                 170.00/hr
                  defenses, pursuant to authorization of adjuster Laurie Johnson.

 4/24/2013 - JC   Continue drafting of portions of insured's anti-SLAPP motion to              0.90         153.00
                  strike regarding claim preclusion against plaintiff, L. Liberi, based      170.00/hr
                  on Lexis Nexis summary judgment, pursuant to authorization of
                  adjuster Laurie Johnson.

           - JC   Begin drafting of portions of insured's anti-SLAPP motion to                 0.70         119.00
                  strike regarding Information Practices Act claims and insured's            170.00/hr
                  defenses, pursuant to authorization of adjuster Laurie Johnson.

           - JC   Begin drafting of portions of insured's anti-SLAPP motion to                 1.50         255.00
                  strike regarding lack of diversity jurisdiction, pursuant to               170.00/hr
                  authorization of adjuster Laurie Johnson.

           - JC   Begin drafting of portions of insured's anti-SLAPP motion to                 1.10         187.00
                  strike regarding entity plaintiffs' lack of standing on several            170.00/hr
                  causes of action, pursuant to authorization of adjuster Laurie
                  Johnson.

           - JC   Begin drafting of portions of insured's anti-SLAPP motion to                 1.00         170.00
                  strike regarding alleged defamatory statements of opinion, and             170.00/hr
                  insured's related defenses, pursuant to authorization of adjuster
                  Laurie Johnson.

 4/25/2013 - JC   Continue drafting of portions of insured's anti-SLAPP motion to              1.10         187.00
                  strike regarding Information Practices Act claims and insured's            170.00/hr
                  defenses, pursuant to authorization of adjuster Laurie Johnson.

 4/26/2013 - JC   Continue drafting of portions of insured's anti-SLAPP motion to              2.60         442.00
                  strike regarding lack of diversity jurisdiction, regarding plaintiff L.    170.00/hr
                  Liberi, pursuant to authorization of adjuster Laurie Johnson.
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                                                                                        Hrs/Rate        Amount

 4/26/2013 - JC   Several telephone conferences with insured, O. Taitz (also as            0.50             85.00
                  co-counsel for several defendants) regarding development of            170.00/hr
                  insured's anti-SLAPP motion to strike.

           - JC   Continue drafting of portions of insured's anti-SLAPP motion to          0.80         136.00
                  strike regarding malicious prosecution claim and insured's             170.00/hr
                  defenses, pursuant to authorization of adjuster Laurie Johnson.

           - JC   Continue drafting request for judicial notice supporting insured's       1.40         238.00
                  anti-SLAPP motion to strike amended complaint, pursuant to             170.00/hr
                  carrier authority from Laurie Johnson.

 4/29/2013 - JC   Multiple correspondence with opposing counsel for Sankey                 0.30             51.00
                  defendants regarding status of disciplinary action against             170.00/hr
                  plaintiffs' counsel, P. Berg.

           - JC   Multiple correspondence with plaintiffs' opposing counsel                0.30             51.00
                  regarding payment of costs awarded in appeal.                          170.00/hr

           - JC   Multiple correspondence with insured (as co-counsel for several          0.30             51.00
                  defendants) regarding revisions to anti-SLAPP motion to strike.        170.00/hr

           - JC   Begin drafting of portions of insured's anti-SLAPP motion to             0.70         119.00
                  strike regarding lack of federal question jurisdiction, pursuant to    170.00/hr
                  authorization of adjuster Laurie Johnson.

           - JC   Begin drafting of portions of insured's anti-SLAPP motion to             1.40         238.00
                  strike regarding public interest factors, following conference with    170.00/hr
                  insured (also as co-counsel for several defendants) and adding
                  insured's suggested revisions, pursuant to authorization of
                  adjuster Laurie Johnson.

  5/1/2013 - JC   Continue drafting of portions of insured's anti-SLAPP motion to          1.10         187.00
                  strike regarding lack of federal question jurisdiction, pursuant to    170.00/hr
                  authorization of adjuster Laurie Johnson.

           - JC   Begin drafting portions of insured's anti-SLAPP motion to strike         1.30         221.00
                  regarding lack of supplemental and pendant jurisdiction,               170.00/hr
                  pursuant to authorization of adjuster Laurie Johnson.

           - JC   Continue drafting comprehensive update for carrier regarding             1.40         238.00
                  evaluation of status of case, discovery, significant law and           170.00/hr
                  motion matters, appeals, related cases and future handling
                  issues.

  5/2/2013 - JC   Continue drafting portions of insured's anti-SLAPP motion to             0.90         153.00
                  strike regarding lack of supplemental and pendant jurisdiction,        170.00/hr
                  pursuant to authorization of adjuster Laurie Johnson.

           - JC   Begin review and analysis of legal issues regarding potential            0.90         153.00
                  reciprocal right to attorney fees and litigation costs under           170.00/hr
                  California appropriation invasion of privacy statute.
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                                                                                        Hrs/Rate        Amount

  5/2/2013 - JC   Begin analysis of legal issues, and insured's related defenses,          1.30         221.00
                  regarding plaintiffs' claims under Civil Code customer records         170.00/hr
                  sections, including for substantial (greater than $10 million) in
                  penalties.

           - JC   Continue drafting comprehensive update for carrier regarding             1.10         187.00
                  evaluation of status of case, discovery, significant law and           170.00/hr
                  motion matters, appeals, related cases and future handling
                  issues.

  5/3/2013 - JC   Several correspondence with insured (as counsel for several              0.50             85.00
                  defendants) regarding proposed revisions to anti-SLAPP motion          170.00/hr
                  as to public interest factors.

           - JC   Begin drafting insured's anti-SLAPP motion to strike, with new           0.90         153.00
                  revisions by insured O. Taitz (also as counsel for several             170.00/hr
                  co-defendants) regarding public interest factors under
                  anti-SLAPP statute, pursuant to authorization of adjuster Laurie
                  Johnson.

           - JC   Begin evaluation and development of insured's potential legal            2.10         357.00
                  arguments and defenses based on Communications Decency                 170.00/hr
                  Act, toward support of insured's anti-SLAPP motion to strike.

  5/5/2013 - JC   Begin drafting of portions of insured's anti-SLAPP motion to             1.70         289.00
                  strike based on complex Communications Decency Act legal               170.00/hr
                  arguments, pursuant to authorization of adjuster Laurie Johnson.

  5/6/2013 - JC   Begin review and analysis of criminal and bankruptcy matters             0.90         153.00
                  regarding plaintiff, L. Liberi, toward support for insured's motion    170.00/hr
                  to strike regarding first amended complaint.

           - JC   Continue drafting of portions of insured's anti-SLAPP motion to          2.40         408.00
                  strike based on complex Communications Decency Act legal               170.00/hr
                  arguments, pursuant to authorization of adjuster Laurie Johnson..

           - JC   Multiple correspondence with insured, O. Taitz (also as counsel          0.30             51.00
                  for co-defendants) regarding development of insured's                  170.00/hr
                  Communications Decency Act arguments in anti-SLAPP motion
                  to strike.

  5/7/2013 - KS   Conference regarding future handling and client's demands                0.60         102.00
                  regarding SLAPP motion.                                                170.00/hr

           - JC   Multiple telephone conferences with insured, O. Taitz (also as           0.30             51.00
                  counsel for co-defendants) regarding revisions to lack of federal      170.00/hr
                  question and supplemental jurisdiction arguments in insured's
                  anti-SLAPP motion to strike.
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                                                                                            Hrs/Rate        Amount

  5/8/2013 - JC      Begin drafting portions of anti-SLAPP motion to strike regarding          1.20         204.00
                     public interest factors incorporating revisions of insured, O. Taitz    170.00/hr
                     (also as counsel for co-defendants), pursuant to authorization of
                     adjuster Laurie Johnson.

           - JC      Multiple telephone conferences with insured, O. Taitz (also as            0.30             51.00
                     counsel for co-defendants) regarding insured's revisions to             170.00/hr
                     anti-SLAPP motion to strike on public interest issues and
                     Communications Decency Act defenses.

           - JC      Begin drafting portions of anti-SLAPP motion to strike regarding          0.70         119.00
                     Communications Decency Act incorporating revisions of insured,          170.00/hr
                     O. Taitz (also as counsel for co-defendants), pursuant to
                     authorization of adjuster Laurie Johnson.

  5/9/2013 - JC      Multiple telephone conferences with insured, O. Taitz (also as            0.30             51.00
                     counsel for co-defendants) regarding insured's proposals for            170.00/hr
                     revisions to anti-SLAPP motion to strike on lack of federal
                     question and supplemental jurisdiction issues and insured's
                     related defenses.

           - JC      Continue drafting portions of anti-SLAPP motion of insured, O.            1.90         323.00
                     Taitz (also as counsel for co-defendants), revising and                 170.00/hr
                     incorporating insured's proposed additions to motion regarding
                     lack of federal question and supplemental jurisdiction and on
                     public interest facts under anti-SLAPP statute, pursuant to
                     authorization of adjuster Laurie Johnson.

           - JC      Begin evaluation of proposed additions by insured, O. Taitz (also         1.80         306.00
                     as counsel for co-defendants), to insured's anti-SLAPP motion to        170.00/hr
                     strike regarding lack of federal question and supplemental
                     jurisdiction issues and insured's related defenses, including
                     review and analysis of statutes and case law cited for proposed
                     additions.

 5/10/2013 - MLC Draft and finalize Table of Contents and Table of Authorities for             1.60         152.00
                 Anti-SLAPP Motion by Orly Taitz to First Amended Complaint                   95.00/hr

 5/14/2013 - JC      Continue drafting comprehensive update and analysis for carrier           0.80         136.00
                     regarding insured's anti-SLAPP motion, effect of motion, related        170.00/hr
                     attorneys' fees claims and potential appeals from order on
                     motion.

           - JC      Continue drafting comprehensive update and analysis for carrier           0.50             85.00
                     regarding plaintiffs' injunctive relief and penalty claims, alleged     170.00/hr
                     substantial damages, opposing counsel's pending disciplinary
                     action, and associated uture handling plan.

           - JC      Continue drafting comprehensive update and analysis for carrier           0.60         102.00
                     regarding plaintiffs' Information Practices Act and related claims,     170.00/hr
                     and substantial damages sought, and future handling plan
                     regarding such claims.
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                                                                                          Hrs/Rate        Amount

 5/14/2013 - JC   Continue drafting comprehensive update and analysis for carrier            0.70         119.00
                  regarding plaintiffs' malicious prosecution and abuse of process         170.00/hr
                  claims, and future handling plan regarding claims.

 5/20/2013 - KS   Finalize update to carrier regarding status and future handling.           0.50             85.00
                                                                                           170.00/hr

 5/24/2013 - KS   Conference regarding possible malicious prosecution claim.                 0.30             51.00
                                                                                           170.00/hr

 5/27/2013 - JC   Begin attorney analysis of insureds' potential abuse of process            0.40             68.00
                  and malicious prosecution claims vs. plaintiffs, toward                  170.00/hr
                  preparation of potential counter-claim.

 5/29/2013 - KS   Conference with client regarding future handling.                          0.40             68.00
                                                                                           170.00/hr

           - JC   Multiple correspondence with insured, O. Taitz, regarding                  0.30             51.00
                  plaintiffs' failure to timely file opposition to insured's anti-SLAPP    170.00/hr
                  motion to strike.

           - KS   Conference regarding client's demand for new pleadings.                    0.30             51.00
                                                                                           170.00/hr

 5/30/2013 - JC   Preparation of notice of non-opposition to anti-SLAPP motion to            0.40             68.00
                  strike of insured, O. Taitz, pursuant to authorization of adjuster       170.00/hr
                  Laurie Johnson.

           - JC   Continue attorney analysis of insureds' potential abuse of                 0.50             85.00
                  process and malicious prosecution claims vs. plaintiffs, toward          170.00/hr
                  preparation of potential counter-claim.

           - JC   Begin drafting detailed correspondence to insureds regarding               0.40             68.00
                  potential abuse of process and malicious prosecution claims vs.          170.00/hr
                  plaintiffs.

           - JC   Multiple correspondence with opposing counsel for Sankey                   0.30             51.00
                  defendants, regarding status of motions to dismiss or transfer           170.00/hr
                  related Liberi v. IRB Research case.

 5/31/2013 - JC   Review numerous items on Pennsylvania Supreme Court                        0.40             68.00
                  website regarding appeal by opposing counsel from suspension             170.00/hr
                  order, regarding determining opposing counsel's standing in
                  case.

           - JC   Begin development of insured's reply legal arguments in reply to           0.90         153.00
                  plaintiffs' lengthy (over 20 pages) Memorandum of Points and             170.00/hr
                  Authorities in opposition to insured's anti-SLAPP motion to strike,
                  toward preparation of insured's reply Memorandum of Points and
                  Authorities.
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                                                                                         Hrs/Rate        Amount

 5/31/2013 - JC   Begin review and analysis of plaintiffs' lengthy (over 20 pages)          1.40         238.00
                  Memorandum of Points and Authorities in opposition to insured's         170.00/hr
                  anti-SLAPP motion to strike, toward preparation of insured's
                  reply Memorandum of Points and Authorities.

           - JC   Begin review and analysis of plaintiffs' numerous cases and               0.80         136.00
                  statutes cited in lengthy (over 20 pages) Memorandum of Points          170.00/hr
                  and Authorities in opposition to insured's anti-SLAPP motion to
                  strike, toward preparation of insured's reply Memorandum of
                  Points and Authorities.

  6/1/2013 - JC   Review and analysis of plaintiffs' proposed order on insured, O.          0.30             51.00
                  Taitz's anti-SLAPP motion to strike.                                    170.00/hr

           - JC   Multiple correspondence with insured, O. Taitz (as counsel for            0.30             51.00
                  co-defendants), toward preparation of insured's reply in                170.00/hr
                  opposition to insured's anti-SLAPP motion to strike.

           - JC   Continue review and analysis of plaintiffs' lengthy (over 20              0.90         153.00
                  pages) Memorandum of Points and Authorities in opposition to            170.00/hr
                  insured's anti-SLAPP motion to strike, toward preparation of
                  insured's reply Memorandum of Points and Authorities.

           - JC   Begin review and analysis of plaintiffs' lengthy (approximately 90        1.10         187.00
                  pages) exhibits to their opposition to insured's anti-SLAPP             170.00/hr
                  motion to strike, toward preparation of insured's reply
                  documents.

           - KS   Telephone call with client regarding opposition and strategy.             0.80         136.00
                                                                                          170.00/hr

  6/2/2013 - JC   Continue review and analysis of plaintiffs' lengthy (approximately        1.60         272.00
                  90 pages) exhibits to their opposition to insured's anti-SLAPP          170.00/hr
                  motion to strike, toward preparation of insured's reply
                  documents.

           - JC   Begin drafting of Memorandum of Points and Authorities of                 1.20         204.00
                  insured in opposition to plaintiffs' motion for leave to file           170.00/hr
                  opposition to insured's anti-SLAPP motion to strike.

           - JC   Begin review and analysis of proposed legal arguments prepared            0.50             85.00
                  by insured, O. Taitz (also as counsel for co-defendants) in reply       170.00/hr
                  to plaintiffs' opposition to insured's anti-SLAPP motion to strike.

           - JC   Continue review and analysis of plaintiffs' lengthy (over 20              0.80         136.00
                  pages) Memorandum of Points and Authorities in opposition to            170.00/hr
                  insured's anti-SLAPP motion to strike, toward preparation of
                  insured's reply Memorandum of Points and Authorities.

           - JC   Begin review and analysis of Plaintiffs' request for judicial notice      0.60         102.00
                  in opposition to anti-SLAPP motion to strike by insured, O. Taitz,      170.00/hr
                  toward preparation of insured's objections to request.
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                                                                                       Hrs/Rate        Amount

  6/2/2013 - JC   Begin drafting of lengthy Memorandum of Points and Authorities          0.60         102.00
                  of insured in reply to plaintiffs' lengthy (over 20 pages)            170.00/hr
                  Memorandum of Points and Authorities in opposition to insured's
                  anti-SLAPP motion to strike, pursuant to authority of adjuster
                  Laurie Johnson.

           - JC   Begin review and analysis of plaintiffs' motion for leave to file       0.90         153.00
                  untimely opposition to insured's anti-SLAPP motion to strike.         170.00/hr

           - KS   Conference with client regarding reply brief and opposing               0.60         102.00
                  counsel's violations.                                                 170.00/hr

           - KS   Analyze response by opposing counsel.                                   1.80         306.00
                                                                                        170.00/hr

           - JC   Begin review and analysis of lengthy proposed arguments and             1.10         187.00
                  declaration prepared by insured, O. Taitz (also as counsel for        170.00/hr
                  co-defendants), in reply to plaintiffs' opposition to insured's
                  anti-SLAPP motion to strike, toward preparation of insured's
                  reply documents, pursuant to authority of adjuster Laurie
                  Johnson.

           - JC   Several telephone conferences with insured, O. Taitz (as                0.40             68.00
                  counsel for co-defendants), toward preparation of insured's reply     170.00/hr
                  in opposition to insured's anti-SLAPP motion to strike.

  6/3/2013 - JC   Continue drafting of detailed and lengthy Memorandum of Points          2.10         357.00
                  and Authorities of insured in opposition to plaintiffs' motion for    170.00/hr
                  leave to file opposition to insured's anti-SLAPP motion to strike,
                  pursuant to carrier authority from Laurie Johnson.

           - JC   Begin drafting detailed declaration for insured, O. Taitz,              2.50         425.00
                  supporting reply Memorandum of Points and Authorities to              170.00/hr
                  plaintiffs' Memorandum of Points and Authorities in opposition to
                  insured's anti-SLAPP motion to strike, and review and analysis of
                  evidence supporting declaration, pursuant to authority of adjuster
                  Laurie Johnson.

           - JC   Continue review and analysis of plaintiffs' lengthy (approximately      0.50             85.00
                  90 pages) exhibits to their opposition to insured's anti-SLAPP        170.00/hr
                  motion to strike, toward preparation of insured's reply
                  documents.

           - PB   Review court docket for all reply pleadings submitted by Plaintiff      0.40             38.00
                  in opposition to Orly Taitz 12(b)(6) motion.                           95.00/hr

           - KS   Conference with client regarding opposing counsel's case law.           1.10         187.00
                                                                                        170.00/hr
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                                                                                         Hrs/Rate        Amount

  6/3/2013 - JC   Continue review and analysis of plaintiffs' lengthy (over 20              2.50         425.00
                  pages) Memorandum of Points and Authorities in opposition to            170.00/hr
                  insured's anti-SLAPP motion to strike, toward preparation of
                  insured's reply Memorandum of Points and Authorities.

           - JC   Continue review and analysis of lengthy proposed arguments                1.90         323.00
                  and declaration prepared by insured, O. Taitz (also as counsel          170.00/hr
                  for co-defendants), in reply to plaintiffs' opposition to insured's
                  anti-SLAPP motion to strike, toward preparation of insured's
                  reply documents.

           - JC   Numerous conferences with insured, O. Taitz (as counsel for               1.40         238.00
                  co-defendants), toward preparation of insured's reply in                170.00/hr
                  opposition to insured's anti-SLAPP motion to strike.

  6/4/2013 - JC   Begin drafting objections of insured, O. Taitz, to plaintiffs'            0.40             68.00
                  request for judicial notice in opposition to insured's anti-SLAPP       170.00/hr
                  motion to strike, pursuant to authority of adjuster Laurie Johnson.

           - JC   Continue review and analysis of Plaintiffs' request for judicial          0.50             85.00
                  notice in opposition to anti-SLAPP motion to strike by insured,         170.00/hr
                  O. Taitz, toward preparation of insured's objections to request.

  6/5/2013 - PB   Review and revise Orly Taitz's Opposition to Plaintiff's Motion for       0.70             66.50
                  Extension regarding 12(b)(6) motion, pursuant to carrier authority       95.00/hr
                  from Laurie Johnson.

           - JC   Continue drafting objections of insured, O. Taitz, to plaintiffs'         2.40         408.00
                  request for judicial notice in opposition to insured's anti-SLAPP       170.00/hr
                  motion to strike, pursuant to authority of adjuster Laurie Johnson.

           - JC   Correspondence with insured, O. Taitz, regarding preparation of           0.20             34.00
                  notice of errata regarding insured's reply to plaintiffs' opposition    170.00/hr
                  to insured's anti-SLAPP motion to strike.

           - JC   Begin drafting notice of errata to reply Memorandum of Points             1.20         204.00
                  and Authorities of insured, O. Taitz, regarding plaintiffs'             170.00/hr
                  Memorandum of Points and Authorities in opposition to insured's
                  anti-SLAPP motion to strike, pursuant to authority of adjuster
                  Laurie Johnson.

           - JC   Correspondence with insured, O. Taitz, regarding preparation of           0.20             34.00
                  objections to plaintiffs' request for judicial notice regarding         170.00/hr
                  insured's anti-SLAPP motion to strike.

           - PB   Review and revise Orly Taitz's Declaration in Reply to Plaintiff's        0.50             47.50
                  Untimely Opposition to 12(b)(6), pursuant to carrier authority           95.00/hr
                  from Laurie Johnson.

           - PB   Review and revise Orly Taitz's Reply to Plaintiff's Untimely              0.40             38.00
                  Opposition to 12(b)(6) motion, pursuant to carrier authority from        95.00/hr
                  Laurie Johnson.
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  6/6/2013 - KS   Finalize analysis to client regarding malicious prosecution claim.           0.40             68.00
                                                                                             170.00/hr

           - JC   Multiple telephone conferences with insured, O. Taitz, regarding             0.30             51.00
                  preparation of objections to plaintiffs' request for judicial notice in    170.00/hr
                  opposition to insured's anti-SLAPP motion to strike.

           - KS   Finalize correspondence to clients.                                          0.20             34.00
                                                                                             170.00/hr

  6/7/2013 - PB   Draft Table of Contents and Authorities in support of Orly Taitz's           2.50         237.50
                  reply to untimely opposition to 12(b)(6) motion, pursuant to                95.00/hr
                  carrier authority from Laurie Johnson.

           - JC   Begin review and analysis of declaration of plaintiff, P. Berg, in           0.50             85.00
                  response to insured's reply to plaintiffs' opposition to insured's         170.00/hr
                  anti-SLAPP motion to strike.

           - PB   Review and revise Objections by Orly Taitz to Plaintiff's Untimely           0.80             76.00
                  Request for Judicial Notice, pursuant to carrier authority from             95.00/hr
                  Laurie Johnson.

  6/8/2013 - JC   Continue review and analysis of declaration of plaintiff, P. Berg,           0.80         136.00
                  and numerous court docket entries including declarations,                  170.00/hr
                  transcripts and orders incorporated into P. Berg declaration, in
                  response to insured's reply to plaintiffs' opposition to insured's
                  anti-SLAPP motion to strike.

 6/10/2013 - JC   Multiple telephone conferences with insured. O. Taitz (also as               0.30             51.00
                  counsel for co-defendants) toward preparation of insured's                 170.00/hr
                  objections to declaration of plaintiff, P. Berg, regarding insured's
                  anti-SLAPP motion to strike.

           - JC   Begin drafting objections of insured, O. Taitz, to declaration of            0.90         153.00
                  plaintiff, P. Berg, regarding insured's anti-SLAPP motion to strike        170.00/hr
                  on key diversity jurisdiction and claim preclusion issues,
                  pursuant to authorization of adjuster L. Johnson.

           - JC   Multiple correspondence with insured, O. Taitz (also as counsel              0.30             51.00
                  for co-defendants), regarding insured's proposed objections and            170.00/hr
                  arguments regarding declaration of plaintiff, P. Berg, in
                  opposition to insured's anti-SLAPP motion to strike.

           - JC   Begin review and analysis of proposed objections and                         0.40             68.00
                  arguments drafted by insured, O. Taitz (also as counsel for                170.00/hr
                  co-defendants), regarding declaration of plaintiff, P. Berg, in
                  opposition to insured's anti-SLAPP motion to strike.

 6/11/2013 - JC   Begin drafting objections of insured, O. Taitz, to declaration of            1.20         204.00
                  plaintiff, P. Berg, with revisions by insured, regarding insured's         170.00/hr
                  anti-SLAPP motion to strike on key diversity jurisdiction and
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                  claim preclusion issues, pursuant to authorization of adjuster L.
                  Johnson.

 6/11/2013 - JC   Multiple correspondence with insured, O. Taitz (also as counsel            0.30             51.00
                  for co-defendants), regarding insured's proposed objections and          170.00/hr
                  arguments regarding declaration of plaintiff, P. Berg, in
                  opposition to insured's anti-SLAPP motion to strike.

           - PB   Review and revise Orly Taitz's Objection to Untimely Declaration           0.40             38.00
                  of Phillip Berg regarding 12(b)(6) motion, pursuant to carrier            95.00/hr
                  authority from Laurie Johnson.

 6/12/2013 - JC   Draft update with attorney analysis for carrier regarding plaintiffs'      0.30             51.00
                  opposition to insured's anti-SLAPP motion to strike, and                 170.00/hr
                  insured's reply documents, regarding upcoming hearing on
                  motion.

 6/14/2013 - JC   Begin preparation for hearing on complex anti-SLAPP motion to              0.90         153.00
                  strike by insured, O. Taitz, pursuant to authorization of adjuster       170.00/hr
                  Laurie Johnson.

 6/15/2013 - JC   Continue preparation for hearing on complex anti-SLAPP motion              1.90         323.00
                  to strike by insured, O. Taitz, including review and analysis of all     170.00/hr
                  moving, opposition and reply documents, and plaintiffs' related
                  motion for leave, and opposition and reply documents.

 6/16/2013 - JC   Continue preparation for hearing on complex anti-SLAPP motion              4.20         714.00
                  to strike by insured, O. Taitz, including review and analysis of all     170.00/hr
                  moving, opposition and reply documents, and plaintiffs' related
                  motion for leave, and opposition and reply documents.

 6/17/2013 - JC   Travel to and from court for hearing on insured, O. Taitz's                1.20         204.00
                  anti-SLAPP motion to strike.                                             170.00/hr

           - JC   Attend hearing on insured's anti-SLAPP motion to strike, plus              1.70         289.00
                  hearing on Order to Show Cause regarding sanctions against               170.00/hr
                  insured, insured's requests for leave to file additional motions,
                  and plaintiffs' motions to compel against Sankey Defendants.

           - JC   Meeting with insured, O. Taitz (as counsel for other defendants),          0.40             68.00
                  regarding potential appeal from denial of anti-SLAPP motion to           170.00/hr
                  strike, and preparation of motions to dismiss.

           - JC   Begin analysis of complex legal issues regarding potential                 0.50             85.00
                  appeal from denial of insured's anti-SLAPP motion to strike, and         170.00/hr
                  related ex-parte application to extend time for appeal, in
                  conjunction with insured's FRCP Rule 12 motions to dismiss.

           - JC   Meeting with client regarding preparation for hearing on insured,          0.50             85.00
                  O. Taitz's anti-SLAPP motion to strike.                                  170.00/hr
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 6/18/2013 - JC   Begin review and analysis of applicable authorities regarding            0.50             85.00
                  potential appeal by insured, O. Taitz, from denial of anti-SLAPP       170.00/hr
                  motion, and applicable deadline, and related potential motion to
                  extend deadline for appeal.

           - JC   Begin analysis of complex legal issues regarding potential               0.60         102.00
                  appeal regarding insured's proposed FRCP Rule 12 (b)(6)                170.00/hr
                  motion to dismiss, based on insufficient claims.

           - JC   Multiple correspondence with insured, O. Taitz, regarding                0.30             51.00
                  potential appeal from denial of anti-SLAPP motion to strike.           170.00/hr

           - KS   Telephone call from client regarding appeal and court's recent           0.60         102.00
                  order.                                                                 170.00/hr

           - JC   Begin analysis of complex legal issues regarding potential               0.60         102.00
                  appeal regarding insured's proposed FRCP Rule 12 (b)(1)                170.00/hr
                  motion to dismiss, based on lack of court jurisdiction.

           - JC   Begin preparation of comprehensive update with attorney                  0.80         136.00
                  analysis and future handling plan, regarding recent                    170.00/hr
                  developments including on insured's anti-SLAPP motion to
                  strike, leave to file motions to dismiss and to strike, plaintiffs'
                  discovery motions, Order to Show Cause regarding sanctions,
                  and potential appeal and motion for stay.

 6/19/2013 - JC   Begin drafting update with attorney analysis for carrier regarding       0.60         102.00
                  denial of insured's anti-SLAPP motion, leave to file motions to        170.00/hr
                  dismiss, other orders, and related future handling plan.

           - JC   Begin review and analysis of order with findings on insured's            0.50             85.00
                  anti-SLAPP motion to strike, Order to Show Cause regarding             170.00/hr
                  sanctions against insured, insured's requests for leave to file
                  additional motions, and plaintiffs' motions to compel against
                  Sankey Defendants.

           - KS   Amend future handling plan.                                              0.70         119.00
                                                                                         170.00/hr

           - JC   Review and analysis of notice of association of counsel                  0.30             51.00
                  regarding S. Marcus and Gittler & Bradford for plaintiffs.             170.00/hr

           - JC   Continue review and analysis of applicable authorities regarding         0.60         102.00
                  potential appeal by insured, O. Taitz, from denial of anti-SLAPP       170.00/hr
                  motion, and applicable deadline, and related potential motion to
                  extend deadline for appeal.

           - JC   Multiple correspondence with opposing counsel for Sankey                 0.30             51.00
                  defendants regarding proposal to join in insured's potential           170.00/hr
                  motions to dismiss.
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 6/19/2013 - JC   Continue analysis of complex legal issues regarding potential            0.70         119.00
                  appeal regarding insured's proposed FRCP Rule 12 (b)(1)                170.00/hr
                  motion to dismiss, based on lack of court jurisdiction.

 6/20/2013 - JC   Continue analysis of complex legal issues regarding potential            0.60         102.00
                  appeal regarding insured's proposed FRCP Rule 12 (b)(6)                170.00/hr
                  motion to dismiss, based on insufficient claims.

           - JC   Continue preparation of comprehensive update with attorney               1.20         204.00
                  analysis and future handling plan, regarding recent                    170.00/hr
                  developments including on insured's anti-SLAPP motion to
                  strike, leave to file motions to dismiss and to strike, plaintiffs'
                  discovery motions, Order to Show Cause regarding sanctions,
                  and potential appeal and motion for stay.

           - JC   Begin investigation into plaintiffs' new counsel, Randall Berg and       0.50             85.00
                  Gittler & Bradford.                                                    170.00/hr

           - JC   Review and analysis of request for leave, and related                    0.40             68.00
                  correspondence, of opposing counsel for Sankey Defendants to           170.00/hr
                  file motion for summary judgment.

           - JC   Begin review and analysis of lengthy (approximately 17 pages)            0.60         102.00
                  order and report of Pennsylvania Supreme Court in disciplinary         170.00/hr
                  proceeding of plaintiffs' counsel, P. Berg, toward removal of
                  opposing counsel as plaintiffs' counsel.

           - KS   Conference with client regarding new appeal.                             0.40             68.00
                                                                                         170.00/hr

           - JC   Begin review of court's June 20, 2013 supplemental order                 0.40             68.00
                  regarding sanctions regarding insured, O. Taitz.                       170.00/hr

           - KS   Conference regarding opposing counsel's disbarment.                      0.60         102.00
                                                                                         170.00/hr

           - KS   Correspondence with carrier regarding disbarment.                        0.20             34.00
                                                                                         170.00/hr

           - KS   Finalize update to carrier regarding appeal of anti-SLAPP.               0.80         136.00
                                                                                         170.00/hr

           - JC   Multiple correspondence with opposing counsel for Sankey                 0.30             51.00
                  Defendants regarding potential uses of Pennsylvania Supreme            170.00/hr
                  Court suspension of opposing counsel P. Berg and related
                  findings.

           - KS   Conference with client regarding opposing counsel's fraud on the         0.40             68.00
                  court.                                                                 170.00/hr

           - KS   Conference regarding opposing counsel's request for sanctions.           0.20             34.00
                                                                                         170.00/hr
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 6/21/2013 - KS   Finalize response to client.                                            0.20             34.00
                                                                                        170.00/hr

           - JC   Begin attorney analysis of complex legal issues regarding               1.30         221.00
                  potential motion for reconsideration of denial of insured's           170.00/hr
                  anti-SLAPP motion to strike, regarding Pennsylvania Supreme
                  Court suspension of opposing counsel P. Berg and related
                  findings.

           - JC   Several correspondence with insured, O. Taitz (also as counsel          0.40             68.00
                  for co-defendants), regarding potential motion for                    170.00/hr
                  reconsideration of denial of insured's anti-SLAPP motion to
                  strike, regarding Pennsylvania Supreme Court suspension of
                  opposing counsel P. Berg and related findings.

 6/24/2013 - JC   Draft update with attorney analysis of potential appeal by insured      0.50             85.00
                  from denial of anti-SLAPP motion to strike, disciplinary matter       170.00/hr
                  against opposing counsel, plaintiffs' request for leave to file
                  motion for attorneys' fees, insured's objections, and court's
                  supplemental order.

           - JC   Begin review and analysis of plaintiffs' 10 page response to brief      0.60         102.00
                  of insured, O. Taitz, regarding suspension of opposing counsel        170.00/hr
                  and revocation of ninth circuit admission.

           - JC   Begin review and analysis of 8 page declaration of opposing             0.40             68.00
                  counsel, P. Berg, regarding plaintiffs' response to brief of          170.00/hr
                  insured, O. Taitz, regarding suspension of opposing counsel,
                  revocation of ninth circuit admission and request for sanctions.

           - KS   Correspondence with carrier regarding law and motion.                   0.20             34.00
                                                                                        170.00/hr

           - KS   Telephone call with client regarding today's filing by Berg.            0.30             51.00
                                                                                        170.00/hr

           - KS   Conference regarding possible response by Taitz.                        0.40             68.00
                                                                                        170.00/hr

           - JC   Review and analysis of several correspondence between                   0.50             85.00
                  opposing counsel for Sankey defendants, and S. Marcus (new            170.00/hr
                  counsel for plaintiffs), regarding potential settlement and
                  defendants' request for leave to file motion for summary
                  judgment.

 6/25/2013 - JC   Continue review and analysis of plaintiffs' 10 page response to         0.40             68.00
                  brief of insured, O. Taitz, regarding suspension of opposing          170.00/hr
                  counsel and revocation of ninth circuit admission.
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                                                                                        Hrs/Rate        Amount

 6/25/2013 - JC   Continue review and analysis of 8 page declaration of opposing           0.30             51.00
                  counsel, P. Berg, regarding plaintiffs' response to brief of           170.00/hr
                  insured, O. Taitz, regarding suspension of opposing counsel,
                  revocation of ninth circuit admission and request for sanctions.

           - JC   Begin review and analysis of 11 page reply brief of insured, O.          0.60         102.00
                  Taitz (as counsel for co-defendants), regarding brief of insured       170.00/hr
                  regarding suspension of opposing counsel, revocation of ninth
                  circuit admission and request for sanctions.

           - JC   Begin review and analysis of 5 page declaration of insured, O.           0.90         153.00
                  Taitz (as counsel for co-defendants), with 19 pages of exhibits        170.00/hr
                  regarding brief of insured regarding suspension of opposing
                  counsel, revocation of ninth circuit admission and request for
                  sanctions.

 6/26/2013 - JC   Continue review and analysis of 11 page reply brief of insured,          0.40             68.00
                  O. Taitz (as counsel for co-defendants), regarding brief of            170.00/hr
                  insured regarding suspension of opposing counsel, revocation of
                  ninth circuit admission and request for sanctions.

           - JC   Continue review and analysis of 5 page declaration of insured,           0.60         102.00
                  O. Taitz (as counsel for co-defendants), with 19 pages of              170.00/hr
                  exhibits regarding brief of insured regarding suspension of
                  opposing counsel, revocation of ninth circuit admission and
                  request for sanctions.

 6/27/2013 - JC   Multiple correspondence with insured, O. Taitz, regarding                0.30             51.00
                  preparation of motion for stay regarding insured's appeal.             170.00/hr

           - JC   Review multiple correspondence between opposing counsel for              0.40             68.00
                  plaintiffs and counsel for Sankey defendants, regarding status of      170.00/hr
                  P. Berg's representation of plaintiffs and their new counsel, and
                  regarding potential motion or Order to Show Cause regarding
                  status of plaintiffs' representation and potential motion to revoke
                  Berg representation.

           - KS   Correspondence with client regarding opposing counsel's                  0.20             34.00
                  communications.                                                        170.00/hr

           - JC   Review and analysis of court's June 27, 2013 order regarding             0.40             68.00
                  plaintiffs' motion for sanctions, Sankey defendants' motion for        170.00/hr
                  summary judgment, and clarifying representation of plaintiffs and
                  new counsel.

           - KS   Telephone call with client regarding new order and future                0.80         136.00
                  handling.                                                              170.00/hr

  7/1/2013 - KS   Correspondence from opposing counsel regarding substitution of           0.20             34.00
                  attorney.                                                              170.00/hr
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                                                                                           Hrs/Rate        Amount

  7/2/2013 - JC   Begin preparation of insured's notice of appeal, statement of               0.50             85.00
                  issues and related documents, in appeal from denial of insured's          170.00/hr
                  anti-SLAPP motion to strike, pursuant to carrier authority from
                  Laurie Johnson.

           - JC   Begin attorney analysis of complex legal issues and related                 0.40             68.00
                  authorities, toward preparation of insured's motion for stay of           170.00/hr
                  case pending appeal by insured from denial of insured's
                  anti-SLAPP motion to strike, pursuant to carrier authority from
                  Laurie Johnson.

  7/3/2013 - JC   Continue preparation of insured's notice of appeal, statement of            0.40             68.00
                  issues and related documents, in appeal from denial of insured's          170.00/hr
                  anti-SLAPP motion to strike, pursuant to carrier authority from
                  Laurie Johnson.

           - JC   Multiple telephone conferences with insured, O. Taitz (as                   0.30             51.00
                  counsel for co-defendants), regarding preparation of request for          170.00/hr
                  leave to clarify representation of all plaintiffs.

  7/4/2013 - JC   Multiple correspondence with insured and plaintiffs regarding               0.30             51.00
                  preparation of request for leave to compel plaintiffs to provide          170.00/hr
                  addresses for updated service list in case.

  7/5/2013 - KS   Conference regarding motion to compel all plaintiffs to respond,            0.30             51.00
                  pursuant to carrier authority from Laurie Johnson.                        170.00/hr

  7/8/2013 - JC   Continue attorney analysis of complex issues regarding request              0.80         136.00
                  for leave to clarify representation of plaintiffs, to compel provision    170.00/hr
                  of contact information, and separate request for leave to file
                  motion for stay, pursuant to carrier authority from Laurie Johnson.

           - JC   Begin drafting declaration to be filed with notice of appeal,               1.20         204.00
                  explaining issues regarding representation of plaintiffs and              170.00/hr
                  related service issues, pursuant to carrier authority from Laurie
                  Johnson.

           - JC   Multiple correspondence with insured, O. Taitz (also as counsel             0.30             51.00
                  for co-defendants), toward preparation of request for leave to            170.00/hr
                  bring motion to clarify issues regarding representation of
                  plaintiffs.

           - JC   Review several correspondence between insured , O. Taitz (also              0.50             85.00
                  as counsel for co-defendants), plaintiffs' counsel, Sankey                170.00/hr
                  defendants' counsel, regarding insured's request for leave to
                  bring motion to clarify issues regarding representation of
                  plaintiffs, and plaintiffs' response, pursuant to carrier authority
                  from Laurie Johnson.

           - JC   Begin drafting detailed request for leave by insured, O. Taitz, for         0.80         136.00
                  leave to bring motion to clarify issues regarding representation of       170.00/hr
                  plaintiffs, pursuant to carrier authority from Laurie Johnson.
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                                                                                          Hrs/Rate        Amount

  7/8/2013 - KS   Conference with client regarding plaintiffs' information as a              0.60         102.00
                  requirement for pleadings, and regarding ex parte.                       170.00/hr

           - KS   Preparation of update to client.                                           0.60         102.00
                                                                                           170.00/hr

           - KS   Telephone conference with client regarding ex parte.                       0.70         119.00
                                                                                           170.00/hr

  7/9/2013 - JC   Multiple correspondence with insured, O. Taitz (also as counsel            0.30             51.00
                  for co-defendants), regarding strategy supporting requests for           170.00/hr
                  leave to file ex-parte application to compel Liberi and Ostella
                  plaintiffs to provide service information.

           - JC   Begin review of New Jersey Secretary of State Materials                    0.40             68.00
                  regarding plaintiff, Go Excel Global, regarding legal status of          170.00/hr
                  entity, toward potential request to dismiss that plaintiff from case.

           - JC   Continue drafting detailed request for leave by insured, O. Taitz,         0.70         119.00
                  for leave to bring motion to clarify issues regarding                    170.00/hr
                  representation of plaintiffs, pursuant to carrier authority from
                  Laurie Johnson.

           - JC   Review correspondence and notice by Sankey Defendants,                     0.40             68.00
                  seeking leave to file ex-parte application to compel plaintiffs to       170.00/hr
                  provide service information.

           - JC   Multiple correspondence with opposing counsel for Sankey                   0.30             51.00
                  defendants, regarding preparation of their request for leave             170.00/hr
                  joining in request for leave by insured, O. Taitz, to bring motion
                  to clarify issues regarding representation of plaintiffs, pursuant to
                  carrier authority from Laurie Johnson.

           - JC   Begin review of Pennsylvania Secretary of State Materials                  0.40             68.00
                  regarding plaintiff, Law Offices of Philip J. Berg, regarding legal      170.00/hr
                  status of entity, toward potential request to dismiss that plaintiff
                  from case.

           - JC   Multiple telephone conferences with insured, O. Taitz (also as             0.30             51.00
                  counsel for co-defendants), regarding preparation of requests for        170.00/hr
                  leave to file ex-parte application to compel Liberi and Ostella
                  plaintiffs to provide service information.

           - JC   Continue drafting declaration to be filed with notice of appeal,           0.40             68.00
                  explaining issues regarding representation of plaintiffs and             170.00/hr
                  related service issues, pursuant to carrier authority from Laurie
                  Johnson.

 7/11/2013 - KS   Telephone conference with client.                                          0.30             51.00
                                                                                           170.00/hr
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                                                                                       Hrs/Rate        Amount

 7/11/2013 - JC   Multiple telephone conference with insured, O. Taitz (also as           0.30             51.00
                  counsel for several defendants), regarding pending requests for       170.00/hr
                  leave to file ex-parte application to compel plaintiffs to provide
                  contact information.

 7/15/2013 - KS   Conference regarding court's new order.                                 0.40             68.00
                                                                                        170.00/hr

           - KS   Telephone conference with client regarding writ on mandamus.            0.50             85.00
                                                                                        170.00/hr

           - JC   Multiple correspondence with insured, O. Taitz (including as            0.30             51.00
                  counsel for co-defendants), regarding issues regarding                170.00/hr
                  representation of plaintiffs, and pending requests for leave
                  regarding representation issues, in connection with insured's
                  upcoming appeal,.

           - JC   Multiple correspondence with insured, O. Taitz (including as            0.30             51.00
                  counsel for co-defendants), regarding court's 7/15/13 order           170.00/hr
                  denying defendants' requests for leave regarding representation
                  issues, and issuing stay in connection with insured's appeal,.

           - JC   Review and attorney analysis of court's 7/15/13 order denying           0.40             68.00
                  defendants' requests for leave regarding representation issues,       170.00/hr
                  and issuing stay in connection with insured's appeal,.

           - JC   Lengthy telephone conference with insured, O. Taitz (also as            0.70         119.00
                  counsel for co-defendants), regarding developing strategy in          170.00/hr
                  appeal from denial of insured's anti-SLAPP motion, issues
                  regarding plaintiffs' representation in appeal, and insured's
                  proposed petitions for writ of mandate regarding court's 7/15/13
                  order denying defendants' requests for leave regarding
                  representation issues, pursuant to carrier authority from Laurie
                  Johnson.

           - JC   Begin review and analysis of legal issues regarding potential           0.50             85.00
                  petition for writ of mandate, as proposed by insured, O. Taitz        170.00/hr
                  (also as counsel for co-defendants), regarding court's 7/15/13
                  order denying defendants' requests for leave regarding
                  representation issues.

 7/16/2013 - JC   Continue preparation of insured, O. Taitz's notice of appeal,           0.50             85.00
                  representation statement and declaration regarding parties'           170.00/hr
                  representation in appeal from denial of insured's anti-SLAPP
                  motion to strike, pursuant to carrier authority from Laurie
                  Johnson.

           - JC   Multiple correspondence with insured, O. Taitz (also as counsel         0.30             51.00
                  for co-defendants) regarding preparation of appeal document           170.00/hr
                  submissions.
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                                                                                          Hrs/Rate        Amount

 7/16/2013 - KS   Telephone conference with carrier regarding future handling.               0.20             34.00
                                                                                           170.00/hr

 7/17/2013 - JC   Multiple telephone conferences with insured, O. Taitz (also as             0.30             51.00
                  counsel for co-defendants) regarding proposed petition for writ of       170.00/hr
                  mandate regarding plaintiffs' representation.

           - JC   Multiple telephone conferences with clerk of Court of Appeal               0.30             51.00
                  regarding amendment of service list in appeal by insured, O.             170.00/hr
                  Taitz, from denial of anti-SLAPP motion to strike, pursuant to
                  carrier authority from Laurie Johnson.

           - JC   Draft detailed update for carrier regarding status of appeal by            0.60         102.00
                  insured, related appeal by other defendants, issues regarding            170.00/hr
                  representation of plaintiffs, stay of trial court case, and potential
                  petition for writ of mandate as proposed by insured (as counsel
                  for co-defendants).

           - JC   Review and analysis of notice of appeal and related documents              0.50             85.00
                  filed by insured, O. Taitz (as counsel for several co-defendants),       170.00/hr
                  from denial of defendants' request for leave to file anti-SLAPP
                  motion to strike, and regarding such defendants' petition for writ
                  of mandate regarding plaintiffs' representation, pursuant to
                  carrier authority from Laurie Johnson.

 7/18/2013 - JC   Multiple correspondence with insured, O. Taitz (including as               0.30             51.00
                  counsel for co-defendants), regarding filing appeal from denial of       170.00/hr
                  anti-SLAPP motion to strike, pursuant to carrier authority from
                  Laurie Johnson.

 7/19/2013 - JC   Correspondence with insured, O. Taitz (also as counsel for                 0.20             34.00
                  co-defendants), regarding proposed motion in insured's appeal            170.00/hr
                  to remove Gittler & Bradford as plaintiffs' counsel of record.

           - JC   Begin review and analysis of Court of Appeals' docketing notice,           0.50             85.00
                  time schedule order, mediation questionnaire guide, and related          170.00/hr
                  documents, regarding appeal by insured, O. Taitz, from denial of
                  anti-SLAPP motion to strike, pursuant to carrier authority from
                  Laurie Johnson.

 7/22/2013 - JC   Begin drafting of mediation questionnaire by insured, O. Taitz, in         0.40             68.00
                  appeal from denial of anti-SLAPP motion to strike, pursuant to           170.00/hr
                  carrier authority from Laurie Johnson.

           - JC   Begin review and analysis of requests of Gitler & Bradford for             0.30             51.00
                  leave to file motion to be relieved as counsel for plaintiffs,           170.00/hr
                  pursuant to carrier authority from Laurie Johnson.

           - JC   Draft attorney analysis regarding plaintiffs' representation,              0.30             51.00
                  including regarding requests of Gitler & Bradford for leave to file      170.00/hr
                  motion to be relieved as counsel for plaintiffs, pursuant to carrier
                  authority from Laurie Johnson.
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                                                                                         Hrs/Rate        Amount

 7/22/2013 - JC   Begin review and analysis of Court of Appeals' docketing notice,          0.40             68.00
                  time schedule order, mediation questionnaire guide, and related         170.00/hr
                  documents, regarding appeal by Defend Our Freedoms
                  Foundations and other Defendants (represented by insured, O.
                  Taitz) from denial of requests for leave to file anti-SLAPP motion
                  to strike, pursuant to carrier authority from Laurie Johnson.

           - JC   Continue review and analysis of Court of Appeals' docketing               0.40             68.00
                  notice, time schedule order, mediation questionnaire guide, and         170.00/hr
                  related documents, regarding appeal by insured, O. Taitz, from
                  denial of anti-SLAPP motion to strike, pursuant to carrier
                  authority from Laurie Johnson.

 7/23/2013 - KS   Conference regarding new developments.                                    0.60         102.00
                                                                                          170.00/hr

           - PB   Review and revise mediation questionnaire, pursuant to carrier            0.30             28.50
                  authority from Laurie Johnson.                                           95.00/hr

           - JC   Continue drafting of mediation questionnaire by insured, O. Taitz,        0.30             51.00
                  in appeal from denial of anti-SLAPP motion to strike, pursuant to       170.00/hr
                  carrier authority from Laurie Johnson.

           - PB   Review and revise Notice of Appeal and Statement of                       0.50             47.50
                  Representation, pursuant to carrier authority from Laurie                95.00/hr
                  Johnson.

 7/24/2013 - JC   Multiple telephone conferences insured, O. Taitz (also as                 0.30             51.00
                  counsel for co-defendants), regarding proposal to file motion in        170.00/hr
                  insured's appeal to remove Gittler and Bradford as opposing
                  counsel for plaintiffs, pursuant to carrier authority from Laurie
                  Johnson.

           - KS   Finalize update to carrier regarding writ, etc.                           0.70         119.00
                                                                                          170.00/hr

 7/25/2013 - JC   Review and analysis of mediation questionnaire of plaintiffs, L.          0.50             85.00
                  Liberi and L. Ostella, in appeal by insured, O. Taitz, regarding        170.00/hr
                  denial of insured's anti-SLAPP motion to strike, pursuant to
                  carrier authority from Laurie Johnson.

           - JC   Review and analysis of plaintiffs' counsel's 7/25/13                      0.30             51.00
                  correspondence to district court, regarding withdrawal of request       170.00/hr
                  to file motion to be relieved as counsel, pursuant to carrier
                  authority from Laurie Johnson.

 7/26/2013 - JC   Review application for withdrawal of counsel for plaintiff, P. Berg.      0.30             51.00
                                                                                          170.00/hr
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 7/26/2013 - JC   Review and analysis of mediation questionnaire of plaintiffs, P.           0.40             68.00
                  Berg and Law Offices of P. Berg, in appeal by insured, O. Taitz,         170.00/hr
                  regarding denial of insured's anti-SLAPP motion to strike,
                  pursuant to carrier authority from Laurie Johnson.

 7/29/2013 - JC   Review and analysis of order granting request by Gittler &                 0.30             51.00
                  Bradford to file motion to be relieved as counsel for plaintiffs, P.     170.00/hr
                  Berg and Law Offices of P. Berg, pursuant to carrier authority
                  from Laurie Johnson.

           - JC   Review and analysis of order denying request by defendant,                 0.40             68.00
                  Defend Our Freedoms Foundation, for leave to lift stay regarding         170.00/hr
                  insured's appeal from denial of anti-SLAPP motion to strike,
                  pursuant to carrier authority from Laurie Johnson.

 7/30/2013 - KS   Correspondence with carrier regarding recent orders.                       0.20             34.00
                                                                                           170.00/hr

  8/1/2013 - KS   Conference call with client regarding her desire to file a new             0.50             85.00
                  motion.                                                                  170.00/hr

           - JC   Lengthy telephone conferences with insured, O. Taitz (including            0.60         102.00
                  as counsel for co-defendants), regarding parties' mediation              170.00/hr
                  questionnaires in insured's appeal and proposed appeal from
                  denial of leave by district court for removal of plaintiffs' counsel.

           - KS   Telephone conference with client regarding substitution of                 0.40             68.00
                  attorney issue.                                                          170.00/hr

  8/2/2013 - JC   Begin attorney analysis of complex issues regarding potential              0.60         102.00
                  appeal from court's denial of leave for defendants (represented          170.00/hr
                  by insured, O. Taitz) to file anti-SLAPP motion, toward potential
                  joinder by defendants in insured's appeal from denial of motion
                  to strike.

  8/5/2013 -


           - JC   Multiple correspondence with insured, O. Taitz (also as counsel            0.30             51.00
                  for co-defendants), regarding opposing counsel's motion to               170.00/hr
                  withdraw as counsel for Berg defendants.

           - JC   Review and analysis of order granting motion of Gittler &                  0.30             51.00
                  Bradford to withdraw as counsel for Berg plaintiffs.                     170.00/hr

           - JC   Begin review and analysis of lengthy (26 pages) Memorandum of              0.40             68.00
                  Points and Authorities for motion for summary judgment of                170.00/hr
                  defendant, T. Sankey and Sankey Firm Inc., vs. plaintiff, P. Berg.

  8/6/2013 - JC   Begin review and analysis of motion by insured, O. Taitz (as               0.60         102.00
                  counsel for co-defendants), in appeal by co-defendants related           170.00/hr
                  to insured's appeal from denial of anti-SLAPP motion to strike, to
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                                                                                             Hrs/Rate        Amount

                  compel plaintiffs except P. Berg to file substitution of attorney
                  and to bar Berg representation of plaintiff, Law Offices of P. Berg.

  8/6/2013 - JC   Begin attorney analysis of complex issues regarding potential                 0.30             51.00
                  appeal from court's denial of leave for defendants (represented             170.00/hr
                  by insured, O. Taitz) to file anti-SLAPP motion, toward potential
                  joinder by defendants in insured's appeal from denial of motion
                  to strike.

           - JC   Multiple telephone conferences with insured, O.Taitz, regarding               0.30             51.00
                  proposed malicious prosecution by former insured, Y. Taitz.                 170.00/hr

           - JC   Begin review and analysis of plaintiffs' opposition to motion by              0.70         119.00
                  insured, O. Taitz (as counsel for co-defendants), in appeal by              170.00/hr
                  co-defendants related to insured's appeal from denial of
                  anti-SLAPP motion to strike, to compel plaintiffs except P. Berg
                  to file substitution of attorney and to bar Berg representation of
                  plaintiff, Law Offices of P. Berg.

           - JC   Begin review and analysis of law regarding standing of fictitious             0.60         102.00
                  business name toward support for reply by insured, O. Taitz,                170.00/hr
                  regarding appeal from denial of anti-SLAPP motion to strike, to
                  compel plaintiffs except P. Berg to file substitution of attorney
                  and to bar Berg representation of plaintiff, Law Offices of P. Berg.

           - KS


  8/7/2013 - JC   Begin preparation for comprehensive meeting with insured, O.                  0.70         119.00
                  Taitz, regarding overview of status of case and prep of future              170.00/hr
                  handling plan, including toward preservation of stay of case
                  pending appeals, potential consolidation of appeals by insured
                  (as defendant) and by insured (as counsel for co-defendants),
                  motion for clarification of plaintiffs' representation in district court
                  and for dismissal of Plaintiff Law Offices of P. Berg, potential
                  petition for mandate regarding representation issues, pending
                  related Pennsylvania case, and motion for disqualification of
                  district court judge

           - KS   Telephone conference with client.                                             0.60         102.00
                                                                                              170.00/hr

           - JC   Review and analysis of notice of errata to motion for summary                 0.30             51.00
                  judgment of Sankey defendants against plaintiff, P. Berg.                   170.00/hr

  8/8/2013 - KS   Meeting with client regarding future handling of complex issues               2.00         340.00
                  regarding appeals, Pennsylvania case, and motion for                        170.00/hr
                  disqualification of district court judge.

           - JC   Lengthy meeting with insured, O. Taitz, regarding overview of                 2.00         340.00
                  status of case and prep of future handling plan, including toward           170.00/hr
                  preservation of stay of case pending appeals, potential
                  consolidation of appeals by insured (as defendant) and by
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                  insured (as counsel for co-defendants), motion for clarification of
                  plaintiffs' representation in district court and for dismissal of
                  Plaintiff Law Offices of P. Berg, potential petition for mandate
                  regarding representation issues, pending related Pennsylvania
                  case, and motion for disqualification of district court judge

  8/8/2013 - JC   Continue review and analysis of motion by insured, O. Taitz (as              0.70         119.00
                  counsel for co-defendants), in appeal by co-defendants related             170.00/hr
                  to insured's appeal from denial of anti-SLAPP motion to strike, to
                  compel plaintiffs except P. Berg to file substitution of attorney
                  and to bar Berg representation of plaintiff, Law Offices of P. Berg.

  8/9/2013 - JC   Draft detailed correspondence to insured, O. Taitz, following                0.60         102.00
                  lengthy meeting regarding overview of status of case and prep of           170.00/hr
                  future handling plan, including toward preservation of stay of
                  case pending appeals, potential consolidation of appeals by
                  insured (as defendant) and by insured (as counsel for
                  co-defendants), motion for clarification of plaintiffs'
                  representation in district court and for dismissal of Plaintiff Law
                  Offices of P. Berg, potential petition for mandate regarding
                  representation issues, pending related Pennsylvania case, and
                  motion for disqualification of district court judge

           - KS   Finalize analysis for client.                                                0.60         102.00
                                                                                             170.00/hr

 8/12/2013 - JC   Begin review and analysis of lengthy separate statement, with                0.90         153.00
                  proposed findings of fact and law, supporting motion for                   170.00/hr
                  summary judgment of defendant, T. Sankey and Sankey Firm
                  Inc., vs. plaintiff, P. Berg, including regarding plaintiffs' vicarious
                  liability claims against insured as employer and principal of
                  Sankey Defendants.

 8/13/2013 - JC   Continue review and analysis of lengthy Memorandum of Points                 0.60         102.00
                  and Authorities for motion for summary judgment of defendant,              170.00/hr
                  T. Sankey and Sankey Firm Inc., vs. plaintiff, P. Berg, including
                  regarding plaintiffs' vicarious liability claims against insured as
                  employer and principal of Sankey Defendants.

 8/14/2013 - JC   Continue review and analysis of lengthy separate statement, with             0.60         102.00
                  proposed findings of fact and law, supporting motion for                   170.00/hr
                  summary judgment of defendant, T. Sankey and Sankey Firm
                  Inc., vs. plaintiff, P. Berg, including regarding plaintiffs' vicarious
                  liability claims against insured as employer and principal of
                  Sankey Defendants.

           - JC   Continue review and analysis of lengthy Memorandum of Points                 0.80         136.00
                  and Authorities for motion for summary judgment of defendant,              170.00/hr
                  T. Sankey and Sankey Firm Inc., vs. plaintiff, P. Berg, including
                  regarding plaintiffs' vicarious liability claims against insured as
                  employer and principal of Sankey Defendants.
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                                                                                        Hrs/Rate        Amount

 8/15/2013 - JC   Begin review and analysis of declaration of defendant, T.                0.70         119.00
                  Sankey, supporting motion for summary judgment of T. Sankey            170.00/hr
                  and Sankey Firm Inc. vs. plaintiff, P. Berg, including regarding
                  plaintiffs' vicarious liability claims against insured as employer
                  and principal of Sankey Defendants.

 8/16/2013 - JC   Continue review and analysis of lengthy Memorandum of Points             0.30             51.00
                  and Authorities for motion for summary judgment of defendant,          170.00/hr
                  T. Sankey and Sankey Firm Inc., vs. plaintiff, P. Berg, including
                  regarding plaintiffs' vicarious liability claims against insured as
                  employer and principal of Sankey Defendants.

 8/29/2013 - JC   Multiple correspondence with insured, O. Taitz, regarding                0.30             51.00
                  preparation of reporters transcript in her appeal.                     170.00/hr

  9/3/2013 - PB   Review, and response to, e-mail from Jeff Cunningham                     0.20             19.00
                  regarding status of reporter's transcript regarding appeal              95.00/hr

           - PB   E-mail Court Reporter, Denise Paddock, regarding request for             0.10              9.50
                  hearing transcript regarding appeal                                     95.00/hr

           - KS   Telephone call from client regarding court of appeals.                   0.20             34.00
                                                                                         170.00/hr

  9/6/2013 - PB   Review e-mail and attachment from court reporter, Denise                 0.10              9.50
                  Paddock and save e-transcript to file                                   95.00/hr

  9/9/2013 - JC   Review and analysis of order with findings granting motion for           0.40             68.00
                  summary judgment of Sankey Defendants vs. Plaintiff, P. Berg.          170.00/hr

 9/10/2013 - JC   Begin drafting comprehensive update and analysis for carrier             0.60         102.00
                  regarding court's recent grant of summary judgment to Sankey           170.00/hr
                  Defendants as to plaintiff P. Berg, potential appeal by P. Berg
                  from summary judgment, preparation of motion for summary
                  judgment against remaining plaintiffs, and status of appeal by
                  insured, O. Taitz, regarding anti-SLAPP motion to strike.

           - KS   Finalize update to carrier.                                              0.40             68.00
                                                                                         170.00/hr

           - JC   Multiple correspondence with insured, O. Taitz, and counsel for          0.40             68.00
                  Sankey Defendants, regarding court's recent grant of summary           170.00/hr
                  judgment to Sankey Defendants as to plaintiff P. Berg, potential
                  appeal by P. Berg from summary judgment, and preparation of
                  motion for summary judgment against remaining plaintiffs.

 9/17/2013 - JC   Review two correspondence of opposing counsel for Sankey                 0.30             51.00
                  defendants, requesting entry of judgment against plaintiff, P.         170.00/hr
                  Berg, following grant of summary judgment for Sankey
                  defendants, and future motion for summary judgment against
                  remaining defendants.
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                                                                                        Hrs/Rate        Amount

 9/18/2013 - JC   Multiple correspondence with insured, O. Taitz, regarding notices        0.30             51.00
                  from District Court regarding preparation of reporters' transcript,    170.00/hr
                  toward preparation of record on appeal in appeal by insured
                  regarding denial of anti-SLAPP motion.

           - JC   Review several notices from District Court regarding preparation         0.40             68.00
                  of reporters' transcript, toward preparation of record on appeal in    170.00/hr
                  appeal by insured, O. Taitz, regarding denial of anti-SLAPP
                  motion.

 9/23/2013 - JC   Review and analysis of court's 9/23/13 order denying Sankey              0.30             51.00
                  Defendants' request for order of dismissal regarding plaintiff, P.     170.00/hr
                  Berg.

 9/27/2013 - JC   Review and analysis of court of appeals' order removing appeals          0.40             68.00
                  by insured, O. Taitz, and related appeal by defendant, Defend          170.00/hr
                  Our Freedoms Foundations, from mediation program and
                  reinstating briefing schedule.

 10/7/2013 - JC   Telephone conferences with insured, O. Taitz (also counsel for           0.30             51.00
                  several defendants), toward preparation of insured's opening           170.00/hr
                  brief in appeal from denial of anti-SLAPP motion to strike,
                  pursuant to authority of adjuster Laurie Johnson.

10/10/2013 - JC   Review correspondence of insured and defendant, N. Sankey,               0.40             68.00
                  and related court documents from related case Liberi v. IRB,           170.00/hr
                  regarding plaintiffs' pro hac vice application and order for new
                  counsel.

10/21/2013 - JC   Begin evaluation of complex issues regarding potential change in         0.80         136.00
                  Ninth Circuit anti-SLAPP law regarding Makaeff case, and               170.00/hr
                  potential application to pending appeal by insured O. Taitz from
                  denial of her anti-SLAPP motion to strike, toward preparation of
                  insured's opening brief in appeal, pursuant to authorization of
                  adjuster Laurie Johnson.

10/24/2013 - JC   Begin review and analysis of numerous cases following Ninth              0.80         136.00
                  Circuit's Makaeff v. Trump case, regarding applicability of            170.00/hr
                  anti-SLAPP motion to strike in Ninth Circuit, toward preparation
                  of insured's opening brief from order denying anti-SLAPP motion
                  to strike.

10/28/2013 - KS   Conference regarding client's comments regarding Law Offices             0.40             68.00
                  of P. Berg.                                                            170.00/hr

           - JC   Begin review and analysis of court of appeals' order on motion by        0.40             68.00
                  insured, O. Taitz (as counsel for other appellants), to remove         170.00/hr
                  appellees' counsel from appeal by insured's clients from denial of
                  motion for leave to file motion to strike, and regarding
                  representation of defendants, P. Berg and Law Offices of P.
                  Berg, in appeal and insured's related appeal.
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                                                                                        Hrs/Rate        Amount

10/28/2013 - JC   Correspondence with insured, O. Taitz (as counsel for other              0.30             51.00
                  appellants), regarding insured's motion to remove appellees'           170.00/hr
                  counsel from appeal by insured's clients from denial of motion
                  for leave to file motion to strike, and regarding representation of
                  defendants, P. Berg and Law Offices of P. Berg, in appeal and
                  insured's related appeal.

10/29/2013 - JC   Continue review and analysis of court of appeals' order on               0.40             68.00
                  motion by insured, O. Taitz (as counsel for other appellants), to      170.00/hr
                  remove appellees' counsel from appeal by insured's clients from
                  denial of motion for leave to file motion to strike, and regarding
                  representation of defendants, P. Berg and Law Offices of P.
                  Berg, in appeal and insured's related appeal.

           - JC   Begin review and analysis of viability and effects of potential          0.90         153.00
                  motion by insured, O. Taitz, for Order to Show Cause regarding         170.00/hr
                  representation of appellee Law Office of P. Berg in insured's
                  appeal from denial of insured's anti-SLAPP motion to strike
                  following similar order in related appeal by other defendants.

           - JC   Correspondence with insured, O. Taitz, regarding viability and           0.30             51.00
                  effects of potential motion by insured for Order to Show Cause         170.00/hr
                  regarding representation of appellee Law Office of P. Berg in
                  insured's appeal from denial of insured's anti-SLAPP motion to
                  strike following similar order in related appeal by other
                  defendants.

           - KS   Conference regarding strategy for handling of appellate issue            0.40             68.00
                  related to the court's order on DOFF's appeal.                         170.00/hr

           - JC   Begin evaluation of potential motion to consolidate insured, O.          1.10         187.00
                  Taitz's appeal from denial of anti-SLAPP motion to strike with         170.00/hr
                  related appeal by defendants represented by insured, regarding
                  denial of leave to file motion to strike, including analysis of
                  potential advantages and disadvantages of potential motion.

10/30/2013 - JC   Multiple correspondence with other defense counsel regarding             0.30             51.00
                  development of motions for summary judgment by Sankey                  170.00/hr
                  defendants against all defendants, except P. Berg, including to
                  include arguments regarding non-liability of insured both directly
                  and on vicarious liability theories.

 11/1/2013 - KS   Conference regarding effect of dismissal in Pennsylvania case.           0.60         102.00
                                                                                         170.00/hr

 11/2/2013 - JC   Continue review and analysis of numerous cases following Ninth           0.60         102.00
                  Circuit's Makaeff v. Trump case, regarding applicability of            170.00/hr
                  anti-SLAPP motion to strike in Ninth Circuit, toward preparation
                  of insured's opening brief from order denying anti-SLAPP motion
                  to strike pursuant to authorization of adjuster Laurie Johnson.
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                                                                                       Hrs/Rate        Amount

 11/4/2013 - JC   Begin drafting of comprehensive and detailed opening brief of           1.10         187.00
                  insured, O. Taitz, in appeal from denial of anti-SLAPP motion to      170.00/hr
                  strike, pursuant to authorization of adjuster Laurie Johnson.

           - JC   Multiple correspondence with insured, O. Taitz (also as counsel         0.30             51.00
                  for various defendants), regarding preparation of insured's           170.00/hr
                  opening brief in appeal from denial of anti-SLAPP motion to
                  strike, pursuant to authorization of adjuster Laurie Johnson.

 11/6/2013 - JC   Continue drafting of comprehensive and detailed opening brief of        2.10         357.00
                  insured, O. Taitz, in appeal from denial of anti-SLAPP motion to      170.00/hr
                  strike, pursuant to authorization of adjuster Laurie Johnson.

           - JC   Begin drafting insured's motion to disqualify appellee P. Berg          0.40             68.00
                  from representing appellee Law Offices of P. Berg in insured's        170.00/hr
                  appeal from denial of anti-SLAPP motion to strike, pursuant to
                  authority of adjuster Laurie Johnson.

 11/8/2013 - JC   Correspondence with insured, O. Taitz, regarding preparation of         0.20             34.00
                  her opening brief in appeal, pursuant to authorization of adjuster    170.00/hr
                  Laurie Johnson.

           - JC   Continue drafting of comprehensive and detailed opening brief of        3.10         527.00
                  insured, O. Taitz, in appeal from denial of anti-SLAPP motion to      170.00/hr
                  strike, pursuant to authorization of adjuster Laurie Johnson.

11/11/2013 - JC   Begin preparation of voluminous record on appeal supporting             0.90         153.00
                  opening brief of insured, O. Taitz, in appeal from denial of          170.00/hr
                  anti-SLAPP motion to strike, pursuant to authorization of adjuster
                  Laurie Johnson.

           - KS   Conference regarding opening brief.                                     0.80         136.00
                                                                                        170.00/hr

11/12/2013 - KS   Conference regarding opening brief.                                     0.40             68.00
                                                                                        170.00/hr

11/19/2013 - KS   Conference with carrier regarding status.                               0.20             34.00
                                                                                        170.00/hr

           - JC   Multiple correspondence with insured, O. Taitz (including as            0.30             51.00
                  counsel for co-defendant Defend Our Freedoms Foundations),            170.00/hr
                  regarding DOFF's motion to dismiss claims of plaintiff, Law
                  Offices of P. Berg, in DOFF's appeal and preparation of related
                  motion to dismiss in insured's related appeal.

           - JC   Draft update with attorney analysis regarding insured's pending         0.50             85.00
                  appeal, related appeal by other defendants, status of district        170.00/hr
                  court case, and future handling recommendation regarding
                  motion to dismiss plaintiff, Law Offices of P. Berg, in appeal of
                  insured.
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                                                                                        Hrs/Rate        Amount

11/22/2013 - JC   Continue preparation of voluminous record on appeal, in support          0.60         102.00
                  of insured's appeal from denial of anti-SLAPP motion to strike,        170.00/hr
                  pursuant to authorization of adjuster Laurie Johnson.

11/26/2013 - KS   Update to carrier.                                                       0.60         102.00
                                                                                         170.00/hr

11/29/2013 - JC   Continue drafting insured's motion to disqualify appellee P. Berg        0.70         119.00
                  from representing appellee Law Offices of P. Berg in insured's         170.00/hr
                  appeal from denial of anti-SLAPP motion to strike, pursuant to
                  authority of adjuster Laurie Johnson.

 12/1/2013 - JC   Begin review and analysis of voluminous district court docket            1.10         187.00
                  regarding potential motion to disqualify Gittler & Bradford firm       170.00/hr
                  from representing appellees L. Liberi and L. Ostella in appeal by
                  insured O. Taitz from denial of anti-SLAPP motion to strike.

 12/2/2013 - JC   Begin drafting insured's motion to bar P. Berg from representing         0.90         153.00
                  appellee, Law Offices of P. Berg, in insured's appeal from denial      170.00/hr
                  of anti-SLAPP motion to strike, due to P. Berg's suspension and
                  for stay of briefing, pursuant to authority of adjuster Laurie
                  Johnson.

           - JC   Begin drafting insured's motion to require proof of corporate            0.60         102.00
                  standing by appellee Go Excel Global in insured's appeal from          170.00/hr
                  denial of anti-SLAPP motion to strike, pursuant to authority of
                  adjuster Laurie Johnson.

           - JC   Begin drafting insured's motion to bar opposing counsel from             0.70         119.00
                  representing appellees in insured's appeal from denial of              170.00/hr
                  anti-SLAPP motion to strike, due to lack of authority to represent
                  parties, pursuant to authority of adjuster Laurie Johnson.

           - JC   Begin review and analysis of lengthy (approximately 30 pages)            0.80         136.00
                  opinion of Court of Appeals in key Makaeff case, regarding             170.00/hr
                  anti-SLAPP relief and appealability issues in Ninth Circuit, toward
                  preparation of and support for insured's appeal from denial of
                  anti-SLAPP motion to strike.

 12/3/2013 - JC   Multiple correspondence with insured, O. Taitz (also as counsel          0.30             51.00
                  for co-defendants), regarding preparation of several motions in        170.00/hr
                  insured's appeal from denial of anti-SLAPP motion to strike to
                  first amended complaint.

           - JC   Detailed correspondence with all opposing counsel regarding              0.30             51.00
                  insured, O. Taitz's motions in insured's appeal from denial of         170.00/hr
                  anti-SLAPP motion to strike to first amended complaint.

           - JC   Continue drafting insured's motion to require proof of corporate         1.80         306.00
                  standing by appellee Go Excel Global in insured's appeal from          170.00/hr
                  denial of anti-SLAPP motion to strike, pursuant to authority of
                  adjuster Laurie Johnson.
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                                                                                       Hrs/Rate        Amount

 12/3/2013 - JC   Continue review and analysis of lengthy (approximately 30               1.50         255.00
                  pages) opinion of Court of Appeals in key Makaeff case,               170.00/hr
                  regarding anti-SLAPP relief and appealability issues in Ninth
                  Circuit, toward preparation of and support for insured's appeal
                  from denial of anti-SLAPP motion to strike.

           - JC   Continue drafting insured's motion to bar P. Berg from                  1.40         238.00
                  representing appellee, Law Offices of P. Berg, in insured's           170.00/hr
                  appeal from denial of anti-SLAPP motion to strike, due to P.
                  Berg's suspension and for stay of briefing, pursuant to authority
                  of adjuster Laurie Johnson.

           - JC   Continue drafting insured's motion to bar opposing counsel from         1.50         255.00
                  representing appellees in insured's appeal from denial of             170.00/hr
                  anti-SLAPP motion to strike, due to lack of authority to represent
                  parties, pursuant to authority of adjuster Laurie Johnson.

 12/4/2013 - JC   Continue drafting insured's motion to bar P. Berg from                  0.80         136.00
                  representing appellee, Law Offices of P. Berg, in insured's           170.00/hr
                  appeal from denial of anti-SLAPP motion to strike, due to P.
                  Berg's suspension and for stay of briefing, pursuant to authority
                  of adjuster Laurie Johnson.

           - JC   Continue drafting insured's motion to require proof of corporate        0.90         153.00
                  standing by appellee Go Excel Global in insured's appeal from         170.00/hr
                  denial of anti-SLAPP motion to strike, pursuant to authority of
                  adjuster Laurie Johnson.

           - JC   Continue drafting insured's motion to bar opposing counsel from         0.60         102.00
                  representing appellees in insured's appeal from denial of             170.00/hr
                  anti-SLAPP motion to strike, due to lack of authority to represent
                  parties, pursuant to authority of adjuster Laurie Johnson.

 12/5/2013 - JC   Several correspondence with insured, O. Taitz (also as counsel          0.60         102.00
                  for co-defendants), regarding plaintiffs' response to meet and        170.00/hr
                  confer correspondence regarding insured's motions in appeal
                  from denial of anti-SLAPP motion to strike, and toward
                  preparation of motions.

           - JC   Correspondence with all opposing counsel regarding insured's            0.20             34.00
                  motions in appeal from denial of anti-SLAPP motion to strike.         170.00/hr

           - JC   Begin review and analysis of plaintiffs' opposition to motion of        0.80         136.00
                  defendant, Defend Our Freedoms Foundation, regarding support          170.00/hr
                  for insured, O. Taitz's motions in appeal from denial of
                  anti-SLAPP motion to strike.

           - KS   Conference regarding client's request that we bring three new           0.60         102.00
                  motions.                                                              170.00/hr

 12/6/2013 - PB   E-file 3x emergency motions barring, etc. representation of             0.10              9.50
                  Plaintiffs submitted on behalf of Defendant, Orly Taitz                95.00/hr
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                                                                                           Hrs/Rate        Amount

 12/6/2013 - PB   Contact 9th Circuit Motions department, pursuant to instruction             0.10    NO CHARGE
                  by attorney Jeff Cunningham, to confirm e-filing of 3x emergency           95.00/hr
                  motions barring, etc. representation of Plaintiffs submitted on
                  behalf of Defendant, Orly Taitz

           - PB   Prepare Certificate of Service regarding 3x Emergency Motions               0.20             19.00
                  barring, etc. representation of Plaintiffs filed on behalf of              95.00/hr
                  Defendant, Orly Taitz.

 12/8/2013 - KS   Correspondence with carrier regarding new law and motion.                   0.40             68.00
                                                                                            170.00/hr

 12/9/2013 - JC   Continue drafting lengthy and complex insured's opening brief in            3.20         544.00
                  appeal from denial of anti-SLAPP motion to strike, incorporating          170.00/hr
                  several revisions by insured (as counsel for various defendants),
                  pursuant to authority of adjuster Laurie Johnson.

           - JC   Continue preparation of voluminous excerpts of record                       1.20         204.00
                  supporting insured's opening brief in appeal from denial of               170.00/hr
                  anti-SLAPP motion to strike, pursuant to authority of adjuster
                  Laurie Johnson.

12/10/2013 - JC   Begin review and analysis of lengthy Memorandum of Points and               0.80         136.00
                  Authorities of defendants, T. Sankey and Sankey Firm,                     170.00/hr
                  supporting motion for summary judgment against plaintiffs, L.
                  Liberi and L. Ostella.

12/12/2013 - JC   Continue review and analysis of lengthy Memorandum of Points                1.20         204.00
                  and Authorities of defendants, T. Sankey and Sankey Firm,                 170.00/hr
                  supporting motion for summary judgment against plaintiffs, L.
                  Liberi and L. Ostella.

           - JC   Begin review and analysis of New Jersey Secretary of State                  0.50             85.00
                  materials regarding plaintiff,Go Excel Global, toward preparation         170.00/hr
                  of insured's reply to opposition to motion to bar Go Excel Global
                  and Berg Law Offices from participating in insured's appeal, due
                  to lack of standing.

           - JC   Begin review and analysis of plaintiffs' opposition to insured's            1.10         187.00
                  motion to bar plaintiffs, Berg Law Offices and Go Excel Global,           170.00/hr
                  from participating in insured's appeal, due to lack of standing,
                  toward preparation of reply to opposition.

           - JC   Begin review and analysis of plaintiffs' opposition to insured's            1.10         187.00
                  motion to bar Gittler & Bradford firm from representing plaintiffs        170.00/hr
                  in insured's appeal, toward preparation of insured's reply to
                  opposition.

12/13/2013 - JC   Begin drafting reply Memorandum of Points and Authorities to                1.20         204.00
                  plaintiffs' opposition to insured's motion to dismiss plaintiffs, Berg    170.00/hr
                  Offices and Go Excel Global, in insured's appeal, pursuant to
                  authorization of adjuster Laurie Johnson.
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                                                                                         Hrs/Rate        Amount

12/14/2013 - JC   Begin drafting reply Memorandum of Points and Authorities to              1.10         187.00
                  plaintiffs' opposition to insured's motion to bar Gittler & Bradford    170.00/hr
                  from representing plaintiffs in insured's appeal, pursuant to
                  authorization of adjuster Laurie Johnson.

12/16/2013 - JC   Begin drafting reply Memorandum of Points and Authorities                 0.60         102.00
                  regarding insured's motion to bar opposing counsel P. Berg from         170.00/hr
                  representing plaintiff, Berg Law Offices, in insured's appeal,
                  pursuant to authorization of adjuster Laurie Johnson.

           - JC   Continue drafting reply Memorandum of Points and Authorities              0.80         136.00
                  to plaintiffs' opposition to insured's motion to bar Gittler &          170.00/hr
                  Bradford from representing plaintiffs in insured's appeal,
                  pursuant to authorization of adjuster Laurie Johnson.

           - JC   Continue drafting reply Memorandum of Points and Authorities              0.60         102.00
                  to plaintiffs' opposition to insured's motion to dismiss plaintiffs,    170.00/hr
                  Berg Offices and Go Excel Global, in insured's appeal, pursuant
                  to authorization of adjuster Laurie Johnson.

12/17/2013 - JC   Multiple correspondence and telephone conferences with                    0.60         102.00
                  insured, O. Taitz (as appellant and counsel for other                   170.00/hr
                  defendants), toward preparation of reply briefs regarding
                  insured's three motions against appellees in insured's appeal
                  from denial of anti-SLAPP motion to strike, pursuant to
                  authorization of adjuster Laurie Johnson.

12/24/2013 - JC   Begin drafting comprehensive attorney analysis and update to              0.80         136.00
                  carrier regarding insured's appeal from denial of anti-SLAPP            170.00/hr
                  motion to strike, related appeal by other defendants, recent court
                  of appeal decisions affecting appeals, insured's motions in
                  appeal, order on motions, and status of district court case
                  including Sankey defendants' motion for summary judgment.

  1/6/2014 - KS   Conference with client regarding possible cross claims.                   0.40             68.00
                                                                                          170.00/hr

  1/7/2014 - KS   Analyze client's evidence of tampering with website and potential         0.80         136.00
                  defamation.                                                             170.00/hr

           - JC   Begin review and analysis of voluminous Memorandum of Points              0.40             68.00
                  and Authorities, declarations, exhibits, request for judicial notice    170.00/hr
                  and evidentiary objections of plaintiffs in opposition to motion for
                  summary judgment of Sankey Defendants.

 1/10/2014 - JC   Conference regarding future handling, including toward                    0.50             85.00
                  development of evidence supporting insured's potential                  170.00/hr
                  counter-claim.

 1/20/2014 - KS   Conference regarding effect of new ruling in Obsidian v. Cox              0.60         102.00
                  Communications , and its effects on client's matter.                    170.00/hr
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                                                                                      Hrs/Rate        Amount

 1/20/2014 - JC   Correspondence with insured (also as counsel for                       0.20             34.00
                  co-defendants) regarding recent Obsidian v. Cox opinion of           170.00/hr
                  Court of Appeals, regarding First Amendment rights of internet
                  bloggers, toward potential support for insured's appeal from
                  denial of anti-SLAPP motion to strike.

           - JC   Begin review and analysis of recent Obsidian v. Cox opinion of         0.50             85.00
                  Court of Appeals, regarding First Amendment rights of internet       170.00/hr
                  bloggers, toward potential support for insured's appeal from
                  denial of anti-SLAPP motion to strike.

 1/21/2014 - JC   Multiple telephone conference with insured O. Taitz (also as           0.30             51.00
                  counsel for co-defendants) regarding development of potential        170.00/hr
                  counter-claim vs. plaintiffs.

 1/22/2014 - KS   Conference regarding possible new claims against client in             0.80         136.00
                  Florida, and deposition notice that could effect outcome in          170.00/hr
                  Federal action.

 1/23/2014 - JC   Begin review and analysis of Pennsylvania District Court's             1.20         204.00
                  lengthy (over 30 pages) order and findings in related Liberi v.      170.00/hr
                  IRB case, toward preparation of objections and potential motion
                  to quash by insured to Subpoena Duces Tecum issued to her in
                  related case.

           - JC   Correspondence with insured regarding Subpoena Duces                   0.20             34.00
                  Tecum issued by plaintiffs to her in related Ostella v. IRB case.    170.00/hr

           - JC   Begin review and analysis of detailed Subpoena Duces Tecum             0.50             85.00
                  issued to insured in related Liberi v. IRB case, toward              170.00/hr
                  preparation of objections and potential motion to quash.

           - KS   Conference regarding potential effect of PA case order.                0.30             51.00
                                                                                       170.00/hr

           - KS   Telephone call from client regarding order in PA case.                 0.20             34.00
                                                                                       170.00/hr

 1/24/2014 - JC   Begin review and analysis of Pennsylvania District Court's             0.90         153.00
                  lengthy (over 30 pages) order and findings in related Liberi v.      170.00/hr
                  IRB case, toward preparation of objections and potential motion
                  to quash by insured to Subpoena Duces Tecum issued to her in
                  related case.

 1/25/2014 - JC   Continue review and analysis of detailed Subpoena Duces                1.40         238.00
                  Tecum issued to insured in related Liberi v. IRB case, toward        170.00/hr
                  preparation of objections and potential motion to quash.

 1/26/2014 - JC   Draft evaluation to carrier regarding Subpoena Duces Tecum             0.40             68.00
                  issued to insured in related Ostella v. IRB Research case,           170.00/hr
                  including regarding objections and potential motion to quash.
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                                                                                          Hrs/Rate        Amount

 1/27/2014 - KS   Finalize update to carrier regarding future handling.                      0.70         119.00
                                                                                           170.00/hr

           - JC   Review and analysis of Sankey Defendants' evidentiary                      0.40             68.00
                  objections to declaration of R. Lustig submitted by plaintiffs in        170.00/hr
                  opposition to Sankey motion for summary judgment, toward
                  preparation for upcoming hearing on motion.

 1/28/2014 - KS   Conference regarding possible effect of Florida case in our                0.50             85.00
                  "Stay".                                                                  170.00/hr

           - JC   Review and analysis of Sankey Defendants' supplemental                     0.40             68.00
                  evidentiary objections to declarations submitted by plaintiffs in        170.00/hr
                  opposition to Sankey motion for summary judgment, toward
                  preparation for upcoming hearing on motion.

           - JC   Begin review and analysis of lengthy complaint (over 60 pages)             0.40             68.00
                  of plaintiffs in related Ostella v. IRB case, toward preparation of      170.00/hr
                  objections of insured O. Taitz to Subpoena Duces Tecum issued
                  in Ostella case, barred by stay of discovery in Liberi v. Taitz case.

           - JC   Review additional information provided by insured O. Taitz                 0.50             85.00
                  regarding related Ostella v. IRB case, toward preparation of             170.00/hr
                  objections to Subpoena Duces Tecum issued to insured in case,
                  in violation of stay in Liberi case.

 1/29/2014 - KS   Conference regarding client's requested handling of related                0.40             68.00
                  discovery in out-of-state cases.                                         170.00/hr

           - KS   Conference regarding today's court order and effect on appeal.             0.40             68.00
                                                                                           170.00/hr

           - JC   Continue review and analysis of file materials including in related        0.60         102.00
                  Ostella v. IRB case, toward preparation of objections to                 170.00/hr
                  Subpoena Duces Tecum issued to insured in case, in violation of
                  stay in Liberi case.

 1/30/2014 - JC   Begin review and analysis of court of appeal's order on insured's          0.40             68.00
                  three motions in her appeal, including as to representation of           170.00/hr
                  plaintiffs in appeal, and stay of briefing.

 1/31/2014 - JC   Begin review of materials including declaration of insured's               0.50             85.00
                  employee, toward support for insured's objections to Subpoena            170.00/hr
                  Duces Tecum issued to her in related Ostella v. IRB case, and
                  pursuant to stay of discovery in Liberi v. Taitz case.

  2/1/2014 - JC   Review and analysis of declaration of R. Lustig regarding                  0.40             68.00
                  plaintiffs' reply to reply of Sankey defendants regarding their          170.00/hr
                  motion for summary judgment on first amended complaint,
                  toward preparation for upcoming hearing.
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                                                                                       Hrs/Rate        Amount

  2/1/2014 - JC   Begin review and analysis of Sankey defendants' lengthy (16             0.70         119.00
                  pages) reply Memorandum of Points and Authorities regarding           170.00/hr
                  motion for summary judgment on first amended complaint,
                  toward preparation for upcoming hearing.

           - JC   Continue review and analysis of plaintiffs' voluminous                  0.80         136.00
                  Memorandum of Points and Authorities , declarations and other         170.00/hr
                  evidence in opposition to Sankey defendants' motion for
                  summary judgment on first amended complaint, toward
                  preparation for upcoming hearing.

  2/2/2014 - JC   Review and analysis of M. Colen declaration with exhibits               0.50             85.00
                  supporting Sankey defendants' reply Memorandum of Points and          170.00/hr
                  Authorities regarding motion for summary judgment on first
                  amended complaint, toward preparation for upcoming hearing.

           - JC   Continue review and analysis of Sankey defendants' lengthy (16          0.60         102.00
                  pages) reply Memorandum of Points and Authorities regarding           170.00/hr
                  motion for summary judgment on first amended complaint,
                  toward preparation for upcoming hearing.

  2/3/2014 - JC   Travel to and from court for hearing on motion for summary              1.40         238.00
                  judgment of Defendants, T. Sankey and Sankey Firm, against            170.00/hr
                  plaintiffs, toward potential use in defense of insured, O.Taitz.

           - JC   Begin drafting of declaration for insured supporting objections to      0.40             68.00
                  Subpoena Duces Tecum in related Ostella case.                         170.00/hr

           - JC   Attend hearing on motion for summary judgment of Defendants,            1.10         187.00
                  T. Sankey and Sankey Firm, against plaintiffs, toward potential       170.00/hr
                  use in defense of insured, O.Taitz.

  2/5/2014 - JC   Continue drafting detailed objections to Subpoena Duces Tecum           2.10         357.00
                  issued to insured, O. Taitz, in related Ostella case.                 170.00/hr

  2/6/2014 - JC   Begin review of insured's revisions and additions to detailed           0.40             68.00
                  objections to Subpoena Duces Tecum issued in related Ostella          170.00/hr
                  case.

           - JC   Begin drafting detailed objections of insured, O. Taitz, to             0.70         119.00
                  Subpoena Duces Tecum issued in related Ostella case,                  170.00/hr
                  incorporating revisions of insured to objections.

           - JC   Multiple correspondence with insured, O. Taitz, regarding               0.30             51.00
                  insured's revisions and additions to detailed objections to           170.00/hr
                  Subpoena Duces Tecum issued in related Ostella case.

 3/10/2014 - TD   Draft memorandum regarding findings of investigation into               0.30             51.00
                  bankruptcy of Philip Berg                                             170.00/hr
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                                                                                        Hrs/Rate        Amount

 3/10/2014 - TD   Review and analyze bankruptcy filings of Philip Berg in Eastern          1.00         170.00
                  District of Pennsylvania in preparation for attempt to Stay court      170.00/hr
                  action pending outcome of said bankruptcy.

 3/13/2014 - JC   Begin drafting comprehensive update and analysis for carrier             1.10         187.00
                  regarding pending appeals, motion practice in appeals, status of       170.00/hr
                  District Court case and summary judgment for remaining
                  defendants, and status of related Pennsylvania case.

 3/14/2014 - JC   Review of materials regarding plaintiff, P. Berg, concerning Berg        0.40             68.00
                  bankruptcy case and motions to reinstate bankruptcy case after         170.00/hr
                  dismissal, regarding analysis of issues regarding stay of Liberi v.
                  Taitz District Court case and stay in related appeals.

 3/17/2014 - KS   Finalize detailed update to carrier.                                     0.80         136.00
                                                                                         170.00/hr

 3/20/2014 - JC   Multiple telephone conferences with insured regarding briefing           0.30             51.00
                  schedule in insured's appeal.                                          170.00/hr

 4/23/2014 - JC   Review and analysis of court of appeal's dockets in appeals by           0.30             51.00
                  insured O. Taitz and defendant, Defend Our Freedoms                    170.00/hr
                  Foundations, regarding anti-SLAPP motion to strike, including
                  regarding pending motions by appellants in cases.

  5/2/2014 - JC   Begin review and analysis of recent ninth circuit court of appeal        0.50             85.00
                  decisions regarding applicability of California anti-SLAPP law,        170.00/hr
                  regarding insured's appeal to ninth circuit from denial of
                  anti-SLAPP motion to strike.

  5/5/2014 - JC   Begin review and analysis of deposition subpoena served on               0.30             51.00
                  insured in related Ostella v. IRB case, toward preparation of          170.00/hr
                  objections to subpoena and potential motion for protective order.

           - JC   Multiple correspondence with insured regarding deposition                0.30             51.00
                  subpoena served on insured in related Ostella v. IRB case, and         170.00/hr
                  toward preparation of objections to subpoena.

  5/6/2014 - KS   Correspondence with carrier regarding protective order.                  0.20             34.00
                                                                                         170.00/hr

           - KS   Correspondence with client regarding new subpoena.                       0.30             51.00
                                                                                         170.00/hr

           - JC   Continue review and analysis of deposition subpoena served on            0.70         119.00
                  insured in related Ostella v. IRB case, and review legal               170.00/hr
                  authorities regarding preparation of objections and motion to
                  quash subpoena, toward preparation of objections to subpoena
                  and potential motion for protective order.

  5/9/2014 - JC   Continue review and analysis of legal authorities regarding              2.10         357.00
                  preparation of objections and motion to quash by insured O.            170.00/hr
                  Taitz to deposition subpoena in related Ostella v. IRB case, and
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                                                                                       Hrs/Rate        Amount

                  begin review of lengthy docket and pleadings in Ostella case,
                  toward preparation of objections to subpoena and potential
                  motion for protective order.

 5/12/2014 - JC   Begin drafting lengthy and detailed objections by insured O. Taitz      1.40         238.00
                  to deposition subpoena in related Ostella v. IRB case, toward         170.00/hr
                  meet and confer regarding potential motion to quash or for
                  protective order.

           - JC   Continue review and analysis of legal authorities regarding             0.80         136.00
                  preparation of objections and motion to quash by insured O.           170.00/hr
                  Taitz to deposition subpoena in related Ostella v. IRB case, and
                  begin review of lengthy docket and pleadings in Ostella case,
                  toward preparation of objections to subpoena and potential
                  motion for protective order.

 5/13/2014 - JC   Multiple telephone conferences with insured, O. Taitz, regarding        0.30             51.00
                  revisions lengthy and detailed objections by insured to deposition    170.00/hr
                  subpoena in related Ostella v. IRB case, toward meet and confer
                  regarding potential motion to quash or for protective order.

           - JC   Begin drafting revisions requested by insured, O. Taitz, following      0.90         153.00
                  telephone conferences with insured to lengthy and detailed            170.00/hr
                  objections by insured to deposition subpoena in related Ostella v.
                  IRB case, toward meet and confer regarding potential motion to
                  quash or for protective order.

 5/14/2014 - TD   Investigate Plaintiffs Liberi and Ostella regarding: possible           1.50         255.00
                  Bankruptcies                                                          170.00/hr

           - JC   Continue drafting revisions requested by insured, O. Taitz,             0.50             85.00
                  regarding potential bankruptcy cases by multiple plaintiffs to        170.00/hr
                  lengthy and detailed objections by insured to deposition
                  subpoena in related Ostella v. IRB case, toward meet and confer
                  regarding potential motion to quash or for protective order.

           - JC   Multiple telephone conferences with insured O. Taitz regarding          0.30             51.00
                  potential bankruptcy cases for plaintiffs, and use of bankruptcy      170.00/hr
                  cases and stays in related cases.

 5/15/2014 - JC   Begin drafting motion of insured, O. Taitz, to quash deposition         0.60         102.00
                  subpoena in Ostella v. IRB Case, related to Liberi case and           170.00/hr
                  pursuant to stay order in Liberi case.

 5/19/2014 - JC   Correspondence with insured O. Taitz regarding plaintiffs'              0.30             51.00
                  response in related case Ostella v. IRB regarding objections to       170.00/hr
                  deposition subpoena, and preparation of motion to quash.

           - JC   Correspondence with opposing counsel for plaintiffs in Ostella          0.30             51.00
                  case regarding potential motion of insured, O. Taitz, to quash        170.00/hr
                  deposition subpoena in Ostella v. IRB Case, related to Liberi
                  case and pursuant to stay order in Liberi case.
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                                                                                       Hrs/Rate        Amount

 5/20/2014 - JC   Begin drafting detailed declaration of insured, O. Taitz,               1.10         187.00
                  supporting motion to quash deposition subpoena issued to              170.00/hr
                  insured in related Ostella case, for protective order.

           - JC   Continue drafting motion to quash deposition subpoena issued to         1.60         272.00
                  insured in related Ostella case, for protective order, and for        170.00/hr
                  sanctions.

           - JC   Review and analysis of court of appeal's order with findings on         0.40             68.00
                  insured's three motions in appeal, and setting briefing schedule      170.00/hr
                  in appeal.

           - JC   Multiple correspondence with insured O. Taitz regarding court of        0.30             51.00
                  appeal's recent order regarding motions to dismiss certain            170.00/hr
                  plaintiffs in appeal.

 5/21/2014 - JC   Multiple correspondence with insured O. Taitz regarding motion          0.30             51.00
                  to quash deposition subpoena in related Ostella v. IRB case.          170.00/hr

           - JC   Conduct telephonic meet and confer conference with opposing             0.40             68.00
                  counsel in related Ostella case, regarding insured, O. Taitz's        170.00/hr
                  motion to quash deposition subpoena issued to insured in
                  related Ostella case, and for protective order.

           - JC   Continue drafting detailed declaration of insured, O. Taitz,            1.80         306.00
                  supporting motion to quash deposition subpoena issued to              170.00/hr
                  insured in related Ostella case, for protective order.

 5/28/2014 - TD   Research Philip Berg bankruptcy history and status of most              2.50         425.00
                  current bankruptcy filing in Easter Penn. dist.                       170.00/hr

 5/29/2014 - JC   Review updated documents regarding appellee P. Berg                     0.40             68.00
                  bankruptcy case, toward preparation of potential motion to bar P.     170.00/hr
                  Berg from participating in insured's appeal from denial of
                  anti-SLAPP motion to strike.

  6/1/2014 - JC   Begin drafting insured's detailed and lengthy opening brief in          1.80         306.00
                  appeal from denial of anti-SLAPP motion to strike to amended          170.00/hr
                  complaint, pursuant to carrier authority.

  6/2/2014 - JC   Continue drafting insured's detailed and lengthy opening brief in       2.40         408.00
                  appeal from denial of anti-SLAPP motion to strike to amended          170.00/hr
                  complaint, pursuant to carrier authority.

  6/4/2014 - JC   Continue drafting insured's detailed and lengthy opening brief in       1.50         255.00
                  appeal from denial of anti-SLAPP motion to strike to amended          170.00/hr
                  complaint, pursuant to carrier authority.

  6/5/2014 - JC   Draft attorney analysis and update for carrier regarding insured's      0.40             68.00
                  appeal, motions in appeal and briefing schedule, status of            170.00/hr
                  bankruptcy case of plaintiff P. Berg, and status regarding related
                  Ostella v. IRB case.
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                                                                                           Hrs/Rate        Amount

  6/6/2014 - JC   Continue drafting insured's detailed and lengthy opening brief in           3.30         561.00
                  appeal from denial of anti-SLAPP motion to strike to amended              170.00/hr
                  complaint, pursuant to carrier authority.

  6/9/2014 - JC   Continue drafting insured's detailed and lengthy opening brief in           2.80         476.00
                  appeal from denial of anti-SLAPP motion to strike to amended              170.00/hr
                  complaint, pursuant to carrier authority.


           - JC   Continue preparation of insured's voluminous appendix of record             1.90         323.00
                  on appeal supporting appeal from denial of anti-SLAPP motion to           170.00/hr
                  strike to amended complaint, pursuant to carrier authority.

 6/10/2014 - JC   Continue drafting insured's detailed and lengthy opening brief in           2.20         374.00
                  appeal from denial of anti-SLAPP motion to strike to amended              170.00/hr
                  complaint, pursuant to carrier authority.

 6/11/2014 - JC   Begin review of court records regarding bankruptcy case of                  0.40             68.00
                  plaintiff, P. Berg, for potential use in motion in insured's appeal to    170.00/hr
                  dismiss P. Berg as party in appeal.

 6/12/2014 - KS   Amend draft for appeal.                                                     0.80         136.00
                                                                                            170.00/hr

           - TD   Analyze bankruptcy law regarding bankruptcy of P. Berg toward               1.40         238.00
                  preparation of opening brief.                                             170.00/hr

           - JC   Continue drafting insured's detailed and lengthy opening brief in           1.90         323.00
                  appeal from denial of anti-SLAPP motion to strike to amended              170.00/hr
                  complaint, pursuant to carrier authority.


           - JC   Continue preparation of insured's voluminous appendix of record             2.90         493.00
                  on appeal supporting appeal from denial of anti-SLAPP motion to           170.00/hr
                  strike to amended complaint, pursuant to carrier authority.

 6/13/2014 - JC   Review and analysis of court documents including P. Berg                    0.50             85.00
                  Statement of Financial Affairs, listing Liberi case as asset of           170.00/hr
                  estate, toward support for insured's potential motion to bar P.
                  Berg from participating in appeal.

 6/14/2014 - JC   Multiple correspondence with insured O. Taitz regarding                     0.30             51.00
                  preparation of opening brief in appeal.                                   170.00/hr

           - JC   Continue drafting insured's detailed and lengthy opening brief in           2.50         425.00
                  appeal from denial of anti-SLAPP motion to strike to amended              170.00/hr
                  complaint, pursuant to carrier authority.


 6/16/2014 - PB   Review and analysis of voluminous documents for use in                      3.00         285.00
                  excerpts of record                                                         95.00/hr
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                                                                                      Hrs/Rate        Amount

 6/16/2014 - JC   Multiple correspondence with insured O. Taitz regarding                0.30             51.00
                  preparation of opening brief in appeal.                              170.00/hr

           - JC   Continue drafting insured's detailed and lengthy opening brief in      2.30         391.00
                  appeal from denial of anti-SLAPP motion to strike to amended         170.00/hr
                  complaint, pursuant to carrier authority.


           - KS   Work on opening brief.                                                 0.80         136.00
                                                                                       170.00/hr

           - JC   Continue preparation of insured's voluminous appendix of record        2.30         391.00
                  on appeal supporting appeal from denial of anti-SLAPP motion to      170.00/hr
                  strike to amended complaint, pursuant to carrier authority.

 6/17/2014 - JC   Multiple telephone conferences and correspondence with                 0.50             85.00
                  insured O. Taitz (also as counsel for co-defendants in related       170.00/hr
                  appeal) regarding preparation of excerpts on appeal in insured's
                  and co-defendants' appeals.

           - JC   Continue drafting insured's detailed and lengthy opening brief in      3.70         629.00
                  appeal from denial of anti-SLAPP motion to strike to amended         170.00/hr
                  complaint, pursuant to carrier authority.


           - PB   Begin draft of excerpts of record volume 1 in support of opening       2.50         237.50
                  brief to 9th circuit appeal                                           95.00/hr

           - JC   Continue preparation of insured's voluminous appendix of record        2.80         476.00
                  on appeal supporting appeal from denial of anti-SLAPP motion to      170.00/hr
                  strike to amended complaint, pursuant to carrier authority.


           - PB   Begin draft of excerpts of record volume 2 in support of opening       3.00         285.00
                  brief filed in 9th circuit                                            95.00/hr

           - KS   Examine court transcript from Plaintiff's prior hearings in            1.40         238.00
                  Philadelphia.                                                        170.00/hr

           - KS   Conference regarding client's multiple requests for additional         0.60         102.00
                  arguments.                                                           170.00/hr

           - PB   Begin draft of excerpts of record volume 3 in support of opening       1.50         142.50
                  brief to 9th circuit appeal                                           95.00/hr

 6/18/2014 - KS   Correspondence to client regarding not accepting legal analysis        0.40             68.00
                  for DOFF.                                                            170.00/hr

           - PB   Complete review and analysis of documents to be used in                2.00         190.00
                  excerpts of record                                                    95.00/hr
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                                                                                         Hrs/Rate        Amount

 6/18/2014 - JC   Meeting with insured O. Taitz toward preparation of insured's             2.00         340.00
                  opening brief and supporting excerpts of record in appeal from          170.00/hr
                  denial of anti-slapp motion to strike.

           - PB   Begin draft of tables of authorities to opening brief in 9th circuit      2.00         190.00
                  appeal                                                                   95.00/hr

           - JC   Continue preparation of insured's voluminous appendix of record           1.10         187.00
                  on appeal supporting appeal from denial of anti-SLAPP motion to         170.00/hr
                  strike to amended complaint, pursuant to carrier authority.


 6/19/2014 - PB   Revise excerpts of volume 3 in support of opening brief.                  1.00             95.00
                                                                                           95.00/hr

           - PB   Convert all 3 volumes of excerpts of record into mandatory OCR            1.00    NO CHARGE
                  format                                                                   95.00/hr

           - JC   Continue review and analysis of issues regarding bankruptcy               0.40             68.00
                  case of plaintiff, P. Berg, toward support for insured's potential      170.00/hr
                  motion to bar P. Berg from participating in appeal.

           - PB   Revise excerpts of record volume 1 in support of opening brief.           1.50         142.50
                                                                                           95.00/hr

           - KS   Conference with client regarding appeal.                                  0.40             68.00
                                                                                          170.00/hr

           - PB   Revise excerpts of volume 2 in support of opening brief.                  1.30         123.50
                                                                                           95.00/hr

           - PB   Bate stamp all volumes (858 pages) of excerpts of record in               0.40    NO CHARGE
                  support of opening brief filed in 9th circuit appeal                     95.00/hr

 6/20/2014 - PB   Review opening brief and revise excerpts of record, volumes 1-3           1.60         152.00
                  based on same.                                                           95.00/hr

           - PB   Draft certificate of service of opening brief and all three volumes       0.20             19.00
                  to excerpts of record                                                    95.00/hr

           - JC   Multiple telephone conferences insured (also as counsel for               0.30             51.00
                  co-defendants) regarding preparation of voluminous record on            170.00/hr
                  appeal in insured's appeal, and in related appeal by
                  co-defendant Defend Our Freedoms Foundation.

           - PB   Edit and revise opening brief.                                            0.70             66.50
                                                                                           95.00/hr

           - PB   Continue draft of tables of authorities to opening brief in 9th           2.00         190.00
                  circuit appeal                                                           95.00/hr
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                                                                                         Hrs/Rate        Amount

 6/20/2014 - PB   Draft table of contents to opening brief in 9th circuit appeal            0.80             76.00
                                                                                           95.00/hr

 6/23/2014 - JC   Review multiple notices from court of appeals regarding filing of         0.40             68.00
                  insured's opening brief and excerpts of record, and order to file       170.00/hr
                  paper copies of brief and excerpts.

 6/25/2014 - TD   Continue to analyze case law and statutes regarding bankruptcy            4.80         816.00
                  debtor standing in appellate proceedings.                               170.00/hr

 6/26/2014 - TD   Analyze case law and federal bankruptcy law regarding chapter             1.30         221.00
                  13 bankruptcies and debtors' rights regarding causes of action          170.00/hr

           - TD   Analyze case law regarding trustee exclusive right to pursue              1.80         306.00
                  cause of action as part of bankruptcy estate                            170.00/hr

           - PB   3 x telephone calls to and from attorney services job for                 0.30    NO CHARGE
                  duplication and assembly of paper copies of opening brief and 3          95.00/hr
                  volumes of excerpts of record in mandatory format required by
                  federal court rules

 6/27/2014 - PB   Telephone call from 9th circuit court of appeal clerk, Lucie from         0.20             19.00
                  Pasadena divisional office regarding paper submissions and               95.00/hr
                  receive instructions to redirect filings to San Francisco court

 6/30/2014 - PB   Review e-mail from 9th Circuit clerk regarding requirement for            0.10              9.50
                  paper certificate                                                        95.00/hr

           - PB   Prepare certificate for brief in paper format and submit directly to      0.20             19.00
                  9th circuit clerk by e-mail                                              95.00/hr

 7/22/2014 - JC   Review updated docket regarding bankruptcy case of plaintiff              0.40             74.00
                  and respondent, P. Berg, regarding potential use in insured's           185.00/hr
                  appeal from denial of anti-SLAPP motion to strike.

 7/29/2014 - TD   Review and analysis of Berg Bankruptcy status                             0.50             85.00
                                                                                          170.00/hr

 7/31/2014 - TD   Review and analyze Appeal documents and briefs filed thus far             1.10         187.00
                                                                                          170.00/hr

           - TD   Review Berg Chapter 13 bankruptcy and case law regarding his              0.80         136.00
                  ability to represent himself in pending appeal.                         170.00/hr

 8/12/2014 - PB   Conference with attorney Jeffrey Cunningham regarding                     0.10    NO CHARGE
                  conversation with Appellate motions clerk regarding Plaintiff's          95.00/hr
                  answer to opening brief

           - PB   Conference with attorney Jeffrey Cunningham regarding                     0.20    NO CHARGE
                  communication to Appellate Clerk regarding docket                        95.00/hr
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                                                                                             Hrs/Rate        Amount

 8/12/2014 - JC   Multiple correspondence with insured regarding status of                      0.40             74.00
                  bankruptcy of respondent P. Berg and potential effect on                    185.00/hr
                  insured's appeal, and regarding inclusion of legal arguments
                  requested by insured in reply brief in appeal.

           - JC   Telephone conference with court clerk regarding potential motion              0.30             55.50
                  to bar respondents from participating in appeal due to tardy brief,         185.00/hr
                  in appeal by insured.

           - JC   Attorney analysis of complex legal issues regarding effect of                 0.90         166.50
                  plaintiffs' failure to file opening brief in insured's appeal, including    185.00/hr
                  potential motion to bar filing of brief and participation in oral
                  argument, and including potential motion for sanctions.

           - PB   Telephone conference with Appellate motions clerk regarding                   0.10              9.50
                  Plaintiff's answer to opening brief                                          95.00/hr

 8/13/2014 - JC   Begin review and analysis of plaintiffs Liberi, Ostella and Go                3.90         721.50
                  Excel Globals' lengthy answering brief (over 60 pages) and                  185.00/hr
                  supplemental excerpts of record (approximately 2,000 pages) in
                  insured's appeal, toward preparation of insured's reply brief and
                  pursuant to carrier approval.

           - JC   Begin review and analysis of respondents' extension documents                 0.70         129.50
                  in related appeal by Defend Our Freedoms Foundations, toward                185.00/hr
                  support for potential motion to strike respondents' brief in
                  insured's appeal.

           - KS   Conference regarding opposing counsel's answering brief, filed                0.40             74.00
                  untimely.                                                                   185.00/hr

           - KS   Conference regarding strategy and handling of client's request                0.40             74.00
                  that we file a motion to strike.                                            185.00/hr

           - JC   Multiple correspondence and telephone conferences with                        0.60         111.00
                  insured regarding potential extension order for plaintiffs in               185.00/hr
                  insured's appeals, and toward preparation of potential motion to
                  strike respondents' answering brief.

           - KS   Correspondence with carrier regarding appellate issues.                       0.20             37.00
                                                                                              185.00/hr

 8/14/2014 - JC   Begin review and analysis of motion for leave to file late brief by           0.90         166.50
                  respondents Liberi, Ostella and Go Excel Global in appeal by                185.00/hr
                  insured, toward preparation of opposition to motion.

           - JC   Multiple correspondence with insured regarding motion for leave               0.30             55.50
                  to file late brief by respondents Liberi, Ostella and Go Excel              185.00/hr
                  Global in appeal by insured, toward preparation of opposition to
                  motion.
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                                                                                           Hrs/Rate        Amount

 8/14/2014 - JC   Begin preparation of insured's opposition to motion for leave to            1.10         203.50
                  file late brief by respondents Liberi, Ostella and Go Excel Global        185.00/hr
                  in appeal by insured.

           - JC   Begin review and analysis of respondents' answering brief                   2.10         388.50
                  (approximately 60 pages) in appeal of Defendant, Defend Our               185.00/hr
                  Freedoms Foundations (represented by insured, O. Taitz),
                  related to appeal by insured from denial of anti-SLAPP motion to
                  strike.

           - JC   Multiple correspondence with court of appeal regarding motion               0.40             74.00
                  for leave to file late brief by respondents Liberi, Ostella and Go        185.00/hr
                  Excel Global in appeal by insured, and effect on briefing
                  schedule in case.

           - JC   Several conferences with insured regarding development of legal             0.50             92.50
                  arguments for reply brief in insured's appeal, and in opposition to       185.00/hr
                  respondents' answering brief in appeal.

           - KS   Finalize update to carrier regarding new motion.                            0.20             37.00
                                                                                            185.00/hr

           - JC   Continue review and analysis of plaintiffs Liberi, Ostella and Go           5.10         943.50
                  Excel Globals' lengthy answering brief (over 60 pages) and                185.00/hr
                  supplemental excerpts of record (approximately 2,000 pages) in
                  insured's appeal, toward preparation of insured's reply brief and
                  pursuant to carrier approval.

           - KS   Correspondence with client regarding new developments on                    0.30             55.50
                  appeal.                                                                   185.00/hr

           - KS   Strategy conference regarding handling of new appellate issues.             0.80         148.00
                                                                                            185.00/hr

 8/15/2014 - JC   Draft attorney update and analysis for carrier regarding                    0.40             74.00
                  appellee's motion to file late brief in appeal of insured, with future    185.00/hr
                  handling plan for opposition to motion.

           - JC   Continue preparation of insured's opposition to motion for leave            2.80         518.00
                  to file late brief by respondents Liberi, Ostella and Go Excel            185.00/hr
                  Global in appeal by insured.

           - JC   Correspondence with insured regarding preparation of opposition             0.20             37.00
                  to motion for leave to file late brief by respondents Liberi, Ostella     185.00/hr
                  and Go Excel Global in appeal by insured.

 8/16/2014 - JC   Continue preparation of insured's opposition to motion for leave            1.90         351.50
                  to file late brief by respondents Liberi, Ostella and Go Excel            185.00/hr
                  Global in appeal by insured, incorporating revisions by insured.
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                                                                                        Hrs/Rate        Amount

 8/16/2014 - JC   Multiple correspondence with insured regarding revisions to              0.40             74.00
                  insured's opposition to motion for leave to file late brief by         185.00/hr
                  respondents Liberi, Ostella and Go Excel Global in appeal by
                  insured.

           - JC   Continue review and analysis of plaintiffs Liberi, Ostella and Go        4.80         888.00
                  Excel Globals' lengthy answering brief (over 60 pages) and             185.00/hr
                  supplemental excerpts of record (approximately 2,000 pages) in
                  insured's appeal, toward preparation of insured's reply brief and
                  pursuant to carrier approval.

 8/17/2014 - KS   Conference regarding client's demands that we amend our                  0.60         111.00
                  response.                                                              185.00/hr

 8/18/2014 - TD   Analyze Appeal of Taitz and compare to Responsive Pleading of            3.50         595.00
                  Liberi (Late) regarding citations used. Create chart to compare        170.00/hr
                  what cases and statutes were shared between the parties and
                  which were used exclusively.

           - JC   Continue review and analysis of respondents' answering brief             2.80         518.00
                  (approximately 60 pages) in appeal of Defendant, Defend Our            185.00/hr
                  Freedoms Foundations (represented by insured, O. Taitz),
                  related to appeal by insured from denial of anti-SLAPP motion to
                  strike.

           - JC   Review and analysis of order transferring related Liberi v. IRB          0.40             74.00
                  case to Florida district court.                                        185.00/hr

           - JC   Begin drafting insured's motion to reconsider and vacate order           1.40         259.00
                  allowing late answering brief by appellees Liberi, Ostella and Go      185.00/hr
                  Excel Global.

           - JC   Continue review and analysis of plaintiffs Liberi, Ostella and Go        2.90         536.50
                  Excel Globals' lengthy answering brief (over 60 pages) and             185.00/hr
                  supplemental excerpts of record (approximately 2,000 pages) in
                  insured's appeal, toward preparation of insured's reply brief and
                  pursuant to carrier approval.

           - JC   Review and analysis of order on appellees' motion for leave to           0.30             55.50
                  file late brief.                                                       185.00/hr

           - JC   Multiple correspondence with insured regarding evaluation of             0.30             55.50
                  court of appeals' order on appellees' motion for leave to file late    185.00/hr
                  brief, and potential motion to reconsider and vacate order.

           - KS   Conference regarding client's motion for reconsideration.                0.30             55.50
                                                                                         185.00/hr

 8/19/2014 - JC   Review court of appeals rules and other authorities regarding            0.80         148.00
                  potential disqualification of counsel for certain appellees, on        185.00/hr
                  request by insured for inclusion in motion to reconsider and
                  vacate order allowing late filing of appellees' answering brief.
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                                                                                          Hrs/Rate        Amount

 8/19/2014 - JC   Several telephone conferences and correspondence with insured              0.80         148.00
                  regarding potential disqualification of counsel for certain              185.00/hr
                  appellees, on request by insured for inclusion in motion to
                  reconsider and vacate order allowing late filing of appellees'
                  answering brief.

           - JC   Begin review and analysis of ninth circuit rules regarding                 0.60         111.00
                  insured's potential motion to challenge motions panel in her             185.00/hr
                  appeal.

           - JC   Continue drafting insured's motion to reconsider and vacate                2.30         425.50
                  order allowing late answering brief by appellees Liberi, Ostella         185.00/hr
                  and Go Excel Global, with several revisions and additions
                  requested by insured.

           - JC   Continue review and analysis of plaintiffs Liberi, Ostella and Go          4.10         758.50
                  Excel Globals' lengthy answering brief (over 60 pages) and               185.00/hr
                  supplemental excerpts of record (approximately 2,000 pages) in
                  insured's appeal, toward preparation of insured's reply brief and
                  pursuant to carrier approval.

 8/20/2014 - PB   Finalize motion for reconsideration on clerk's order                       0.30             28.50
                                                                                            95.00/hr

           - JC   Continue review and analysis of respondents' answering brief               2.10         388.50
                  (approximately 60 pages) in appeal of Defendant, Defend Our              185.00/hr
                  Freedoms Foundations (represented by insured, O. Taitz),
                  related to appeal by insured from denial of anti-SLAPP motion to
                  strike.

           - PB   Prepare certification of ECF service of motion for reconsideration         0.20             19.00
                  on clerk's order                                                          95.00/hr

           - KS   Conference with client regarding strategy for our response.                0.60         111.00
                                                                                           185.00/hr

           - KS   Examine client's request for new panel of judges/ clerks to                2.20         407.00
                  review her filings.                                                      185.00/hr

 8/21/2014 - JC   Begin review and analysis of plaintiffs' Memorandum of Points              0.80         148.00
                  and Authorities in opposition to insured's motion for                    185.00/hr
                  reconsideration of order allowing plaintiffs' late brief and excerpts
                  in insured's appeal, and to strike brief and excerpts, toward
                  preparation of reply Memorandum of Points and Authorities.

           - JC   Begin review and analysis of complex legal issues raised in                3.80         703.00
                  appellees' brief regarding potential effect of transfer of case on       185.00/hr
                  jurisdiction for anti-SLAPP motion to strike, toward preparation of
                  insured's arguments in reply brief in appeal.

           - KS   Further conference regarding client's multiple requests related to         0.80         148.00
                  her appeal and the court's most recent ruling.                           185.00/hr
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                                                                                       Hrs/Rate        Amount

 8/21/2014 - KS   Examine new cases cited by the client for relevance and                 1.20         222.00
                  applicability.                                                        185.00/hr

           - JC   Continue review and analysis of plaintiffs Liberi, Ostella and Go       1.50         277.50
                  Excel Globals' lengthy answering brief (over 60 pages) and            185.00/hr
                  supplemental excerpts of record (approximately 2,000 pages) in
                  insured's appeal, toward preparation of insured's reply brief and
                  pursuant to carrier approval.

 8/22/2014 - JC   Draft update and attorney analysis regarding insured's appeal,          0.30             55.50
                  including motion for reconsideration and to set aside order           185.00/hr
                  regarding appellees' late answering brief.

 8/23/2014 - JC   Begin drafting insured's reply Memorandum of Points and                 0.70         129.50
                  Authorities regarding motion for reconsideration of order granting    185.00/hr
                  appellees' motion to file late brief, in insured's appeal.

           - JC   Continue review and analysis of plaintiffs Liberi, Ostella and Go       4.90         906.50
                  Excel Globals' lengthy answering brief (over 60 pages) and            185.00/hr
                  supplemental excerpts of record (approximately 2,000 pages) in
                  insured's appeal, toward preparation of insured's reply brief and
                  pursuant to carrier approval.

 8/24/2014 - KS   Finalize update to carrier regarding recent developments.               0.40             74.00
                                                                                        185.00/hr

 8/25/2014 - JC   Continue review and analysis of respondents' answering brief            1.10         203.50
                  (approximately 60 pages) in appeal of Defendant, Defend Our           185.00/hr
                  Freedoms Foundations (represented by insured, O. Taitz),
                  related to appeal by insured from denial of anti-SLAPP motion to
                  strike.

           - JC   Begin drafting of insured's reply brief in appeal from denial of        1.60         296.00
                  anti-SLAPP motion to strike, pursuant to carrier authorization.       185.00/hr

           - JC   Continue drafting insured's reply Memorandum of Points and              1.90         351.50
                  Authorities regarding motion for reconsideration of order granting    185.00/hr
                  appellees' motion to file late brief, in insured's appeal.

           - JC   Continue review and analysis of plaintiffs Liberi, Ostella and Go       3.80         703.00
                  Excel Globals' lengthy answering brief (over 60 pages) and            185.00/hr
                  supplemental excerpts of record (approximately 2,000 pages) in
                  insured's appeal, toward preparation of insured's reply brief and
                  pursuant to carrier approval.

 8/26/2014 - PB   Finalize reply to opposition to motion for reconsideration on           0.30             28.50
                  clerk's order                                                          95.00/hr

           - JC   Multiple correspondence with insured regarding revisions to             0.30             55.50
                  insured's reply Memorandum of Points and Authorities regarding        185.00/hr
                  motion for reconsideration of order granting appellees' motion to
                  file late brief, in insured's appeal.
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                                                                                        Hrs/Rate        Amount

 8/26/2014 - JC   Continue drafting insured's reply Memorandum of Points and               0.40             74.00
                  Authorities regarding motion for reconsideration of order granting     185.00/hr
                  appellees' motion to file late brief, in insured's appeal.

           - PB   Prepare certification of ECF service on reply to opposition to           0.20             19.00
                  motion for reconsideration on clerk's order                             95.00/hr

           - JC   Continue review and analysis of plaintiffs Liberi, Ostella and Go        2.70         499.50
                  Excel Globals' lengthy answering brief (over 60 pages) and             185.00/hr
                  supplemental excerpts of record (approximately 2,000 pages) in
                  insured's appeal, toward preparation of insured's reply brief and
                  pursuant to carrier approval.

 8/27/2014 - TD   Review Berg bankruptcy action in Pennsylvania Eastern                    0.60         102.00
                                                                                         170.00/hr

           - JC   Continue drafting of insured's reply brief in appeal from denial of      0.90         166.50
                  anti-SLAPP motion to strike, pursuant to carrier authorization.        185.00/hr

 8/28/2014 - JC   Continue review and analysis of plaintiffs Liberi, Ostella and Go        1.40         259.00
                  Excel Globals' lengthy answering brief (over 60 pages) and             185.00/hr
                  supplemental excerpts of record (approximately 2,000 pages) in
                  insured's appeal, toward preparation of insured's reply brief and
                  pursuant to carrier approval.

 8/29/2014 - JC   Continue drafting of insured's reply brief in appeal from denial of      2.50         462.50
                  anti-SLAPP motion to strike, pursuant to carrier authorization.        185.00/hr

           - JC   Continue review and analysis of plaintiffs Liberi, Ostella and Go        1.30         240.50
                  Excel Globals' lengthy answering brief (over 60 pages) and             185.00/hr
                  supplemental excerpts of record (approximately 2,000 pages) in
                  insured's appeal, toward preparation of insured's reply brief and
                  pursuant to carrier approval.

 8/30/2014 - JC   Continue drafting of insured's reply brief in appeal from denial of      3.20         592.00
                  anti-SLAPP motion to strike, pursuant to carrier authorization.        185.00/hr

  9/2/2014 - JC   Multiple correspondence with insured regarding development of            0.30             55.50
                  legal argument on transfer based issues, in appeal from denial of      185.00/hr
                  insured's anti-SLAPP motion.

  9/3/2014 - PB   Review and analyze Pennsylvania filings for use in reply brief           0.60             57.00
                  and request for judicial notice for appellate action                    95.00/hr

           - JC   Continue drafting of insured's reply brief in appeal from denial of      2.80         518.00
                  anti-SLAPP motion to strike, pursuant to carrier authorization.        185.00/hr

           - JC   Begin review and analysis of motion and orders regarding                 0.60         111.00
                  insured's motion to dismiss regarding lack of jurisdiction in          185.00/hr
                  Pennsylvania district court, toward support for preparation of
                  request for judicial notice in insured's appeal and development of
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                                                                                        Hrs/Rate        Amount

                  insured's counter-arguments on new issues raised by plaintiffs in
                  appeal regarding Pennsylvania substantive law.

  9/4/2014 - JC   Lengthy conference with insured, also as counsel for                     0.80         148.00
                  co-defendant, Defend Our Freedoms Foundations, toward                  185.00/hr
                  preparation of reply brief arguments in insured's and DOFF's
                  appeals.

           - TD   Analyze Anti-SLAPP Motion and 9th Circuit Briefs for purpose of          2.30         391.00
                  reply brief.                                                           170.00/hr

           - JC   Review court of appeal's order on insured's motion for                   0.40             74.00
                  reconsideration of granting of leave to respondents to file late       185.00/hr
                  brief and excerpts of record, in insured's appeal from denial of
                  anti-SLAPP motion to strike, pursuant to carrier authorization.

  9/5/2014 - JC   Multiple conferences with insured, also as counsel for                   0.40             74.00
                  co-defendant, toward preparation of insured's reply brief in           185.00/hr
                  appeal from denial of anti-SLAPP motion to strike, pursuant to
                  carrier authorization.

           - JC   Continue drafting of insured's reply brief in appeal from denial of      2.30         425.50
                  anti-SLAPP motion to strike, pursuant to carrier authorization.        185.00/hr

  9/8/2014 - JC   Continue drafting of insured's reply brief in appeal from denial of      4.80         888.00
                  anti-SLAPP motion to strike, pursuant to carrier authorization.        185.00/hr

           - JC   Multiple conferences with insured, also as counsel for                   0.40             74.00
                  co-defendant, toward preparation of insured's reply brief in           185.00/hr
                  appeal from denial of anti-SLAPP motion to strike, pursuant to
                  carrier authorization.

  9/9/2014 - JC   Begin drafting of insured's request for judicial notice, with            1.40         259.00
                  supporting declaration and exhibits, in appeal from denial of          185.00/hr
                  anti-SLAPP motion to strike, pursuant to carrier approval.

           - JC   Multiple telephone conference with insured, also as counsel for          0.30             55.50
                  defendant, Defend Our Freedoms Foundations, regarding                  185.00/hr
                  preparation and development of insured's reply brief in appeal.

           - KS   Conference regarding DOFF reply brief.                                   0.40             74.00
                                                                                         185.00/hr

           - KS   Correspondence from client regarding falsified records filed by          0.80         148.00
                  plaintiff and conference regarding same.                               185.00/hr

 9/10/2014 - JC   Begin drafting of insured's motion to consolidate appeals, with          1.50         277.50
                  supporting declaration and exhibits, in appeal from denial of          185.00/hr
                  anti-SLAPP motion to strike, pursuant to carrier approval.
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                                                                                        Hrs/Rate        Amount

 9/10/2014 - JC   Continue drafting of insured's request for judicial notice, with         1.90         351.50
                  supporting declaration and exhibits, in appeal from denial of          185.00/hr
                  anti-SLAPP motion to strike, pursuant to carrier approval.

 9/11/2014 -


           - JC   Begin review and analysis of insured's lengthy correspondence            0.70         129.50
                  and record on appeal materials, regarding potential motion for         185.00/hr
                  sanctions in insured's appeal regarding alteration of documents
                  in respondents' supplemental excerpts of record.

           - JC   Continue drafting of insured's motion to consolidate appeals, with       1.60         296.00
                  supporting declaration and exhibits, in appeal from denial of          185.00/hr
                  anti-SLAPP motion to strike, pursuant to carrier approval.

           - JC   Multiple correspondence with insured, also as counsel for                0.40             74.00
                  defendant, Defend Our Freedoms Foundations, regarding                  185.00/hr
                  preparation and development of insured's reply brief in appeal.

 9/12/2014 - JC   Multiple telephone conferences with insured, also as counsel for         0.40             74.00
                  defendant, Defend Our Freedoms Foundations, regarding                  185.00/hr
                  preparation and development of insured's reply brief and motion
                  to consolidate in appeal.

           - PB   Draft tables of contents and authorities to reply brief submitted        2.80         266.00
                  on behalf of client Orly Taitz                                          95.00/hr

           - KS   Conference regarding changes to briefs.                                  0.30             55.50
                                                                                         185.00/hr

           - PB   Review and finalize request for judicial notice in support of reply      1.00             95.00
                  brief submitted on behalf of client, Orly Taitz                         95.00/hr

           - PB   Review and finalize Motion to Consolidate Defend Our Freedoms            0.80             76.00
                  Foundation Appeal with Orly Taitz Appeal                                95.00/hr

           - PB   Review and finalize Reply Brief filed on behalf of Orly Taitz            1.00             95.00
                                                                                          95.00/hr

 9/18/2014 - KS   Notice from court regarding consolidation.                               0.30             55.50
                                                                                         185.00/hr

 9/19/2014 - PB   Prepare submission of paper filing of reply brief pursuant to            2.00         190.00
                  Court Order                                                             95.00/hr

           - PB   Draft Certificate for Brief in Paper Format submission for paper         0.30             28.50
                  filing submission                                                       95.00/hr

 9/24/2014 - KS   Finalize detailed update to carrier.                                     0.60         111.00
                                                                                         185.00/hr
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                                                                                         Hrs/Rate        Amount

 9/30/2014 - JC   Review lengthy, over 40 pages, reply brief of defendant, Defend           1.80         333.00
                  Our Freedoms Foundation, in appeal related to and consolidated          185.00/hr
                  with appeal by insured from denial of anti-SLAPP motion to strike.

 10/8/2014 - JC   Review notice of court of appeals regarding filing of reply brief of      0.30             55.50
                  co-appellant, Defend Our Freedoms Foundations, regarding                185.00/hr
                  related appeal of insured, O. Taitz.

 10/9/2014 - KS   Notice from court of appeals regarding filing.                            0.30             55.50
                                                                                          185.00/hr

10/14/2014 - KS   Meeting with carrier regarding status and future handling strategy.       0.80         148.00
                                                                                          185.00/hr

10/28/2014 - KS   Conference with JPC regarding court's order.                              0.40             74.00
                                                                                          185.00/hr

           - PB   Review e-filing notification and closing minutes from 9th Circuit         0.10              9.50
                                                                                           95.00/hr

           - JC   Review and analysis of notice of district court, preliminarily            0.40             74.00
                  closing case pending appeal by insured from denial of                   185.00/hr
                  anti-SLAPP motion to strike.

10/29/2014 - JC   Multiple correspondence with insured regarding filing of order in         0.30             55.50
                  District Court case closing case as to previously dismissed             185.00/hr
                  defendants.

           - JC   Review and analysis of updated lengthy dockets in consolidated            0.50             92.50
                  appeals by insured, O. Taitz, and defendant, Defend Our                 185.00/hr
                  Freedoms Foundations, from denial of insured's anti-SLAPP
                  motion to strike.

           - PB   Review appellate docket regarding closing minutes                         0.10              9.50
                                                                                           95.00/hr

 12/5/2014 - JY   Review and analyze records for status update to client.                   0.10              9.50
                                                                                           95.00/hr

 12/8/2014 - JC   Multiple telephone conferences with insured regarding motion by           0.30             55.50
                  plaintiff, L. Ostella in related Ostella v. IRB case, for removal of    185.00/hr
                  counsel in case, and insured's proposed Rule 11 sanctions
                  motion in appeal.

           - JC   Review and analysis of motion by plaintiff, L. Ostella in related         0.40             74.00
                  Ostella v. IRB case, for removal of counsel in case.                    185.00/hr

12/10/2014 - JC   Begin evaluation of complex issues regarding insured's                    0.90         166.50
                  proposed Rule 11 sanctions motion in appeal.                            185.00/hr

12/12/2014 - KS   Correspondence with client regarding filing of her own                    0.80         148.00
                  cross-complaint. Conference regarding same.                             185.00/hr
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                                                                                           Hrs/Rate        Amount

12/12/2014 - KS   Correspondence with carrier regarding future new litigation.                0.20             37.00
                                                                                            185.00/hr

           - JC   Begin review and analysis of voluminous supplemental record of              0.90         166.50
                  appeal by plaintiffs in insured's appeal, toward support for              185.00/hr
                  insured's proposed Rule 11 sanctions motion in appeal.

12/13/2014 - KS   Conference regarding handling of client's future handling request.          0.30             55.50
                                                                                            185.00/hr

           - KS   Correspondence from client regarding status.                                0.20             37.00
                                                                                            185.00/hr

12/15/2014 - JC   Begin review and analysis of voluminous file materials including            1.20         222.00
                  record on appeal in insured's appeals, toward drafting                    185.00/hr
                  correspondence to opposing counsel regarding notice of intent to
                  seek sanctions regarding plaintiff, L. Liberi.

           - JC   Multiple telephone conferences with insured regarding insured's             0.30             55.50
                  proposed Rule 11 sanctions motion in appeal.                              185.00/hr

           - KS   Telephone conference with J Cunningham regarding client's                   0.40             74.00
                  demand for Rule 11 letter to opposing counsel.                            185.00/hr

12/16/2014 - JC   Begin drafting correspondence to opposing counsel regarding                 0.60         111.00
                  notice of intent to seek sanctions regarding plaintiff, L. Liberi.        185.00/hr

           - JC   Continue review and analysis of voluminous file materials                   1.00         185.00
                  including record on appeal in insured's appeals, toward drafting          185.00/hr
                  correspondence to opposing counsel regarding notice of intent to
                  seek sanctions regarding plaintiff, L. Liberi.

12/17/2014 - JC   Multiple correspondence with insured regarding insured's                    0.30             55.50
                  revisions to correspondence to opposing counsel regarding                 185.00/hr
                  notice of intent to seek sanctions regarding plaintiff, L. Liberi.

           - JC   Continue drafting correspondence to opposing counsel regarding              1.10         203.50
                  notice of intent to seek sanctions regarding plaintiff, L. Liberi.        185.00/hr

12/18/2014 - JC   Perform, review and analyze Lexis Nexis searches regarding                  0.90         166.50
                  plaintiff, L. Liberi including for Social Security information, toward    185.00/hr
                  support for insured's notice of intent to seek sanctions regarding
                  plaintiff, L. Liberi.

           - JC   Begin review and analysis of voluminous appellees'                          1.10         203.50
                  supplemental excerpts of record, and related voluminous                   185.00/hr
                  exhibits to first amended complaint, and related orders of district
                  court, toward preparation of potential motion to strike
                  supplemental excerpts of record.
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                                                                                             Hrs/Rate        Amount

12/18/2014 - JC     Multiple telephone conferences with insured regarding                       0.30             55.50
                    development of potential cross-claim in federal court case                185.00/hr
                    against plaintiffs.

           - JC     Review and analysis of newly provided pleadings regarding 2001              0.70         129.50
                    bankruptcy case of plaintiff, L. Liberi, toward preparation of            185.00/hr
                    insured's notice to opposing counsel of intention to seek
                    sanctions regarding Liberi claims regarding publication of social
                    security numbers.

           - JC     Continue review and analysis of voluminous file materials                   2.50         462.50
                    including record on appeal in insured's appeals, toward drafting          185.00/hr
                    correspondence to opposing counsel regarding notice of intent to
                    seek sanctions regarding plaintiff, L. Liberi.

           - JC     Continue drafting detailed correspondence to opposing counsel               1.10         203.50
                    with revisions requested by insured, regarding notice of intent to        185.00/hr
                    seek sanctions regarding plaintiff, L. Liberi.

12/19/2014 - KS     Correspondence with client regarding Liberi's bankruptcy and                0.50             92.50
                    use of public information.                                                185.00/hr

           - JC     Several correspondence and telephone conference with insured                0.80         148.00
                    O. Taitz (also as counsel for several defendants) regarding               185.00/hr
                    insured's requested revisions to correspondence to opposing
                    counsel regarding notice of intent to seek sanctions regarding
                    plaintiff, L. Liberi.

           - CAB Review, revise and finalize correspondence to opposing counsel                 0.30             28.50
                 Marcus regarding Notice of Intention to Seek Sanctions                        95.00/hr

           - JC     Perform, review and analyze Lexis Nexis searches regarding                  0.40             74.00
                    plaintiff, L. Liberi including for Social Security information, toward    185.00/hr
                    support for insured's notice of intent to seek sanctions regarding
                    plaintiff, L. Liberi.

           - JC     Continue drafting detailed correspondence to opposing counsel               0.50             92.50
                    with further revisions requested by insured, regarding notice of          185.00/hr
                    intent to seek sanctions regarding plaintiff, L. Liberi.

12/21/2014 -


12/22/2014 - JC     Begin review and analysis of portions of voluminous record on               0.90         166.50
                    appeal including several orders of District Court identified by           185.00/hr
                    insured, O. Taitz, also as counsel for co-appellants, toward
                    preparation for oral argument in appeals on Communications
                    Decency Act and res judicata grounds.

12/23/2014 - JC     Continue review and analysis of portions of voluminous record               0.80         148.00
                    on appeal including several orders of District Court identified by        185.00/hr
                    insured, O. Taitz, also as counsel for co-appellants, toward
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                                                                                        Hrs/Rate        Amount

                    preparation for oral argument in appeals on Communications
                    Decency Act and res judicata grounds.

12/26/2014 - JC     Multiple correspondence with insured regarding support for             0.30             55.50
                    insured's collateral estoppel arguments in preparation for oral      185.00/hr
                    argument in insured's appeal.

12/27/2014 - KS     Conference regarding client's cross-complaint.                         0.40             74.00
                                                                                         185.00/hr

           - JC     Multiple correspondence with insured toward preparation of             0.30             55.50
                    insured's cross-complaint in district court case,                    185.00/hr

12/29/2014 - JC     Begin review and analysis of lengthy and complex proposed              0.90         166.50
                    cross-complaint (approximately 65 pages) prepared by insured,        185.00/hr
                    O. Taitz (also as counsel for co-defendants), toward revisions to
                    pleading and potential filing in district court case.

           - JC     Begin drafting comprehensive update with attorney analysis for         0.90         166.50
                    carrier regarding status of appeals, insured's proposed motion       185.00/hr
                    for sanctions, insured's proposed cross-complaint, and related
                    future handling plan.

           - KS     Correspondence with client regarding plaintiff's admitted fraud.       0.30             55.50
                                                                                         185.00/hr

12/30/2014 - JC     Multiple correspondence with insured regarding evaluation of           0.30             55.50
                    potential cross-complaint.                                           185.00/hr

           - KS     Conference regarding motion for sanctions and possible                 0.50             92.50
                    cross-complaint.                                                     185.00/hr

12/31/2014 - KS     Conference regarding motion for sanctions.                             0.30             55.50
                                                                                         185.00/hr

           - JC     Continue review and analysis of lengthy and complex proposed           0.70         129.50
                    cross-complaint (approximately 65 pages) prepared by insured,        185.00/hr
                    O. Taitz (also as counsel for co-defendants), toward revisions to
                    pleading and potential filing in district court case.

  1/5/2015 - JC     Continue review and analysis of insured's lengthy proposed             1.10         203.50
                    cross-complaint (over 60 pages), toward preparation of insured's     185.00/hr
                    counterclaim, cross-claim and third party complaint in district
                    court case.

  1/7/2015 - CAB Receipt and review correspondence from Plaintiff in response to           0.10              9.50
                 our 12/19/14 correspondence                                              95.00/hr

  1/9/2015 - JC     Continue review and analysis of insured's lengthy proposed             0.80         148.00
                    cross-complaint (over 60 pages), toward preparation of insured's     185.00/hr
                    counterclaim, cross-claim and third party complaint in district
                    court case.
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                                                                                       Hrs/Rate        Amount

  1/9/2015 - JC   Multiple correspondence with insured (also as counsel for               0.30             55.50
                  co-defendants) regarding development of insured's proposed            185.00/hr
                  sanctions motion.

 1/12/2015 - KS   Conference with carrier regarding future handling and discovery         0.20             37.00
                  plan.                                                                 185.00/hr

 1/13/2015 - JC   Multiple correspondence with insured, O. Taitz, and review of file      1.60         296.00
                  materials provided by insured, toward preparation of response to      185.00/hr
                  opposing counsel regarding insured's notice of intent to seek
                  sanctions in district court and court of appeals' cases.

 1/14/2015 - JC   Continue review and analysis of insured's lengthy proposed              1.50         277.50
                  cross-complaint (over 60 pages), toward preparation of insured's      185.00/hr
                  counterclaim, cross-claim and third party complaint in district
                  court case.

           - KS   Begin work on future handling plan and budget for carrier.              0.70         129.50
                                                                                        185.00/hr

           - JC   Multiple correspondence with insured, O. Taitz, and review of file      0.90         166.50
                  materials provided by insured, regarding defamation and               185.00/hr
                  invasion of privacy claims by plaintiff L. Liberi based on Social
                  Security Number, and toward preparation of response to
                  opposing counsel regarding insured's notice of intent to seek
                  sanctions in district court and court of appeals' cases.

 1/15/2015 - JC   Begin drafting detailed supplemental notice of intention to seek        0.60         111.00
                  sanctions.                                                            185.00/hr

 1/16/2015 - JC   Continue drafting detailed supplemental notice of intention to          0.70         129.50
                  seek sanctions and related correspondence with insured                185.00/hr
                  regarding preparation of notice.

 1/19/2015 - JC   Review summary and analysis by insured regarding potential              0.60         111.00
                  cross-complaint by insured against plaintiffs and counsel             185.00/hr
                  including for fraud and RICO claims, and evidence for
                  cross-complaint, regarding altered evidence.

           - JC   Review and analysis of voluminous file materials in district court      0.90         166.50
                  and court of appeals cases regarding plaintiffs' falsification of     185.00/hr
                  evidence, toward support for notification of intent to seek
                  sanctions and potential sanctions motion.

 1/21/2015 - JC   Multiple telephone conferences with insured regarding                   0.30             55.50
                  development of potential cross-complaint by insured against           185.00/hr
                  plaintiffs and counsel including for fraud and RICO claims, and
                  evidence for cross-complaint, regarding altered evidence.
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                                                                                         Hrs/Rate        Amount

 1/21/2015 - JC   Continue analysis regarding potential cross-complaint by insured          0.70         129.50
                  against plaintiffs and counsel including for fraud and RICO             185.00/hr
                  claims, and evidence for cross-complaint, regarding altered
                  evidence.

 1/22/2015 - JC   Continue review and analysis of voluminous file materials in              0.70         129.50
                  district court and court of appeals cases regarding plaintiffs'         185.00/hr
                  falsification of evidence, toward support for notification of intent
                  to seek sanctions and potential sanctions motion.

 1/23/2015 - JC   Begin drafting comprehensive correspondence to opposing                   0.80         148.00
                  counsel regarding plaintiffs' falsification of evidence and further     185.00/hr
                  notification of intent to seek sanctions and potential sanctions
                  motion.

 1/26/2015 - JC   Continue review and analysis of voluminous file materials in              1.50         277.50
                  district court and court of appeals cases regarding plaintiffs'         185.00/hr
                  falsification of evidence, toward support for notification of intent
                  to seek sanctions and potential sanctions motion.

           - JC   Continue drafting comprehensive correspondence to opposing                0.90         166.50
                  counsel regarding plaintiffs' falsification of evidence and further     185.00/hr
                  notification of intent to seek sanctions and potential sanctions
                  motion.


 1/30/2015 - JC   Several conferences with insured regarding development of                 0.50             92.50
                  cross-claim, counter-claim and third party complaint vs. plaintiffs     185.00/hr
                  and numerous non-parties.

  2/2/2015 - JC   Continue analysis of potential claims including federal RICO              1.40         259.00
                  claims proposed by insured (also as counsel for co-defendants)          185.00/hr
                  toward development of potential counterclaim, cross claim and
                  third party complaint.

           - JC   Multiple telephone conferences with insured (also as counsel for          0.30             55.50
                  co-defendants) toward preparation of detailed correspondence to         185.00/hr
                  opposing counsel regarding potential motion for sanctions in
                  district court and court of appeals.

  2/3/2015 - JC   Continue preparation of detailed correspondence to opposing               2.10         388.50
                  counsel regarding insured's potential motion for sanctions in           185.00/hr
                  district court and court of appeals, incorporating revisions of
                  insured (also as counsel for co-defendants) and references to
                  additional evidence provided by insured supporting notice.

  2/4/2015 - KS   Conference with J Cunningham regarding Markus letter,                     0.60         111.00
                  declaration of Berg, etc.                                               185.00/hr

           - KS   Examination of evidence received from client.                             3.40         629.00
                                                                                          185.00/hr
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                                                                                       Hrs/Rate        Amount

  2/5/2015 - KS   Work on changes to Markus demand.                                       0.40             74.00
                                                                                        185.00/hr

  2/6/2015 - JC   Multiple and lengthy conferences with insured (also as counsel          0.80         148.00
                  for co-defendants), toward development of insured's motion for        185.00/hr
                  sanctions against plaintiffs and counsel.

  2/9/2015 - JC   Draft comprehensive update and analysis for carrier regarding           0.40             74.00
                  status of insured's appeal and insured's proposed motion for          185.00/hr
                  sanctions in court of appeal.

 2/12/2015 - KS   Work on response to client regarding demand for sanctions.              0.60         111.00
                                                                                        185.00/hr

 2/13/2015 - KS   Correspondence with carrier regarding motion for sanctions.             0.50             92.50
                                                                                        185.00/hr

           - KS   Telephone conference with carrier regarding motion for                  0.30             55.50
                  sanctions.                                                            185.00/hr

 2/16/2015 - JC   Review and analysis of California's "Safe at Home" Program              0.90         166.50
                  materials regarding allegations of plaintiff, L. Liberi, regarding    185.00/hr
                  placement in program, insured's publication of alleged
                  information regarding placement, and including Liberi allegations
                  regarding publication regarding social security number in
                  connection with program placement.

 2/17/2015 - JC   Begin review and analysis of fraud jury instructions and related        1.40         259.00
                  materials regarding development of fraud based claims in              185.00/hr
                  counter-claim and third party complaint, as requested by insured
                  O. Taitz, and toward preparation of future handling plan with
                  insured (also as counsel for several co-defendants) for
                  prosecution of counter-claims, cross-claims and third party
                  complaints.

 2/18/2015 - JC   Multiple correspondence with insured regarding preparation of           0.30             55.50
                  proposed detailed counterclaim, cross claim and third party           185.00/hr
                  complaint.

 2/24/2015 - JC   Multiple correspondence with insured and M. Colen, counsel for          0.30             55.50
                  former defendant N. Sankey, regarding upcoming deposition of          185.00/hr
                  Sankey in related Ostella case.

 2/25/2015 - JC   Conduct meeting with insured, O. Taitz, regarding preparation           3.30         610.50
                  and revisions to correspondence to opposing counsel regarding         185.00/hr
                  sanctions, regarding deposition of former defendant N. Sankey in
                  related Ostella case, and toward drafting of insured's
                  counter-claim and third party complaint.

           - JC   Draft several revisions to detailed notice to opposing counsel          1.10         203.50
                  regarding intent to seek sanctions, following meeting with            185.00/hr
                  insured, O. Taitz, regarding revisions to notice regarding
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                                                                                           Hrs/Rate        Amount

                     sanctions, and related review of voluminous file materials
                     supporting insured's revisions to notice.

 2/26/2015 - JC      Begin analysis of potential probation violations by plaintiff L.         0.50             92.50
                     Liberi, toward evaluation of potential motion or application           185.00/hr
                     proposed by insured O. Taitz regarding violation of probation.

 2/27/2015 - CAB Complete correspondence to opposing counsel Stephen Marcus                   0.20             19.00
                 responding to 12/31/14 correspondence and providing further                 95.00/hr
                 notice of the intention of Defendant/Appellant, Orly Taitz to seek
                 sanctions

           - JC      Continue analysis of potential probation violations by plaintiff L.      0.30             55.50
                     Liberi, toward evaluation of potential motion or application           185.00/hr
                     proposed by insured O. Taitz regarding violation of probation.

           - JC      Draft several revisions to detailed notice to opposing counsel           2.10         388.50
                     regarding intent to seek sanctions, following numerous revisions       185.00/hr
                     and additions requested by insured, O. Taitz, and related review
                     of voluminous file materials supporting insured's revisions and
                     additions to notice.

           - CAB Complete correspondence to opposing counsel George Gittler                   0.20             19.00
                 and Scott Bradford responding to 12/31/14 correspondence and                95.00/hr
                 providing further notice of the intention of Defendant/Appellant,
                 Orly Taitz to seek sanctions

           - CAB Complete correspondence to opposing counsel Randy Berg                       0.20             19.00
                 responding to 12/31/14 correspondence and providing further                 95.00/hr
                 notice of the intention of Defendant/Appellant, Orly Taitz to seek
                 sanctions

  3/2/2015 - JC      Drafting of insured, O. Taitz's detailed and lengthy proposed            1.60         296.00
                     counter-claim.                                                         185.00/hr

  3/3/2015 -


           - CAB Prepare letters to counsel Gittler, Bradford, Marcus and Berg                0.30             28.50
                 pursuant to carrier request                                                 95.00/hr

           - KS      Correspondence with client regarding "Marcus Letter"                     0.20             37.00
                                                                                            185.00/hr

  3/4/2015 - JC      Multiple telephone conference with insured, O. Taitz (also as            0.30             55.50
                     counsel for co-defendants), regarding preparation of                   185.00/hr
                     counter-claims and third party complaints.

           - JC      Drafting of insured, O. Taitz's detailed and lengthy proposed            3.20         592.00
                     counter-claim.                                                         185.00/hr
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                                                                                          Hrs/Rate        Amount

  3/4/2015 -


  3/5/2015 -



           - CAB Track and print out FedEx delivery confirmation concerning                  0.10    NO CHARGE
                 letters to Gittler and Bradford pursuant to Jeff Cunningham                95.00/hr
                 request

           - JC     Review and analysis of California Secretary of State materials           0.40             74.00
                    regarding entity status of defendant, Defend Our Freedoms              185.00/hr
                    Foundation, toward preparation of insured's counter-claim and
                    third party complaint.

  3/6/2015 - JC     Communicate with P Batiller regarding technical language and             0.80         148.00
                    distinctions between terms "blog", "website", "domain names"           185.00/hr
                    and "domains"

  3/9/2015 - CAB Receipt and review correspondence from Gittler & Bradford                   0.10              9.50
                 responding to our 3/4/15 letter                                            95.00/hr

 3/11/2015 - JC     Continue drafting of insured's complex proposed counter-claim            3.50         647.50
                    in federal court case.                                                 185.00/hr

           - KS     Conference with J Cunningham regarding client's new evidence             0.40             74.00
                    related to Liberi's false statements in Federal Court, August 2009.    185.00/hr

           - KS     Correspondence from client regarding meeting.                            0.20    NO CHARGE
                                                                                           185.00/hr

 3/12/2015 - KS     Correspondence with client regarding future handling of her              0.30             55.50
                    requests.                                                              185.00/hr

           - JC     Multiple correspondence with insured regarding preparation of            0.30             55.50
                    counter-claim.                                                         185.00/hr

           - KS     Correspondence with client regarding proposed counterclaim.              0.30             55.50
                                                                                           185.00/hr

           - KS     Conference with J Cunningham regarding client's requests for             0.60         111.00
                    immediate handling.                                                    185.00/hr

 3/13/2015 - JC     Continue analysis of insured's complex proposed RICO claims              0.70         129.50
                    for inclusion in proposed counter-claim and third party complaint.     185.00/hr

 3/14/2015 - JC     Multiple conferences with K. Schumann regarding preparation of           0.30             55.50
                    insured's proposed counter-claim and future handling plan              185.00/hr
                    including regarding pending appeals.
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                                                                                             Hrs/Rate        Amount

 3/14/2015 - KS     Multiple correspondence with client regarding past handling and             0.80         148.00
                    meeting next week to discuss future handling, cross claims,               185.00/hr
                    sanctions, etc.

           - KS     Begin preparation for next week's meeting by reviewing RICO                 1.40         259.00
                    claims, counter-claim and evidence regarding false statements.            185.00/hr

 3/15/2015 - KS     Multiple correspondence with client regarding next week's                   0.40             74.00
                    strategy and future handling meeting.                                     185.00/hr

 3/16/2015 - JC     Continue drafting of insured's complex proposed counter-claim               2.30         425.50
                    in federal court case including with insured's requested                  185.00/hr
                    declaratory relief and RICO claims.

           - DRR meeting with KS regarding status and issues for Thursday's                     1.50         277.50
                 meeting with client                                                          185.00/hr

           - DRR review and analyze documents for meeting                                       0.80         148.00
                                                                                              185.00/hr

           - JC     Begin analysis of insured's lengthy proposed declaratory claims             2.30         425.50
                    in counter-claim and third party complaint, including availability        185.00/hr
                    under California and federal declaratory relief statutes.

 3/17/2015 - KS     Conference with J Cunningham regarding handling of client's                 0.80         148.00
                    requests related to RICO claim and issues with Pennsylvania               185.00/hr
                    court reporter.

           - JC     Continue analysis of insured's complex proposed RICO claims                 0.60         111.00
                    for inclusion in proposed counter-claim and third party complaint.        185.00/hr


           - JC     Continue analysis of insured's lengthy proposed declaratory                 1.40         259.00
                    claims in counter-claim and third party complaint, including              185.00/hr
                    availability under California and federal declaratory relief statutes.

 3/18/2015 - DRR further preparation for tomorrow's meeting with client, including              0.50             92.50
                 continuing review of documents, counter-claim and RICO claims.               185.00/hr

           - JC     Multiple telephone conferences with insured regarding                       0.50             92.50
                    preparation and analysis of insured's proposed third party                185.00/hr
                    complaint as against defendant, D. Anders.

 3/19/2015 - JC     Correspondence with insured regarding preparation and analysis              0.20             37.00
                    of insured's proposed declaratory relief claim vs. plaintiffs in          185.00/hr
                    counter-claim.

           - KS     Conference with J Cunningham and D Rosenberg regarding                      0.40             74.00
                    handling of client's third party claims.                                  185.00/hr

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                                                                                         Hrs/Rate        Amount

 3/19/2015 - PB   Telephone call from client regarding future litigation handling and       0.20             19.00
                  planning                                                                 95.00/hr

           - JC   Begin analysis of issues regarding application of California              0.90         166.50
                  litigation privilege to insured's proposed defamation, infliction of    185.00/hr
                  emotional distress and related claims, toward potential inclusion
                  in proposed counter-claim and third party complaint.

 3/20/2015 - PB   Follow-up telephone call from client regarding future litigation          0.20             19.00
                  handling and planning                                                    95.00/hr

           - KS   Correspondence with client regarding RICO claim and client's              0.60         111.00
                  future handling concerns.                                               185.00/hr

           - KS   Telephone call from client regarding RICO claim, etc.                     0.30             55.50
                                                                                          185.00/hr

 3/23/2015 -



           - KS   Conference with carrier regarding handling status.                        0.20             37.00
                                                                                          185.00/hr

           - JC   Continue analysis of issues regarding application of California           0.70         129.50
                  litigation privilege to insured's proposed defamation, infliction of    185.00/hr
                  emotional distress and related claims, toward potential inclusion
                  in proposed counter-claim and third party complaint.

 3/24/2015 - JC   Draft attorney analysis for carrier regarding insured's proposed          0.60         111.00
                  joint claims by insured and defendant, Defend Our Freedoms              185.00/hr
                  Foundations, via counter-claim and third party complaint.

           - JC   Evaluation of complex issues regarding diversity jurisdiction             0.80         148.00
                  relating to insured's proposed third party complaint, and related       185.00/hr
                  joinder issues.

 3/25/2015 - JC   Begin review and analysis of insured's newly submitted proposed           0.80         148.00
                  counter-claim and third party complaint claims, for proposed            185.00/hr
                  inclusion in counter-claim and third party complaint.

           - JC   Continue evaluation of complex issues regarding potential                 0.80         148.00
                  jurisdictional bases for insured to bring proposed third party          185.00/hr
                  complaint vs. D. Anders

 3/26/2015 - JC   Continue review and analysis of insured's newly submitted                 0.50             92.50
                  proposed counter-claim and third party complaint claims, for            185.00/hr
                  proposed inclusion in counter-claim and third party complaint.

           - KS   Conference with D Rosenberg and J Cunningham regarding                    1.30         240.50
                  client's most recent email request and regarding tomorrow's             185.00/hr
                  future handling meeting with client.
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                                                                                      Hrs/Rate        Amount

 3/27/2015 - JC   Preparation for meeting with insured O. Taitz regarding future         0.80         148.00
                  handling issues, including evaluation and preparation of             185.00/hr
                  proposed counterclaim and third party complaint.

           - JC   Review and analysis of voluminous district court docket                1.30         240.50
                  regarding insured's proposed motion to strike portions of            185.00/hr
                  appellees' excerpts of record on appeal.

           - JC   Meeting with insured O. Taitz regarding future handling issues,        2.50         462.50
                  including evaluation and preparation of proposed counterclaim        185.00/hr
                  and third party complaint.

           - JC   Draft comprehensive future handling outline and examination of         0.90         166.50
                  issues, following meeting with insured O. Taitz regarding future     185.00/hr
                  handling issues and evaluation and preparation of proposed
                  counterclaim and third party complaint.

           - JC   Continue drafting insured's lengthy proposed counter-claim and         1.60         296.00
                  third party complaint incorporating insured's newly submitted        185.00/hr
                  numerous additions to such pleadings.

           - KS   Conference with J Cunningham regarding client's handling               0.40             74.00
                  requests.                                                            185.00/hr

           - KS   Meeting with client regarding future handling, and preparation of      2.50         462.50
                  future handling memorandum.                                          185.00/hr

 3/28/2015 - KS   Finalize detailed memorandum to client regarding agreed to             0.40             74.00
                  handling plan.                                                       185.00/hr

           - KS   Conference with Jeff Cunningham regarding client's proposals.          0.40             74.00
                                                                                       185.00/hr

           - KS   Lengthy correspondence from client regarding counter claims.           0.60         111.00
                                                                                       185.00/hr

 3/29/2015 - JC   Multiple correspondence with insured, and review declaration of        0.50             92.50
                  witness C. Hale, regarding preparation of insured's proposed         185.00/hr
                  counterclaim and third party complaint.

           - KS   Correspondence with client regarding meeting with client and           0.40             74.00
                  handling plan.                                                       185.00/hr

 3/30/2015 - JC   Continue drafting insured's lengthy proposed counter-claim and         1.30         240.50
                  third party complaint incorporating insured's newly submitted        185.00/hr
                  numerous additions to such pleadings.

 3/31/2015 - JC   Multiple conferences with insured regarding preparation of             0.50             92.50
                  proposed counter-claim and third-party complaint.                    185.00/hr

           - KS   Analyze latest version of client's proposed response and counter       1.40         259.00
                  claim.                                                               185.00/hr
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                                                                                       Hrs/Rate        Amount

  4/1/2015 - KS   Conference with J Cunningham regarding meet and confer to               0.20             37.00
                  opposing counsel to correct record on appeal.                         185.00/hr

           - KS   Correspondence from client regarding urgency related to filing          0.20             37.00
                  motion in appellate court.                                            185.00/hr

           - JC   Analysis of federal appellate rules regarding evaluation of             1.10         203.50
                  insured's proposed motion to strike plaintiffs' excerpts of record    185.00/hr
                  in appeals.

           - JC   Multiple correspondence with insured regarding insured's                0.30             55.50
                  proposed motion to strike appellees' excerpts of record in            185.00/hr
                  appeals.

           - JC   Draft meet and confer correspondence to opposing counsel                0.50             92.50
                  regarding insured's proposed motion to strike appellees'              185.00/hr
                  excerpts of record in appeals.

           - KS   Conference with J Cunningham regarding change of immediate              0.40             74.00
                  strategy.                                                             185.00/hr

  4/2/2015 - JC   Multiple correspondence with insured regarding insured's                0.30             55.50
                  revisions to meet and confer correspondence regarding                 185.00/hr
                  proposed motion to strike appellees' excerpts of record in
                  appeals.

           - JC   Begin drafting insured's motion to strike portions of appellees'        1.10         203.50
                  excerpts of record on appeal.                                         185.00/hr

           - KS   Conference with carrier regarding status of appeal and possible         0.70         129.50
                  cross claims.                                                         185.00/hr

  4/3/2015 - KS   Multiple conferences with J Cunningham regarding client's               1.40         259.00
                  requests and handling.                                                185.00/hr

           - KS   Correspondence with client regarding appellate motion and cross         0.80         148.00
                  claim.                                                                185.00/hr

           - JY   Revise/finalize letter to opposing counsel regarding                    0.20             19.00
                  Supplemental Excerpts of Record.                                       95.00/hr

           - KS   Conference with J Cunningham regarding witness statements               0.30             55.50
                  from Texas witnesses.                                                 185.00/hr

           - KS   Conference with J Cunningham regarding amending demand to               0.30             55.50
                  opposing counsel regarding appellate record.                          185.00/hr

  4/4/2015 - JC   Continue review and analysis of voluminous appellees'                   1.20         222.00
                  supplemental excerpts of record in appeal, toward support for         185.00/hr
                  insured's motion to strike improper excerpts.
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                                                                                             Hrs/Rate        Amount

  4/6/2015 - KS     Correspondence with carrier regarding motion in court of appeals.           0.20             37.00
                                                                                              185.00/hr

           - JC     Continue drafting insured's complex motion to strike portions of            5.20         962.00
                    appellees' excerpts of record on appeal.                                  185.00/hr

           - JC     Review opposing counsel's 4/6/15 correspondence regarding                   0.30             55.50
                    meet and confer on insured's motion to strike portions of                 185.00/hr
                    appellees' excerpts of record on appeal.

  4/7/2015 - KS     Conference with J Cunningham regarding amendments to                        0.80         148.00
                    motion for sanctions and issues with cross and counter claims.            185.00/hr

           - JC     Begin review and analysis of insured's lengthy requested                    0.50             92.50
                    revisions to proposed counter-claim and third party complaint.            185.00/hr

           - JC     Continue analysis of jurisdictional and procedural issues raised            0.60         111.00
                    regarding insured's lengthy and newly requested revisions to              185.00/hr
                    proposed counter-claim and third party complaint.

           - JC     Begin analysis of insured's requested motion to be filed in                 1.10         203.50
                    appeal, to strike plaintiffs' first amended complaint for violation of    185.00/hr
                    filing order, and related jurisdictional issues.

           - JC     Continue drafting insured's complex motion to strike portions of            2.60         481.00
                    appellees' excerpts of record on appeal, including with insured's         185.00/hr
                    several revisions.

           - JC     Multiple telephone conferences with Court of Appeals motions                0.30             55.50
                    unit, regarding insured's motion to strike portions of appellees'         185.00/hr
                    excerpts of record on appeal.

           - JC     Several conferences with insured regarding insured's proposed               0.90         166.50
                    motion to be filed in appeal, to strike plaintiffs' first amended         185.00/hr
                    complaint for violation of filing order.

           - CAB Receipt and review faxed correspondence from Gittler &                         0.10              9.50
                 Bradford advising they are in receipt of our 4/3/15 letter                    95.00/hr

           - KS     Correspondence from client with multiple changes and                        0.80         148.00
                    amendments.                                                               185.00/hr

  4/8/2015 - JC     Continue drafting insured's complex motion to strike portions of            1.80         333.00
                    appellees' excerpts of record on appeal, including with insured's         185.00/hr
                    several revisions.

           - JC     Continue analysis of insured's requested motion to be filed in              1.10         203.50
                    appeal, to strike plaintiffs' first amended complaint for violation of    185.00/hr
                    filing order, and related complex jurisdictional issues.
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                                                                                     Hrs/Rate        Amount

  4/8/2015 - JC   Numerous conferences with insured regarding insured's                 1.40         259.00
                  revisions to motion to strike portions of appellees' excerpts of    185.00/hr
                  record in appeal.

           - KS   Telephone call from client regarding desire to add language           0.20             37.00
                  regarding order from lower court.                                   185.00/hr

           - KS   Correspondence with client regarding order from lower court.          0.20    NO CHARGE
                                                                                      185.00/hr

           -


  4/9/2015 - SB   draft analysis of case law to determine whether we can move for       0.60         102.00
                  dismissal given plaintiff's violation of lower court order.         170.00/hr

           - SB   analyze case law to determine whether we can move for                 2.90         493.00
                  dismissal given plaintiff's violation of lower court order.         170.00/hr

           - JC   Conference with insured regarding motions in appeals.                 0.50             92.50
                                                                                      185.00/hr

           - KS   Conference with J Cunningham regarding research requested by          0.40             74.00
                  client.                                                             185.00/hr

           - KS   Telephone conference with carrier regarding upcoming motions          0.20             37.00
                  and research.                                                       185.00/hr

           - KS   Correspondence with carrier regarding cross claims.                   0.30             55.50
                                                                                      185.00/hr

           - KS   Conference call with client regarding motion for sanctions.           0.50             92.50
                                                                                      185.00/hr

           - KS   Amend correspondence to client regarding whether to seek              0.30             55.50
                  certain sanctions in client's appeal.                               185.00/hr

           -


 4/10/2015 - JC   Continue review and analysis of complex legal issues regarding        1.40         259.00
                  insured's requested motion to strike first amended complaint,       185.00/hr
                  and appellees' brief, in connection with appeal.

           - PB   Plan and prepare for filing of emergency motion pursuant to           0.20             19.00
                  client's request in Court of Appeals                                 95.00/hr

           - JC   Continue drafting insured's complex motion to strike appellees'       2.30         425.50
                  answering brief in appeal, including with insured's several         185.00/hr
                  revisions.
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                                                                                        Hrs/Rate        Amount

 4/10/2015 - PB   Communicate with 9th Circuit, Court of Appeals motion clerk              0.10              9.50
                  regarding submission of emergency motion                                95.00/hr

           - KS   Conference with J Cunningham regarding changes to motion                 0.60         111.00
                  and regarding research results.                                        185.00/hr

           -



           - PB   Review, edit, and finalize emergency motion for filing and               0.80             76.00
                  consideration by 9th Circuit Court of Appeals                           95.00/hr

 4/11/2015 - KS   Conference with J Cunningham regarding client's 4/8 e-mail               0.40             74.00
                  regarding Pennsylvania 2010 order, etc.                                185.00/hr

 4/13/2015 - JC   Draft attorney analysis for insured regarding jurisdictional issues      0.70         129.50
                  regarding insured's proposed third party complaint.                    185.00/hr

           - KS   Conference with J Cunningham regarding handling of client's              0.40             74.00
                  cross and counterclaims.                                               185.00/hr

           - JC   Multiple correspondence and telephone conference with insured,           0.40             74.00
                  as counsel for co-defendants, regarding preparation of Defend          185.00/hr
                  Our Freedoms Foundations' motion in consolidated appeals.

 4/16/2015 - KS   Conference with J Cunningham regarding opposing counsel's                0.60         111.00
                  opposition.                                                            185.00/hr

           - JC   Begin review and analysis of appellees' opposition to insured's          0.50             92.50
                  motion to strike portions of appellees' excerpts of record.            185.00/hr

           - JC   Multiple telephone conferences with insured regarding                    0.30             55.50
                  preparation of proposed counterclaim.                                  185.00/hr

 4/17/2015 - JC   Begin review and analysis of insured's proposed legal arguments          0.60         111.00
                  for preparation of reply to appellees' opposition to insured's         185.00/hr
                  motion in appeal to strike portions of appellees' excerpts of
                  record.

           - JC   Draft comprehensive attorney analysis of insured's potential             1.20         222.00
                  counterclaim and third party complaint, including on complex           185.00/hr
                  jurisdictional and standing issues.

           - KS   Correspondence with client regarding reply to opposing                   0.30             55.50
                  counsel's opposition to motion for sanctions.                          185.00/hr

           - JC   Conference with insured regarding preparation of reply                   1.50         277.50
                  Memorandum of Points and Authorities regarding motion to               185.00/hr
                  strike appellees' excerpt of record, and preparation of motion of
                  co-defendant (represented by insured) to strike amended
                  complaint in consolidated appeals.
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                                                                                              Hrs/Rate        Amount

 4/17/2015 - JC     Begin review and analysis of proposed motion to strike first                 1.40         259.00
                    amended complaint by insured (as counsel for co-defendant),                185.00/hr
                    coordinated with insured's motion to strike portions of appellees'
                    excerpts of record in consolidated appeals.

           - CAB Discussion with Jeff Cunningham and preparation of instructions                 0.20    NO CHARGE
                 to Nationwide to obtain certified copies of the criminal court                 95.00/hr
                 documents relating to Case No. FWV028000 (Lisa Liberi)

           - JC     Review and analysis of order denying insured's request for                   0.40             74.00
                    emergency motion in court of appeals, and transmitting insured's           185.00/hr
                    motion in appeal to court motions panel.

           - JC     Multiple correspondence with insured regarding preparation of                0.40             74.00
                    reply to appellees' opposition to insured's motion in appeal to            185.00/hr
                    strike portions of appellees' excerpts of record.

 4/18/2015 - KS     Lengthy correspondence from client regarding response to                     0.70         129.50
                    opposing counsel's opposition, and client's concerns.                      185.00/hr

 4/19/2015 - KS     Finalize analysis for carrier regarding client's request for authority.      0.60         111.00
                                                                                               185.00/hr

           - JC     Begin drafting insured's reply Memorandum of Points and                      1.80         333.00
                    Authorities and declaration regarding motion to strike appellees'          185.00/hr
                    answering brief in appeal.

 4/20/2015 - JC     Multiple telephone conferences with Motions Unit of Court of                 0.30             55.50
                    Appeals regarding April 17, 2015 order regarding insured's                 185.00/hr
                    motion to strike portions of appellees' excerpts.

           - JC     Continue drafting insured's reply Memorandum of Points and                   1.40         259.00
                    Authorities and declaration regarding motion to strike appellees'          185.00/hr
                    answering brief in appeal.

 4/21/2015 - CAB Review and forward requested documents to client.                               0.20             19.00
                                                                                                95.00/hr

           - JC     Continue drafting of insured's proposed lengthy counterclaim.                1.20         222.00
                                                                                               185.00/hr

           - CAB Telephone calls from client Orly Taitz requesting copies of letters             0.20             19.00
                 sent to Plaintiff's counsel Marcus                                             95.00/hr

           - KS     Correspondence from client regarding prior bankruptcy.                       0.30             55.50
                                                                                               185.00/hr

 4/22/2015 - KS     Conference with J Cunningham and P Batiller regarding filing of              0.40             74.00
                    client's pleadings today.                                                  185.00/hr

           - KS     Correspondence with carrier regarding pleading updates.                      0.60         111.00
                                                                                               185.00/hr
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                                                                                          Hrs/Rate        Amount

 4/22/2015 - PB     Review, revise and edit reply brief                                      0.70             66.50
                                                                                            95.00/hr

 4/24/2015 - JC     Multiple correspondence with insured regarding preparation of            0.30             55.50
                    counterclaim and third party complaint.                                185.00/hr

           - JY     Telephone conference with client regarding status of pleadings           0.20             19.00
                    and meeting.                                                            95.00/hr

           - JY     Review email correspondences to/from client regarding meeting.           0.10              9.50
                                                                                            95.00/hr

 4/26/2015 - KS     Correspondence with carrier regarding client's motions to strike.        0.30             55.50
                                                                                           185.00/hr

 4/27/2015 - JC     Review initial order on motion of co-defendant, Defend Our               0.40             74.00
                    Freedoms Foundations, in consolidated appeal with insured, O.          185.00/hr
                    Taitz, to strike appellees' excerpts on appeal.

           - CAB Telephone call from Nationwide regarding three volumes of                   0.10              9.50
                 criminal records (1,800 - 2,000 pages) and request of docket for           95.00/hr
                 review.

           - KS     Conference regarding court of appeals order regarding expedited          0.30             55.50
                    hearing.                                                               185.00/hr

           - KS     Examination of opposing counsel's 108 page "response                     3.30         610.50
                    opposing motion."                                                      185.00/hr

           - EA     Analysis of potential counter-claim against Plaintiff's alleged          1.30         221.00
                    conspirators relating to potential FRCP Rule 11 violations.            170.00/hr

           - EA     Conference with J Cunningham relating to counter-claim against           0.30             51.00
                    Plaintiff's alleged conspirators relating to potential FRCP Rule 11    170.00/hr
                    violations.

 4/28/2015 - JC     Multiple correspondence and telephone conference with insured,           0.50             92.50
                    regarding preparation of insured's detailed counterclaim, and          185.00/hr
                    discovery regarding plaintiff Liberi court filings.

           - JC     Conduct conference with carrier regarding insured's proposed             0.50             92.50
                    counterclaim and third party complaint.                                185.00/hr

           - KS     Conference with J Cunningham regarding update to carrier.                0.60         111.00
                                                                                           185.00/hr

           - KS     Conference with J Cunningham regarding defamatory                        0.80         148.00
                    publications by plaintiff.                                             185.00/hr

           - KS     Analyze proposed counterclaim and answer.                                0.70         129.50
                                                                                           185.00/hr
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                                                                                   Hrs/Rate        Amount

 4/28/2015 - JC   Review appellees' opposition Memorandum of Points and               0.70         129.50
                  Authorities and declaration to motion of co-defendant, Defend     185.00/hr
                  Our Freedoms Foundations, in consolidated appeal with insured,
                  O. Taitz, to strike appellees' excerpts on appeal.

           - JC   Continue drafting insured's proposed and lengthy counterclaim       1.50         277.50
                  with insured's additional claims and allegations.                 185.00/hr

           - KS   Prepare for conference call with carrier.                           0.80         148.00
                                                                                    185.00/hr

           - KS   Conference call with Joyce Segelken and Laurie Johnson              0.50             92.50
                  regarding counterclaim.                                           185.00/hr

           - KS   Correspondence from carrier regarding future handling and           0.40             74.00
                  issues related to counterclaim.                                   185.00/hr

           - KS   Conference with carrier regarding budget.                           0.20             37.00
                                                                                    185.00/hr

           -


           - KS   Correspondence with carrier regarding handling issues.              0.20             37.00
                                                                                    185.00/hr

 4/29/2015 - JC   Draft detailed memorandum regarding conferences with insured        0.90         166.50
                  regarding preparation of insured's detailed counterclaim, and     185.00/hr
                  discovery regarding plaintiff Liberi court filings.

           - KS   Preparation for meeting with client.                                0.70         129.50
                                                                                    185.00/hr

           - KS   Conference with J Cunningham regarding client concerns.             0.80         148.00
                                                                                    185.00/hr

           - KS   Correspondence with carrier regarding update and conference         0.30             55.50
                  call.                                                             185.00/hr

           - KS   Correspondence to client regarding future handling, her             1.20         222.00
                  concerns, etc.                                                    185.00/hr

           - KS   Telephone conference with carrier regarding update.                 0.80         148.00
                                                                                    185.00/hr

 4/30/2015 - KS   Correspondence with client regarding counterclaim.                  0.20             37.00
                                                                                    185.00/hr

           - KS   Conference with J Cunningham regarding counterclaim and third       0.80         148.00
                  party claim.                                                      185.00/hr
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                                                                                      Hrs/Rate        Amount

 4/30/2015 - KS   Correspondence with carrier and client regarding counterclaim.         0.30             55.50
                                                                                       185.00/hr

           -


           - KS   Conference with J Cunningham regarding future handling with            0.60         111.00
                  amended demands by client. On hold after conference call with        185.00/hr
                  carrier.

  5/1/2015 - KS   Correspondence with carrier regarding counterclaim.                    0.20             37.00
                                                                                       185.00/hr

  5/4/2015 - KS   Correspondence with carrier regarding client meeting on                0.20             37.00
                  Thursday.                                                            185.00/hr

           - JC   Partner conference with K Schumann regarding preparation of            0.40             74.00
                  insured's counterclaim.                                              185.00/hr

           - KS   Correspondence with client regarding meeting.                          0.30             55.50
                                                                                       185.00/hr

           -


  5/5/2015 - JC   Multiple correspondence with carrier in preparation for upcoming       0.30             55.50
                  conference regarding insured's counterclaim and third party          185.00/hr
                  complaint.

           - KS   Correspondence from carrier regarding position related to filing       0.40             74.00
                  counterclaim and third party claim.                                  185.00/hr

           - KS   Preparation for tomorrow's meeting with client, including review       2.20         407.00
                  and analysis of appellate pleadings, counterclaim and third party    185.00/hr
                  complaint.

           - JC   Review and analysis of reply Memorandum of Points and                  1.10         203.50
                  Authorities of co-defendant, Defend Our Freedoms (represented        185.00/hr
                  by insured), regarding motion to strike appellees' brief in
                  consolidated appeals.

  5/6/2015 - JC   Review and analysis lengthy docket entries,and draft related           2.10         388.50
                  memorandum regarding case history, in preparation for                185.00/hr
                  conferences with insured and carrier regarding pleadings and
                  future handling plan.

           - JC   Preparation for upcoming meeting with insured regarding                2.10         388.50
                  appeals and district court pleadings issues, development of          185.00/hr
                  related future handling plan, and related review of insured's
                  revised counterclaim and third party complaint.
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                                                                                    Hrs/Rate        Amount

  5/6/2015 - JC   Conduct meeting with insured regarding appeals and district          2.20         407.00
                  court pleadings issues, and development of related future          185.00/hr
                  handling plan including regarding insured's counterclaim and
                  third party complaint.

           - KS   Meeting with client and husband.                                     1.50         277.50
                                                                                     185.00/hr

           - JC   Review and analysis of carrier's updated coverage letter to          0.60         111.00
                  insured, including regarding counterclaim and third party          185.00/hr
                  complaint issues.

           - KS   Conference with J Cunningham regarding future handling, as           0.60         111.00
                  pursuant to client request.                                        185.00/hr

           - KS   Correspondence to carrier, pursuant to client request.               0.20             37.00
                                                                                     185.00/hr

  5/7/2015 - KS   Correspondence with client regarding insurance policy and            0.20             37.00
                  defense costs.                                                     185.00/hr

           - JC   Conference with insured and carrier regarding proposed               1.50         277.50
                  pleadings and future handling plan.                                185.00/hr

           - JC   Begin evaluation of issues regarding potential affirmative           0.70         129.50
                  defense by insured based on setoff, for inclusion in answer to     185.00/hr
                  complaint.

           - KS   Meeting with carrier and client.                                     1.50         277.50
                                                                                     185.00/hr

           -


           - JC   Multiple correspondence with insured and carrier regarding           0.40             74.00
                  defense expense issues.                                            185.00/hr

           - KS   Correspondence from carrier regarding defense costs, etc.            0.20             37.00
                                                                                     185.00/hr

  5/8/2015 -


           - JC   Preparation of comprehensive summary and analysis regarding          1.40         259.00
                  conferences with insured and carrier, including future handling    185.00/hr
                  plan inclusive of pleadings strategy



           - KS   Examination of recent statements by Berg regarding Orly.             1.20         222.00
                                                                                     185.00/hr
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                                                                                          Hrs/Rate          Amount

 5/11/2015 - JC   Partner conference regarding preparation of insured's proposed             0.30               55.50
                  motions to dismiss and strike regarding plaintiffs' first amended        185.00/hr
                  complaint.

 5/12/2015 -


           - KS   Correspondence from client regarding request for carrier                   0.40               74.00
                  authority.                                                               185.00/hr

           - KS   Conference with J Cunningham regarding request to finalize 12b             0.40               74.00
                  motions .                                                                185.00/hr

           - KS   Correspondence with client regarding carrier contact.                      0.20    NO CHARGE
                                                                                           185.00/hr

           -


           - KS   Correspondence from client regarding 12b proposed responses.               0.20               37.00
                                                                                           185.00/hr

           -
                                                                                                     r

 5/13/2015 - EA   Analyze potential motions in limine to consider to counteract              1.40           259.00
                  abusive trial tactics by Plaintiff's counsel, in order to formulate      185.00/hr
                  specific discovery plan to develop the necessary evidence in
                  discovery to substantiate the tactical motions in limine.

           -


 5/14/2015 -


 5/15/2015 - JC   Multiple correspondence with insured regarding preparation of              0.30               55.50
                  motions to dismiss for lack of jurisdiction and insufficient claims.     185.00/hr

 5/18/2015 -


           - JC   Begin drafting of insured's motions to strike amended complaint,           0.50               92.50
                  for lack of jurisdiction and failure to state claims, and pursuant to    185.00/hr
                  carrier authority.

 5/20/2015 - EG   Begin work on drafting 12(b)1 motion per client request.                   0.50               47.50
                                                                                            95.00/hr

           - EG   Begin work on drafting 12(b)6 motion pursuant to client request.           0.60               57.00
                                                                                            95.00/hr
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                                                                                         Hrs/Rate        Amount

 5/21/2015 - KS   Correspondence with client regarding new affirmative claims and           0.70         129.50
                  counterclaims.                                                          185.00/hr

           - JC   Several correspondence with insureds regarding potential claims           0.60         111.00
                  against Plaintiffs and third parties, Plaintiffs' potential new         185.00/hr
                  defamatory publications, and related future handling plan.

           - KS   Correspondence with client regarding new book by plaintiff.               0.30             55.50
                                                                                          185.00/hr

           - EG   Continue work on drafting 12(b)1 motion pursuant to client                0.70             66.50
                  request.                                                                 95.00/hr

           - EG   Continue work on drafting 12(b)6 motion pursuant to client                1.20         114.00
                  request.                                                                 95.00/hr

           - JC   Multiple correspondence with insured regarding preparation of             0.30             55.50
                  motions to dismiss regarding lack of jurisdiction and failure to        185.00/hr
                  state claims.

           -


 5/22/2015 - EG   Continue work on drafting 12(b)6 motion pursuant to client                1.70         161.50
                  request.                                                                 95.00/hr

           - JC   Review and continue drafting insured's FRCP Rule 12(b)(6)                 2.20         407.00
                  motion to dismiss to amended complaint and pursuant to carrier          185.00/hr
                  approval.

           - JC   Correspondence with insured regarding insured's FRCP Rule                 0.20             37.00
                  12(b)(6) motion to dismiss to amended complaint.                        185.00/hr

           - EG   Review and analyze relevant legal authority for purpose of                2.30         218.50
                  drafting 12(b)6 motion pursuant to client request.                       95.00/hr

 5/23/2015 - JC   Continue drafting of insured's motions to strike amended                  1.40         259.00
                  complaint, for lack of jurisdiction and failure to state claims, and    185.00/hr
                  pursuant to carrier authority.

 5/26/2015 - JC   Continue drafting of insured's motions to strike amended                  1.20         222.00
                  complaint, for lack of jurisdiction and failure to state claims, and    185.00/hr
                  pursuant to carrier authority.

           - JC   Begin review and analysis of insured's new proposed claims for            0.80         148.00
                  defamation in proposed counterclaim.                                    185.00/hr

 5/27/2015 - KS   Conference with J Cunningham regarding 12(b)(1).                          0.40             74.00
                                                                                          185.00/hr
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                                                                                    Hrs/Rate        Amount

 5/28/2015 - JC   Multiple correspondence with insured regarding preparation of        0.30             55.50
                  insured's motions to strike amended complaint, for lack of         185.00/hr
                  jurisdiction and failure to state claims.

 5/29/2015 - JC   Multiple correspondence with insured regarding preparation of        0.30             55.50
                  FRCP Rule 12 motion to dismiss.                                    185.00/hr

           - KS   Telephone conference with counsel regarding counter-claim.           0.30             55.50
                                                                                     185.00/hr

 5/30/2015 - KS   Correspondence with client regarding opposing counsel and            0.30             55.50
                  possible cross claim.                                              185.00/hr

 5/31/2015 - JC   Multiple correspondence with insured and N. Sankey regarding         0.30             55.50
                  criminal record of defendant, L. Liberi.                           185.00/hr

  6/1/2015 - KS   Correspondence from client regarding bail information.               0.50             92.50
                                                                                     185.00/hr

           - KS   Correspondence from client regarding her possible cross claim,       0.40             74.00
                  and regarding prior order against Berg.                            185.00/hr

           -


           - KS   Correspondence from client regarding criminal indictment.            0.50             92.50
                                                                                     185.00/hr

  6/2/2015 - KS   Correspondence from client regarding felony theft by plaintiff.      0.40             74.00
                                                                                     185.00/hr

  6/3/2015 - KS   Conference with client regarding counterclaims.                      0.20             37.00
                                                                                     185.00/hr

           - KS   Correspondence from client regarding plaintiff's release of          0.20             37.00
                  information.                                                       185.00/hr

  6/4/2015 - KS   Conference with J. Cunningham regarding Liberi impeachment           0.50             92.50
                  evidence.                                                          185.00/hr

           - KS   Telephone conference with client regarding evidence against          0.50             92.50
                  plaintiff.                                                         185.00/hr

           - KS   Correspondence from client regarding Liberi's release of             0.20             37.00
                  personal information.                                              185.00/hr

           - JC   Begin review and analysis of declaration and related documents       0.80         148.00
                  of plaintiff, L. Liberi, in Richardson criminal case regarding     185.00/hr
                  publication of private information, and toward support for
                  insured's motion to dismiss.
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                                                                                        Hrs/Rate        Amount

  6/4/2015 - KS   Correspondence from client regarding DA's release of Liberi's            0.40             74.00
                  social security number.                                                185.00/hr

  6/5/2015 - JC   Review and analysis of plea agreement in criminal case                   0.50             92.50
                  regarding plaintiff, L. Liberi, toward support for insured's motion    185.00/hr
                  to dismiss regarding lack of jurisdiction.

           - JC   Correspondence with insured's private counsel, M. Colen,                 0.20             37.00
                  regarding court records regarding plaintiff, L. Liberi.                185.00/hr

  6/6/2015 -


  6/8/2015 - KS   Telephone call to carrier regarding update.                              0.20             37.00
                                                                                         185.00/hr

           - JC   Review declaration of M. Strickland and District Attorney motion         0.70         129.50
                  regarding bail in criminal cases regarding plaintiff, L. Liberi.       185.00/hr

           - KS   Correspondence with client regarding Liberi's sentence.                  0.40             74.00
                                                                                         185.00/hr

           - KS   Conference with J. Cunningham regarding impeachment                      0.70         129.50
                  evidence.                                                              185.00/hr

           - KS   Correspondence with carrier regarding plaintiff's criminal record.       0.20             37.00
                                                                                         185.00/hr

  6/9/2015 - KS   Correspondence with client regarding missing records.                    0.20             37.00
                                                                                         185.00/hr

           - KS   Correspondence with client regarding status.                             0.20             37.00
                                                                                         185.00/hr

           - JC   Multiple correspondence with insured regarding preparation of            0.30             55.50
                  motion to dismiss regarding plaintiff, L. Liberi, and related          185.00/hr
                  preparation of supporting request for judicial notice.

           - KS   Multiple calls with client regarding 12b6.                               0.30             55.50
                                                                                         185.00/hr

 6/10/2015 - KS   Conference with J. Cunningham regarding response for client.             0.20             37.00
                                                                                         185.00/hr

           -


           - KS   Correspondence from client regarding plaintiff's release of social       0.30             55.50
                  security information.                                                  185.00/hr

           - KS   Correspondence from client regarding Rock Salt summons and               0.30             55.50
                  regarding 12b1.                                                        185.00/hr
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                                                                                       Hrs/Rate        Amount

 6/10/2015 - KS   Conference with J. Cunningham regarding applicability of 12b1           0.30             55.50
                  to prior dismissal.                                                   185.00/hr

 6/17/2015 - JC   Review notice regarding disbarment of plaintiff, P. Berg, and           0.30             55.50
                  towards evaluation of damages and representation issues.              185.00/hr

 6/18/2015 - KS   Conference with J. Cunningham regarding effect on diversity.            0.20             37.00
                                                                                        185.00/hr

           - KS   Correspondence with client regarding co-defendant, Sundquist,           0.30             55.50
                  amendment.                                                            185.00/hr

           - KS   Correspondence with client regarding Berg's disbarment.                 0.30             55.50
                                                                                        185.00/hr

           - JC   Begin review and analysis of motion of defendant, Rock Salt             1.00         185.00
                  Publishing, and related affidavit, regarding lack of jurisdiction,    185.00/hr
                  toward potential support for insured's proposed motion to
                  dismiss regarding lack of jurisdiction.

           - JC   Multiple correspondence with insured regarding potential use of         0.30             55.50
                  motion of former defendant, J. Sundquist, to support motion to        185.00/hr
                  dismiss.

           - KS   Correspondence with client regarding resignation by Berg.               0.60         111.00
                                                                                        185.00/hr

 6/25/2015 - KS   Correspondence with client regarding Liberi's bank thefts.              0.40             74.00
                                                                                        185.00/hr

 6/26/2015 - JC   Review and analysis of court of appeal's order denying motion by        0.40             74.00
                  co-appellant Defend Our Freedoms Foundations, to strike first         185.00/hr
                  amended complaint in relation to its and insured's appeals.

 6/28/2015 - KS   Correspondence with client regarding evidence.                          0.20    NO CHARGE
                                                                                        185.00/hr

           - JC   Review and analysis of court opinion in Hollister case regarding        0.30             55.50
                  plaintiff, P. Berg, and potential use for motion for sanctions by     185.00/hr
                  insured.

           - KS   Conference with J. Cunningham regarding diversity issue related         0.30             55.50
                  to prior co-defendant.                                                185.00/hr

           - KS   Correspondence with carrier regarding opposing counsel being            0.30             55.50
                  disbarred.                                                            185.00/hr

 6/29/2015 - KS   Conference with carrier regarding status and budget. Once the           0.30             55.50
                  court of appeal rules, we will provide an updated budget.             185.00/hr

  7/1/2015 - KS   Correspondence from client with lengthy proposed counter and            1.10         203.50
                  cross claims.                                                         185.00/hr
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                                                                                          Hrs/Rate        Amount

  7/2/2015 - JC   Multiple correspondence with insured regarding various police              0.30             55.50
                  reports regarding plaintiff, L. Liberi, toward investigation into        185.00/hr
                  crimes and evaluation of use by insured in defense of
                  defamation based claims.

           - JC   Correspondence with insured regarding plaintiff, P. Berg,                  0.30             55.50
                  disbarment.                                                              185.00/hr

  7/3/2015 - JC   Begin review and analysis of various police reports regarding              0.60         111.00
                  plaintiff, L. Liberi, toward investigation into crimes and evaluation    185.00/hr
                  of use by insured in defense of defamation based claims.

  7/6/2015 - KS   Correspondence with client regarding declaration from Sankey               0.40             74.00
                  and willingness to cooperate.                                            185.00/hr

           - JC   Correspondence with insured regarding preparation of                       0.20             37.00
                  declaration of defendant, N. Sankey, regarding public documents          185.00/hr
                  of plaintiffs, L. Liberi and L. Ostella.

           - KS   Conference with J. Cunningham regarding possible effect of                 0.60         111.00
                  DOFF's separate filings - response from US Court of Appeals.             185.00/hr

  7/8/2015 - KS   Correspondence with client regarding Ostella evidence related to           0.30             55.50
                  personal information.                                                    185.00/hr

 7/10/2015 - KS   Correspondence with client regarding witness declaration.                  0.30             55.50
                                                                                           185.00/hr

 7/14/2015 - KS   Correspondence from client regarding Sankey declaration.                   0.30             55.50
                                                                                           185.00/hr

           - JC   Review and analysis of declaration of former defendant, N.                 0.50             92.50
                  Sankey, provided by insured regarding investigation into                 185.00/hr
                  plaintiffs, L. Liberi and L. Ostella.

           - JC   Review and analysis of evidence provided by insured regarding              0.40             74.00
                  publications by plaintiffs, L. Liberi and L. Ostella, of personal        185.00/hr
                  information into public record.

 7/15/2015 - JC   Review and analysis of affidavit of witness N. Sankey regarding            0.60         111.00
                  investigation into plaintiffs, L. Liberi and L. Ostella, and related     185.00/hr
                  evaluation of federal court admissibility requirements toward
                  potential revised affidavit.

 7/20/2015 - KS   Conference with Jeff Cunningham regarding communications                   0.20             37.00
                  from Berg.                                                               185.00/hr

 7/21/2015 - KS   Conference with J. Cunningham regarding effect of declaration.             0.30             55.50
                                                                                           185.00/hr
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                                                                                       Hrs/Rate        Amount

 7/21/2015 - JC   Multiple correspondence with insured regarding declaration of           0.30             55.50
                  former defendant, N. Sankey, regarding investigation of plaintiff,    185.00/hr
                  L. Ostella.

           - KS   Correspondence with client regarding Sankey declaration.                0.30             55.50
                                                                                        185.00/hr

 7/23/2015 - KS   Meeting with carrier regarding status.                                  0.80         148.00
                                                                                        185.00/hr

           - KS   Correspondence from client regarding Ostella v. IRBSEARCH.              0.80         148.00
                                                                                        185.00/hr

 7/27/2015 - JC   Multiple correspondence with insured regarding proposed use of          0.30             55.50
                  order and findings in related Florida case, regarding                 185.00/hr
                  Communications Decency Act defense, for insured's motion to
                  dismiss.

 7/28/2015 - JC   Begin review and analysis of order and findings in related Florida      0.60         111.00
                  case, regarding Communications Decency Act defense, for               185.00/hr
                  potential use in insured's motion to dismiss.

 7/29/2015 - JC   Continue review and analysis of order and findings in related           0.40             74.00
                  Florida case, regarding Communications Decency Act defense,           185.00/hr
                  for potential use in insured's motion to dismiss.


 7/31/2015 - JC   Continue review and analysis of order and findings in related           0.50             92.50
                  Florida case, regarding Communications Decency Act defense,           185.00/hr
                  for potential use in insured's motion to dismiss.


  8/7/2015 - EG   Continue evaluation of insured's Communications Decency Act             2.10         357.00
                  defense, including review of plaintiffs' voluminous amended           170.00/hr
                  complaint, regarding alleged publications and potential use in
                  motion to dismiss.

           - JC   Continue evaluation of insured's Communications Decency Act             0.40             74.00
                  defense, regarding alleged publications and potential use in          185.00/hr
                  motion to dismiss.

 8/17/2015 - EG   Continue evaluation of insured's Communications Decency Act             1.30         221.00
                  defense, including review of plaintiffs' voluminous amended           170.00/hr
                  complaint, regarding alleged publications and potential use in
                  motion to dismiss.

 8/18/2015 - JC   Continue analysis of plaintiffs' lengthy first amended complaint,       0.40             74.00
                  toward evaluation of insureds' Communications Decency Act             185.00/hr
                  defense for potential use in motion to dismiss.

  9/6/2015 - JC   Begin review and analysis of lengthy revised proposed                   1.20         222.00
                  counterclaim and cross claim.                                         185.00/hr
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                                                                                    Hrs/Rate        Amount

  9/7/2015 - JC   Continue review and analysis of lengthy revised proposed             0.90         166.50
                  counterclaim and cross claim.                                      185.00/hr

  9/8/2015 - KS   Conference with J. Cunningham regarding client's new cross           0.30             55.50
                  claim.                                                             185.00/hr

           - KS   Correspondence with client regarding status.                         0.20             37.00
                                                                                     185.00/hr

 9/14/2015 - JC   Correspondence with insured regarding preparation of proposed        0.20             37.00
                  counterclaim.                                                      185.00/hr

 9/15/2015 - KS   Correspondence with client regarding amendments to her               0.40             74.00
                  cross-complaint.                                                   185.00/hr

 9/29/2015 - KS   Correspondence with carrier regarding oral argument.                 0.20             37.00
                                                                                     185.00/hr

           - JC   Review notices of oral argument in insured's appeal and related      0.40             74.00
                  appeal by defendant, Defend Our Freedoms Foundations.              185.00/hr

 9/30/2015 - JC   Preparation of insured's acknowledgement of oral argument in         0.30             55.50
                  insured's appeal and consolidated appeal of defendant, Defend      185.00/hr
                  Our Freedoms Foundations.

           - PB   Finalize acknowledgement of notice for hearing in 9th Circuit        0.20             19.00
                  Court of Appeals                                                    95.00/hr

           - KS   Correspondence with client regarding oral argument.                  0.20             37.00
                                                                                     185.00/hr

           - KS   Telephone call from client regarding oral argument.                  0.20             37.00
                                                                                     185.00/hr

           - KS   Multiple correspondence with client regarding oral argument and      0.40             74.00
                  opposing counsel's incorrect filing.                               185.00/hr

           - JC   Multiple correspondence and telephone conferences with               0.50             92.50
                  insured regarding preparation of objections to plaintiffs'         185.00/hr
                  representation statement in insured's appeal and consolidated
                  appeal of defendant, Defend Our Freedoms Foundations.

 10/1/2015 - KS   Multiple correspondence with client regarding appeal.                0.40             74.00
                                                                                     185.00/hr

 10/8/2015 - KS   Correspondence from client regarding requested changes to            0.20             37.00
                  future handling.                                                   185.00/hr

           - KS   Conference with J. Cunningham regarding client's request for         0.40             74.00
                  extra time, strategy for argument at appeal.                       185.00/hr
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                                                                                        Hrs/Rate        Amount

 10/8/2015 - JC   Multiple correspondence with insured regarding preparation for           0.30             55.50
                  oral argument in insured's appeal.                                     185.00/hr

10/13/2015 - JC   Preparation of proposed budget items regarding insured's appeal.         0.40             74.00
                                                                                         185.00/hr

10/14/2015 - KS   Conference with J. Cunningham regarding appellate arguments.             0.80         148.00
                                                                                         185.00/hr

10/15/2015 - JC   Telephone conference with court of appeal clerk regarding                0.30             55.50
                  motion for additional time for oral argument in insured's and          185.00/hr
                  other defendant's related appeals.

           - JC   Multiple correspondence with insured and opposing counsel                0.30             55.50
                  regarding motion for additional time for oral argument in              185.00/hr
                  insured's and other defendants' appeals.

           - JC   Begin drafting of joint motion for extension of oral argument in         1.50         277.50
                  insured's and other defendant's related appeals.                       185.00/hr

           - JC   Begin review and analysis of proposed motion for extension of            0.70         129.50
                  oral argument, prepared by insured, in appeals by insured and          185.00/hr
                  defendant, Defend Our Freedoms Foundations.

           - KS   Correspondence with carrier regarding budget.                            0.20             37.00
                                                                                         185.00/hr

           - KS   Correspondence with J. Cunningham regarding client's request             0.30             55.50
                  for extra time at appeal.                                              185.00/hr

           - KS   Correspondence with carrier regarding appeal.                            0.20    NO CHARGE
                                                                                         185.00/hr

10/16/2015 - JC   Continue drafting of joint motion for extension of oral argument in      1.60         296.00
                  insured's and other defendant's related appeals, and related           185.00/hr
                  supporting documents.

10/19/2015 - JC   Multiple correspondence with insured regarding preparation of            0.30             55.50
                  insured's and related defendant's motion to extend oral                185.00/hr
                  argument in appeals.

10/20/2015 - JC   Continue drafting of joint motion for extension of oral argument in      2.50         462.50
                  insured's and other defendant's related appeals, and related           185.00/hr
                  supporting documents including proposed order.

           - VS   Review and revise Motion for An Order Allowing Longer Oral               0.70             66.50
                  Argument By Appellants and proposed order.                              95.00/hr

           - JC   Multiple correspondence with insured regarding revised motion            0.30             55.50
                  for extension regarding oral argument in insured's and related         185.00/hr
                  defendant's appeals.
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                                                                                     Hrs/Rate        Amount

10/23/2015 - KS   Conference with J. Cunningham regarding Florida companion             0.40             74.00
                  case.                                                               185.00/hr

           - JC   Review docket in related Florida case, and correspondence with        0.40             74.00
                  insured, regarding dismissal of Florida case.                       185.00/hr

10/28/2015 - KS   Correspondence from client regarding Malicious Prosecution.           0.30             55.50
                                                                                      185.00/hr

10/29/2015 - KS   Correspondence from client regarding conflicting evidence             0.30             55.50
                  related to Ostella.                                                 185.00/hr

           - KS   Conference with carrier regarding appeal and future handling          0.60         111.00
                  after appeal.                                                       185.00/hr

           - KS   Correspondence with client regarding investigator.                    0.20             37.00
                                                                                      185.00/hr

           - KS   Correspondence with client regarding her amendments.                  0.30             55.50
                                                                                      185.00/hr

 11/1/2015 - JC   Several correspondence with insured, and review of 2010 order         0.50             92.50
                  provided by insured, regarding preparation for upcoming oral        185.00/hr
                  argument in insured's appeal, regarding lack of diversity
                  jurisdiction.

 11/4/2015 -


 11/5/2015 - JC   Review and analysis of voluminous insured's and respondents'          0.90         166.50
                  briefs, and voluminous record on appeal, toward preparation for     185.00/hr
                  upcoming oral argument in insured's appeal.

11/12/2015 - KS   Correspondence from client with her proposed updated pleading         0.40             74.00
                  language.                                                           185.00/hr

           - KS   Correspondence with client regarding witness locations.               0.30             55.50
                                                                                      185.00/hr

11/16/2015 - KS   Correspondence with client regarding locating witness.                0.20             37.00
                                                                                      185.00/hr

11/23/2015 - JC   Continue review and analysis of voluminous appellate briefing in      1.90         351.50
                  insured's appeal, toward preparation for upcoming oral argument     185.00/hr
                  in insured's and related defendant's appeals.

           - JC   Review and analysis of court of appeals' order on various             0.40             74.00
                  motions by insured in her and related appeals.                      185.00/hr

11/24/2015 - KS   Conference with J. Cunningham regarding oral argument.                0.20             37.00
                                                                                      185.00/hr
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                                                                                         Hrs/Rate        Amount

11/24/2015 - KS   Telephone call from client regarding court of appeals's ruling on         0.20             37.00
                  request for time extension.                                             185.00/hr

11/27/2015 - JC   Continue review and analysis of voluminous appellate briefing in          1.90         351.50
                  insured's appeal, toward preparation for upcoming oral argument         185.00/hr
                  in insured's and related defendant's appeals.

11/28/2015 - JC   Continue review and analysis of voluminous appellate briefing in          1.80         333.00
                  insured's appeal, toward preparation for upcoming oral argument         185.00/hr
                  in insured's and related defendant's appeals.

11/30/2015 - KS   Correspondence from client regarding cross-complaint.                     0.40             74.00
                                                                                          185.00/hr

 12/1/2015 - KS   Conference with J. Cunningham regarding today's meeting with              0.50             92.50
                  client, preparation for oral arguments and request for investigator.    185.00/hr

           - JC   Meeting with insured toward preparation for upcoming oral                 2.40         444.00
                  argument in insured's and related defendant's appeals.                  185.00/hr

           - JC   Continue review and analysis of voluminous appellate briefing in          2.80         518.00
                  insured's appeal, toward preparation for upcoming oral argument         185.00/hr
                  in insured's and related defendant's appeals.

 12/2/2015 - JC   Review and analysis of voluminous insured's and respondents'              5.90        1,091.50
                  briefs, and voluminous record on appeal, toward preparation for         185.00/hr
                  upcoming oral argument in insured's appeal.

 12/3/2015 - JC   Review and analysis of voluminous insured's and respondents'              4.80         888.00
                  briefs, and voluminous record on appeal, toward preparation for         185.00/hr
                  upcoming oral argument in insured's appeal.

 12/4/2015 - JC   Preparation of outline regarding diversity, federal question, and         1.20         222.00
                  supplemental jurisdiction issues in insured's appeal, toward            185.00/hr
                  preparation for upcoming oral argument.

           - KS   Conference with J. Cunningham regarding oral argument                     0.40             74.00
                  discussions with client.                                                185.00/hr

 12/5/2015 - JC   Preparation of outline regarding Insured's anti-SLAPP statute             1.50         277.50
                  burdens issues in insured's appeal, toward preparation for              185.00/hr
                  upcoming oral argument.

           - JC   Preparation of outline regarding respondents' burdens, including          1.50         277.50
                  under Communications Decency Act, issues in insured's appeal,           185.00/hr
                  toward preparation for upcoming oral argument.

 12/6/2015 - KS   Correspondence from client regarding her concerns related to              0.40             74.00
                  court of appeals, possible cross-claim.                                 185.00/hr

 12/7/2015 - KS   Correspondence with client regarding 12b1.                                0.20             37.00
                                                                                          185.00/hr
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                                                                                       Hrs/Rate        Amount

 12/7/2015 - JC   Meeting with insured toward preparation for oral argument in            0.80         148.00
                  insured's appeal.                                                     185.00/hr

           - JC   Conduct oral argument in insured's appeal.                              2.50         462.50
                                                                                        185.00/hr

           - JC   Travel to and from court of appeals in Pasadena for oral                3.60         666.00
                  argument in insured's appeal.                                         185.00/hr

           - JC   Correspondence with insured regarding preparation of motion to          0.30             55.50
                  dismiss.                                                              185.00/hr

           - KS   Conference with J. Cunningham regarding oral arguments.                 0.60         111.00
                                                                                        185.00/hr

 12/8/2015 - PB   Assist attorneys Kim Schumann and Jeff Cunningham with                  0.20             19.00
                  status review of case management and post-hearing in                   95.00/hr
                  preparation for update to carrier

           - KS   Conference with J. Cunningham regarding client's request for            0.30             55.50
                  investigation.                                                        185.00/hr

 12/9/2015 - KS   Correspondence with client regarding investigator.                      0.30             55.50
                                                                                        185.00/hr

           - JC   Correspondence with insured regarding L. Belcher declaration.           0.20             37.00
                                                                                        185.00/hr

           - KS   Correspondence with client regarding Court of Appeals, possible         0.50             92.50
                  order, etc.                                                           185.00/hr

           - PB   Prepare future handling and strategy memorandum for attorney            0.20    NO CHARGE
                  Kim Schumann                                                           95.00/hr

           - JC   Multiple correspondence with carrier regarding retention of             0.30             55.50
                  private investigator.                                                 185.00/hr

           - KS   Correspondence with client regarding investigator.                      0.30             55.50
                                                                                        185.00/hr

           - JC   Draft detailed update with attorney analysis regarding recent oral      0.80         148.00
                  argument in insured's appeal.                                         185.00/hr

           - KS   Correspondence from client regarding request for 12b1 and               0.20             37.00
                  12b6 preparation.                                                     185.00/hr

           - KS   Correspondence with carrier regarding client's request for              0.20             37.00
                  authority.                                                            185.00/hr

12/10/2015 - KS   Telephone conference with carrier regarding appeal.                     0.20             37.00
                                                                                        185.00/hr
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                                                                                      Hrs/Rate        Amount

12/10/2015 - KS   Correspondence with client regarding witness statement.                0.20             37.00
                                                                                       185.00/hr

           - JC   Review court of appeals materials regarding timeline for decision      0.30             55.50
                  in insured's appeal, regarding preparation of responsive             185.00/hr
                  pleadings following remand.

12/14/2015 - JC   Multiple correspondence with insured regarding preparation for         0.30             55.50
                  statement of witness J. Lichter.                                     185.00/hr

           -


           - KS   Correspondence with client regarding witness visit.                    0.20             37.00
                                                                                       185.00/hr

12/15/2015 - KS   Authority from carrier regarding witness interview.                    0.20             37.00
                                                                                       185.00/hr

           - KS   Correspondence with client regarding meeting with witness.             0.20             37.00
                                                                                       185.00/hr

12/17/2015 - JC   Communications with insured regarding preparation for witness          0.30             55.50
                  J. Lichter statement.                                                185.00/hr

           - JC   Review and analysis of declaration of witness J. Lichter.              0.50             92.50
                                                                                       185.00/hr

           - JC   Multiple correspondence with insured regarding Lichter witness         0.30             55.50
                  statement, private investigator and witness Belcher.                 185.00/hr

           - VS   email exchange regarding investigator to locate possible witness       0.10              9.50
                                                                                        95.00/hr

           - VS   Receipt and review declaration of Belcher                              0.40             38.00
                                                                                        95.00/hr

           - VS   Receipt and begin review of first amended complaint                    0.70             66.50
                                                                                        95.00/hr

           - VS   continue to review first amended complaint                             0.10              9.50
                                                                                        95.00/hr

           - KS   Correspondence with client regarding Texas witness.                    0.30             55.50
                                                                                       185.00/hr

           - KS   Correspondence with client regarding Arizona witness                   0.30             55.50
                  declaration.                                                         185.00/hr

           - KS   Conference with V. Silva regarding investigators.                      0.30             55.50
                                                                                       185.00/hr
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                                                                                       Hrs/Rate        Amount

12/22/2015 - VS   Review email exchange regarding private investigator                    0.10              9.50
                                                                                         95.00/hr

           - KS   Conference with J. Cunningham regarding client's witness,               0.30             55.50
                  Lichter.                                                              185.00/hr

           - PB   Assist attorney Kim Schumann by identifying private investigator,       0.20             19.00
                  Cary Scott to be used in conducting research on witness, Linda         95.00/hr
                  Welcher

12/23/2015 - VS   phone call with private investigator Cary Scott regarding locating      0.10              9.50
                  possible witness Linda Belcher                                         95.00/hr

           - JC   Multiple correspondence with insured regarding assignment of            0.30             55.50
                  private investigator.                                                 185.00/hr

           - VS   Review email exchange regarding witness Linda Belcher's                 0.10              9.50
                  declaration                                                            95.00/hr

12/24/2015 - KS   Correspondence with client regarding witness Donna Anders.              0.30             55.50
                                                                                        185.00/hr

12/25/2015 - KS   Correspondence with client regarding communications with                0.30             55.50
                  investigator.                                                         185.00/hr

12/29/2015 - VS   Telephone conference with private investigator regarding                0.20             19.00
                  locating Linder Belcher, potential witness                             95.00/hr

           - KS   Correspondence with client regarding information for investigator.      0.30             55.50
                                                                                        185.00/hr

           - JC   Several correspondence with private investigator C. Scott               0.30             55.50
                  regarding witness L. Belcher.                                         185.00/hr

           - KS   Conference with V. Silva regarding Linda Belcher.                       0.20             37.00
                                                                                        185.00/hr

12/30/2015 - PB   Review and analyze preliminary investigative report prepared by         0.30             28.50
                  Cary Scott regarding witness Linda Belcher                             95.00/hr

           - VS   communicate to client the details from private investigator's           0.10              9.50
                  search results of Linda Belcher                                        95.00/hr

           - VS   review details from private investigator's search results of Linda      0.10              9.50
                  Belcher                                                                95.00/hr

           - KS   Correspondence with investigator regarding background of                0.30             55.50
                  witnesses.                                                            185.00/hr

  1/4/2016 - KS   Examine correspondence from client regarding Hudson and                 0.30             55.50
                  possible effect on defense.                                           185.00/hr
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  1/4/2016 - VS   Telephone call to Private Investigator regarding locating Donna      0.10              9.50
                  Anders                                                              95.00/hr

  1/5/2016 - VS   Telephone call with private investigator regarding Donna Anders      0.10              9.50
                                                                                      95.00/hr

  1/6/2016 - VS   email exchange with private investigator regarding status of         0.10              9.50
                  investigation on Donna Anders                                       95.00/hr

  1/8/2016 - KS   Correspondence with investigator.                                    0.20             37.00
                                                                                     185.00/hr

           - KS   Conference with V. Silva regarding Donna Anders and the status       0.20             37.00
                  of the Private investigator on locating Ms. Anders.                185.00/hr

           - VS   review and analyze case status and strategize regarding next         0.10              9.50
                  step to execute                                                     95.00/hr

           - KS   Correspondence with client regarding missing witness.                0.30             55.50
                                                                                     185.00/hr

 1/11/2016 - KS   Correspondence with client regarding contacts with Linda             0.20             37.00
                  Belcher.                                                           185.00/hr

           - KS   Correspondence with investigator regarding information from          0.20             37.00
                  client.                                                            185.00/hr

           - KS   Correspondence with client regarding information for witness         0.40             74.00
                  Anders.                                                            185.00/hr

 1/12/2016 - KS   Telephone conference with investigator regarding witness.            0.20             37.00
                                                                                     185.00/hr

 1/19/2016 - KS   Conference with V. Silva regarding private investigator and          0.20             37.00
                  background search conducted on potential witness Donna             185.00/hr
                  Anders

 1/21/2016 - KS   Correspondence with client regarding witness questions.              0.30             55.50
                                                                                     185.00/hr

 1/22/2016 -


           - KS   Conference with carrier regarding status.                            0.20             37.00
                                                                                     185.00/hr

 1/25/2016 -
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                                                                                     Hrs/Rate        Amount

 1/25/2016 - AB   Correspondence to carrier regarding outstanding invoice to Cary       0.20    NO CHARGE
                  Scott, P.I. for professional services.                               95.00/hr

           - KS   Correspondence with client regarding dismissal of Florida case.       0.40             74.00
                                                                                      185.00/hr

           - KS   Conference with J. Cunningham regarding use of discovery from         0.30             55.50
                  Florida case.                                                       185.00/hr

 1/26/2016 - JC   Multiple correspondence with insured regarding related Liberi v.      0.30             55.50
                  Belcher case.                                                       185.00/hr

           - JC   Begin review and analysis of detailed (18 pages) summary              0.50             92.50
                  judgment order in Liberi v. IRB case, regarding potential use in    185.00/hr
                  insured's case.

 1/27/2016 - KS   Correspondence from client regarding her concerns related to          0.30             55.50
                  Liberi v Belcher.                                                   185.00/hr

 1/28/2016 - KS   Correspondence with client regarding companion case.                  0.20             37.00
                                                                                      185.00/hr

 1/29/2016 - KS   Conference with client regarding upcoming Case Management             0.20             37.00
                  Conference in companion case.                                       185.00/hr

           - JC   Review notice of status conference in related Liberi v. Belcher       0.30             55.50
                  case, correspondence with insured regarding status conference.      185.00/hr

 1/30/2016 - KS   Correspondence from client regarding companion case history           0.40             74.00
                  and client's concerns regarding witness tampering.                  185.00/hr

 1/31/2016 - KS   Conference with J. Cunningham regarding Liberi v Belcher.             0.20             37.00
                                                                                      185.00/hr

           - JC   Several correspondence with insured regarding preparation for         0.40             74.00
                  interview of witness L. Belcher.                                    185.00/hr

           - KS   Correspondence with client and investigator regarding witness         0.20             37.00
                  interview.                                                          185.00/hr

           - KS   Correspondence with client regarding motion for summary               0.80         148.00
                  judgment in companion case.                                         185.00/hr

           - KS   Correspondence with client regarding interview of witness             0.20             37.00
                  Belcher.                                                            185.00/hr

  2/1/2016 - KS   Correspondence from client regarding her concerns regarding           0.20             37.00
                  Belcher dismissal and witness access.                               185.00/hr

           - JC   Several correspondence with insured regarding related Liberi v.       0.50             92.50
                  Belcher case.                                                       185.00/hr
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                                                                                       Hrs/Rate        Amount

 2/16/2016 - KS   Correspondence with client regarding witness Belcher, and               0.30             55.50
                  possible dismissal of federal case.                                   185.00/hr

 2/19/2016 - JC   Correspondence and telephone conference with insured                    0.30             55.50
                  regarding preparation of counterclaim and cross claim in              185.00/hr
                  anticipation of decision in appeal.

 2/20/2016 - KS   Correspondence from client regarding questions regarding                0.20             37.00
                  counterclaim.                                                         185.00/hr

  3/4/2016 - KS   Correspondence with carrier regarding sanctions from appeal.            0.20             37.00
                                                                                        185.00/hr

           - KS   Correspondence with client regarding appeal.                            0.40             74.00
                                                                                        185.00/hr

           - JC   Several correspondence with insured regarding development of            0.50             92.50
                  attorney fees claim on anti-Slapp motion to strike.                   185.00/hr

           - JC   Begin review and analysis pursuant to insured's request of              0.60         111.00
                  lengthy (50 pages) attorney fee order in Makaeff v. Trump             185.00/hr
                  anti-SLAPP case, regarding development of insured's fee claim
                  on anti-SLAPP motion.

  3/7/2016 - KS   Correspondence with carrier and client regarding status meeting.        0.20             37.00
                                                                                        185.00/hr

 3/16/2016 - KS   Correspondence with investigator.                                       0.20             37.00
                                                                                        185.00/hr

           - KS   Correspondence with client regarding witness interview.                 0.30             55.50
                                                                                        185.00/hr

 3/18/2016 - KS   Correspondence from client regarding dismissal of Liberi Texas          0.20             37.00
                  case.                                                                 185.00/hr

           - KS   Correspondence from client regarding DOFF trademark issue.              0.20             37.00
                                                                                        185.00/hr

           - KS   Correspondence with client regarding questions for investigator.        0.20             37.00
                                                                                        185.00/hr

 3/21/2016 - KS   Conference with investigator regarding witness interview.               0.20             37.00
                                                                                        185.00/hr

 3/22/2016 - JC   Conference with private investigator regarding witness L. Belcher.      0.40             74.00
                                                                                        185.00/hr

           - JC   Preparation for upcoming conference with private investigator           0.90         166.50
                  regarding witness L. Belcher.                                         185.00/hr
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                                                                                      Hrs/Rate        Amount

 3/23/2016 - JC   Conference with KS regarding future handling plan for several          0.30             55.50
                  additional witness interviews.                                       185.00/hr

 3/24/2016 -


 3/25/2016 - KS   Conference with J. Cunningham regarding investigator.                  0.30             55.50
                                                                                       185.00/hr

           - JC   Conference with private investigator C. Scott regarding                0.30             55.50
                  assignment.                                                          185.00/hr

  4/4/2016 -


  4/7/2016 - KS   Multiple correspondence with client regarding court order, her         0.50             92.50
                  requested future handling, reconsideration, 12b6, etc.               185.00/hr

           - KS   Correspondence from court of appeal regarding ruling.                  0.60         111.00
                                                                                       185.00/hr

           - JC   Begin review and analysis of court of appeals' decision in             0.90         166.50
                  appeals by insured and related defendants.                           185.00/hr

           - JC   Multiple correspondence and telephone conferences with                 0.90         166.50
                  insured regarding court of appeal decision in her and related        185.00/hr
                  defendants' appeals.

           - JC   Begin evaluation of complex issues regarding potential collateral      0.60         111.00
                  estoppel or law of the case effect of court of appeal decision on    185.00/hr
                  insured's potential motions to dismiss.

           - KS   Conference with J. Cunningham regarding strategy for future            0.40             74.00
                  handling now that discovery will begin.                              185.00/hr

  4/8/2016 - KS   Correspondence with carrier regarding federal order.                   0.30             55.50
                                                                                       185.00/hr

           - KS   Conference with J. Cunningham regarding client's requests.             0.30             55.50
                                                                                       185.00/hr

           - JC   Begin evaluation of complex issues regarding insured's potential       0.70         129.50
                  attorney fees motion in appeal.                                      185.00/hr

           - KS   Correspondence with client regarding strategy meeting.                 0.20             37.00
                                                                                       185.00/hr

           - KS   Correspondence from client regarding separate 12b6 motions.            0.20             37.00
                                                                                       185.00/hr

           - JC   Begin evaluation of insured's requested petition for rehearing in      0.60         111.00
                  appeal.                                                              185.00/hr
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                                                                                      Hrs/Rate        Amount

  4/8/2016 -


  4/9/2016 - KS   Correspondence with client regarding her legal analysis of             0.80         148.00
                  appeal and request for emergency/ immediate future handling.         185.00/hr

           - KS   Conference with J. Cunningham regarding possible strategy for          0.60         111.00
                  handling client's urgent requests, and for en-banc review.           185.00/hr

 4/10/2016 - JC   Continue evaluation of complex issues regarding insured's              1.50         277.50
                  potential attorney fees motion in appeal.                            185.00/hr

           - JC   Continue analysis of complex issues regarding potential petitions      1.50         277.50
                  for rehearing in appeal.                                             185.00/hr

           - KS   Correspondence from client regarding her legal analysis and            1.40         259.00
                  request that we seek en-banc review.                                 185.00/hr

 4/11/2016 - JC   Draft detailed correspondence with attorney analysis for client        0.60         111.00
                  regarding potential petitions in appeal and potential motion for     185.00/hr
                  attorney fees in appeal.

           - JC   Several correspondence with insured regarding preparation of           0.40             74.00
                  petition for rehearing in appeal.                                    185.00/hr

           - KS   Correspondence from client regarding her legal analysis.               0.30             55.50
                                                                                       185.00/hr

           - KS   Conference with client regarding appellate records.                    0.20             37.00
                                                                                       185.00/hr

           - KS   Amend detailed legal analysis for client.                              0.80         148.00
                                                                                       185.00/hr

           - KS   Conference with J. Cunningham regarding client's request for           0.30             55.50
                  attorney fees.                                                       185.00/hr

           - KS   Correspondence from client regarding follow up request related         0.30             55.50
                  to rehearing.                                                        185.00/hr

           - KS   Correspondence with carrier regarding update, client requests          0.30             55.50
                  for rehearing, analysis thereof.                                     185.00/hr

           - JC   Begin drafting complex petition in insured's appeal for panel          1.80         333.00
                  rehearing.                                                           185.00/hr

 4/12/2016 - JC   Continue drafting complex petition in insured's appeal for panel       3.90         721.50
                  rehearing.                                                           185.00/hr

           - KS   Continue analysis of anti-SLAPP related issues to "rehearing."         1.80         333.00
                                                                                       185.00/hr
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                                                                                       Hrs/Rate        Amount

 4/12/2016 - KS   Correspondence with client regarding different analysis of case         0.80         148.00
                  law.                                                                  185.00/hr

           - JC   Begin analysis of complex issues regarding potential effects of         1.40         259.00
                  court of appeals' decision on motions to dismiss and for              185.00/hr
                  summary judgment.

           - JC   Attorney analysis of insured's requested argument for petition for      1.10         203.50
                  panel rehearing in insured's appeal, regarding lack of diversity      185.00/hr
                  jurisdiction over former defendants.

 4/13/2016 - JC   Lengthy meeting with insured regarding preparation of insured's         2.10         388.50
                  petition for panel rehearing in insured's appeal, and handling of     185.00/hr
                  complex jurisdiction issues in appeal.

           - JC   Several correspondence and telephone conferences with insured           0.60         111.00
                  regarding preparation of petition for review in insured's appeal.     185.00/hr

           - JC   Continue drafting complex petition in insured's appeal for panel        4.90         906.50
                  rehearing.                                                            185.00/hr

           - JC   Attorney analysis of complex issues raised by insured regarding         1.50         277.50
                  diversity jurisdiction and review by Supreme Court regarding          185.00/hr
                  decision in insured's appeal.

           - KS   Correspondence with carrier regarding agreed to future handling         0.30             55.50
                  plan, petition for rehearing, 12b1 and 12b6.                          185.00/hr

           - KS   Correspondence with client regarding evidence against Ostella.          0.30             55.50
                                                                                        185.00/hr

           - KS   Conference with J. Cunningham regarding client's request that           0.50             92.50
                  we seek review by the US Supreme Court.                               185.00/hr

 4/14/2016 - KS   Conference with J. Cunningham regarding handling of client              0.30             55.50
                  appellate requests.                                                   185.00/hr

 4/15/2016 - KS   Correspondence with client regarding prior action in New Jersey         0.20             37.00
                  by Ostella.                                                           185.00/hr

           - KS   Conference with investigator regarding New Jersey civil filings.        0.20             37.00
                                                                                        185.00/hr

           - KS   Conference with J. Cunningham regarding possible short term             0.30             55.50
                  discovery plan.                                                       185.00/hr

 4/17/2016 - KS   Amend petition for rehearing.                                           0.60         111.00
                                                                                        185.00/hr

 4/18/2016 - JC   Continue preparation of insured's petition for panel rehearing in       2.70         499.50
                  insured's appeal.                                                     185.00/hr
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                                                                                         Hrs/Rate        Amount

 4/18/2016 - JC   Multiple correspondence with insured regarding preparation of             0.30             55.50
                  insured's petition for panel rehearing in insured's appeal.             185.00/hr

           - JC   Begin drafting detailed updated litigation budget and plan.               1.10         203.50
                                                                                          185.00/hr

 4/19/2016 -


           - JC   Multiple correspondence with insured regarding preparation of             0.30             55.50
                  petition for rehearing in insured's appeal.                             185.00/hr

           - JC   Continue drafting insured's petition for panel rehearing in               2.10         388.50
                  insured's appeal, and incorporating insureds' new arguments.            185.00/hr

           - JC   Correspondence with private investigator C. Scott regarding               0.50             92.50
                  investigation into plaintiff L. Ostella, and review of criminal case    185.00/hr
                  searches regarding Ostella.

           - KS   Correspondence with investigator regarding findings.                      0.30             55.50
                                                                                          185.00/hr

           - KS   Conference with J. Cunningham regarding finalizing petition to            0.40             74.00
                  court of appeal.                                                        185.00/hr

 4/20/2016 - JC   Continue drafting of insured's detailed petition for panel                0.80         148.00
                  rehearing in appeal.                                                    185.00/hr

           - JC   Continue drafting detailed updated litigation budget and plan.            0.80         148.00
                                                                                          185.00/hr

 4/21/2016 - KS   Conference with J. Cunningham regarding budget issues.                    0.20             37.00
                                                                                          185.00/hr

           - JC   Draft attorney analysis for carrier regarding insured's and related       0.80         148.00
                  defendant's petition for rehearing in their appeals, with future        185.00/hr
                  handling plan.

           - KS   Finalize further update to carrier.                                       0.70         129.50
                                                                                          185.00/hr

           - KS   Correspondence with carrier regarding petition for rehearing.             0.30             55.50
                                                                                          185.00/hr

 4/22/2016 - JC   Review and analysis of petition for rehearing by appellant,               0.80         148.00
                  Defend Our Freedoms Foundation (represented by insured O.               185.00/hr
                  Taitz), related to insured's petition for rehearing in insured's
                  appeal.
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                                                                                        Hrs/Rate        Amount

 4/22/2016 - JC   Draft attorney analysis for insured regarding her proposed               0.70         129.50
                  motions to dismiss in district court, and effect of pending            185.00/hr
                  petitions for rehearing in insured's and related defendant's
                  appeals.

           - JC   Continue drafting detailed updated litigation budget and plan.           3.10         573.50
                                                                                         185.00/hr

 4/25/2016 - JC   Telephone conference with insured regarding pending petitions            0.40             74.00
                  for rehearing in appeal, and preparation of motions to dismiss         185.00/hr
                  (for lack of jurisdiction and failure to state claims).

           - KS   Conference with carrier regarding status.                                0.20             37.00
                                                                                         185.00/hr

           - JC   Begin drafting insured's motion to dismiss regarding lack of             1.20         222.00
                  subject matter jurisdiction, pursuant to carrier approval.             185.00/hr

 4/27/2016 - JC   Continue drafting insured's motion to dismiss regarding lack of          0.90         166.50
                  subject matter jurisdiction, pursuant to carrier approval.             185.00/hr

 4/29/2016 - JC   Continue drafting insured's motion to dismiss regarding lack of          1.20         222.00
                  subject matter jurisdiction, pursuant to carrier approval.             185.00/hr


           - KS   Conference with J. Cunningham regarding 12b1 motion.                     0.40             74.00
                                                                                         185.00/hr

  5/1/2016 - KS   Correspondence with investigator regarding NJ background                 0.40             74.00
                  information.                                                           185.00/hr

           - JC   Continue drafting insured's motion to dismiss regarding lack of          1.40         259.00
                  subject matter jurisdiction, pursuant to carrier approval.             185.00/hr

  5/2/2016 - JC   Continue drafting insured's motion to dismiss regarding lack of          2.10         388.50
                  subject matter jurisdiction, pursuant to carrier approval.             185.00/hr

           - KS   Conference with J. Cunningham regarding motion to dismiss.               0.40             74.00
                                                                                         185.00/hr

  5/3/2016 - JC   Multiple correspondence with insured regarding preparation of            0.40             74.00
                  motion to dismiss (lack of diversity jurisdiction), pursuant to        185.00/hr
                  carrier approval.

  5/5/2016 - JC   Multiple telephone conferences and correspondence with                   0.50             92.50
                  insured regarding opposition to petitions for rehearing in appeals.    185.00/hr

           - JC   Pursuant to insured's request, review Ninth Circuit appellate            0.50             92.50
                  rules regarding opposition to petitions for rehearing in insured's     185.00/hr
                  and related defendant's appeals.
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                                                                                        Hrs/Rate        Amount

  5/5/2016 - PB   Review and analyze 9th circuit court of appeals register of              0.20             19.00
                  actions to determine any pending orders regarding submission of         95.00/hr
                  paper versions of petition for rehearing

 5/16/2016 - JC   Begin drafting insured's Rule 12(b)(6) motion to dismiss                 0.90         166.50
                  amended complaint, pursuant to carrier authority.                      185.00/hr

 5/18/2016 - JC   Continue drafting insured's Rule 12(b)(6) motion to dismiss              1.40         259.00
                  amended complaint, pursuant to carrier authority.                      185.00/hr

 5/23/2016 - JC   Review of docket in Liberi v. West Valley Detention Center, and          0.50             92.50
                  related multiple correspondence with insured, regarding potential      185.00/hr
                  use for lack of jurisdiction defenses.

           - JC   Review private investigator's documents regarding investigation          0.30             55.50
                  into civil and criminal cases regarding plaintiff L. Ostella.          185.00/hr

           - JC   Several correspondence with insured and investigator G.                  0.30             55.50
                  Valentine regarding court files for plaintiff L. Liberi cases.         185.00/hr

           - KS   Correspondence with client regarding expert findings.                    0.30             55.50
                                                                                         185.00/hr

           - KS   Correspondence with client regarding court filings, copies, etc.         0.20             37.00
                                                                                         185.00/hr

           - KS   Correspondence with client regarding Ostella's criminal past and         0.30             55.50
                  other claims in NJ.                                                    185.00/hr

           - KS   Correspondence with client and researcher regarding client's             0.40             74.00
                  request for investigation.                                             185.00/hr

           - JC   Begin drafting insured's Rule 12(f) motion to strike amended             1.60         296.00
                  complaint, pursuant to carrier authority.                              185.00/hr

 5/24/2016 - JC   Multiple correspondence with insured regarding preparation of            0.30             55.50
                  FRCP 12(b)(6) motion to dismiss, pursuant to carrier authority.        185.00/hr

           - KS   Correspondence with client regarding request for authority for           0.20             37.00
                  research.                                                              185.00/hr

           - KS   Correspondence with carrier regarding investigator findings.             0.20             37.00
                                                                                         185.00/hr

           - KS   Conference with carrier regarding status.                                0.20             37.00
                                                                                         185.00/hr

 5/25/2016 - JC   Multiple correspondence and telephone conference with insured            0.50             92.50
                  regarding order on petitions for rehearing in insured's and related    185.00/hr
                  defendant's appeals.
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 5/25/2016 - JC   Review and analysis of court of appeals order denying insured's           0.50             92.50
                  petition for rehearing, and related petition of defendant Defend        185.00/hr
                  Our Freedoms Foundations.

           - JC   Analysis of timing issues regarding court of appeals order                0.80         148.00
                  denying insured's petition for rehearing, and under district court      185.00/hr
                  order granting leave to file motions to dismiss, regarding
                  mandate to district court and future handling plan.

           - JC   Continue drafting insured's Rule 12(f) motion to strike amended           3.20         592.00
                  complaint, pursuant to carrier authority.                               185.00/hr

           - JC   Continue drafting of insured's motion to dismiss under FRCP               2.10         388.50
                  Rule 12(b)(6), pursuant to carrier authorization.                       185.00/hr

           - JC   Correspondence with insured regarding drafting of insured's               0.20             37.00
                  motion to dismiss under FRCP Rule 12(b)(6), pursuant to carrier         185.00/hr
                  authorization.

           - KS   Correspondence with client regarding demand for expedite filing           0.20             37.00
                  of 12(b)(6) motion.                                                     185.00/hr

           - KS   Conference with J. Cunningham regarding discovery plan after              0.30             55.50
                  court's denial of client's motion.                                      185.00/hr

 5/26/2016 - JC   Multiple correspondence with insured regarding preparation of             0.30             55.50
                  request for clarification of order granting leave to file motions to    185.00/hr
                  dismiss.

           - JC   Evaluation of insured's protected speech defense in support of            0.80         148.00
                  motion to dismiss, pursuant to carrier authorization.                   185.00/hr

           - JC   Continue drafting insured's Rule 12(f) motion to strike amended           3.30         610.50
                  complaint, pursuant to carrier authority.                               185.00/hr

           - KS   Conference with J. Cunningham regarding handling after court              0.40             74.00
                  denial.                                                                 185.00/hr

 5/27/2016 - PB   Assist attorney Jeffrey P. Cunningham in preparation for                  0.20             19.00
                  submitting letter to Judge's panel requesting leave to file motion       95.00/hr
                  on behalf of client

           - JC   Multiple correspondence with insured regarding preparation of             0.30             55.50
                  request to court for leave regarding motions to dismiss and             185.00/hr
                  strike, under court pre-filing requirement, and pursuant to carrier
                  approval.

           - PB   Assist attorney Jeff Cunningham by reviewing district court's             0.20             19.00
                  register of actions to determine date of filing of appeal's decision     95.00/hr
                  with district court in preparation for letter to Judge requesting
                  leave to file motion on behalf of client
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 5/27/2016 - JC   Draft detailed request to court for leave regarding motions for          0.90         166.50
                  attorney fees under anti-SLAPP statute, under court pre-filing         185.00/hr
                  requirement, and pursuant to carrier approval.

           - PB   Finalize written request for leave to file attorneys fees and costs      0.40             38.00
                  motion and clarification regarding FRCP 12(b)(6) and (f) motions        95.00/hr

           - JC   Draft detailed request to court for leave regarding motions to           1.10         203.50
                  dismiss and strike, under court pre-filing requirement, and            185.00/hr
                  pursuant to carrier approval.

 5/30/2016 - KS   Correspondence with client regarding 12(b)(6).                           0.20             37.00
                                                                                         185.00/hr

 5/31/2016 - JC   Multiple correspondence with insured regarding preparation of            0.30             55.50
                  motions to dismiss and strike.                                         185.00/hr

           -


           - KS   Conference with J. Cunningham regarding client's request.                0.20             37.00
                                                                                         185.00/hr

           - KS   Correspondence with client regarding 12b1 and 12b6 motions.              0.30             55.50
                                                                                         185.00/hr

           - KS   Analyze client's points of argument.                                     1.40         259.00
                                                                                         185.00/hr

  6/1/2016 - JC   Draft attorney analysis for insured regarding order granting leave       0.60         111.00
                  to file motions to dismiss and strike for all remaining defendants,    185.00/hr
                  and toward strategy for filing new motions, pursuant to carrier
                  authority.

           - KS   Correspondence with carrier regarding 12b1/6.                            0.30             55.50
                                                                                         185.00/hr

           - JC   Conferences with K. Schumann regarding strategy for insured's            0.30             55.50
                  motions to dismiss, to strike, and request for leave to file           185.00/hr
                  attorney fees motion under anti-SLAPP statute.

           - JC   Begin review and analysis of revised insured's lengthy proposed          1.50         277.50
                  counterclaim, third party complaint and petition (90 pages), for       185.00/hr
                  evaluation regarding effects on defense of plaintiffs' claims.

  6/2/2016 - JC   Continue review and analysis of revised insured's lengthy                1.10         203.50
                  proposed counterclaim, third party complaint and petition (90          185.00/hr
                  pages), for evaluation regarding effects on defense of plaintiffs'
                  claims.

           - KS   Conference with J. Cunningham regarding client's desired cross           0.60         111.00
                  and counter claims, possible effects on our defense.                   185.00/hr
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  6/2/2016 - KS   Correspondence with client regarding related federal case               0.40             74.00
                  against IRB.                                                          185.00/hr

           - JC   Begin drafting attorney analysis for insured regarding her              0.60         111.00
                  proposed counterclaim, third party complaint and petition,            185.00/hr
                  including regarding effects on defense of plaintiffs' claims.

           - JC   Multiple correspondence with insured regarding revisions to             0.30             55.50
                  motion to dismiss regarding related Florida case, pursuant to         185.00/hr
                  carrier authority.

  6/3/2016 - JC   Several telephone conferences with insured regarding                    0.40             74.00
                  development of argument based on related Florida case in              185.00/hr
                  support of motion to dismiss, pursuant to carrier approval.

           - JC   Review court of appeals mandate returning jurisdiction to district      0.30             55.50
                  court.                                                                185.00/hr

  6/4/2016 - JC   Begin review and analysis of order on motion to dismiss in              0.70         129.50
                  related Liberi v. IRB case, toward support for insured's motion to    185.00/hr
                  dismiss pursuant to insured's request and carrier approval.

  6/6/2016 - JC   Continue review and analysis of order on motion to dismiss in           0.90         166.50
                  related Liberi v. IRB case, toward support for insured's motion to    185.00/hr
                  dismiss pursuant to insured's request and carrier approval.

           - JC   Continue drafting insured's Rule 12(f) motion to strike amended         2.30         425.50
                  complaint, pursuant to insured's revisions and carrier authority.     185.00/hr

           - JC   Continue drafting insured's motion to dismiss amended                   2.90         536.50
                  complaint, pursuant to insured's revisions and carrier authority.     185.00/hr

  6/7/2016 - JC   Multiple correspondence with insured regarding insured's Rule           0.30             55.50
                  12(f) motion to strike amended complaint, pursuant to carrier         185.00/hr
                  authority.

           - BB   Revise argument and analysis structure on Motion to Strike              0.90             85.50
                  Plaintiff's First Amended Complaint per client's request               95.00/hr

           -


  6/8/2016 - KS   Finalize updated responses to client.                                   0.40             74.00
                                                                                        185.00/hr

           - JC   Multiple correspondence with insured regarding proposed                 0.40             74.00
                  counterclaim and third party complaint.                               185.00/hr

  6/9/2016 - KS   Conference with J. Cunningham regarding client's res judicata           0.60         111.00
                  arguments.                                                            185.00/hr
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                                                                                       Hrs/Rate        Amount

  6/9/2016 - KS   Conference with J. Cunningham regarding client's cross claims.          0.40             74.00
                                                                                        185.00/hr

 6/10/2016 - JC   Begin evaluation of complex issues regarding application of law         0.90         166.50
                  of the case doctrine regarding appellate decision, to insured's       185.00/hr
                  and other defendants' motions to dismiss and strike, pursuant to
                  carrier approval.

 6/13/2016 - JC   Continue evaluation of complex issues regarding application of          0.80         148.00
                  law of the case doctrine regarding appellate decision, to             185.00/hr
                  insured's and other defendants' motions to dismiss and strike,
                  pursuant to carrier approval.

           - KS   Conference with J. Cunningham regarding update on requests to           0.40             74.00
                  federal court.                                                        185.00/hr

 6/14/2016 - JC   Multiple correspondence with insured regarding June 14, 2016            0.30             55.50
                  order granting leave for motions to dismiss and for attorneys         185.00/hr
                  fees.

           - JC   Review June 14, 2016 order granting leave for motions to                0.30             55.50
                  dismiss and for attorneys fees.                                       185.00/hr

 6/15/2016 - JC   Begin review and analysis of plaintiffs' and insured's 2011             1.60         296.00
                  discovery disclosures and reports, and objections to reports,         185.00/hr
                  regarding potential revisions and additions following remand of
                  case after insured's and related defendants' appeals.

           - JC   Multiple telephone conferences with insured regarding court's           0.30             55.50
                  order regarding motions to dismiss, strike and for attorney fees.     185.00/hr

           - JC   Begin drafting update to carrier regarding appeal, motions to           0.50             92.50
                  strike to dismiss and strike, motion for attorney fees, and future    185.00/hr
                  handling plan.

           - PB   Assist attorney Jeff Cunningham by review and analysis of               0.40             38.00
                  docket entries made during 2011 specific to Rule 26 compliance         95.00/hr
                  in preparation for petition for rehearing on 9th circuit court of
                  appeal

           - JC   Preparation for upcoming meeting with insured regarding                 0.50             92.50
                  preparation of motions to dismiss, strike and for attorney fees,      185.00/hr
                  including review of proposed motions and insured's proposed
                  revisions, pursuant to carrier approval..

           - KS   Conference with J. Cunningham regarding client concerns with            0.30             55.50
                  judge's order.                                                        185.00/hr

 6/16/2016 - JC   Meeting with insured regarding preparation of several motions to        1.80         333.00
                  dismiss, strike and for attorneys' fees, discovery and settlement     185.00/hr
                  issues, and future handling plan.
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                                                                                       Hrs/Rate        Amount

 6/16/2016 - KS   Conference with J. Cunningham regarding upcoming discovery.             0.40             74.00
                                                                                        185.00/hr

           - KS   Conference with carrier regarding discovery plan.                       0.20             37.00
                                                                                        185.00/hr

           - KS   Correspondence with carrier regarding update from appeal.               0.60         111.00
                                                                                        185.00/hr

 6/17/2016 - KS   Conference with J. Cunningham regarding meet and confer with            0.20             37.00
                  opposing counsels.                                                    185.00/hr

           - KS   Correspondence from client regarding trademark violation by             0.40             74.00
                  plaintiff.                                                            185.00/hr

           - JC   Continue review and analysis of plaintiffs' and insured's 2011          2.10         388.50
                  discovery disclosures and reports, and objections to reports,         185.00/hr
                  regarding potential revisions and additions following remand of
                  case after insured's and related defendants' appeals.

 6/19/2016 - KS   Conference with J. Cunningham regarding client's counterclaim.          0.40             74.00
                                                                                        185.00/hr

           - JC   Correspondence with insured regarding motions to dismiss and            0.20             37.00
                  strike, pursuant to carrier approval.                                 185.00/hr

 6/20/2016 - JC   Begin drafting of insured's request for judicial notice supporting      1.10         203.50
                  motions to strike and dismiss, and pursuant to carrier approval.      185.00/hr

           - JC   Meeting with insured regarding preparation of motions to dismiss        2.80         518.00
                  and strike, for attorney fees, counterclaim and third party           185.00/hr
                  complaint, and discovery.

           - JC   Draft meet and confer correspondence to all opposing counsel            0.60         111.00
                  regarding insured's motions to dismiss and strike, and for            185.00/hr
                  attorney fees under anti-SLAPP statute, pursuant to carrier
                  approval.

           - JC   Evaluation of insured's related defendants' proposed FRCP Rule          0.40             74.00
                  12 b 6 motion, pursuant to carrier approval.                          185.00/hr

           - JC   Pursuant to insured request, evaluation of issues regarding             1.20         222.00
                  potential use of Liberi v. West Valley Detention Center and           185.00/hr
                  People v. Richardson file materials to support motion to dismiss,
                  pursuant to carrier approval.

           - JC   Correspondence with insured regarding counterclaim and third            0.20             37.00
                  party complaint.                                                      185.00/hr

           - KS   Meeting with client regarding motions to dismiss and strike,            2.80         518.00
                  counterclaim, third party complaint, discovery and status.            185.00/hr
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                                                                                     Hrs/Rate        Amount

 6/21/2016 - JC   Continue review and analysis of plaintiffs' and insured's 2011        0.90         166.50
                  discovery disclosures and reports, and objections to reports,       185.00/hr
                  regarding potential revisions and additions following remand of
                  case after insured's and related defendants' appeals.

           - KS   Conference with J. Cunningham regarding meet and confer               0.30             55.50
                  strategy pursuant to client request.                                185.00/hr

           - JC   Draft update with attorney analysis to insured regarding motions      0.70         129.50
                  to dismiss and strike, and motion for attorney fees, and related    185.00/hr
                  future handling plan, pursuant to carrier approval.

           - KS   Correspondence with client regarding meet and confer.                 0.30             55.50
                                                                                      185.00/hr

           - KS   Amend update to client.                                               0.20             37.00
                                                                                      185.00/hr

           - KS   Conference with opposing counsel regarding meet and confer.           0.40             74.00
                                                                                      185.00/hr

 6/22/2016 - JC   Begin preparation of extensive issues outline for upcoming meet       1.30         240.50
                  and confer with opposing counsel, regarding proposed motions        185.00/hr
                  to dismiss, strike and for attorneys fees, pursuant to carrier
                  approval.

           - KS   Correspondence with opposing counsel regarding meet and               0.30             55.50
                  confer.                                                             185.00/hr

           - KS   Conference with client regarding Friday's meet and confer.            0.20             37.00
                                                                                      185.00/hr

           - KS   Correspondence with plaintiff's counsel regarding motion to           0.30             55.50
                  compel client's discovery responses.                                185.00/hr

 6/23/2016 - JC   Drafting of insured's Rule 12 b 6 motion to dismiss, pursuant to      2.60         481.00
                  and with insured's several revisions, and pursuant to carrier       185.00/hr
                  approval.

           - KS   Work on pleadings responses.                                          0.80         148.00
                                                                                      185.00/hr

           - JC   Continue preparation of extensive issues outline for upcoming         2.40         444.00
                  meet and confer with opposing counsel, regarding proposed           185.00/hr
                  motions to dismiss, strike and for attorneys fees, pursuant to
                  carrier approval.

           - KS   Review client evidence regarding no violation.                        0.60         111.00
                                                                                      185.00/hr

           - KS   Analyze client's rule 11 request.                                     0.40             74.00
                                                                                      185.00/hr
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                                                                                       Hrs/Rate        Amount

 6/23/2016 - JC   Several correspondence with insured regarding insured's                 0.50             92.50
                  revisions to motions to dismiss and strike, and in preparation for    185.00/hr
                  upcoming meet and confer with plaintiffs' counsel on motions,
                  pursuant to carrier approval.

           - KS   Correspondence with carrier regarding updated status.                   0.20             37.00
                                                                                        185.00/hr

           - KS   Conference with J. Cunningham regarding 12b1.                           0.40             74.00
                                                                                        185.00/hr

 6/24/2016 - JC   Continue drafting insured's FRCP Rule 12(b)(6) motion to                2.40         444.00
                  dismiss, following on and incorporating insured's revisions,          185.00/hr
                  pursuant to carrier approval.

           - JC   Conduct meet and confer conference with opposing counsel                0.60         111.00
                  regarding insured's motions to dismiss and strike, pursuant to        185.00/hr
                  carrier approval.

           - JC   Several correspondence and telephone conference with insured            0.40             74.00
                  regarding drafting insured's FRCP Rule 12(b)(6) motion to             185.00/hr
                  dismiss, pursuant to carrier approval.

           - JC   Telephone conference with plaintiff P. Berg regarding meet and          0.20             37.00
                  confer regarding insured's motions to dismiss and strike,             185.00/hr
                  pursuant to carrier approval.

           - KS   Conference with carrier regarding budget.                               0.20             37.00
                                                                                        185.00/hr

           - KS   Conference with opposing counsel regarding request to dismiss.          0.60         111.00
                                                                                        185.00/hr

 6/26/2016 - JC   Multiple correspondence with insured regarding insured's                0.50             92.50
                  revisions to motions to dismiss and strike, pursuant to carrier       185.00/hr
                  approval.

 6/27/2016 - JC   Meeting with insured regarding settlement issues, preparation of        1.40         259.00
                  motions to dismiss, strike and for attorneys fees, and preparation    185.00/hr
                  for settlement meeting with opposing counsel.

           - JC   Correspondence with insured regarding settlement issues,                0.30             55.50
                  preparation of motions to dismiss, strike and for attorneys fees,     185.00/hr
                  and preparation for settlement meeting with opposing counsel.

 6/28/2016 - KS   Conference with J. Cunningham regarding client's meet and               0.30             55.50
                  confer requests.                                                      185.00/hr

 6/29/2016 - KS   Conference with client regarding meet and confer with opposing          0.20             37.00
                  counsel.                                                              185.00/hr
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                                                                                       Hrs/Rate        Amount

 6/29/2016 - JC   Correspondence with opposing counsel regarding insured's                0.20             37.00
                  proposed counterclaim.                                                185.00/hr

           - KS   Conference with J. Cunningham regarding our involvement in              0.20             37.00
                  client's meet and confer, possible strategy.                          185.00/hr

           - JC   Several correspondence with insured (also as counsel for                0.50             92.50
                  co-defendants) regarding meet and confer on insured's and             185.00/hr
                  related defendants' motions to dismiss, strike and for attorney
                  fees, pursuant to carrier approval.

 6/30/2016 - KS   Correspondence with client and opposing counsel regarding               0.30             55.50
                  meet and confer.                                                      185.00/hr

           - JC   Multiple correspondence with insured (including as counsel for          0.30             55.50
                  other defendants) regarding preparation for upcoming meet and         185.00/hr
                  confer meeting with opposing counsel, regarding insured's and
                  other defendant's motions to dismiss, pursuant to carrier
                  approval.

  7/2/2016 - KS   Correspondence with client regarding next week's meet and               0.20             37.00
                  confer.                                                               185.00/hr

  7/3/2016 -


  7/5/2016 - JC   Multiple correspondence and telephone conference with insured           0.40             74.00
                  regarding preparation of motions to dismiss and for upcoming          185.00/hr
                  conference with opposing counsel pursuant to carrier approval.

  7/6/2016 - KS   Conference call with client and opposing counsels.                      0.80         148.00
                                                                                        185.00/hr

           - JC   Continue drafting defendants' Rule 12(b)(6) and (b)(1) motions to       2.40         444.00
                  dismiss, and motion to strike, pursuant to carrier approval.          185.00/hr

           - JC   Meeting with insured regarding defendants' motions to dismiss,          0.40             74.00
                  to strike and for attorney fees, and settlement issues, pursuant      185.00/hr
                  to carrier approval.

           - JC   Conduct conference with all counsel regarding defendants'               1.00         185.00
                  motions to dismiss, to strike and for attorney fees, and regarding    185.00/hr
                  settlement issues, pursuant to carrier approval.

  7/7/2016 - KS   Begin analysis of evidence, pursuant to client request, for             3.80         703.00
                  disclosure to opposing counsel as part of private settlement          185.00/hr
                  discussions.

           - JC   Draft stipulation regarding defendants' motions to dismiss,             0.80         148.00
                  pursuant to carrier approval.                                         185.00/hr
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                                                                                       Hrs/Rate        Amount

  7/7/2016 - JC   Several correspondence and telephone conference with insured,           1.10         203.50
                  as counsel for other defendants, regarding preparation of             185.00/hr
                  stipulation regarding defendants' motions to dismiss and related
                  settlement issues, pursuant to carrier approval.

  7/8/2016 - JC   Draft portion of insured's motion to dismiss regarding plaintiffs'      1.40         259.00
                  appropriation of name causes of action, with insured's revisions,     185.00/hr
                  and pursuant to carrier authority.

           - BB   Review and revise Stipulation Regarding Defendant's Motion to           0.40             38.00
                  dismiss, strike and for attorney fees                                  95.00/hr

           - BB   Review and revise Motion to Dismiss for Lack of Jurisdiction            0.30             28.50
                                                                                         95.00/hr

           - KS   Conference with client regarding possible stipulation with              0.40             74.00
                  opposing counsel.                                                     185.00/hr

           - KS   Correspondence with client regarding opposing counsel's                 0.40             74.00
                  proposed stipulation.                                                 185.00/hr

  7/9/2016 - JC   Begin review, analysis and redaction of voluminous attorney fees        1.50         277.50
                  billings (over 300 pages) to support insured's anti-SLAPP             185.00/hr
                  attorney fees motion.

 7/10/2016 - KS   Conference with client regarding 12b6 and joint stipulation for         0.30             55.50
                  stay.                                                                 185.00/hr

           - JC   Continue review, analysis and redaction of voluminous attorney          1.90         351.50
                  fees billings (over 300 pages) to support insured's anti-SLAPP        185.00/hr
                  attorney fees motion.

 7/11/2016 - KS   Conference with J. Cunningham regarding joint stipulation with          0.30             55.50
                  opposing counsels.                                                    185.00/hr

           - BB   Review, revise and finalize Stipulation regarding motion to             0.90             85.50
                  dismiss, strike and for attorneys' fees                                95.00/hr

           - KS   Conference with client regarding her changes to 12f motion.             0.30             55.50
                                                                                        185.00/hr

           - JC   Several telephone conferences and correspondence with insured           1.20         222.00
                  regarding preparation of motions to dismiss, attorneys' fees          185.00/hr
                  motion, ex-parte application, and settlement issues, pursuant to
                  carrier authority.

 7/12/2016 - KS   Correspondence with carrier regarding update, settlement talks,         0.40             74.00
                  demurrer/ motion to strike and discovery stay.                        185.00/hr

           - BB   Begin draft of Defendant's Motion to Strike                             0.70             66.50
                                                                                         95.00/hr
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                                                                                       Hrs/Rate        Amount

 7/12/2016 - BB   Begin draft of Defendant's Motion to Dismiss                            1.10         104.50
                                                                                         95.00/hr

           - BB   Telephone call to the Clerk regarding the submitted proposed            0.10    NO CHARGE
                  order                                                                  95.00/hr

           - BB   Begin draft of Defendants, Defend Our Freedoms and Law                  0.70             66.50
                  Offices of Orly Taitz, Motion to Dismiss                               95.00/hr

           - JC   Meeting with insured regarding preparation of motions to                0.90         166.50
                  dismiss, strike, and for attorney fees, and preparation of            185.00/hr
                  settlement offer and demand, pursuant to carrier approval.

           - JC   Continue drafting motion to strike and three motions to dismiss,        2.10         388.50
                  incorporating insured's revisions, pursuant to carrier approval.      185.00/hr

           - BB   Preparation of proposed order on extending time to file motions         0.20             19.00
                                                                                         95.00/hr

           - JC   Multiple correspondence with insured regarding preparation of           0.30             55.50
                  settlement offer.                                                     185.00/hr

 7/13/2016 - JC   Continue drafting motion to strike and three motions to dismiss,        2.90         536.50
                  incorporating insured's revisions, pursuant to carrier approval.      185.00/hr

           - JC   Multiple correspondence with insured regarding preparation of           0.30             55.50
                  various motions to dismiss and settlement offer.                      185.00/hr

           - JC   Continue drafting insured's settlement offer to plaintiffs Liberi,      0.40             74.00
                  Ostella and Go Excel Global, following on discussions with            185.00/hr
                  insured.

 7/22/2016 - KS   Correspondence with opposing counsel regarding possible                 0.30             55.50
                  settlement.                                                           185.00/hr

           - KS   Conference with J. Cunningham regarding strategy for possible           0.40             74.00
                  settlement and discovery plan.                                        185.00/hr

 7/26/2016 - BB   Telephone call to Court Clerk in Riverside District Court to            0.30    NO CHARGE
                  retrieve the Complaint filed in Liberi v. West Valley Detention        95.00/hr
                  Center

 7/28/2016 - KS   Conference with client regarding opposing counsel's e-mail and          0.30             55.50
                  proposed terms.                                                       185.00/hr

           - KS   Correspondence with client regarding security concerns.                 0.30             55.50
                                                                                        185.00/hr

 7/29/2016 - KS   Conference with client regarding settlement offer.                      0.30             55.50
                                                                                        185.00/hr
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                                                                                        Hrs/Rate        Amount

 7/30/2016 - KS   Correspondence with client regarding response to opposing                0.20             37.00
                  counsel.                                                               185.00/hr

  8/1/2016 - KS   Conference with J. Cunningham regarding response to                      0.40             74.00
                  settlement offer.                                                      185.00/hr

           - KS   Conference with carrier regarding settlement talks.                      0.20             37.00
                                                                                         185.00/hr

           - JC   Multiple correspondence and telephone conferences with                   0.70         129.50
                  insured regarding preparation of counteroffer.                         185.00/hr

  8/4/2016 - JC   Begin drafting of counter-offer by insured, including evaluation of      1.50         277.50
                  dischargeability in bankruptcy of award under anti-SLAPP statute.      185.00/hr

  8/5/2016 - JC   Review insured's disclosures regarding insurance, and related            0.40             74.00
                  correspondence with insured.                                           185.00/hr

           - JC   Several correspondence with insured and other defense counsel            0.60         111.00
                  regarding preparation of counteroffer.                                 185.00/hr

           - JC   Multiple correspondence with attorney service regarding West             0.30             55.50
                  Valley Detention Center v. Liberi file.                                185.00/hr

  8/9/2016 - BB   Analyze national archive records to develop impeachment                  0.80             76.00
                  evidence against Plaintiff                                              95.00/hr

           - JC   Numerous correspondence with insured and private defense                 0.60         111.00
                  counsel regarding preparation of counteroffer to Liberi, Ostella       185.00/hr
                  and Go Excel Global plaintiffs.

           - JC   Begin review and analysis of insured's proposed revisions to             1.20         222.00
                  counteroffer,                                                          185.00/hr


 8/10/2016 - KS   Conference with J. Cunningham                                            0.40             74.00
                                                                                         185.00/hr

 8/11/2016 - JC   Multiple correspondence with insured regarding Liberi v. West            0.30             55.50
                  Valley court file, toward obtaining impeachment evidence               185.00/hr
                  regarding plaintiff Liberi.

 8/16/2016 - KS   Conference with J. Cunningham regarding settlement                       0.40             74.00
                  discussions and possible resolution.                                   185.00/hr

 8/18/2016 - KS   Correspondence with carrier regarding update.                            0.30             55.50
                                                                                         185.00/hr

 8/23/2016 - KS   Correspondence with client regarding trademark.                          0.20             37.00
                                                                                         185.00/hr
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                                                                                     Hrs/Rate        Amount

 8/23/2016 - BB   Further Analysis of national archive records to develop               0.40             38.00
                  impeachment evidence against plaintiff                               95.00/hr

           - JC   Multiple correspondence with insured regarding settlement and         0.30             55.50
                  preparation of motions to dismiss.                                  185.00/hr

 8/24/2016 - KS   Correspondence with client regarding settlement discussions.          0.30             55.50
                                                                                      185.00/hr

           - KS   Correspondence with client and court clerk regarding prior case       0.80         148.00
                  evidence against plaintiffs.                                        185.00/hr

 8/26/2016 - KS   Conference with J. Cunningham regarding possible settlement.          0.40             74.00
                                                                                      185.00/hr

           - JC   Conference with insured regarding opposing counsel's 8/26/16          0.40             74.00
                  response to insured's counteroffer, and development of insured's    185.00/hr
                  reply arguments.

           - JC   Review opposing counsel's 8/26/16 response to insured's               0.40             74.00
                  counteroffer. Begin development of insured's reply arguments.       185.00/hr

 8/27/2016 - KS   Correspondence with opposing counsel regarding settlement             0.80         148.00
                  discussions.                                                        185.00/hr

 8/28/2016 - JC   Begin drafting comprehensive settlement agreement.                    2.30         425.50
                                                                                      185.00/hr

 8/29/2016 - JC   Continue drafting comprehensive settlement agreement                  4.10         758.50
                  including with insured's revisions.                                 185.00/hr

           - JC   Multiple correspondence and telephone conferences with                0.50             92.50
                  insured regarding settlement agreement.                             185.00/hr

 8/30/2016 - KS   Correspondence with client regarding settlement agreement             0.30             55.50
                  language.                                                           185.00/hr

           - JC   Evaluation of legal issues regarding motion for order reserving       0.50             92.50
                  jurisdiction over settlement, toward preparation of settlement      185.00/hr
                  agreement.

           - JC   Several correspondence and telephone conferences with insured         1.10         203.50
                  regarding settlement agreement.                                     185.00/hr

 8/31/2016 - KS   Multiple correspondence with client regarding filing motions /        0.40             74.00
                  extension of time.                                                  185.00/hr

           - KS   Conference with carrier regarding status of settlement                0.30             55.50
                  negotiations.                                                       185.00/hr

           - KS   Conference with J. Cunningham regarding settlement agreement          0.80         148.00
                  changes and strategy.                                               185.00/hr
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                                                                                        Hrs/Rate         Amount

 8/31/2016 - JC     Multiple correspondence with opposing counsel regarding                0.30              55.50
                    revisions to settlement agreement.                                   185.00/hr

           For professional services rendered                                           2597.35      $432,789.03

           Additional Charges :

                                                                                 Qty/Price   Tax#

 7/15/2011 - TEL    U.S. Court of Appeal Docket Fee.                                   1                 455.00
                                                                                  455.00

 7/25/2011 - TEL    Hearing transcript for appeal.                                     1                 116.64
                                                                                  116.64

 7/31/2011 - TEL    Copies made in-house during this month: July, 2011.                71                     4.97
                                                                                     0.07

 8/17/2011 - TEL    Filing fees paid to Lexis Nexis.                                   1                 296.70
                                                                                  296.70

           - TEL    Filing fees paid to Lexis Nexis.                                   1                 445.99
                                                                                  445.99

           - TEL    FedEx delivered on 7/29/11 to Denise Paddock, Official             1                     10.38
                    Court Record, LLC.                                             10.38

 8/31/2011 - TEL    Copies made in-house during this month: August, 2011.             110                     7.70
                                                                                     0.07

  9/6/2011 - TEL    Nationwide Legal, LLC. Copy Charges incurred on:                   1                     48.50
                    7/12/11 at USDC/ Santa Ana.                                    48.50

           - TEL    Nationwide Legal, LLC. Filing fees incurred on: 7/14/11 at         1                     20.00
                    USDC/ Santa Ana.                                               20.00

 9/29/2011 - TEL    Nationwide Legal, LLC. Filing fees incurred on: 7/25/11 at         1                     55.00
                    USDC/ Santa Ana.                                               55.00

           - TEL    Nationwide Legal, LLC. Rush Delivery charges incurred              1                     35.00
                    on: 7/26/11 to USDC/ Santa Ana - Reply Brief by Orly           35.00
                    Taitz.

           - TEL    Nationwide Legal, LLC. Messenger charges incurred on:              1             NO CHARGE
                    7/18/11 to USDC/ Santa Ana.                                    15.00

           - TEL    Nationwide Legal, LLC. Rush Delivery charges incurred              1                 101.25
                    on: 7/20/11 to USDC/ Santa Ana - Motion to Strike and         101.25
                    related paperwork.
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                                                                                Qty/Price   Tax#       Amount

 9/29/2011 - TEL   Nationwide Legal, LLC. Rush Delivery charges incurred              1                    71.25
                   on: 7/20/11 to USDC/ Santa Ana - Motion to Dismiss and         71.25
                   related paperwork.

10/14/2011 - TEL   Nationwide Legal fee for Rush research at USDC/ Santa              1                    65.00
                   Ana.                                                           65.00

           - TEL   Nationwide Legal, LLC. Rush Research charges incurred              1            NO CHARGE
                   on: 8/22/11 at USDC/ Central.                                  67.00

           - TEL   Rush research charges incurred on 8/22/11 at USDC/                 1                151.00
                   Riverside.                                                    151.00

10/18/2011 - TEL   Nationwide Legal, LLC. Messenger charges incurred on:              1            NO CHARGE
                   8/2/11 to USDC/ Santa Ana.                                     51.50

           - TEL   Nationwide Legal, LLC. Messenger charges incurred                  1            NO CHARGE
                   on:8/2/11 to USDC/ Santa Ana.                                  65.00

           - TEL   Nationwide Legal, LLC. Messenger charges incurred on:              1            NO CHARGE
                   8/9/11 from USDC/ Santa Ana.                                   71.00

12/31/2011 - TEL   Copies made in-house during this month: December,                 901                   63.07
                   2011.                                                            0.07

 1/31/2012 - TEL   Copies made in-house during this month: January, 2012.             39                    2.73
                                                                                    0.07

 2/14/2012 - TEL   First Legal Network Filing fees incurred on: 12/22/11 at           1                    55.00
                   US Court of Appeal                                             55.00

 2/15/2012 - TEL   First Legal Network Filing fees incurred on: 12/19/11 at           1                    55.00
                   US Court of Appeal, San Francisco.                             55.00

 2/29/2012 - TEL   Copies made in-house during this month: February, 2012.           489                   34.23
                                                                                    0.07

 3/14/2012 - TEL   Filing fees paid to Pacer for federal filing and appellate         1                    52.16
                   filing.                                                        52.16

 3/20/2012 - TEL   AT&T Teleconference fee on 2/09/12.                                1                    20.93
                                                                                  20.93

 4/30/2012 - JL    Copies made in-house during this month: April, 2012.               31                    2.17
                                                                                    0.07

 5/31/2012 - JL    Copies made in-house during this month: May, 2012.                 21                    1.47
                                                                                    0.07

           - JL    First Legal Network Filing fees incurred on: 4/25/12 at US         1                    55.00
                   Court of Appeal.                                               55.00
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                                                                            Qty/Price   Tax#       Amount

 8/31/2012 - JL   Copies made in-house during this month: August, 2012.           37                    2.59
                                                                                0.07

11/30/2012 - JL   Copies made in-house during this month: November,              111                    7.77
                  2012.                                                         0.07

12/31/2012 - JL   Copies made in-house during this month: December,               12                    0.84
                  2012.                                                         0.07

 1/14/2013 - JC   Mileage to/from OCSC - Santa Ana.                               11           NO CHARGE
                                                                                0.57

           - JC   Parking fee                                                      1           NO CHARGE
                                                                                3.00

 1/31/2013 - JL   Copies made in-house during this month: January, 2013.         368                   25.76
                                                                                0.07

           - JL   Records fee paid to Merrill Communications.                     1                133.49
                                                                             133.49

  2/6/2013 - JC   Mileage to/ from Pasadena courthouse.                           94           NO CHARGE
                                                                                0.57

 2/28/2013 - JL   Copies made in-house during this month: February, 2013.        721                   50.47
                                                                                0.07

 3/31/2013 - JL   Copies made in-house during this month: March, 2013.           386                   27.02
                                                                                0.07

 4/30/2013 - JL   Copies made in-house during this month: April, 2013.           346                   24.22
                                                                                0.07

 5/31/2013 - JL   Copies made in-house during this month: May, 2013.             419                   29.33
                                                                                0.07

 6/17/2013 - JC   Mileage to/from OCSC for hearing.                             10.6           NO CHARGE
                                                                                0.57

           - JC   Parking at OCSC.                                                 1                    3.00
                                                                                3.00

 6/30/2013 - JL   Copies made in-house during this month: June, 2013.            470                   32.90
                                                                                0.07

 7/17/2013 - JL   Filing fees paid to Pay.gov for Notice of Appeal.               1                455.00
                                                                             455.00

 7/31/2013 - JL   Copies made in-house during this month: July, 2013.             44                    3.08
                                                                                0.07
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                                                                            Qty/Price   Tax#       Amount

 8/15/2013 - JL   Cost of hearing transcript on Anti-SLAPP Motion paid to         1                170.82
                  Official Court Record, LLC                                 170.82

 8/31/2013 - JL   Copies made in-house during this month: August, 2013.           77                    5.39
                                                                                0.07

11/30/2013 - JL   Copies made in-house during this month: November,              103                    7.21
                  2013.                                                         0.07

12/31/2013 - JL   Copies made in-house during this month: December,              286                   20.02
                  2013.                                                         0.07

 1/31/2014 - JL   Copies made in-house during this month: January, 2014.         103                    7.21
                                                                                0.07

  2/3/2014 - JC   Mileage to/from OCSC - Santa Ana.                             10.6           NO CHARGE
                                                                                0.56

           - JC   Parking fee at OCSC - Santa Ana.                                 1                    2.00
                                                                                2.00

 2/28/2014 - JL   Copies made in-house during this month: February, 2014.        118                    8.26
                                                                                0.07

 4/30/2014 - JL   Copies made in-house during this month: April, 2014.            50                    3.50
                                                                                0.07

 5/31/2014 - JL   Copies made in-house during this month: May, 2014.              52                    3.64
                                                                                0.07

 6/30/2014 - JL   Copies made in-house during this month: June, 2014.            326                   22.82
                                                                                0.07

 7/15/2014 - JL   FedEx delivered on 6/30/14 to James R. Browning                 1                    84.58
                  Courthouse, as instructed by Court.                         84.58

           - JL   FedEx delivered on 6/30/14 to James R. Browning                 1                    57.76
                  Courthouse, as instructed by Court.                         57.76

           - JL   FedEx delivered on 6/30/14 to James R. Browning                 1                    84.58
                  Courthouse, as instructed by Court.                         84.58

           - JL   FedEx delivered on 6/30/14 to James R. Browning                 1                    84.58
                  Courthouse, as instructed by Court.                         84.58

 7/25/2014 - JL   Nationwide Legal, LLC. Court charges incurred on:               1                130.00
                  6/27/14 at Court of Appeals, Pasadena.                     130.00

 7/31/2014 - JL   Copies made in-house during this month: July, 2014.            460                   32.20
                                                                                0.07
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                                                                                  Qty/Price   Tax#       Amount

 8/31/2014 - JL   Copies made in-house during this month: August, 2014.                704                   49.28
                                                                                      0.07

 9/30/2014 - JL   Copies made in-house during this month: September,                    88                    6.16
                  2014.                                                               0.07

 10/7/2014 - JL   FedEx delivery to James R. Browning Courthouse in San                 1                132.98
                  Francisco for filing of appellate briefs, pursuant to carrier    132.98
                  authority.

 11/7/2014 - JL   Records fee paid to Merrill Communications.                           1                123.91
                                                                                   123.91

 2/28/2015 - JL   Copies made in-house during this month: February, 2015.              222                   15.54
                                                                                      0.07

 3/31/2015 - JL   Copies made in-house during this month: March, 2015.                 167                   11.69
                                                                                      0.07

  6/3/2015 - JL   Nationwide Legal, LLC. Court charges incurred on:                     1                114.90
                  4/20/15 at San Bernardino Courthouse.                            114.90

10/30/2015 - JL   Copies made in-house during this month: October, 2015.                39                    2.73
                                                                                      0.07

 12/7/2015 - JC   Mileage to/from Pasadena Courthouse.                                 100           NO CHARGE
                                                                                      0.58

12/31/2015 - JL   Copies made in-house during this month: December,                    300                   21.00
                  2015.                                                               0.07

 1/31/2016 - JL   Copies made in-house during this month: January, 2016.                78                    5.46
                                                                                      0.07

 2/29/2016 - JL   Copies made in-house during this month: February, 2016.               90                    6.30
                                                                                      0.07

 3/31/2016 - JL   Copies made in-house during this month: March, 2016.                  10                    0.70
                                                                                      0.07

 4/30/2016 - JL   Copies made in-house during this month: April, 2016.                 374                   26.18
                                                                                      0.07

 5/31/2016 - JL   Copies made in-house during this month: May, 2016.                   182                   12.74
                                                                                      0.07

 6/30/2016 - JL   Copies made in-house during this month: June, 2016.                  392                   27.44
                                                                                      0.07

 7/29/2016 - JL   Nationwide Legal, LLC. Court charges incurred on:                     1                    38.00
                  7/11/16 at USDC/ Santa Ana.                                       38.00
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                                                                                Qty/Price   Tax#       Amount

 7/31/2016 - JL     Copies made in-house during this month: July, 2016.              609                  42.63
                                                                                    0.07

  8/9/2016 - JL     Fee paid to Clerk of U.S. District Court for Complaint in         1                142.00
                    National Archives.                                           142.00

 8/31/2016 - JL     Copies made in-house during this month: August, 2016.             70                   4.90
                                                                                    0.07

           Total costs                                                                               $4,530.72

           For professional services rendered                                          2597.35     $437,319.75
